Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 1 of 356 PageID 44
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 2 of 356 PageID 45
        Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 3 of 356 PageID 46
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                                     St.‌M
                                         ‌ atthew’s‌U ‌ niversity‌ ‌
                                        School‌o‌ f‌M
                                                    ‌ edicine‌‌
                                            12124‌‌High‌‌Tech‌‌Avenue,‌‌Suite‌‌290‌
                                                 Orlando,‌‌Florida‌‌32817‌‌ ‌
                          ‌
                                         Tel.‌‌(407)‌‌488-1700‌‌|‌‌Fax‌‌(407)‌‌488-1702‌‌
                                                     www.stmatthews.edu‌ ‌
                                                                                                                                ‌
                                                               ‌
                                     Medical‌‌Student‌‌Performance‌‌Evaluation‌‌(MSPE)‌ ‌
                                                     D‌ANIELLE‌‌ ‌GE‌ GAS‌ ‌
                                                  ECFMG‌‌#‌‌1-078-442-9‌ ‌
                                                   AAMC‌‌#‌1‌ 2954992‌ ‌
                                                               ‌
                                                                ‌

Identifying‌‌Information‌ ‌
Danielle‌‌Gegas‌‌is‌‌a‌‌student‌‌at‌‌St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌in‌‌Grand‌‌Cayman,‌‌Cayman‌‌
Islands,‌‌British‌‌West‌‌Indies.‌ ‌
‌




Noteworthy‌C
           ‌ haracteristics‌‌ ‌
        ● Danielle’s‌‌steadfast‌a‌ nd‌‌focused‌‌commitment‌‌to‌‌the‌‌study‌‌of‌‌medicine‌‌is‌‌reflected‌‌by‌‌her‌‌tenacious‌‌
          and‌‌successful‌‌completion‌‌of‌‌her‌‌education‌‌despite‌‌multiple‌‌events‌‌of‌‌adversity. These‌‌include‌‌the‌‌
          devastation‌‌of‌‌Sint‌‌Maarten‌‌Island‌‌due‌‌to‌‌Hurricane‌‌Irma‌‌in‌‌2017‌‌and‌‌her‌‌proactive‌‌efforts‌‌to‌‌
          maintain‌‌academic‌‌progress‌‌in‌‌clinical‌‌clerkships‌‌during‌‌the‌‌COVID-19‌‌pandemic.‌‌ ‌
        ● Danielle‌‌exemplified‌‌maturity‌‌and‌‌dependability‌‌during‌‌her‌‌clinical‌‌rotations.‌‌She‌‌fulfilled‌‌her‌‌
          responsibilities‌‌in‌‌an‌‌exceptional‌‌manner.‌‌This‌‌was‌‌reflected‌‌when‌‌she‌‌was‌‌the‌‌sole‌‌medical‌‌student‌‌
          at‌‌times‌‌in‌‌the‌‌NICU‌‌during‌‌her‌‌Pediatrics‌‌rotation.‌‌In‌‌addition,‌‌she‌‌was‌‌one‌‌of‌‌two‌‌students‌‌who‌‌
          chose‌‌to‌‌stay‌‌at‌‌the‌‌end‌‌of‌‌her‌‌OB/GYN‌‌rotation‌‌to‌‌help‌‌with‌‌high‌‌patient‌‌volume‌‌in‌‌the‌‌clinic,‌‌and‌‌
          she‌‌was‌‌the‌‌medical‌‌student‌‌most‌‌often‌‌relied‌‌upon‌‌for‌‌emergency‌‌operations‌‌during‌‌her‌‌Surgical‌‌
          rotation.‌ ‌
        ● Danielle‌‌embodies‌‌poised‌‌leadership‌‌as‌r‌ eflected‌‌in‌‌her‌‌work‌‌as‌‌a‌‌research‌‌associate‌‌at‌‌Nationwide‌‌
          Children’s‌‌Hospital‌‌in‌‌Columbus,‌‌Ohio. ‌‌As‌‌part‌‌of‌‌the‌‌Genetics‌‌team‌‌working‌‌with‌‌cardiac‌‌
          anomalies,‌D   ‌ anielle‌‌was‌‌responsible‌‌for‌‌critical,‌‌time-sensitive‌‌milestone‌‌checks‌‌as‌‌the‌‌patient‌‌was‌‌
          undergoing‌‌surgery. ‌‌As‌‌an‌‌integral‌‌part‌‌of‌‌the‌‌surgical‌‌team,‌‌she‌‌was‌‌the‌‌single‌‌point‌‌of‌‌
          accountability‌‌providing‌‌confirmatory‌‌test‌‌results‌‌within‌‌minutes‌‌and‌‌a‌‌recognized‌‌leader.‌ ‌
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                                   Exhibit B: Dr. Salter Evalaution of Plaintiff                                      001
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 4 of 356 PageID 47
Academic‌‌History‌ ‌
Date‌‌of‌‌Initial‌‌Matriculation‌‌in‌‌Medical‌‌School:‌ ‌
                                                                                                  2016-05-01‌ ‌
American‌‌Univ.‌‌of‌‌the‌‌Caribbean‌‌-‌‌St.‌‌Maarten‌ ‌
Date‌‌of‌‌Initial‌‌Matriculation‌‌in‌‌Medical‌‌School‌ ‌                                          2018-01-08‌ ‌
Anticipated‌‌Date‌‌of‌‌Graduation‌‌from‌‌Medical‌‌School‌ ‌ ‌                                     2021-12-25‌ ‌
Please‌‌explain‌‌any‌‌extensions,‌‌leave(s),‌g‌ ap(s)‌‌or‌‌break(s)‌‌in‌‌the‌‌student’s‌‌
                                                                                                  Not‌‌applicable‌ ‌
educational‌p‌ rogram:‌ ‌
Information‌‌about‌‌the‌‌student’s‌‌prior,‌‌current,‌‌or‌‌expected‌‌enrollment‌‌in,‌‌and‌‌the‌‌
month‌a‌ nd‌‌year‌‌of‌‌the‌‌student’s‌‌expected‌‌graduation‌‌from‌‌dual,‌‌joint,‌‌or‌‌            Not‌‌applicable‌ ‌
combined‌d‌ egree‌‌programs.‌ ‌
Was‌‌the‌‌student‌‌required‌‌to‌‌repeat‌‌or‌‌otherwise‌‌remediate‌‌any‌‌coursework‌‌
                                                                                                  No‌ ‌
during‌‌their‌‌medical‌‌education?‌‌If‌‌so,‌‌please‌‌explain‌ ‌
Was‌‌the‌‌student‌‌the‌‌recipient‌‌of‌‌any‌‌adverse‌‌action(s)‌‌by‌‌the‌‌medical‌‌school‌‌or‌‌
                                                                                                  No‌ ‌
its‌p‌ arent‌‌company?‌ ‌
  ‌

USMLE‌‌Step‌‌1‌ ‌                                       2019-07-22‌ ‌                                 202‌ ‌
USMLE‌‌Step‌‌2‌‌CK‌ ‌                                    Pending‌ ‌                                 Pending‌ ‌
USMLE‌‌Step‌‌2‌‌CS‌ ‌                                                               *‌ ‌
 ‌

   *‌‌At‌‌the‌‌time‌‌of‌‌writing‌‌this‌‌MSPE‌‌the‌‌USMLE‌‌Step-2‌‌CS‌‌exam‌‌was‌‌not‌‌available‌‌for‌‌reasons‌‌related‌‌to‌‌
    the‌‌COVID-19‌‌pandemic‌‌and‌‌the‌‌closure‌‌of‌‌prometric‌‌centers.‌‌Some‌‌students‌‌will‌‌not‌‌have‌‌a‌‌traditional‌‌
           USMLE‌‌Step-2‌‌CS‌‌score.‌‌In‌‌keeping‌‌with‌‌the‌‌guidelines‌‌of‌‌the‌‌ECFMG,‌‌St.‌‌Matthew’s‌‌University‌‌
 instituted‌‌a‌‌policy‌‌requiring‌‌students‌‌to‌‌document‌‌their‌‌clinical‌‌skills‌‌through‌‌the‌‌Mini-Clinical‌‌Evaluation‌‌
                  Exercise‌‌(Mini-CEX)‌‌either‌‌witnessed‌‌through‌‌in-hospital‌‌examinations‌‌while‌‌on‌‌rotation‌‌or‌‌
     university-approved‌‌OSCE‌‌programs.‌‌The‌‌Occupational‌‌English‌‌Test‌‌(OET)‌‌Medicine‌‌is‌‌being‌‌used‌‌to‌‌
                                               satisfy‌‌the‌‌Spoken‌‌English‌‌language‌‌proficiency‌‌(SEP)‌‌requirement.‌ ‌

 ‌
Academic‌‌Progress‌ ‌
 ‌
The‌s‌ tudent’s‌‌medical‌‌experience‌‌was‌‌impacted‌‌by‌‌the‌‌COVID-19‌‌pandemic.‌‌St.‌‌Matthew’s‌‌University‌‌
utilized‌v‌ irtual/remote‌‌electives‌‌during‌‌this‌‌time‌‌that‌‌were‌‌delivered‌‌via‌‌our‌‌Learning‌‌Management‌‌System‌‌
and‌‌assessed‌‌as‌‌Pass/Fail.‌‌Individual‌‌preceptor‌‌evaluation‌‌comments‌‌are‌‌reflected‌‌as‌‌part‌‌of‌‌each‌‌
clerkship’s‌‌summary‌‌below.‌ ‌
 ‌
This‌s‌ tudent’s‌‌academic‌‌experience‌‌was‌‌affected‌‌by‌‌the‌‌COVID-19‌‌pandemic;‌‌please‌‌see‌‌the‌‌Academic‌‌
Progress‌s‌ ection‌‌for‌‌more‌‌details.‌ ‌
 ‌
Professional‌‌Performance‌ ‌
Danielle‌‌Gegas‌‌has‌‌met‌‌all‌‌the‌‌stated‌‌objectives‌‌for‌‌professionalism‌‌at‌‌St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌
Medicine.‌‌Throughout‌‌their‌‌medical‌‌school‌e‌ ducation,‌‌we‌‌have‌‌assessed‌‌all‌‌students’‌‌commitment‌‌to‌‌the‌‌
highest‌‌standards‌‌of‌‌professional‌‌responsibility,‌‌adherence‌‌to‌‌ethical‌‌principles,‌‌and‌‌sensitivity‌‌in‌‌all‌‌
interactions‌‌with‌‌patients,‌‌families,‌‌colleagues,‌‌and‌‌others‌‌with‌‌whom‌‌physicians‌‌must‌‌interact‌‌in‌‌their‌‌
 ‌

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                                Exhibit B: Dr. Salter Evalaution of Plaintiff                                     002
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 5 of 356 PageID 48
professional‌‌lives.‌‌More‌‌specifically,‌‌each‌‌SMU‌‌student‌‌is‌‌expected‌‌to:‌‌show‌‌compassion‌‌in‌‌the‌‌treatment‌‌
of‌p‌ atients‌‌and‌‌respect‌‌for‌‌their‌‌privacy,‌‌dignity‌‌and‌‌beliefs;‌‌demonstrate‌‌personal‌‌integrity,‌‌ethical‌‌
behavior‌a‌ nd‌‌altruism;‌‌exhibit‌‌dependability‌‌and‌‌responsibility;‌‌acknowledge‌‌and‌‌accept‌‌the‌‌limitations‌‌in‌‌
his‌o‌ r‌‌her‌‌knowledge‌‌and‌‌clinical‌‌skills;‌‌demonstrate‌‌the‌‌ability‌‌to‌‌deal‌‌with‌‌uncertainty;‌‌demonstrate‌‌skills‌‌
in‌‌effectively‌‌reconciling‌‌conflicts;‌‌demonstrate‌‌the‌‌ability‌‌to‌‌identify‌‌and‌‌utilize‌‌effective‌‌personal‌‌coping‌‌
strategies;‌‌and‌‌develop‌‌sensitivity‌‌to‌‌discuss‌‌the‌‌ethical‌‌issues‌‌involved‌‌in‌‌clinical‌‌practice‌‌and‌‌the‌‌use‌‌of‌‌
human‌s‌ ubjects‌‌in‌‌clinical‌‌research.‌ ‌
  ‌
Pre-Clinical‌‌Coursework‌ ‌
Danielle‌‌Gegas‌‌successfully‌‌completed‌‌the‌‌Basic‌‌Science‌‌portion‌‌of‌‌her‌‌medical‌‌education,‌‌which‌‌is‌‌
graded‌a‌ s‌‌Honors,‌‌High‌‌Pass,‌‌Pass,‌‌and‌‌Fail.‌ ‌
  ‌
Core‌‌Clerkships‌‌(in‌‌chronological‌‌order)‌ ‌
All‌‌core‌‌clerkships‌‌are‌‌completed‌‌at‌‌affiliated‌‌clinical‌‌sites,‌‌each‌‌of‌‌which‌‌has‌‌an‌‌ACGME-accredited‌‌
residency‌‌training‌‌program‌‌(for‌‌U.S.‌‌clerkships)‌‌or‌‌in‌‌an‌‌RCPSC‌‌or‌‌CFPC-accredited‌‌program‌‌(for‌‌
Canadian‌c‌ lerkships).‌‌Clerkships‌‌are‌‌uniformly‌‌graded‌‌on‌‌the‌‌basis‌‌of:‌‌Faculty‌‌Evaluation‌‌(30%),‌‌
Clerkship‌‌Exam:‌‌(40%),‌‌Engaged‌‌Learning‌‌Experience‌‌(10%),‌‌Patient‌‌Notes‌‌(10%),‌‌and‌‌Patient‌‌Logs‌‌
(10%).‌‌Grading‌‌for‌‌the‌‌core‌‌clerkships‌‌was‌‌not‌‌altered‌‌due‌‌to‌‌the‌‌COVID-19‌‌pandemic.‌‌In‌‌some‌‌instances,‌‌
students‌‌experienced‌‌scheduling‌‌gaps‌‌in‌‌their‌‌clerkships‌‌due‌‌to‌‌the‌‌COVID-19‌‌pandemic,‌‌as‌‌noted‌‌below.‌ ‌
  ‌
 ‌
   Pediatrics‌‌Core‌ ‌         6‌‌Weeks‌ ‌ 2019-10-14‌‌>‌‌2019-11-22‌ ‌
   Student‌‌Grade:‌‌ ‌         Honors‌ ‌
   Affiliated‌‌Site:‌‌ ‌       Wyckoff‌‌Heights‌‌Medical‌‌Center,‌‌Brooklyn,‌‌NY‌ ‌
   Preceptor‌‌of‌‌             Dr.‌‌Tatyana‌‌Grosman‌ ‌
   Record:‌‌ ‌
   “Responsible‌‌and‌‌mature‌‌student‌‌with‌‌strong‌‌academic‌‌
   knowledge.‌‌Just‌‌needs‌‌to‌‌improve‌‌her‌‌test-taking‌‌skills.”‌ ‌




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                                Exhibit B: Dr. Salter Evalaution of Plaintiff                                       003
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 6 of 356 PageID 49
OB/Gyn‌‌Core‌ ‌       6‌‌Weeks‌ ‌ 2019-11-25‌‌>2020-01-03‌ ‌
Student‌‌Grade:‌‌ ‌   Honors‌ ‌
Affiliated‌‌Site:‌‌ ‌ Wyckoff‌‌Heights‌‌Medical‌‌Center,‌‌Brooklyn,‌‌NY‌ ‌
Preceptor‌‌of‌‌       Dr.‌‌Ana‌‌Munoz-Matta‌ ‌
Record:‌‌ ‌
“Good‌‌bedside‌‌manners.”‌ ‌




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‌
 Psychiatry‌‌Core‌ ‌ 6‌‌Weeks‌ ‌ 2020-02-03‌‌>‌‌2020-03-13‌ ‌
 Student‌‌Grade:‌‌ ‌       Honors‌ ‌
 Affiliated‌‌Site:‌‌ ‌     St.‌‌Johns‌‌Episcopal‌‌Hospital,‌‌Far‌‌Rockaway,‌‌NY‌ ‌
 Preceptor‌‌of‌‌           Dr.‌‌Lokesh‌‌Reddy‌ ‌
 Record:‌‌ ‌
 “Danielle‌‌is‌‌a‌‌very‌‌good‌‌student.‌‌She‌‌has‌‌a‌‌good‌‌fund‌‌of‌‌
 knowledge.‌‌She‌‌is‌‌caring‌‌and‌‌compassionate.”‌ ‌




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                            Exhibit B: Dr. Salter Evalaution of Plaintiff            004
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 7 of 356 PageID 50
Internal‌‌Medicine‌‌ 12‌‌Weeks‌ ‌ 2020-10-12‌‌>‌‌2021-01-01‌ ‌
Core‌ ‌
Student‌‌Grade:‌‌ ‌      High‌‌Pass‌ ‌
Affiliated‌‌Site:‌‌ ‌    AdventHealth‌‌Orlando‌‌/‌‌Florida‌‌Hospital,‌‌Orlando,‌‌FL‌ ‌
Preceptor‌‌of‌‌          Dr.‌‌Byron‌‌Mata‌ ‌
Record:‌‌ ‌
The‌‌candidate‌‌exceeded‌‌all‌‌clinical‌‌expectations‌‌on‌‌which‌‌
they‌‌could‌‌be‌‌evaluated.‌ ‌




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 Surgery‌‌Core‌ ‌          12‌‌Weeks‌ ‌ 2021-02-22‌‌>‌‌2021-05-14‌ ‌
 Student‌‌Grade:‌‌ ‌       High‌‌Pass‌ ‌
 Affiliated‌‌Site:‌‌ ‌     AdventHealth‌‌Orlando‌‌/‌‌Florida‌‌Hospital,‌‌Orlando,‌‌FL‌ ‌ ‌
 Preceptor‌‌of‌‌           Dr.‌‌Francisco‌‌Halili‌‌ ‌
 Record:‌‌ ‌
 “Danielle‌‌is‌‌an‌‌excellent‌‌medical‌‌student.‌W    ‌ orks‌‌hard;‌‌
 always‌‌wants‌‌to‌‌learn.‌‌Excellent‌‌bedside‌‌manner.‌‌Studies‌‌
 hard.‌‌Patients‌‌and‌‌staff‌‌love‌‌her.‌‌Will‌‌be‌‌a‌‌great‌‌physician.”‌ ‌




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                           Exhibit B: Dr. Salter Evalaution of Plaintiff                     005
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 8 of 356 PageID 51
Elective‌‌Clerkships‌‌(in‌‌chronological‌‌order)‌ ‌

Clerkship‌‌grading‌‌is‌‌based‌‌on‌‌Faculty‌‌Evaluation‌‌(90%)‌‌and‌‌Patient‌‌Logs‌‌(10%).‌E   ‌ lective‌c‌ lerkships‌‌are‌‌
completed‌‌in‌‌the‌‌U.S.‌‌and‌‌Canada‌‌(UK).‌ ‌U.S.‌‌and‌‌Canadian/U.K.‌‌elective‌‌clerkships‌‌are‌‌University‌‌
affiliated.‌ ‌Due‌‌to‌‌the‌‌COVID-19‌‌pandemic,‌‌students‌‌were‌‌permitted‌‌to‌‌participate‌‌in‌‌non-hospital-based‌‌
electives‌‌as‌‌described‌‌in‌‌the‌‌relevant‌‌narratives.‌‌All‌‌non-hospital-based‌‌electives‌‌were‌‌delivered‌‌virtually‌‌
and‌‌were‌‌assessed‌‌by‌‌a‌‌combination‌‌of‌‌faculty‌‌evaluation,‌‌written‌‌assignments,‌‌student‌‌presentations,‌‌
synchronous‌‌discussions,‌‌and/or‌‌standardized‌‌patient‌‌encounters‌‌as‌‌described‌‌below.‌‌Clerkship‌‌grading‌‌for‌‌
non-hospital-based‌‌electives‌‌is‌‌based‌‌on‌‌Faculty‌‌Evaluation‌‌(100%).‌ ‌

 ‌

ICMI‌‌Elective‌‌*‌ ‌                     8‌‌wks‌ ‌         2020-04-06‌‌>‌‌2020-05-29‌ ‌
Student‌‌Grade:‌ ‌ Honors‌ ‌
Clinical‌‌Site:‌ ‌ Orlando,‌‌FL‌ ‌
“Student‌‌demonstrated‌‌persistence,‌‌adaptability,‌‌and‌f‌lexibility‌‌during‌‌a‌‌complex‌‌and‌‌evolving‌‌time‌‌
period‌c‌ aused‌‌by‌‌COVID-19‌‌crisis.‌‌The‌s‌ tudent's‌‌article‌‌has‌‌been‌‌identified‌‌as‌‌a‌‌publication-quality‌‌
work‌a‌ nd‌‌it‌‌has‌‌been‌‌suggested‌‌that‌‌the‌‌student‌‌pursue‌‌publication.”‌ ‌
 ‌
Preparing‌‌for‌‌Modern‌‌                 2‌‌wks‌ ‌         2020-06-15‌‌>‌‌2020-06-26‌ ‌
Clinical‌P ‌ ractice‌‌Elective‌‌*‌ ‌
Student‌‌Grade:‌ ‌ Honors‌ ‌
Clinical‌‌Site:‌ ‌ Orlando,‌‌FL‌ ‌
“Danielle‌‌was‌‌the‌‌star‌‌of‌‌my‌‌course!‌‌She‌‌processed‌‌the‌‌discussions‌‌at‌‌a‌‌very‌‌personal‌‌level‌‌and‌‌you‌‌
could‌‌literally‌‌"see‌‌the‌‌mental‌‌wheels‌‌spinning"‌‌as‌‌she‌‌was‌‌reflectively‌‌formulating‌‌her‌‌responses.‌‌Her‌‌
written‌a‌ ssignment‌‌material‌‌was‌‌very‌‌mature‌‌and‌‌creative.‌‌She‌‌asked‌‌great‌‌questions‌‌and‌‌gave‌‌great‌‌
responses‌‌to‌‌others‌‌in‌‌the‌‌group.‌‌Her‌‌dynamic‌‌of‌‌interacting‌‌with‌‌her‌‌fellow‌‌course‌‌participants‌‌was‌‌
wonderful‌‌and‌‌non-judgmental.‌‌She‌‌already‌‌has‌‌the‌‌requisite‌‌qualities‌‌of‌‌a‌‌superb‌‌and‌‌mature‌‌resident.‌‌
Patients‌‌will‌‌love‌‌her.”‌ ‌
 ‌
Anesthesia‌‌Elective‌ ‌                  4‌‌wks‌ ‌         2020-08-03‌‌>‌‌2020-08-28‌ ‌
Student‌‌Grade:‌ ‌ Honors‌ ‌
Clinical‌‌Site:‌ ‌ Jackson‌‌Park‌‌Hospital,‌‌Chicago,‌‌IL‌ ‌
“Very‌‌hard‌‌working,‌‌attentive‌‌to‌‌detail‌‌and‌r‌ eliable.”‌ ‌
 ‌
Family‌‌Practice‌‌Elective‌ ‌            6‌‌wks‌ ‌         2021-01-04‌‌>‌‌2021-02-12‌ ‌
Student‌‌Grade:‌ ‌ Honors‌ ‌
Clinical‌‌Site:‌ ‌ AdventHealth‌‌Orlando‌‌/‌‌Florida‌‌Hospital,‌‌Orlando,‌‌FL‌ ‌
“Very‌‌professional;‌‌attentive;‌‌great‌‌to‌‌work‌‌with‌‌and‌d‌ efinitely‌‌will‌‌be‌‌a‌‌good‌ ‌candidate‌‌for‌‌residency.”‌
 ‌                      ‌
Neurology‌‌Elective‌ ‌                   4‌‌wks‌ ‌         2021-08-23‌‌>‌‌2021-09-17‌ ‌
Student‌‌Grade:‌ ‌ Pending‌ ‌
Clinical‌‌Site:‌ ‌ AdventHealth‌‌Orlando‌‌/‌‌Florida‌‌Hospital,‌‌Orlando,‌‌FL‌ ‌
Preceptor‌‌Comments‌‌Pending‌ ‌
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                                Exhibit B: Dr. Salter Evalaution of Plaintiff                                     006
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 9 of 356 PageID 52
                                                      SUMMARY‌ ‌

Academic‌‌Standing‌ ‌

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Appendix‌‌A‌‌compares‌‌the‌‌student’s‌‌final‌‌percentage‌ Appendix‌‌B‌‌compares‌‌the‌‌student’s‌‌overall‌‌GPA‌‌
grade‌i‌n‌‌each‌‌Basic‌‌Science‌‌course‌‌to‌‌the‌‌class‌‌ (across‌t‌he‌e‌ ntire‌‌curriculum)‌‌to‌‌that‌‌of‌‌all‌‌other‌‌
average‌‌in‌‌the‌‌course.‌ ‌                              students.‌ ‌
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                               Exhibit B: Dr. Salter Evalaution of Plaintiff                                    007
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 10 of 356 PageID 53
Danielle‌‌has‌‌proven‌‌to‌‌herself‌‌and‌‌to‌‌others‌t‌hat‌‌she‌‌is‌‌a‌‌highly‌‌capable‌‌student‌‌who‌‌is‌‌focused‌‌and‌‌
performs‌w  ‌ ell‌‌in‌‌all‌‌circumstances.‌‌She‌‌has‌d‌ emonstrated‌‌an‌‌understanding‌‌and‌‌proficiency‌‌in‌‌each‌‌of‌‌our‌
school’s‌‌core‌‌competencies.‌‌She‌‌has‌‌earned‌‌high‌‌praise‌‌in‌‌all‌‌of‌‌her‌‌clinical‌‌rotations‌‌and‌‌demonstrated‌‌
overall‌‌excellence‌‌relative‌‌to‌‌her‌‌peers.‌‌Based‌‌on‌‌her‌‌documented‌‌strong‌‌past‌‌summative‌‌and‌‌formative‌‌
evaluation‌p‌ erformance,‌‌ ‌
 ‌
Danielle’s‌‌CV‌‌is‌‌outstanding‌‌for‌‌any‌‌medical‌‌student.‌‌Her‌‌gene‌‌therapy‌‌research‌‌experience‌‌was‌‌
impressive.‌I‌ ‌‌love‌‌how‌‌well‌‌rounded‌‌she‌‌is.‌‌Anyone‌‌who‌‌has‌‌the‌‌experience‌‌in‌‌coaching‌‌that‌‌Danielle‌‌has,‌‌
understands‌‌team‌‌dynamics.‌‌Almost‌‌universally‌‌that‌‌translates‌‌into‌‌how‌‌these‌‌students‌‌function‌‌in‌‌a‌‌
residency‌‌program.‌‌Danielle‌‌was‌‌in‌‌my‌‌online‌‌course‌‌(transition‌‌to‌‌residency)‌‌during‌‌COVID‌‌when‌‌the‌‌
core‌‌hospitals‌‌were‌‌closed‌‌to‌‌students.‌‌She‌‌was‌‌always‌‌prepared,‌‌engaged‌‌in‌‌the‌‌discussions‌‌and‌‌provided‌‌
perspectives‌‌that‌‌were‌‌quite‌‌different‌‌from‌‌her‌‌classmates.‌‌I‌‌enjoyed‌‌having‌‌her‌‌in‌‌my‌‌class.‌‌I‌‌predict‌‌that‌‌
she‌‌will‌‌carry‌‌these‌‌strengths‌‌into‌‌her‌‌residency‌‌training‌‌and‌‌contribute‌‌greatly‌‌to‌‌the‌‌program,‌‌her‌‌
colleagues,‌h‌ er‌‌teachers‌‌and‌‌her‌‌patients.‌‌Danielle’s‌‌transcript‌‌documents‌‌that‌‌she‌‌is‌‌a‌‌truly‌‌outstanding‌‌
student‌i‌n‌e‌ very‌‌way.‌ ‌
 ‌
I‌‌am‌‌available‌‌at‌‌your‌‌convenience‌‌to‌‌provide‌‌any‌‌additional‌‌information‌‌you‌‌may‌‌need.‌‌Please‌‌feel‌‌free‌‌to‌‌
email‌‌me.‌ ‌
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David‌‌Salter,‌‌MD,‌‌FRCS(c),‌‌FACS,‌‌FACC‌ ‌
Dean‌‌of‌‌Clinical‌‌Sciences‌ ‌
Chairman‌o‌ f‌‌the‌‌Department‌‌of‌‌Surgery‌ ‌
dsalter@stmatthews.edu‌ ‌
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                                Exhibit B: Dr. Salter Evalaution of Plaintiff                                      008
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 11 of 356 PageID 54
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                                                   Appendix‌‌C‌ ‌
                                            Medical‌‌School‌‌Information‌ ‌
 ‌
(1)‌S‌ t.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌ ‌
    ‌(Grand‌‌Cayman,‌‌Cayman‌‌Islands,‌‌British‌‌West‌‌Indies)‌ ‌
 ‌
Founded‌‌in‌‌1997,‌‌St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌(SMU)‌‌is‌‌accredited‌‌by‌‌the‌‌Accreditation‌‌
Commission‌o‌ f‌‌Colleges‌‌of‌‌Medicine‌‌(ACCM),‌‌the‌‌agency‌‌designated‌‌by‌‌the‌‌Government‌‌of‌‌the‌‌Cayman‌‌
Islands‌‌as‌‌its‌‌official‌‌medical‌‌school‌‌accrediting‌‌agency.‌‌The‌‌US‌‌Department‌‌of‌‌Education’s‌‌National‌‌
Committee‌‌on‌‌Foreign‌‌Medical‌‌Education‌‌and‌‌Accreditation‌‌(NCFMEA)‌‌recognizes‌‌the‌‌ACCM‌‌as‌‌using‌‌
accreditation‌‌standards‌‌similar‌‌to‌‌the‌‌accrediting‌‌body‌‌for‌‌medical‌‌schools‌‌in‌‌the‌‌United‌‌States.‌‌The‌‌ACCM‌‌
has‌‌had‌‌a‌‌comparability‌‌determination‌‌from‌‌the‌‌US‌‌Department‌‌of‌‌Education's‌‌National‌‌Committee‌‌on‌‌
Foreign‌‌Medical‌‌Education‌‌(NCFMEA)‌‌continuously‌‌since‌‌2002. ‌‌In‌‌2013,‌‌St.‌‌Matthew’s‌‌University‌‌
achieved‌‌a‌‌six-year‌‌accreditation‌‌from‌‌the‌‌ACCM,‌‌which‌‌is‌‌the‌‌longest‌‌accreditation‌‌period‌‌available‌‌under‌‌
their‌p‌ rotocol.‌ ‌SMU’s‌‌accreditor‌‌has‌‌received‌‌recognition‌‌from‌‌the‌‌World‌‌Federation‌‌for‌‌Medical‌‌
Education‌‌(WFME),‌‌the‌‌organization‌‌specifically‌‌identified‌‌by‌‌the‌‌ECFMG‌‌as‌‌setting‌‌the‌‌standard‌‌for‌‌
“globally‌‌acceptable‌‌criteria”. ‌ ‌
 ‌
St.‌‌Matthew’s‌‌is‌‌approved‌‌by‌‌the‌‌New‌‌York‌‌State‌‌Education‌‌Department‌‌and‌‌licensed‌‌by‌‌the‌‌Commission‌‌
for‌‌Independent‌‌Education,‌‌Florida‌‌Department‌‌of‌‌Education.‌‌SMU‌‌also‌‌boasts‌‌recognition‌‌from‌‌the‌‌
Educational‌‌Commission‌‌for‌‌Foreign‌‌Medical‌‌Graduates‌‌(ECFMG).‌ ‌Our‌‌students‌‌achieve‌‌exceptional‌‌
scholastic‌‌and‌‌professional‌‌results.‌ ‌For‌‌example,‌‌the‌‌USMLE‌‌Step‌‌1‌‌first‌‌attempt‌‌pass‌‌rate‌‌was‌‌97%‌‌for‌‌
SMU‌‌students‌‌in‌‌2016.‌‌ ‌
 ‌
(2)‌‌Specific‌‌programmatic‌‌emphases,‌‌strengths,‌‌mission(s),‌‌or‌‌goals(s)‌‌of‌‌St.‌‌Matthew’s‌‌University‌‌
School‌‌of‌‌Medicine‌ ‌
  ‌
St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌has‌‌a‌‌mission‌‌to‌‌provide‌‌students‌‌of‌‌diverse‌‌backgrounds‌‌and‌
cultures‌‌the‌‌opportunity‌‌to‌‌acquire‌‌the‌‌medical‌‌and‌‌clinical‌‌expertise‌‌needed‌‌for‌‌a‌‌successful‌‌career‌‌as‌‌a‌‌
practicing‌c‌ linician‌‌along‌‌with‌‌the‌‌skills‌‌and‌‌confidence‌‌needed‌‌to‌‌critically‌‌evaluate‌‌and‌‌apply‌‌new‌‌
information‌‌with‌‌a‌‌high‌‌level‌‌of‌‌clinical‌‌competency.‌‌Many‌‌graduates‌‌come‌‌equipped‌‌with‌‌post-graduate‌‌
degrees‌‌including‌‌MBAs.‌‌Students‌‌in‌‌general‌‌are‌‌older,‌‌more‌‌mature,‌‌and‌‌bring‌‌a‌‌strong‌‌work‌‌ethic‌‌to‌‌the‌‌
work‌‌place.‌ ‌Students‌‌are‌‌frequently‌‌interested‌‌in‌‌providing‌‌care‌‌to‌‌medically‌‌under-served‌‌communities‌‌
and‌‌SMU‌‌strives‌‌to‌‌provide‌q‌ uality‌‌education‌‌focused‌‌both‌‌on‌‌the‌‌success‌‌of‌‌our‌‌students‌‌and‌‌on‌‌
patient-centered‌‌care.‌‌ ‌
 ‌
The‌‌medical‌‌students‌‌at‌‌St.‌‌Matthew’s‌‌University‌‌begin‌‌their‌‌clinical‌‌exposure‌‌in‌‌the‌‌basic‌‌science‌‌years‌‌
where‌‌they‌‌gain‌‌early‌‌hospital‌‌experience‌‌in‌‌collaboration‌‌with‌‌the‌‌Cayman‌‌Islands’‌‌two‌‌state-of-the-art‌‌
hospitals.‌‌Students‌‌visit‌‌these‌‌hospitals,‌‌shadow‌‌local‌‌teaching‌‌physicians,‌‌make‌‌patient‌‌rounds,‌‌and‌‌learn‌‌
how‌‌to‌‌review‌‌charts‌‌with‌‌physicians‌‌and‌‌nurses.‌‌ ‌
 ‌
The‌‌students‌‌receive‌‌skills‌‌training‌‌from‌‌their‌‌first‌‌semester‌‌through‌‌a‌‌Student‌‌Development‌‌Course‌‌that‌‌
provides‌‌study‌‌skills,‌‌exam‌‌strategies,‌‌peer‌‌support,‌‌and‌‌stress‌‌management.‌‌The‌‌school‌‌has‌‌a‌‌Center‌‌for‌‌
Learning‌‌Enhancement,‌‌which‌‌offers‌‌special‌‌group‌‌and‌‌one-on-one‌‌faculty‌‌reviews‌‌and‌‌tutoring‌‌and‌‌
student‌a‌ cademic‌‌coaches. St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌prides‌‌itself‌‌on‌‌its‌‌low‌‌student‌‌to‌‌
faculty‌‌ratio‌‌by‌‌limiting‌‌incoming‌‌class‌‌sizes‌‌to‌‌a‌‌maximum‌‌of‌‌50‌‌students‌‌and‌‌allowing‌‌for‌‌close‌‌
 ‌

 ‌


                               Exhibit B: Dr. Salter Evalaution of Plaintiff                                   009
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 12 of 356 PageID 55
student-teacher‌‌interactions.‌‌After‌‌completing‌‌their‌‌basic‌‌science‌‌education‌‌in‌‌the‌‌Cayman‌‌Islands,‌‌students‌‌
pursue‌‌their‌‌clinical‌‌science‌‌education‌‌in‌‌the‌‌United‌‌States,‌‌Canada,‌‌and/or‌‌the‌‌United‌‌Kingdom.‌ ‌
  ‌
Documentation‌‌of‌‌realization‌‌of‌‌the‌‌educational‌‌program‌‌objectives‌‌at‌‌SMU‌‌is‌‌monitored‌‌through‌‌the‌‌
achievement‌o‌ f‌‌specific‌‌competencies.‌‌Demonstration‌‌of‌‌knowledge,‌‌skills,‌‌behaviors‌‌and‌‌attitudes‌‌are‌‌
requisite‌‌for‌‌competency‌‌achievement.‌‌There‌‌are‌‌multiple‌‌competencies‌‌(Patient‌‌Care,‌‌Scientific‌‌and‌‌
Medical‌K   ‌ nowledge,‌‌Lifelong‌‌Learning‌‌Scholarship‌‌and‌‌Collaboration,‌‌Professionalism,‌‌Communication‌‌
and‌I‌ nterpersonal‌‌Skills,‌‌Social‌‌and‌‌Community‌‌Context‌‌of‌‌Healthcare)‌‌associated‌‌with‌‌each‌‌course‌‌and‌‌
achievement‌‌of‌‌each‌‌of‌‌these‌‌is‌‌monitored.‌‌In‌‌the‌‌case‌‌that‌‌a‌‌competency‌‌is‌‌not‌‌achieved,‌‌specific‌‌and‌‌
appropriate‌r‌ emediation‌‌is‌‌required.‌‌Additionally,‌‌there‌‌are‌‌multiple‌‌points‌‌in‌‌the‌‌curriculum‌‌where‌‌
individual‌c‌ ompetencies‌‌are‌‌addressed.‌‌Successful‌‌completion‌‌of‌‌the‌‌curriculum‌‌requires‌‌that‌‌students‌‌
achieve‌‌competency‌‌in‌‌all‌‌designated‌‌areas‌‌prior‌‌to‌‌graduation.‌ ‌
  ‌
(3)‌‌Unusual‌‌characteristics‌‌of‌‌the‌‌medical‌‌school’s‌‌educational‌‌program,‌‌including‌‌the‌‌timing‌‌of‌‌
preclinical/basic‌‌science‌‌coursework,‌‌core‌‌clinical‌‌clerkships,‌‌and‌‌elective‌‌rotations. ‌ ‌
  ‌
The‌S ‌ t.‌‌Matthew’s‌‌University‌‌School‌‌of‌M  ‌ edicine‌‌Basic‌‌Science‌‌program‌‌capitalizes‌‌on‌‌small‌‌group‌‌
interactive‌‌learning‌‌(team-based‌‌learning),‌‌incorporates‌‌the‌‌principles‌‌of‌‌the‌‌“flipped‌‌classroom”,‌‌
introduces‌e‌ xtensive‌‌participation‌‌in‌‌clinical‌‌skills‌‌training‌‌early‌‌in‌‌the‌‌curriculum,‌‌student‌‌peer‌‌teaching‌‌
opportunities,‌‌critical‌‌appraisal‌‌of‌‌the‌‌primary‌‌literature,‌‌all‌‌lectures‌‌recorded‌‌and‌‌archived,‌‌early‌‌
introduction‌‌of‌‌critical‌‌judgment‌‌based‌‌on‌‌evidence,‌‌clinical‌‌case‌‌scenarios‌‌in‌‌each‌‌basic‌‌science‌‌course‌‌
with‌t‌he‌‌practical‌‌application‌‌of‌‌basic‌‌scientific‌‌principles‌‌to‌‌medical‌‌problem-solving,‌‌and‌‌early‌‌clinical‌‌
shadowing‌‌experience.‌ ‌
  ‌
In‌‌addition‌‌to‌‌Clinical‌‌“Block‌‌Rotations”,‌‌SMU‌‌offers‌‌interactive‌‌online‌‌web-based‌‌training‌‌in‌‌the‌‌Clinical‌‌
years‌‌via‌‌an‌‌online‌‌Learning‌‌Management‌‌system.‌‌This‌‌enables‌‌SMU‌‌to‌‌provide‌‌learning‌‌resources‌‌
managed‌‌by‌‌faculty‌‌that‌‌are‌‌tailored‌‌for‌o‌ ur‌‌students,‌‌to‌‌communicate‌‌with‌‌the‌‌students‌‌effectively,‌‌and‌‌to‌‌
track‌‌their‌‌progress‌‌through‌‌modules‌‌and‌‌other‌‌assignments.‌‌Each‌‌week‌‌the‌‌students‌‌are‌‌assigned‌‌cases‌‌in‌‌
the‌M‌ edU‌‌courses‌‌that‌‌provide‌‌peer‌‌reviewed‌‌teaching‌‌modules‌‌based‌‌on‌‌virtual‌‌patients‌‌for‌‌each‌‌of‌‌the‌‌
core‌r‌ otations.‌‌These‌‌cases‌‌“are‌‌designed‌‌to‌‌provide‌‌comprehensive‌‌coverage‌‌of‌‌nationally‌‌accepted‌‌
curricula.”‌‌Clinical‌‌faculty‌‌review‌‌the‌‌reflections‌‌on‌‌these‌‌cases‌‌weekly‌‌through‌‌an‌‌online‌‌student‌‌forum.‌‌
Each‌‌student‌‌is‌‌required‌‌to‌‌submit‌‌a‌‌log‌o‌ f‌‌patient‌‌encounters‌‌on‌‌each‌‌core‌‌and‌‌elective‌‌rotation‌‌wherein‌‌
they‌d‌ ocument‌‌their‌‌clinical‌‌encounters.‌‌Students‌‌also‌‌write‌‌patient‌‌notes‌‌based‌‌on‌‌the‌‌I.C.E.‌‌component‌‌of‌‌
the‌‌USMLE‌‌Step‌‌2‌‌CS‌‌examination‌‌which‌‌along‌‌with‌‌the‌‌logs‌‌and‌‌the‌‌MedU‌‌assignments‌‌are‌‌graded‌‌with‌‌
weekly‌f‌ eedback‌‌weekly‌‌from‌‌the‌‌Clinical‌‌Department‌‌Chairs.‌ ‌
  ‌
(4)‌‌The‌‌average‌‌length‌‌of‌‌enrollment‌‌of‌‌students‌‌in‌‌this‌‌graduating‌‌class,‌‌from‌‌initial‌‌matriculation‌‌
until‌‌graduation. 4‌ ‌y‌ ears‌ ‌
  ‌
SMU’s‌‌curriculum‌‌may‌‌be‌‌completed‌‌in‌‌as‌‌little‌‌as‌‌10‌‌semesters‌‌or‌‌approximately‌‌3‌‌1/3‌‌years,‌‌with‌‌most‌‌
students‌‌completing‌‌the‌‌program‌‌within‌‌4‌‌years.‌ ‌ ‌
  ‌
(5)‌‌Compliance‌‌with‌‌the‌‌AAMC‌‌“Guidelines‌‌for‌‌Medical‌‌Schools‌‌Regarding‌‌Academic‌‌Transcripts”‌ ‌
  ‌
St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌‌functions‌‌in‌‌accordance‌‌with‌‌each‌‌of‌‌the‌‌recommendations‌‌
outlined‌‌by‌‌the‌A‌ merican‌‌Association‌‌of‌‌Collegiate‌‌Registrars‌‌and‌‌Admissions‌‌Officers‌‌(AACRAO)‌‌in‌‌
their‌‌publication‌‌approved‌‌by‌‌the‌‌AAMC‌‌GSA‌‌Steering‌‌Committee‌‌May‌‌2016.‌‌Student‌‌information‌‌is‌‌
  ‌

 ‌


                               Exhibit B: Dr. Salter Evalaution of Plaintiff                                     010
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 13 of 356 PageID 56
managed‌‌through‌‌a‌‌secure‌‌and‌‌comprehensive‌‌Student‌‌Information‌‌System.‌‌The‌‌school‌‌also‌‌complies‌‌with‌‌
the‌‌recommendations‌‌of‌‌the‌‌Family‌‌Education‌‌Rights‌‌and‌‌Privacy‌‌Act‌‌(FERPA)‌‌as‌‌outlined‌‌by‌‌the‌‌U.S.‌‌
Department‌o‌ f‌‌Education.‌‌ ‌
           ‌
(6)‌‌The‌‌evaluation‌‌system‌‌used‌‌at‌‌the‌‌medical‌‌school,‌‌including‌‌a‌‌“translation”‌‌of‌‌the‌‌meaning‌‌of‌‌the‌‌
grades‌‌received‌‌by‌t‌ he‌‌student. ‌ ‌
  ‌
All‌‌courses,‌‌including‌‌core‌‌clinical‌‌clerkships‌‌and‌‌elective‌‌rotations,‌‌are‌‌graded‌‌on‌‌the‌‌following‌‌scale:‌‌
Honors‌‌(H‌‌90-100%),‌‌High‌‌Pass‌‌(HP‌‌80-89%),‌‌Pass‌‌(P‌‌70-79%),‌‌and‌‌Fail‌‌(F‌‌<70%).‌‌Basic‌‌Science‌‌courses‌‌
typically‌h‌ ave‌‌five‌‌examinations,‌‌with‌‌the‌‌NBME‌‌subject‌‌exam‌‌serving‌‌as‌‌the‌‌final‌‌exam.‌ ‌Core‌‌Clerkship‌‌
grades‌‌are‌‌composed‌‌of‌‌weighted‌‌scores‌‌from‌‌Preceptor‌‌Evaluations,‌‌NBME‌‌Subject‌‌Exams,‌‌Integrated‌‌
Clinical‌E ‌ ncounter‌‌based‌‌Patient‌‌Notes,‌P    ‌ atient‌‌Logs‌‌Mid-Clerkship‌‌Evaluations‌‌and‌‌Structured‌‌Case‌‌
Studies.‌ D ‌ uring‌‌the‌‌clinical‌‌phase‌‌of‌‌the‌‌curriculum,‌f‌ aculty‌‌observation‌‌is‌‌used‌‌to‌‌assess‌‌the‌‌students’‌‌
performance,‌‌and‌‌documented‌‌on‌‌the‌‌Competency-based‌‌Evaluation‌‌form.‌‌Each‌‌element‌‌is‌‌scored‌‌with‌‌a‌‌
rubric‌t‌hat‌‌specifies‌‌criteria‌‌for‌‌“Exceeding‌‌Expectations”,‌‌Meeting‌‌Expectations”,‌‌and‌‌“Below‌‌
Expectations”‌‌with‌‌descriptors‌‌for‌‌each‌‌level‌‌of‌‌performance.‌‌In‌‌addition,‌‌the‌‌preceptors‌‌observe‌‌and‌‌assess‌‌
student‌p‌ erformance‌‌on‌‌the‌‌patient‌‌presentations.‌‌The‌‌weekly‌‌Patient‌‌Notes‌‌are‌‌assessed‌‌by‌‌the‌‌office‌‌of‌‌
the‌‌Dean,‌‌Clinical‌‌Medicine,‌‌and‌‌student‌‌performance‌‌in‌‌understanding‌‌societal‌n‌ eeds‌‌and‌‌demands‌‌on‌‌
healthcare‌a‌ re‌‌included‌‌in‌‌the‌‌feedback.‌T   ‌ he‌‌Structured‌‌Case‌‌Studies‌‌are‌‌reviewed‌‌with‌‌feedback‌e‌ ach‌‌
week‌‌by‌‌the‌‌respective‌‌core‌‌Department‌‌Chairs.‌‌The‌‌core‌‌clinical‌‌evaluation‌‌components‌‌and‌‌weights‌‌are:‌‌-‌‌
Faculty‌‌Evaluation‌‌(30%),‌‌Clerkship‌‌Exam:‌‌(40%),‌‌Engaged‌‌Learning‌‌Experience‌‌(10%),‌‌Patient‌‌Notes‌‌
(10%),‌a‌ nd‌‌Patient‌‌Logs‌‌(10%).‌ ‌
 ‌
Elective‌r‌ otation‌‌grades‌‌are‌‌composed‌‌of‌‌weighted‌‌scores‌‌based‌‌on‌‌the‌‌supervising‌‌preceptor‌‌and‌P        ‌ atient‌
Logs‌‌with‌‌medical‌‌reflections.‌‌The‌‌elective‌‌clinical‌‌evaluation‌‌components‌‌and‌‌weights‌‌are:‌‌-‌‌Faculty‌‌
Evaluation‌‌(90%)‌‌and‌‌Patient‌‌Logs‌‌(10%).‌‌The‌‌supervising‌‌preceptor‌‌evaluates‌‌the‌‌clinical‌‌competences‌‌
and‌‌personal‌‌characteristics‌‌including‌‌the‌‌student's‌‌ability‌‌to‌‌collect‌‌and‌‌organize‌‌a‌‌meaningful‌‌history,‌‌
ability‌t‌o‌‌perform‌‌a‌‌thorough‌‌and‌‌accurate‌‌physical, ability‌‌to‌‌organize‌‌and‌‌access‌‌data,‌‌self-learning,‌‌
technical‌‌skills,‌‌interpersonal‌‌relations‌‌with‌‌patients‌‌and‌‌the‌‌healthcare‌‌team,‌‌diligence,‌‌thoroughness,‌‌and‌‌
reliability.‌ ‌For‌‌all‌‌clinical‌‌rotations,‌‌students‌‌must‌‌pass‌‌all‌‌components‌‌of‌‌the‌‌clinical‌‌evaluation‌‌in‌‌order‌‌to‌‌
pass‌‌the‌‌course.‌ ‌
 ‌
 ‌
(7)‌M‌ edical‌‌school‌‌requirements‌‌regarding‌‌a‌‌student’s‌‌successful‌‌completion‌‌of‌‌USMLE‌‌Step‌‌1‌‌and‌‌
Step‌2‌ ‌‌for‌‌promotion‌‌and/or‌‌graduation. ‌ ‌
 ‌
  ‌
       USMLE‌‌Step‌‌1:‌ ‌                     NBME‌‌Shelf‌‌Exams:‌ ‌             USMLE‌‌Step‌‌2‌‌CS‌‌and‌‌2‌‌CK‌ ‌
            Required‌‌for‌‌promotion‌ ‌           Required‌‌for‌‌completion‌‌         Required‌‌for‌‌promotion‌ ‌
       ✔‌                                     ✔‌                                 ✔‌
                                                  of‌‌course‌ ‌
            Required‌‌for‌‌graduation‌ ‌          Required‌‌for‌‌completion‌‌         Required‌‌for‌‌graduation‌ ‌
       ✔‌                                     ✔‌                                 ✔‌
                                                  of‌‌clerkship‌ ‌
  ‌
  ‌
(8)‌‌The‌‌use‌‌of‌‌Objective‌‌Structured‌‌Clinical‌‌Evaluations‌‌(OSCEs)‌‌in‌‌the‌‌assessment‌‌of‌‌St.‌‌Matthew’s‌‌
University‌S   ‌ chool‌‌of‌‌Medicine’s‌‌students. ‌ ‌

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                                 Exhibit B: Dr. Salter Evalaution of Plaintiff                                         011
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 14 of 356 PageID 57
  ‌
Performance-based‌‌assessment‌‌of‌‌clinical‌‌skills is‌‌achieved‌‌through‌‌multiple‌‌Objective‌‌Structured‌‌Clinical‌‌
Evaluations‌‌(OSCE)‌‌using‌‌standard‌‌assessment‌‌forms‌‌to‌‌evaluate‌‌various‌‌clinical‌‌skills‌‌of‌‌students‌‌in‌‌the‌‌
following‌‌courses:‌‌-‌ ‌Patient-Doctor‌‌I,‌‌Patient-Doctor‌‌II,‌‌Patient-Doctor‌‌III‌‌and‌‌Introduction‌‌to‌‌Clinical‌‌
Medicine.‌‌OSCEs‌‌are‌‌also‌‌used‌‌in‌‌the‌‌Behavioral‌‌Science‌‌and‌‌Ethics‌‌course.‌‌The‌‌4th‌‌semester‌‌shortened‌‌
OSCEs‌‌are‌‌both‌‌formative‌‌and‌‌summative,‌‌as‌‌students‌‌must‌‌successfully‌‌complete‌‌to‌‌pass‌‌the‌‌course.‌‌ ‌
  ‌
Upon‌‌completion‌‌of‌‌the‌‌fifth‌‌semester,‌‌prior‌‌to‌‌taking‌‌USMLE‌‌Step‌‌I‌‌the‌‌school‌‌provides‌‌a‌‌comprehensive‌‌
clinical‌s‌ kills‌‌examination‌‌to‌‌all‌‌students.‌‌The‌‌5th‌‌semester‌‌OSCE‌‌has‌‌both‌‌formative‌‌and‌‌summative‌‌
components.‌‌After‌‌the‌‌OSCE,‌‌each‌‌student‌‌receives‌‌formative‌‌individualized‌‌feedback‌‌regarding‌‌their‌‌
performance.‌‌Written‌‌feedback‌‌is‌‌supplied‌‌to‌‌each‌‌student‌‌and‌‌includes‌‌a‌‌personalized‌‌performance‌‌
analysis,‌a‌ nd‌‌written‌‌comments‌‌on‌‌each‌‌standardized‌‌patient.‌‌This‌‌personalized‌‌performance‌‌analysis‌‌
includes‌t‌he‌‌complete‌‌checklist‌‌for‌‌each‌c‌ ase,‌‌with‌‌their‌‌score‌‌on‌‌each‌‌item.‌‌This‌‌feedback‌‌also‌‌contains‌‌a‌‌
summary‌‌of‌‌their‌‌performance‌‌by‌‌history‌‌taking,‌‌physical‌‌exam,‌‌communication‌‌skills,‌‌and‌‌spoken‌‌English‌‌
components.‌‌Verbal‌f‌ eedback‌‌is‌‌individualized,‌‌with‌‌a‌‌physician‌‌instructor‌‌discussing‌‌both‌‌case-specific‌‌
items‌‌as‌‌well‌a‌ s‌‌the‌s‌ tudent’s‌‌strengths‌‌and‌‌weaknesses‌‌during‌‌the‌‌OSCE.‌‌The‌‌student‌‌must‌‌pass‌‌the‌‌OSCE‌‌
in‌‌order‌‌to‌‌pass‌‌the‌‌course.‌‌USMLE‌‌Step‌‌I‌‌must‌‌be‌‌passed‌‌to‌‌advance‌‌to‌‌clinical‌‌rotations.‌‌
  ‌
  ‌
(9)‌‌The‌‌use‌‌of‌‌narrative‌‌comments‌‌from‌‌medical‌‌school‌‌course,‌‌clerkship,‌‌or‌‌elective‌‌directors‌‌in‌‌the‌‌
composition‌o‌ f‌‌the‌‌MSPE. ‌ ‌
                                                                          ‌
Comments‌‌are‌‌edited‌‌for‌‌length,‌‌grammar,‌‌and‌‌redundancy‌‌but‌‌not‌‌for‌‌content.‌‌The‌‌summative‌‌faculty‌‌
evaluations‌‌are‌‌presented‌‌in‌‌such‌‌a‌‌way‌‌that‌‌they‌‌are‌‌easily‌‌readable‌‌and‌‌reflect‌‌the‌‌true‌‌spirit‌‌of‌‌the‌‌
assessment‌o‌ f‌‌each‌‌student‌‌by‌‌core,‌‌elective‌‌and‌‌course‌‌faculty.‌‌Where‌‌possible‌‌the‌‌comments‌‌are‌‌framed‌‌
within‌t‌he‌‌context‌‌of‌‌the‌‌school’s‌‌competencies.‌‌ ‌
  ‌
  ‌
(10)‌‌The‌‌process‌‌by‌‌which‌‌the‌‌MSPE‌‌is‌‌composed‌‌at‌‌St.‌‌Matthew’s‌‌University‌‌School‌‌of‌‌Medicine‌ ‌
  ‌
Each‌‌student’s‌‌performance‌‌data‌‌within‌‌the‌‌Student‌‌Information‌‌System‌‌(SIS)‌‌is‌‌retrieved,‌‌reviewed‌‌and‌‌
organized‌‌within‌t‌he‌‌format‌‌of‌‌the‌‌MSPE.‌‌Once‌‌the‌‌draft‌‌MSPE‌i‌s‌‌created‌‌each‌‌student‌‌is‌‌given‌‌an‌‌
opportunity‌t‌o‌‌review‌‌the‌‌MSPE‌‌for‌‌accuracy‌‌–‌‌particularly‌‌the‌‌noteworthy‌‌characteristics.‌‌The‌‌MSPE‌‌is‌‌
reviewed‌‌by‌‌the‌‌Dean‌‌of‌‌Clinical‌‌Sciences‌‌and‌‌the‌‌Associate‌‌Dean‌‌of‌‌Clinical‌‌Sciences.‌‌In‌‌some‌‌instances,‌‌
clarification‌‌of‌‌Basic‌‌Science‌‌evaluations‌‌is‌‌done‌‌by‌‌the‌‌Dean‌‌of‌‌Basic‌‌Sciences.‌‌The‌‌Medical‌‌School‌‌
Information‌‌was‌‌created‌‌through‌‌the‌‌Chancellor,‌‌the‌‌Registrar,‌‌the‌‌Basic‌‌Sciences‌‌Dean,‌‌the‌‌Clinical‌‌
Sciences‌D  ‌ ean‌‌and‌‌the‌‌Associate‌‌Dean‌‌of‌‌Clinical‌‌Sciences‌‌to‌‌ensure‌‌precision‌‌and‌‌accuracy.‌‌ ‌
  ‌
(11)‌‌Are‌‌students‌‌permitted‌‌to‌‌review‌‌the‌‌MSPE‌‌prior‌‌to‌‌its‌‌transmission?‌‌ ‌
  ‌
Yes‌ ‌
  ‌
(12)‌‌Is‌‌the‌‌St.‌‌Matthew’s‌‌University‌‌curriculum‌‌delivered‌‌in‌‌English?‌‌ ‌
  ‌
Yes‌ ‌
  ‌

 ‌

 ‌


                                Exhibit B: Dr. Salter Evalaution of Plaintiff                                      012
SUBJECT EXAMINATION PROGRAM
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 15 of 356 PageID 58

COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE INTERPRETATION GUIDE


NBME® subject examinations provide medical schools with a tool for measuring examinees' understanding of the clinical
sciences. Although these examinations are designed to be broadly appropriate as part of overall examinee assessment, course
objectives vary across schools, and the congruence between subject examination content and course objectives should be
considered when interpreting test scores and determining grading standards. Specifically, subject examination scores should not
be used alone, but rather in conjunction with other indicators of examinee performance in determination of grades.

CCSE Scores

Because the Comprehensive Clinical Science Examination (CCSE) and the United States Medical Licensing Examination ® (USMLE®)
Step 2 Clinical Knowledge (CK) cover very similar content, CCSE performance can be used in conjunction with other information
to assess readiness for Step 2 CK. The CCSE score represents an estimate of an examinee’s performance on the USMLE ® Step 2 CK
if he/she had taken both exams under the same conditions and with the same level of knowledge. Estimated performance based
on taking CCSE is not a guarantee of future performance on Step 2 CK. Many factors, including changing levels of knowledge and
testing conditions, may result in a Step 2 CK score that is higher or lower than the estimated score.

Precision of Scores

Measurement error is present on all tests, and the standard error of estimate (SEE) provides an index of the (im)precision of
scores. If an examinee tested repeatedly under the same conditions on a different set of items covering the same content,
his/her CCSE score would fall within one SEE of the current score two-thirds of the time. The SEE on this exam is 9 points.

Score and Performance Feedback

Summary information on the examinee group tested, examination purpose and number of items scored is provided on each page
of the feedback. The Roster of CCSE Scores reports a total test score for each examinee. Reported scores also appear in a comma
separated text file that can be downloaded. An Examinee Performance Profile, which graphically displays content areas of
strength and weakness, is provided for each examinee.

If there were at least 2 examinees, CCSE Score Descriptive Statistics for reported scores are provided along with a Frequency
Distribution of the total test score. If there were at least 5 examinees for a single form administration, a detailed Content Area
Item Analysis Report summarizing the general content of each item on the exam along with group item performance is provided.
Content area item descriptors and group item performance also appear in a file that can be downloaded. If there were at least 5
examinees for a single form administration or 10 examinees for a multiple form administration, a Summary Content Area Item
Analysis Report is provided.

If there were at least 15 examinees, a School Summary Performance Profile, which graphically displays areas of strength and
weakness in each major content area for your specific test administration, is provided.

Norms

Total academic year norms are provided to aid in the interpretation of examinee performance. The norms reflect the
performance of first-time taker examinees who took a form with a test purpose code of ‘end-of-course’, ‘end-of-year’, or ‘other’.
The two most recent sets of norms that have been developed for this examination are provided for your convenience and are
reported on the CCSE score scale. Norms can also be found on NSP.




                                                                                                                           SEPT_2020
                                             Exhibit C: NBME CCSE                                                   001
SUBJECT       EXAMINATION PROGRAM
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22                            Page 16 of 356 PageID 59

COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

YYYY-YYYY ACADEMIC YEAR NORMS




Interpreting Academic Norms                                                 Percentile                     Percentile
                                                             CCSE Score       Ranks         CCSE Score       Ranks
• Norms are provided to aid in the interpretation of        274 and above      100              205           34
  examinee performance.
                                                                 271           100              202           30
• They make it possible to compare examinees’ scores
                                                                 268           100              199           26
  with the performance of a norm group.
                                                                 265           99               196           22
• Norm group characteristics:
                                                                 262           98               193           18
    o Examinees from LCME-accredited medical schools
                                                                 259           98               190           15
       who took a form of this examination with a test
       purpose code of ‘end-of-course’, ‘end-of-year’, or        256           96               187           13
       ‘other’ for the first time during the academic            253           95               184           11
       years from mm/dd/yyyy through                             250           93               181            9
       mm/dd/yyyy.                                               247           91               178            8
                                                                 244           89               175            6
 Academic     Number of     Number of                            241           85               172            5
   Years       Schools      Examinees     Mean      SD           238           82               169            4
 yyyy-yyyy        21           3,056       215.3   24.8          235           78               166            3
                                                                 232           74               163            2
                                                                 229           70               160            2
                                                                 226           66               157            1
Using the Table                                                  223           62               154            1
• To use the table, locate an examinee’s score in the            220           57               151            1
  column labeled “CCSE Score” and note the entry in the          217           51               148            1
  adjacent column labeled “Percentile Ranks.” This               214           47               145            1
  number indicates the percentage of examinees that              211           43               142            1
  scored at or below the examinee’s CCSE score.                  208           38          139 and below       0




                                                                                                              SEPT_2020
                                             Exhibit C: NBME CCSE                                      002
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 17 of 356 PageID 60
                                                                                                       LABEL5260189
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                           Test Date: July 15, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)


YOUR PERFORMANCE
Your CCSE Score
208
Because the Comprehensive Clinical Science Examination (CCSE) and the United States Medical Licensing Examination® (USMLE®)
Step 2 CK cover very similar content, CCSE performance can be used in conjunction with other information to assess readiness for
Step 2 CK. Your CCSE score represents an estimate of your performance on Step 2 CK if you had taken both exams under the same
conditions and with the same level of knowledge. Estimated performance based on taking CCSE is not a guarantee of your future
performance on Step 2 CK. Many factors, including changing levels of knowledge and testing conditions, may result in a Step 2 CK
score that is higher or lower than your estimated score.

YOUR PERFORMANCE COMPARED TO OTHER EXAMINEES
The chart below represents the distribution of Step 2 CK scores for examinees from US and Canadian medical schools taking Step
2 CK for the first time between July 1, 2019 and June 30, 2020. Reported scores range from 1-300 with a mean of 245 and a
standard deviation of 15.
                                                 208
                                                                                                                       Your
                                                                                                                       CCSE
                                                  209                                                                  Score


                                                                                                                       Step 2 CK
                                                                                                                       Minimum
                                                                                                                       Passing
                                                                                                                       Score




If you tested repeatedly under the same conditions on a different set of items covering the same content, without learning or
forgetting, your CCSE score would fall within one standard error of the estimate (SEE) of your current score two-thirds of the
time. The SEE on this exam is 8 points.


Your CCSE score +/- SEE: 200 – 216


                                                         Page 1 of 4
                                                 Exhibit D: Plaintiff CCSE Results                                    001
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 18 of 356 PageID 61
                                                                                                        LABEL5260189
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                            Test Date: July 15, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)



YOUR RELATIVE STRENGTHS AND WEAKNESSES
The boxes below indicate areas of relatively lower or higher performance in each content area within the CCSE examination.
The percentage range of items in each content area on the CCSE examination is indicated below. This information can be used
to identify areas of strength and weakness to guide future study. Because the exam is highly integrative, NBME® recommends
reviewing all content areas if retaking the test.

Strengths and Weaknesses Relative to Your Overall Performance on This Exam
A GREEN box in the "Higher" column indicates that your performance in that area was higher than your overall CCSE
performance shown on page 1. A GREEN box in the "Same" column indicates that your performance in that area was similar to
or the same as your overall CCSE performance. A GREEN box in the "Lower" column indicates that your performance in that
area was lower than your overall CCSE performance.

Strengths and Weaknesses Relative to a Step 2 CK Comparison Group
A BLUE box in the "Higher" column indicates that your performance in that area was higher than the average performance of
recent examinees from US and Canadian medical schools taking Step 2 CK for the first time (the same comparison group shown
on page 1). A BLUE box in the "Average" column indicates that your performance in that area was average relative to the
performance of the comparison group. A BLUE box in the "Lower" column indicates that your performance in that area was
lower than the average performance of the comparison group.


                                                                                         Lower, Same, Higher   Lower, Average, Higher
                                                                                              than Your                 than
                                                                                         Overall Performance     Comparison Group

Performance by Physician Task                                       (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Patient Care: Diagnosis                                                  (45 - 48%)
Patient Care: Pharmacotherapy, Intervention & Management (32 - 35%)
Patient Care: Health Maintenance & Disease Prevention                     (9 - 10%)




                                                        Page 2 of 4
                                                Exhibit D: Plaintiff CCSE Results                                        002
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 19 of 356 PageID 62
                                                                                                     LABEL5260189
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                         Test Date: July 15, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)


                                                                                      Lower, Same, Higher   Lower, Average, Higher
                                                                                           than Your                 than
                                                                                      Overall Performance     Comparison Group

Performance by System                                            (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Cardiovascular System                                                 (10 - 11%)
Immune, Blood and Lymphoreticular Systems                               (9 - 9%)
Respiratory System                                                     (8 - 10%)
Gastrointestinal System                                                 (8 - 9%)
Musculoskeletal Syst/Skin & Subcutaneous Tissue                         (8 - 8%)
Nervous System and Special Senses                                       (8 - 8%)
Behavioral Health                                                       (7 - 8%)
Legal/Ethical, Professionalism, System-based Practice, Pt Safety (7 - 8%)
Female Reproductive & Breast                                            (6 - 6%)
Pregnancy, Childbirth & the Puerperium                                  (6 - 6%)
Renal & Urinary System & Male Reproductive                              (6 - 6%)
Endocrine System                                                        (5 - 6%)
Multisystem Processes & Disorders                                       (5 - 5%)


                                                                                      Lower, Same, Higher   Lower, Average, Higher
                                                                                           than Your                 than
                                                                                      Overall Performance     Comparison Group

Performance by Discipline                                        (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Medicine                                                              (54 - 66%)
Surgery                                                               (26 - 40%)
Pediatrics                                                            (22 - 26%)
Obstetrics & Gynecology                                               (17 - 19%)
Psychiatry                                                            (10 - 15%)




                                                     Page 3 of 4
                                             Exhibit D: Plaintiff CCSE Results                                        003
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 20 of 356 PageID 63
                                                                                                       LABEL5260189
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT



SUPPLEMENTAL INFORMATION: UNDERSTANDING THE CONTENT AREAS
The information below is a visual representation of the content weighting on this examination that may be informative in guiding
remediation. Descriptions of the topics covered in these content areas, as well as other topics covered on Step 2 CK, can be found
in the information materials on the USMLE website (https://www.usmle.org). Please contact the Subject Examination team at
subjectexams@nbme.org if you have additional questions.


Physician Task                                                     (% Items Per Test)
Patient Care: Diagnosis                                                (45 - 48%)
Patient Care: Pharmacotherapy, Intervention & Management               (32 - 35%)
Patient Care: Health Maintenance & Disease Prevention                   (9 - 10%)


System                                                             (% Items Per Test)
Cardiovascular System                                                  (10 - 11%)
Immune, Blood and Lymphoreticular Systems                                (9 - 9%)
Respiratory System                                                      (8 - 10%)
Gastrointestinal System                                                  (8 - 9%)
Musculoskeletal Syst/Skin & Subcutaneous Tissue                          (8 - 8%)
Nervous System and Special Senses                                        (8 - 8%)
Behavioral Health                                                        (7 - 8%)
Legal/Ethical, Professionalism, System-based Practice, Pt Safety         (7 - 8%)
Female Reproductive & Breast                                             (6 - 6%)
Pregnancy, Childbirth & the Puerperium                                   (6 - 6%)
Renal & Urinary System & Male Reproductive                               (6 - 6%)
Endocrine System                                                         (5 - 6%)
Multisystem Processes & Disorders                                        (5 - 5%)


Discipline                                                         (% Items Per Test)
Medicine                                                               (54 - 66%)
Surgery                                                                (26 - 40%)
Pediatrics                                                             (22 - 26%)
Obstetrics & Gynecology                                                (17 - 19%)
Psychiatry                                                             (10 - 15%)




                                                         Page 4 of 4

                                                 Exhibit D: Plaintiff CCSE Results                                    004
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 21 of 356 PageID 64




                              Exhibit D: Plaintiff CCSE Results           005
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 22 of 356 PageID 65




                              Exhibit D: Plaintiff CCSE Results           006
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 23 of 356 PageID 66




                              Exhibit D: Plaintiff CCSE Results           007
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 24 of 356 PageID 67




                              Exhibit D: Plaintiff CCSE Results           008
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 25 of 356 PageID 68
                                                                                                       LABEL5401010
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                      Test Date: October 22, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)


YOUR PERFORMANCE
Your CCSE Score
210
Because the Comprehensive Clinical Science Examination (CCSE) and the United States Medical Licensing Examination® (USMLE®)
Step 2 CK cover very similar content, CCSE performance can be used in conjunction with other information to assess readiness for
Step 2 CK. Your CCSE score represents an estimate of your performance on Step 2 CK if you had taken both exams under the same
conditions and with the same level of knowledge. Estimated performance based on taking CCSE is not a guarantee of your future
performance on Step 2 CK. Many factors, including changing levels of knowledge and testing conditions, may result in a Step 2 CK
score that is higher or lower than your estimated score.

YOUR PERFORMANCE COMPARED TO OTHER EXAMINEES
The chart below represents the distribution of Step 2 CK scores for examinees from US and Canadian medical schools taking Step
2 CK for the first time between July 1, 2019 and June 30, 2020. Reported scores range from 1-300 with a mean of 245 and a
standard deviation of 15.
                                                   210
                                                                                                                       Your
                                                                                                                       CCSE
                                                  209                                                                  Score


                                                                                                                       Step 2 CK
                                                                                                                       Minimum
                                                                                                                       Passing
                                                                                                                       Score




If you tested repeatedly under the same conditions on a different set of items covering the same content, without learning or
forgetting, your CCSE score would fall within one standard error of the estimate (SEE) of your current score two-thirds of the
time. The SEE on this exam is 8 points.


Your CCSE score +/- SEE: 202 – 218


                                                         Page 1 of 4
                                                 Exhibit D: Plaintiff CCSE Results                                    009
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 26 of 356 PageID 69
                                                                                                        LABEL5401010
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                        Test Date: October 22, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)



YOUR RELATIVE STRENGTHS AND WEAKNESSES
The boxes below indicate areas of relatively lower or higher performance in each content area within the CCSE examination.
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to identify areas of strength and weakness to guide future study. Because the exam is highly integrative, NBME® recommends
reviewing all content areas if retaking the test.

Strengths and Weaknesses Relative to Your Overall Performance on This Exam
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or the same as your overall CCSE performance. A GREEN box in the "Lower" column indicates that your performance in that
area was lower than your overall CCSE performance.

Strengths and Weaknesses Relative to a Step 2 CK Comparison Group
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recent examinees from US and Canadian medical schools taking Step 2 CK for the first time (the same comparison group shown
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lower than the average performance of the comparison group.


                                                                                         Lower, Same, Higher   Lower, Average, Higher
                                                                                              than Your                 than
                                                                                         Overall Performance     Comparison Group

Performance by Physician Task                                       (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Patient Care: Diagnosis                                                  (45 - 48%)
Patient Care: Pharmacotherapy, Intervention & Management (32 - 35%)
Patient Care: Health Maintenance & Disease Prevention                     (9 - 10%)




                                                        Page 2 of 4
                                                Exhibit D: Plaintiff CCSE Results                                        010
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 27 of 356 PageID 70
                                                                                                     LABEL5401010
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT

ID: 574751909                                                                                     Test Date: October 22, 2021
Name: Gegas Danielle
104010 - St. Matthew's Univ (Grand Cayman)


                                                                                      Lower, Same, Higher   Lower, Average, Higher
                                                                                           than Your                 than
                                                                                      Overall Performance     Comparison Group

Performance by System                                            (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Cardiovascular System                                                 (10 - 11%)
Immune, Blood and Lymphoreticular Systems                               (9 - 9%)
Respiratory System                                                     (8 - 10%)
Gastrointestinal System                                                 (8 - 9%)
Musculoskeletal Syst/Skin & Subcutaneous Tissue                         (8 - 8%)
Nervous System and Special Senses                                       (8 - 8%)
Behavioral Health                                                       (7 - 8%)
Legal/Ethical, Professionalism, System-based Practice, Pt Safety (7 - 8%)
Female Reproductive & Breast                                            (6 - 6%)
Pregnancy, Childbirth & the Puerperium                                  (6 - 6%)
Renal & Urinary System & Male Reproductive                              (6 - 6%)
Endocrine System                                                        (5 - 6%)
Multisystem Processes & Disorders                                       (5 - 5%)


                                                                                      Lower, Same, Higher   Lower, Average, Higher
                                                                                           than Your                 than
                                                                                      Overall Performance     Comparison Group

Performance by Discipline                                        (% Items Per Test)   Lo      S      Hi      Lo      Av      Hi
Medicine                                                              (54 - 66%)
Surgery                                                               (26 - 40%)
Pediatrics                                                            (22 - 26%)
Obstetrics & Gynecology                                               (17 - 19%)
Psychiatry                                                            (10 - 15%)




                                                     Page 3 of 4
                                             Exhibit D: Plaintiff CCSE Results                                        011
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 28 of 356 PageID 71
                                                                                                       LABEL5401010
SUBJECT EXAMINATION PROGRAM
COMPREHENSIVE CLINICAL SCIENCE EXAMINATION

SCORE REPORT



SUPPLEMENTAL INFORMATION: UNDERSTANDING THE CONTENT AREAS
The information below is a visual representation of the content weighting on this examination that may be informative in guiding
remediation. Descriptions of the topics covered in these content areas, as well as other topics covered on Step 2 CK, can be found
in the information materials on the USMLE website (https://www.usmle.org). Please contact the Subject Examination team at
subjectexams@nbme.org if you have additional questions.


Physician Task                                                     (% Items Per Test)
Patient Care: Diagnosis                                                (45 - 48%)
Patient Care: Pharmacotherapy, Intervention & Management               (32 - 35%)
Patient Care: Health Maintenance & Disease Prevention                   (9 - 10%)


System                                                             (% Items Per Test)
Cardiovascular System                                                  (10 - 11%)
Immune, Blood and Lymphoreticular Systems                                (9 - 9%)
Respiratory System                                                      (8 - 10%)
Gastrointestinal System                                                  (8 - 9%)
Musculoskeletal Syst/Skin & Subcutaneous Tissue                          (8 - 8%)
Nervous System and Special Senses                                        (8 - 8%)
Behavioral Health                                                        (7 - 8%)
Legal/Ethical, Professionalism, System-based Practice, Pt Safety         (7 - 8%)
Female Reproductive & Breast                                             (6 - 6%)
Pregnancy, Childbirth & the Puerperium                                   (6 - 6%)
Renal & Urinary System & Male Reproductive                               (6 - 6%)
Endocrine System                                                         (5 - 6%)
Multisystem Processes & Disorders                                        (5 - 5%)


Discipline                                                         (% Items Per Test)
Medicine                                                               (54 - 66%)
Surgery                                                                (26 - 40%)
Pediatrics                                                             (22 - 26%)
Obstetrics & Gynecology                                                (17 - 19%)
Psychiatry                                                             (10 - 15%)




                                                         Page 4 of 4

                                                 Exhibit D: Plaintiff CCSE Results                                    012
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 29 of 356 PageID 72




                              Exhibit D: Plaintiff CCSE Results           013
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 30 of 356 PageID 73




                              Exhibit D: Plaintiff CCSE Results           014
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 31 of 356 PageID 74




                              Exhibit D: Plaintiff CCSE Results           015
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 32 of 356 PageID 75




                              Exhibit D: Plaintiff CCSE Results           016
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 33 of 356 PageID 76




                              Exhibit D: Plaintiff CCSE Results           017
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 34 of 356 PageID 77




                              Exhibit D: Plaintiff CCSE Results           018
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 35 of 356 PageID 78




                              Exhibit D: Plaintiff CCSE Results           019
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 36 of 356 PageID 79




                              Exhibit D: Plaintiff CCSE Results           020
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 37 of 356 PageID 80




                              Exhibit D: Plaintiff CCSE Results           021
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 38 of 356 PageID 81




                              Exhibit D: Plaintiff CCSE Results           022
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 39 of 356 PageID 82




                              Exhibit D: Plaintiff CCSE Results           023
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 40 of 356 PageID 83




                              Exhibit D: Plaintiff CCSE Results           024
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 41 of 356 PageID 84


DANIELLE M. GEGAS
dgegas@stmatthews.edu | (614) 406 – 7093

Education
ST. MATTHEW’S UNIVERSITY (SMU) SCHOOL OF MEDICINE (GRAND CAYMAN)
DOCTOR OF MEDICINE │ January 2018 – Present
Anticipated graduation pending

AMERICAN UNIVERSITY OF THE CARIBBEAN (AUC) SCHOOL OF MEDICINE (SINT MAARTEN)
DOCTOR OF MEDICINE STUDENT │ December 2015 – September 2017
Student of the M.D. Program, 2016 – 2017
Student of the Medical Education Readiness Program, 2015 – 2016

MIAMI UNIVERSITY OF OHIO (OXFORD, OHIO)
BACHELOR OF ARTS IN MICROBIOLOGY │ 2005 – 2009
Minor in Molecular Biology with additional focus in Biochemistry

Work Experience
GENE THERAPY RESEARCH ASSOCIATE │ MAY 2012 – DECEMBER 2015
NATIONWIDE CHILDREN’S HOSPITAL (COLUMBUS, OHIO)
Lead quality control associate for testing of FDA-regulated samples in congenital heart defect surgeries with
use of tissue-engineered grafts. Additionally, quality control associate for testing and analysis of in-house
cGMP-produced viral vectors for use in Phase I/II gene therapy clinical trials.
Notable Contributions
    1. First FDA-approved clinical trial in investigating the use of a tissue-engineered vascular graft (TEVG)
        for congenital heart defects in the pediatric population
    2. First FDA-approved treatment for Duchenne Muscular Dystrophy (DMD)
    3. First FDA-approved treatment for DMD with mutation amenable to exon 53 skipping
    4. First FDA-approved gene therapy for Spinal Muscular Atrophy (SMA) in children less than 2 years old

CHEMIST │ MAY 2009 – MAY 2012
BOEHRINGER INGELHEIM PHARMACEUTICALS (COLUMBUS, OHIO)
Member of the research development team for quality control testing of raw materials in newly developed or
newly manufactured products. Worked in the Starting Materials Quality Control Department responsible for
general chemistry testing to confirm identity and purity of raw materials prior to manufacturing in production.

MICROBIOLOGIST INTERN │ SUMMER 2007 AND SUMMER 2008
BOEHRINGER INGELHEIM PHARMACEUTICALS (COLUMBUS, OHIO)
Responsible for contamination testing of finished products and learning rapid method testing with instruments
such as the Pallchek™ Luminometer Biolog in the Microbiology Quality Control Department.

Additional Work Experience
FIELD HOCKEY COACH │ MAY 2009 – DECEMBER 2015
THOMAS WORTHINGTON HIGH SCHOOL (COLUMBUS, OHIO)
Head coach of Junior Varsity and assistant coach of Varsity for U.S. nationally ranked team. Responsible for
leading and maintaining the safety and positive competitive attitude of high school players both on and off the
field. Instilled life skills in maintaining physical and mental health in addition to advanced sport skills.
                                                                                                       Page 1 | 3


                                            Exhibit E Plaintiff CV                                    001
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 42 of 356 PageID 85


DANIELLE M. GEGAS
dgegas@stmatthews.edu | (614) 406 – 7093

Research Publications
Robinson, T., Gegas, D., Britton, L., Sgroi, R., Regalado, E., & Gardezi, A. (2022). Mobile handheld device
usage and hygiene within the hospital: current awareness, practices and education of clinical medical students.
The Journal of Hospital Infection, 119, 77–78. https://doi.org/10.1016/j.jhin.2021.10.002

Let it SxNOW: A Systematic Review of Data Collection for Modeling Infectious Disease Trends in Relation to
Extreme Climate Change | Status: pending submission | Authors: D. Gegas, T. Robinson, M.D., E. Zettler

Academic and Teaching Experience
   ● Guest lecturer for health class of 100 students at Hilliard Station Sixth Grade School, Ohio, 2020
   ● Teaching assistant for Patient – Doctor Relations III course, Grand Cayman, 2019
   ● Teaching assistant for Physiology course, Grand Cayman, 2018
   ● Teaching assistant for Evidence Based Medicine course, Grand Cayman, 2018
   ● Teaching assistant for Genetics course, Grand Cayman, 2018

Membership in Honorary / Professional Society
  ● American Academy of Family Physicians (AAFP)
  ● American Medical Women's Association (AMWA)
  ● American Society of Human Genetics (ASHG)
  ● Phi Delta Epsilon (PhiDE) International Medical Fraternity

Medical School Awards and Recognitions
  ● Academic Honors: awarded for meeting criteria of a final grade between 90% - 100%
          ● Clinical Clerkships: Family Medicine Acting Internship, Family Medicine,
             Obstetrics/Gynecology, Psychiatry, Pediatrics, Anesthesia, Neurology, Preparing for Modern
             Clinical Practice, Investigation of Contemporary Medical Issues
          ● Basic Science Courses: Clinical Therapeutics, Genetics
  ● Academic Recognitions: scored in U.S. national top 10% on National Board of Medical Examiners
      (NBME) subject examination
          ● U.S. national 94th percentile on Neuroscience subject examination
          ● U.S. national 97th percentile on Biochemistry subject examination
          ● U.S. national 91st percentile on Physiology subject examination

Leadership Positions
   1. SMU Clinical Student Mentor, Remote, February 2022-Current
   2. SMU Orientation Leader, Grand Cayman, 2018
   3. Volunteer Field Hockey Coach, 2009-2017
      Sint Maarten youth program: Belvedere, Sint Maarten, 2017
      Weed Whackers youth program: Worthington, Ohio, 2010 – 2016
      Thomas Worthington High School off-season clinics: Columbus, Ohio 2009-2016
      Middle school field hockey clinic: Worthington, Ohio, 2010 – 2013
   4. Team Leader of St. Maarten’s Day Relay Around the Island Race, Philipsburg, Sint Maarten, 2016
      Coordinated and ran on a ten-person team representing AUC in a relay race circling the entire island.
                                                                                                 Page 2 | 3


                                           Exhibit E Plaintiff CV                                   002
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 43 of 356 PageID 86


DANIELLE M. GEGAS
dgegas@stmatthews.edu | (614) 406 – 7093

   5. High School Career Mentor, Columbus, Ohio, 2015
       Provided an opportunity for a student to learn about a career in research science through shadowing.
   6. Department Lead Volunteer Coordinator at Nationwide Children’s Hospital, 2014 – 2015
       Children’s Miracle Network Annual Radiothon: Columbus, Ohio, 2015
       Children’s Miracle Network Christmas Radiothon: Columbus, Ohio, 2014
   7. Event Lead of Medical Seminar, Oxford, Ohio 2009
       Created and hosted a seminar with a physician speaker to discuss the role of a medical review officer.
       Event open to all Miami University students and supported by PhiDE International Medical Fraternity.
   8. Event Lead of Children’s Miracle Network Fundraiser Banquet, Oxford, Ohio 2009
       Elected to position through PhiDE International Medical Fraternity. Responsible for planning and
       hosting the annual fundraiser banquet for Children’s Miracle Network.
   9. Elected Positions for Miami University’s Club Field Hockey Team, Oxford, Ohio 2006 – 2008
       Joined the team in 2005. Elected Captain, Treasure, and Event Coordinator over the next three seasons.
   10. Selected Positions for Miami University’s Chi Omega Fraternity, Oxford Ohio, 2005-2009
       Held positions as career development class representative and as assistant vice president. Responsible
       for organizing fundraiser events for the Make-A-Wish Foundation.

Volunteer and Community Outreach
   1. SMU Clinical Student Volunteer, Remote, 2022
       Provided feedback for the school’s project to improve students’ scores on NBME core clerkship shelf
       exams by participating in an online forum and Zoom meeting discussion hosted by the Clinical Deans.
   2. Muskingum University Lecture to Premed Students, New Concord, Ohio, 2020
       Assisted an attending physician who gave an informative lecture to undergraduates on how to apply and
       succeed in medical school. Provided insight and created a handout of advice later distributed to the class.
   3. American University of the Caribbean White Coat Ceremony, Cupecoy, Sint Maarten, 2017
       Calligrapher of the Honor Code Book signed by every student of the AUC September 2017 class.
   4. Project H.E.L.P. (Health, Educate, Literacy, and Prevention), St. Peters, Sint Maarten, 2017
       Conducted screening tests and discussed lifestyle habits with St. Maarten residents in order to establish a
       community-oriented health initiative as promoted by AUC and the Ministry of Public Health.
   5. American University of the Caribbean Trick-or-Treat, Cupecoy, Sint Maarten, 2016
       Volunteered at the Halloween event for local and student families as an activity station lead.
   6. Ronald McDonald House Meal Program, Columbus, Ohio, 2015
       Coordinated and participated in a day of serving food with the Thomas Worthington Field Hockey team.
   7. Worthington Schools Adopt-A-Family, Worthington, Ohio, 2014
       Participated in adopting two families during Christmas by providing each family with wrapped gifts.
   8. American Red Cross Annual Blood Drive, Worthington, Ohio, 2009- 2014
       Assistant coordinator, volunteer, and participant of event hosted by Thomas Worthington Field Hockey.
   9. Make-A-Wish Foundation Annual Fundraiser, Oxford, Ohio, 2006 – 2008
   10. Talawanda Bantam Scholarship Fundraiser Event, Oxford, Ohio, 2006
       Fundraiser for the Miami Ohio Valley’s local scholarship for disadvantaged children.
   11. World's Largest Ice Cream Social Fundraiser for Make-A-Wish Foundation, Oxford, Ohio, 2006
   12. Big Wish Gala Fundraiser for Make-A-Wish Foundation: Cincinnati, Ohio, 2006
                                                                                                     Page 3 | 3


                                           Exhibit E Plaintiff CV                                    003
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 44 of 356 PageID 87




                         “Improving Life by Degrees”




       CLINICAL MEDICINE HANDBOOK




                     U.S. ADMINISTRATIVE OFFICES
        12124 HIGH TECH AVE, SUITE 350 ORLANDO, FL 32817
          TELEPHONE: 1-800-498-9700 FAX: 1-800-565-7177
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                    Exhibit F Clincial Medicine Handbood                    001
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 45 of 356 PageID 88




 Table of Contents
 Part 1: Clinical Clerkship Training: What Clinical are All About ………………………………....………. 1
 Goals and Objectives for Clinical Education…………………………………………………………………….. 1
 Competencies……………………………………………………….………………………………………….... 1
 Overview of Clinical Medicine Education Program………………….………………………………………….. 2

 Part 2: Transitioning from Basic Sciences to Clinical Sciences……………………………………………….4
 Requirements Prior to Beginning Any Rotation………………………………………………………………….. 6
 Policy for Health Record and Immunizations……………………………………………………………………. 7
 Policies for Attendance ……………………….………………………………………………………………….. 8

 Part 3: Third Year Core Curriculum………………………………………………………………………… 10
 Internal Medicine Course Syllabus……………………………………………………………………………… 11
 Obstetrics and Gynecology Course Syllabus……………………………………………………………………. 53
 Pediatrics Course Syllabus……………………………………………………………………............................ 95
 Psychiatry Course Syllabus……………………………………………………………………………………..138
 Surgery Course Syllabus………………………………………………………………………………………. 179
 Summary Descriptions of Core Specialty Rotations………………………………………………………….. 221
 Types of Procedures for Clinical Student…………………………………………………………………….. 221

 Part 4: Fourth Year Rotations…………………………………………………………………...……..…… 223
 Electives………………………………………………………………………………………........................... 224
 Primary Care Elective Objectives………………………………………………………………………..……. 227

 Part 5: Student Performance and Discipline………………………………................................................... 228
 USMLE Policies………………………………………………………………………………………………. 229
 Evaluation of Student Performance……………………………………………………………………………. 233
 Core Clinical Clerkship Grading Policy………………………….……………………………………………. 233
 Elective Clerkship Grading Policy……………………………………………………………...........................241
 Grading Guidelines to be Used by Clinical Faculty ...………………………………………............................ 241
 Student Promotions ……………………………………………………………………………………………. 243
 Academic Integrity ……………………………………………………………………………………………. 243

 Part 6: Disciplinary/Infection Control/Forms/Glossary………………….................................................... 244
 Disciplinary Procedure ………………………………………………………………………………………... 245
 Infection Control Guidance…………………………………………………………………………………… 246
 Sample Core Patient Log…………………………………………………………………………………….... 249
 Sample Clinical Immunization Form………………………………………………………………………….. 250
 Basic Clinical Definitions…………………………………………………………………………………….. 251




                                                    DISCLAIMER
             The information in this handbook is subject to change. Such changes may be without notice.
                   Tuition, fees and other expenses are listed in U.S. dollars, unless otherwise noted.
    The university disclaims any misrepresentation that may have occurred as a result of errors in preparation or
                                           typesetting of this handbook.



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                               Exhibit F Clincial Medicine Handbood                                                 002
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 46 of 356 PageID 89




                      Clinical Medicine Handbook

                               Part 1:
     Clinical Clerkship Training: What Clinicals Are All About




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                    Exhibit F Clincial Medicine Handbood                    003
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 47 of 356 PageID 90


 GOALS AND OBJECTIVES FOR CLINICAL EDUCATION

 The framework of clinical education and training at St. Matthew’s University School of Medicine (SMUSOM)
 focuses on preparing students to pursue careers as physicians in clinical practice. The program will prepare
 students to become competent physicians who clearly recognize their roles as providers of comprehensive
 healthcare to the individual, to the family, and to communities.

 In today's healthcare environment, physicians are integral to the efficient functioning of the healthcare
 system. Students’ attitudes and learning will be directed toward understanding how to provide care as a
 team member, and how to use consultants and technology effectively.

 We believe the physician must play an integral role not only in the medical community, but in the broader
 community. Community involvement is an integral part of improving the healthcare of the community as a
 whole; thus, physicians must be motivated toward the prevention of illness, the promotion of a healthy life
 style, and avoidance of high-risk behavior.

 COMPETENCIES (also see sub competencies on page 241)
 The university defines its intended learning outcomes in terms of the competencies students are expected
 to achieve before completing the program. The university’s required competencies are summarized as
 follows:

        PATIENT CARE: Students must be able to provide patient care that is compassionate,
         appropriate, and effective for the treatment of illness and the promotion of health.

        SCIENTIFIC & MEDICAL KNOWLEDGE: Students must demonstrate knowledge about
         established and evolving biomedical, clinical, and associated sciences and application of this
         knowledge to the practice of medicine throughout the life cycle.

        LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION: Students must be able to
         examine and evaluate their patient care practices, appraise and assimilate scientific evidence, and
         use this information to improve their abilities.

        PROFESSIONALISM: Students must demonstrate a commitment to the highest standards of
         professional responsibility, adherence to ethical principles, and sensitivity in all interactions with
         patients, families, colleagues, and others with whom physicians must interact in their professional
         lives

        COMMUNICATION & INTERPERSONAL SKILLS: Students must display interpersonal and
         communication skills that foster effective information exchange and build rapport with patients, their
         families, and professional associates.

        SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE: Students must demonstrate knowledge
         of and responsiveness to the larger context of health care and the ability to effectively call on system
         resources to provide care that is of optimal value to the health of the individual and of the
         community.

 The Institute of Medicine in “the Quality Chasm” series defines these competencies into a simple-to-follow
 and remember manner:

        Provide patient centered care
        Work in interdisciplinary teams
        Employ evidence-based practice
        Apply quality improvement
        Utilize informatics
                                                      -1-                                        Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                             004
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 48 of 356 PageID 91



 OVERVIEW OF THE CLINICAL MEDICINE PROGRAM
 The Clinical Medicine program at SMUSOM is designed to provide a comprehensive overview of medical
 practice, including an understanding of the interrelationships among the different levels of practice and
 areas of specialization. There are ample opportunities to integrate basic science knowledge into clinical
 practice and develop the skills necessary to enter a residency program and practice the profession of
 medicine.

 What makes a student perform well?

 A clinical medicine student or “clerk” is a member of an interdisciplinary health care team. The effectiveness
 of a team depends on each person doing his/her part. It is important that you function as a responsible
 team member.

 Therefore your appearance will affect your relationships with staff members and patients. You should dress
 appropriately and maintain good grooming and personal hygiene. Always try to be punctual, reliable, and
 courteous to all those you encounter; all providers of care, all support staff, and of course, family members
 and patients.

 Ask questions, read up on pathological conditions encountered, and be available to help out, pitch in or
 volunteer when help would be beneficial to the team.


 EFFECTIVE LEARNING IN THE CLINICAL MEDICINE PROGRAM
 General Information
 Patients are the main source of learning in the clinical medicine program. It is from the patients you
 encounter that you will develop your clinical knowledge and skills. Be assertive in searching out new
 learning opportunities. You may be able to “get by” with a passing grade by doing no more than is directly
 assigned to you, but you will be cheating yourself by not taking advantage of opportunities to further develop
 your clinical skills. Seize every opportunity to observe the signs and symptoms of any condition with which
 you have not had previous experience.

 For assigned patients you will be expected to take and record a medical, personal, and family history, do a
 thorough physical examination, make a differential diagnosis based on all the available information
 including laboratory findings, develop a management plan, and follow the patient through to discharge.

 Keep in mind that a thorough knowledge of your patient is important and includes learning about their family,
 and social, occupational and economic circumstances. Be aware of the emotional state since a patient's
 emotional state can affect the rate and degree of recovery.

 Study
 The curriculum provided in this handbook describes the major clinical conditions you should try to learn
 about but it is not possible in any clerkship to be exposed to every type of patient. You should look for
 alternative ways to learn about these conditions. SMUSOM has introduced a Learning Management System
 (http://lms.stmatthews.edu/login/index.php) to help you do this. The SMUSOM LMS web site offers many
 educational resources to all clinical students, as well as material of general healthcare interest but most
 important is that all students in core rotations complete a weekly assignment that makes up 10% of your
 grade for each core rotation. These case assignments take about 4-6 hours per week, and are offered as
 a directed learning opportunity to ensure your exposure to the major clinical areas of any core specialty.

 While in your clinical clerkship, you will not have the same amount of time for reading that you had during
 the basic science program. To gain the most from your clinical clerkships, you will have to focus your
 reading selectively to the specific problems of patients you see, with particular emphasis on assigned
 patients. Through this approach you will learn to integrate basic science knowledge with experiential
 learning which comes from participating in the care of patients. Additional textbook and journal readings
 will prepare you for discussing assigned patients with residents and faculty.
                                                      -2-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                           005
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 49 of 356 PageID 92



 Following your review of pertinent literature, it is good practice to re-assess the accuracy and completeness
 of the patient's history, examinations, and laboratory findings to determine whether information you
 recorded needs to be supplemented or modified. Every day you should use the Patient Log program to
 record all the patients you encounter during your clinical activities. This will help you reflect on, and
 remember what you did, and what you learned.




                                                     -3-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                          006
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 50 of 356 PageID 93



                       Clinical Medicine Handbook

                               Part 2:
            Transitioning from Basic to Clinical Sciences




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                                         -4-                       Revised 5/3/21




                      Exhibit F Clincial Medicine Handbood                     007
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 51 of 356 PageID 94


 TRANSITIONING

 The clinical training sites comprise a mixture of public and university teaching hospitals, community
 teaching hospitals, community health centers, private teaching ‘doctor offices’ and rural/wilderness
 programs.

 As much as possible, students will be placed in hospitals and other clinical sites taking into consideration
 geographic, career and academic preferences, plus lodging, family considerations and other personal
 needs.

 In order to enter the Clinical Medicine rotation program, a student must:

        Have successfully completed all the Basic Science course requirements.
        Completed Semester 5 Orientation and completed and returned Semester 5 Orientation materials
         to the Clinical Office.
        Submit the official report showing a passing score for the USMLE step 1.
        Be in full compliance with School’s rules regarding tuition and fees for 6th semester and all prior
         semesters, and professional behavior.
        Be in full compliance with School’s health records’ and immunization requirements. Your proof of
         immunity to the listed 5 communicable diseases must be documented at the Clinical Office before
         any discussion can occur concerning enrolling for Step 1 or preliminary planning for rotations.

 The five (5) core specialty rotations comprising 42 weeks are followed by thirty (30) weeks of electives.

 SCHEDULING CLERKSHIPS

 During your 5th semester the Office of the Associate Dean of Clinical Sciences will interview you and ask
 you about your preferences and goals to collect information for your profile. You will also be asked to
 provide your preferences for geographic location, your flexibility to travel, family details and any other
 personal needs. Your academic results, including your step 1 exam performance, will become part of your
 profile. Your placement for initial and subsequent rotations will depend on these factors and availability of
 rotations.


 SCHEDULING, ASSIGNING AND CANCELING ROTATIONS

 The Clinical Medicine Office assigns students to core clerkships. Each student will be notified by email by
 the Clinical Medicine Department confirming his/her entry into a given hospital/clinical site rotation. The
 Clinical Medicine Office works with students to identify and schedule elective clerkships.

 Students who would like to propose an elective clerkship must start this process 8 weeks before the
 proposed start date of the rotation to ensure that SMUSOM can provide final approval 3 weeks before the
 start date of the clerkship. The 8 week date allows for the hospital/clinical site to receive and process your
 request, and to provide SMUSOM with the preliminary approval in time for SMUSOM to issue the final
 approval 3 weeks prior to the start date.

 For any rotation (Elective) proposed by the student, SMUSOM requires the following documentation:

         a. Descriptive title of clerkship
         b. A description of the intended clerkship dates and duties. SMUSOM may request further
            descriptive information
         c. The name of the physician in charge of the clerkship, and the name of the coordinator;
         d. A draft agreement or contract if the hospital/clinical site needs one
         e. A letter of confirmation from the program coordinator/supervisor, indicating what costs
            including, fees, if any, will be incurred

 Once you schedule your Step 1 exam you should call the Clinical Program immediately with the date that
 you are sitting for the exam and keep SMUSOM informed of any changes in your date. The school will then
                                                      -5-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                           008
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 52 of 356 PageID 95


 review the rotation options available with you subject to passing the exam. To start any rotation you must
 pass Step 1 and tuition must be paid in full, including 6th semester, which was billed at the end of 5th
 semester. You must take and pass the USMLE step 1 exam by the end of this ‘6th semester’ to meet our
 goal that you will start rotations promptly after the 6th semester.

 After the formal documentation of passing Step 1 score is received by the Office of Clinical Medicine from
 you, and you have met the other requirements, the Clinical Coordinator will provide you with a schedule of
 one or more core clerkships taking into account input from the your Island interview and subsequent
 discussions. Changes in a schedule are to be avoided, and to avoid you being held financially responsible,
 SMUSOM requires 30 days’ notice. Any changes in requests are made in this order:

     1.) Review the proposed change with the SMUSOM clinical office.
     2.) If approved by SMUSOM, review the proposed change with the coordinator at the hospital.
     3.) If approved by the hospital, obtain final SMUSOM approval documented in an email from SMUSOM
         clinical office.

 ***It is School policy that a student who enters a clerkship, without formal written approval from
 SMUSOM prior to the start of the rotation, will not receive any credit for the clerkship and will be
 responsible for all charges related to that clerkship.***

 Canceling an approved rotation must be done 30 calendar days or more before the start date of any rotation,
 and requires communication with SMUSOM first. For core rotations arranged by SMUSOM, the cancelation
 will be managed and communicated by SMUSOM. For approved electives, the student must communicate
 the cancelation after review with SMUSOM. Note that cancelation of any rotation is a sensitive issue
 because it often has a negative impact on the hospital/clinical site’s schedule, the faculty, or the
 administrative staff. Always be polite and appreciative of their efforts. Arbitrary and late cancelations will
 result in serious consequences for the student.

 REQUIREMENTS PRIOR TO BEGINNING ANY ROTATION

 Documents: You MUST provide the clinical office with the following documents in order to be considered
 for scheduling of clinical rotations:

        Updated Certificate of Immunization including formal laboratory reports of the 5 serum titers proving
         immunity to the 5 communicable diseases, and proof of up to date Tetanus immunization (see
         below).
        New York State mandated Infection Control Training Certificate (NOTE: this is not optional)
        A current one-page Curriculum Vitae.
        Proof of active Personal US Health Insurance valid at a minimum beyond the end date of your next
         rotation.
        Updated Cell Phone Number, valid and working in the US, and current e-mail address.
        Copy of Social Security card (USA students). Color photocopy/scan of your Passport.
        2 Passport size photos of the student (mailed to the Orlando office). Proof of flu shot (every
         September).
        Color photocopy/scan of your Driver License (if you have one).
        Copy of USMLE Score Report (immediately upon receipt).
        Valid American Heart Association BCLS (Basic Cardiac Life Support) card because some hospitals
         will not accept Red Cross CPR cards.
        You must also be in full compliance with Finance Department rules (tuition fully paid per Billing
         Dept).
        Signed HIPAA Awareness Certificate.
        Obtain an updated criminal background check and Drug Screen.




                                                      -6-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                           009
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 53 of 356 PageID 96


 POLICY FOR HEALTH RECORD AND IMMUNIZATIONS:
 Students are expected to have had the following healthcare screening and immunizations completed prior
 to starting the first semester, except for late admissions who are allowed to complete these during the first
 three semesters of Basic Sciences.
 You will not be allowed any discussions with the Clinical Staff, nor to be certified to take Step 1 without
 being in full compliance with the Health Records requirement of providing titer reports for all 5
 communicable diseases and update on your Tetanus immunization.
 Compliance with all immunization and health requirements must be completed prior to enrollment for
 USMLE Step 1 exam. Proof of valid Health Insurance for the US must also be provided at this time.
 Immunization/health Records
 The form that needs to be filled out and signed by your healthcare provider and given to SMUSOM is on
 the MySMU website: http://stmatthews.edu/ > Clinicals > 5th Semester packet > Immunization form.
 SMUSOM also needs copies of the antibody titer reports and a copy of the physical exam emailed (or faxed
 or mailed) to the Orlando office.
 SMUSOM policy is based on CDC practice guidelines.

 1.) Mumps, Measles, Chicken Pox, German Measles and Hepatitis B
     All students MUST have a blood test done to measure antibody titers that show immunity is present for
     these 5 diseases. Even if the student has a medical record documenting being immunized in the past,
     the blood/serum antibody titers must done for all 5 diseases. You should complete this before
     starting at SMSUOM, or if you are a late admission, during the vacations between Basic
     Sciences semesters.
     Students should obtain these titers by a referral to a laboratory through their doctor’s office or the local
     clinic. These serum titer tests can take up to 3 weeks, so starting early is important. SMUSOM always
     needs the formal lab reports for these titers.
     NOTE: A blood/serum titer test that is positive indicates proof of immunity. If the titers are zero or too
     low, you must contact the SMUSOM clinical department immediately for instructions as to how to
     proceed in order to provide proper proof of immunity. For those who are not immune to Hepatitis B do
     not delay because it can require 3 injections over 6 months, plus another month before a blood/serum
     titer can be measured.

 2.) Tetanus/Diphtheria
     Confirmation by your provider that your Tetanus immunization has been updated within the past 10
     years, and is now current. Provide the formal documentation report.

 3.) Tuberculosis (TB)
     We require a review of your TB status be completed just before you start clinical rotations and annually
     thereafter;
     If you have never had a positive TB Skin test (TST/PPD/Mantoux), we require you have either a Two
     Step Skin Test or the blood test for TB, (the QuantiFeron TB Gold Test or equivalent). The Two Step
     Skin Test means you have one TST/PPD placed, and if this first TST is negative, you must obtain a
     second TST/PPD, and the timing between the two tests (TST) must be a minimum of 1 week and
     preferably not more than 3 weeks.
     http://www.stmatthews.edu/Clinicals/5thsemesterpacket/PPD_Guidelines.pdf
     If you have had a positive TST in the past, or if your first TST is positive, do not repeat it:
     For all positive TST’s, the one done now, or from years ago, you must provide documentation of the
     positive test, including the measurement of the skin reaction (induration). Prior to starting clinical
     rotations you should obtain a chest x-ray (since completing the Basic Sciences program on Grand
     Cayman) to confirm absence of disease, accompanied by a negative physical exam (see below).
     Depending on the size of the reaction and the amount of induration of your positive TST, SMUSOM
     may require you to have a consultation with a TB expert to assess if you need anti-TB drug treatment.
     For any student with a positive TST or positive Gold blood test you may be asked by a hospital or
     SMUSOM for an annual Chest x-ray.

 4.) Physical examination

                                                       -7-                                       Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                            010
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 54 of 356 PageID 97


     We require an initial physical exam by your healthcare provider before starting the third year Clinical
     Clerkship program. Obtain this exam while you are waiting for your results for Step 1. This is also
     required annually while you are in clinical clerkships.
     For those with a positive skin test or positive Gold test, CDC recommends that your physician should
     pay attention to the presence of any of the following:
          Cough persisting more than a month
          Coughing up large amounts of sputum or phlegm
          Persistent unexplained fever, weakness, or fatigue
          Unexplained loss of appetite
          Unexplained loss of weight of 10 lbs or more
          Becoming HIV positive


 POLICIES FOR ATTENDANCE

 Leave of Absence (LOA)
 SMUSOM requires that all absences greater than 30 days have an approved LOA. Requests for Leaves of
 Absence (LOA) must be submitted in writing for any time that you are out of clinical rotations for 30 days or
 longer. In general, LOAs are for one semester in length, and extension beyond one semester must be
 formally requested before the end of the first semester LOA.



         Attendance on Rotations
         Students are expected to have 100% attendance at all rotations. No vacations are permitted
         during rotations. All time-off requests require approval of the hospital and the SMUSOM Clinical
         Program. The Hospital has the final approval.

         During any rotation there are 5 major ‘events’ that may cause you to be absent from your rotation:

         A Personal illness
         If you are ill or absent for any reason, you must call the Hospital’s Clinical Program Coordinator
         and your supervising faculty member early in the day and also notify the Clinical Office at St.
         Matthew’s University. Be sure to update the hospital daily on your status. If you leave the
         hospital to go home, tell the hospital immediately and send an e-mail to SMUSOM. If you predict
         your illness will last several days, consult a physician because after 3 days of absence you will
         need a doctor’s note to confirm the illness and to ‘return to work'. Make sure the SMUSOM
         clinical office is aware at all times if you are not on-site. Be sure to offer to the hospital to make
         up the time lost in your clerkship.
         B Residency Interviewing
         During the residency process you will be invited for interviews. If you are on rotation or scheduled
         for a rotation, the Hospital has the final decision about whether you can leave for an interview. To
         prepare for this possible conflict try to schedule electives rotations at sites that are willing to be
         more flexible about you going on interviews.
         Unfortunately often the Residency program staff will tell you the date and time they want you to
         come for the interview and are not open to changing the date, though you should ask politely for
         options. Ideally, if your schedule permits you should plan on taking off all or part of November or
         December and early January. Many of you will not be able to do this. The moment you know
         about the possibility of an interview looming on your calendar, review this with SMUSOM and
         then be sure to request permission from the Hospital to leave for the interview. Do not leave the
         program without permission. Keep SMUSOM informed all the time and aware of any discussions;
         to minimize the impact of your absence. Try to arrange to fly to the interview in the morning and
         fly out the same day to return to your rotation.



                                                      -8-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          011
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 55 of 356 PageID 98


       Important; leaving without the permission of your supervising faculty member and
       hospital/clinical site Coordinator will result in your immediate suspension. Also always
       notify SMUSOM before you leave.
       C Taking USMLE Step 2 CK or CS
       Scheduling Step 2 CK during a rotation should be avoided because you must take time off to
       study.
       Step 2 CS may need to be taken during a rotation due to the exam scheduling issues. Your
       supervising faculty member and student coordinator must be notified prior to scheduling the
       rotation or on the first day of the rotation and you must inform SMUSOM at the same time. You
       should fly into the scheduled site the night before and return immediately after the exam.
       D Family Emergencies
       To leave you need to obtain permission from your Student Coordinator and supervising faculty
       member, and you must notify the SMUSOM Clinical Office immediately. We may ask you to
       provide supporting documentation.
       E Long-standing Commitments
       For long standing prior commitments, already approved by the SMUSOM Clinical Office, you
       SHOULD NOT schedule any rotations that would conflict with these prior commitments. Last
       minute requests for approval to miss days of your rotation will only be approved by the Clinical
       Office under extraordinary circumstances. You are to inform the Clinical Office before any
       requests are made to the supervising faculty member or Student Coordinator. The Clinical Office
       will contact the hospital with this request on your behalf for their approval.

       Duty Hours
       The goals of medical students and the faculty of SMUSOM are one and the same: to get the best
       medical education possible while not ignoring overall health and happiness. Attention needs to
       be paid to both duty/work hours and personal time.
       The following policies set forth the acceptable amount of time that clerkships may require of
       students, based upon the ACGME regulations for first-year residents. “Duty hours” include
       inpatient and outpatient clinical activities and scheduled academic exercises such as conferences
       and lectures that are related to the clerkship.
             Total duty hours must not exceed 80 hours per week, averaged over a four-week
            period.
             Call will be scheduled to coincide with the attending and/or resident team.
             Duty hour periods in the hospital will not exceed 16 consecutive hours.
             In each month the clerkship will provide each student with four individual 24-hour
            periods free from any required clinical or educational activities.
       Students should report duty hour violations directly to the Clinical Department.
       .




                                                  -9-                                    Revised 5/3/21




                         Exhibit F Clincial Medicine Handbood                                        012
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 56 of 356 PageID 99




                      Clinical Medicine Handbook

                                Part 3:
                      Third Year Core Curriculum




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                                      -10-                        Revised 5/3/21




                    Exhibit F Clincial Medicine Handbood                      013
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 57 of 356 PageID 100




                     St. Matthew’s University School of Medicine
                                           Course Syllabus
                               INTERNAL MEDICINE
                                            Required Clerkship

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 Clerkship Goal
 The Internal Medicine Clerkship is a twelve-week experience designed to give students exposure to
 diagnosing, treating, and caring for adult hospitalized patients. Students are placed on an inpatient general
 internal medicine team that includes residents and faculty. Students are expected to be active members of
 the team and contribute to patient care every day. Students are exposed to a variety of Internal Medicine
 patients, with no particular subspecialty emphasized over another. Each student is expected to see patients
 every day, write progress notes on each patient, present his or her patients on rounds, engage in active
 discussion regarding diagnosis and management with the team, and participate in the administrative duties
 necessary for patient care. The greatest emphasis is placed upon meeting the needs of the patient. Particular
 emphasis is placed on obtaining a complete history and physical exam, proper patient documentation, oral
 presentations, clinical reasoning, and professionalism. All students complete the clerkship with a
 fundamental understanding of the role of the Internist and the diseases that he or she treats.

 Core Clerkship Competencies and Learning Objectives
 During the course of this training period, students are expected to develop their understanding and
 competency in the areas of patient care, medical knowledge, lifelong learning, scholarship and
 collaboration, professionalism, interpersonal and communication skills, and social and community context
 of healthcare. They will be exposed to the management of patients with the expectation of enhancing their


                                                     -11-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                        014
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 58 of 356 PageID 101


 understanding of disease diagnosis, treatment and prevention. The clinical learning objectives are aligned
 with the competencies that each student is expected to satisfy by the end of the clerkship.

 Each learning objective is organized into three key areas: knowledge, skills and attitude (Appendix 1).
 Students’ proficiency in these competency areas are evaluated throughout the course of the clerkship and
 reflected in their final evaluation.

 SMUSOM Competencies
 1. Patient Care: Students must be able to provide patient care that is compassionate, appropriate, and
    effective for the treatment of illness and the promotion of health.
 2. Scientific & Medical Knowledge: Students must demonstrate knowledge about established and
    evolving biomedical, clinical, and associated sciences and application of this knowledge to the practice
    of medicine throughout the life cycle.
 3. Lifelong Learning, Scholarship, & Collaboration: Students must be able to examine and evaluate their
    patient care practices, appraise and assimilate scientific evidence, and use this information to improve
    their abilities.
 4. Professionalism: Students must demonstrate a commitment to the highest standards of professional
    responsibility, adherence to ethical principles, and sensitivity in all interactions with patients, families,
    colleagues, and others with whom physicians must interact in their professional lives.
 5. Communication & Interpersonal Skills: Students must display interpersonal and communication skills
    that foster effective information exchange and build rapport with patients, their families, and professional
    associates.
 6. Social & Community Context of Healthcare: Students must demonstrate knowledge of and
    responsiveness to the larger context of health care and the ability to effectively call on system resources
    to provide care that is of optimal value to the health of the individual and of the community.

 Learning Objectives
 1. Diagnostic Decision-Making: Students should learn how to design safe, expeditious, and cost effective
     diagnostic evaluations.
 2. Case Presentation Skills: Students should develop facility with different types of case presentations:
     written and oral, new patient and follow-up, inpatient and outpatient.
 3. History-Taking and Physical Examination: Students should be able to obtain an accurate medical
     history and carefully perform a physical examination, which is fundamental to providing comprehensive
     care to adult patients.
 4. Communication and Relationships with Patients and Colleagues: Students should demonstrate a
     proficiency in communication and interpersonal skills.
 5. Interpretation of Clinical Information: Students should be able to determine how test results will
     influence clinical decision making and how to communicate this information to patients.
 6. Therapeutic Decision-Making: Students should demonstrate effective patient management, using basic
     therapeutic decision-making skills that incorporate both pathophysiologic reasoning and evidence-based
     knowledge
 7. Bioethics of Care: Student should be able to recognize ethical dilemmas and respect different
     perceptions of health, illness, and health care held by patients of various religious and cultural
     backgrounds.
 8. Self-Directed Learning: Students should master and practice self-directed life-long learning, including
     the ability to access and utilize information systems and resources efficiently.
 9. Prevention: Students should be familiar with the principles of preventive health care to ensure their
     patients receive appropriate preventive services.
 10. Coordination of Care: Students should understand that the physician’s responsibility toward the patient
     does not stop at the end of the office visit or hospitalization but continues in collaboration with other
     professionals to ensure that the patient receives optimal care.
 11. Procedures: Students should become familiar with the performance of basic medical procedures.


                                                      -12-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           015
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 59 of 356 PageID 102



 Student Responsibilities
 Clinical Experience
 During the Internal Medicine Clerkship students should encounter patients defined in the SMUSOM Patient
 Encounters and Procedures list.

        Patient Encounters
        Through a series of Patient Encounters, students become familiar with the most prevalent diseases
        and conditions, and with the essentials of structured thinking that leads to the differential diagnosis
        and formulation of management plans.

        The SMUSOM Patient Encounters (Table 1) are based upon those published by the Clerkship
        Directors in Internal Medicine (CDIM). The types of Patient Encounters are intended to be
        representative of symptoms and conditions that facilitate mastery of the SMUSOM competencies.
        All of these Patient Encounters may be seen by the student in a variety of settings.

        A single patient can potentially present with one or more of these problems and/or condition for the
        student to log as a Patient Encounter; for example, a patient with HIV can present with cough and
        dyspnea, so the student can log 1 case of HIV, 1 case of cough, and 1 case of dyspnea.

        Students complete Patient Encounters during the first 10 weeks of the clerkship through Primary
        Clinical Learning, as defined by SMUSOM as an experience in which the student participates in
        direct patient care or team care (patient rounds).

        During the last two weeks of the clerkship, students may complete Patient Encounters through
        either Primary Clinical Learning or through Alternative Clinical Learning, as defined by SMUSOM
        as an experience in which the student participates in representative case-based discussions (e.g.,
        morning report, grand rounds, morbidity/mortality, etc.) or simulation (web-based modules e.g.,
        SIMPLE cases or standardized patients).

        Students must reflect their Patient Encounters in the Patient Logs during their Internal Medicine
        Clerkship. Ideally, the exposure should be via real patient contact (either by direct care of these
        patients, or by observed care of someone else’s patient during ward rounds or clinic). If real patient
        contact is not possible, then an acceptable alternative would be case-based discussions or simulation
        (web-based modules e.g., SIMPLE cases or standardized patients).

        If the student has not documented the required Patient Encounters through Primary Clinical
        Learning (via the Patient Log) by the end of the 10th week of the clerkship, then opportunities to
        fulfill the remaining Patient Encounters through Alternative Clinical Learning will be sent via
        email. The program will ensure that the student logs a minimum of 100 Patient Encounters through
        Primary Clinical Learning in the first 10 weeks.




                                                     -13-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                           016
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 60 of 356 PageID 103


          Table 1. SMUSOM Defined Patient Encounters
                                                                                                Type of Encounter
                                                     Level of student                            Primary Clinical
                                                                          Clinical Setting
                       Patient Encounter              responsibility                                 Learning
                                                                           (H/I, H/O, ED,
                                                      (Pr, Pa, Ob)*                             Direct
                                                                          CC, NH, PPO)**                    Team
                                                                                                Patient
                                                                                                            Care
                                                                                                 Care
                Abdominal Pain
                Acute Myocardial Infarction
                Acute Renal Failure/ Chronic
                Kidney Disease
                Altered Mental Status
                Anemia
                Arrhythmia/Valvular Disease
                Back Pain
                Cerebrovascular Accident/Stroke
                Chest Pain
                Common Cancers
                COPD/Obstructive Airway
                Disease
                Cough
                Diabetes Mellitus
                Disease Prevention
                Dyslipidemias
                Dyspnea
                Dysuria
                Endocrine Disorder (not DM)
                Fever
                Fluid, Electrolyte, Acid-Base
                Disorder
                Gastrointestinal Bleeding
                Geriatric Care
                Health Promotion
                Heart Failure
                HIV Infection
                Hypertension
                Joint Pain
                Liver Disease
                Major Depression
                Nosocomial Infections
                Obesity
                Pneumonia
                Rash
                Rheumatologic Problems
                Screening
                Severe Infection/Sepsis
                Smoking Cessation
                Substance Abuse
                Upper Respiratory Complaint
                Venous Thromboembolism
     KEY
     *Level of Student Responsibility
      Pr = Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
      Pa = Participant (member of medical team, present on rounds, O.R., etc.)
      Ob= Observer (only involved in discussion of patient, presentation of case, etc.)
 **Clinical Setting
 H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
 H/O - Hospital/Outpatient Clinic
 ED - Emergency Department / Urgent Care / Transport
 CC - Community Clinic
 NH - Nursing Home / Home Care
 PPO - Private Practice Office
                                                                -14-                                             Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                                      017
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 61 of 356 PageID 104


           Procedures
           The goal of clinical student training is to learn basic principles of Internal Medicine, covering
           common symptoms and conditions, their presentation, evaluation, diagnosis, and basic treatment.
           Some procedures, as indicated below, must be completed in association with other health
           professionals so the students can develop the skills required to perform effectively in health care
           delivery teams. The student’s level of responsibility is primarily through supervised learning. The
           following are clinical skills or procedures the student should have an understanding of by the end of
           the Internal Medicine Clerkship through observation, performance, or simulation. If real patient
           contact is not possible, then an acceptable alternative would be via simulation (real simulation with
           standardized patients or virtual simulation via web-based modules, e.g., SIMPLE cases).

           Table 2. SMUSOM Defined Procedures

                                                                          Type of Encounter
                                           Clinical
                            Level of       Setting     Primary
                            student       (H/I, H/O,   Clinical          Alternative Clinical Learning***
     Procedure                                         Learning
                         responsibility    ED, CC,
                         (Pr, Pa, Ob)*       NH,                                              Partial      Screen-
                                                       Direct     Full-Scale   Standardized
                                           PPO)**                                              Task         Based
                                                       Patient    Mannequin       Patients
                                                                                              Trainer    Simulation
Arterial Blood Gas
Blood Culture
Digital Rectal
Examination
Electrocardiogram
Nasogastric Tube
Peripheral Intravenous
Catheter Insertion
Place & Interpret
Tuberculin Skin Test
(PPD)
Urethral
Catheterization
Venipuncture
Observed conducting
relevant portions of
the history and
physical exam
Administration of IV
medication with a
nurse****
Ensure correct
medication is
administered to the
correct patient with a
nurse****
Avoid medication
interactions with a
pharmacist****
Calorie count with a
nutritionist****
Insertion of an NG
tube or a urethral
catheter with a nurse
or other
professional****

 KEY

 *Level of Student Responsibility
                                                        -15-                                    Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                    018
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 62 of 356 PageID 105

   Pr = Primary (student performed procedure)
   Pa = Participant (student assisted in performing procedure)
   Ob = Observer (student observed procedure)

   **Clinical Setting
   H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
   H/O - Hospital/Outpatient Clinic
   ED - Emergency Department / Urgent Care / Transport
   CC - Community Clinic
   NH - Nursing Home / Home Care
   PPO - Private Practice Office


 *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
 Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
   respiratory, etc.). May range from high- to low-fidelity.
 Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students regarding
   his/her medical condition.
 Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal anatomy.
 Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases
 **** Must be completed in association with other health professionals.




                                                                  -16-                                                Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                                          019
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 63 of 356 PageID 106


 Patient Logs
 Students are expected to see a minimum of ten (10) patients per week, which must be logged in the Patient
 Logs system (Appendix 7) and record the following:
         1. Patient Encounters listed in Table 1; and
         2. Procedures listed in Table 2.

 Students should also record all relevant information regarding the patient (e.g., age, gender, clinical setting,
 etc.) in the Patient Logs.

 Students who fail to submit logs in a timely fashion, or students who are not making satisfactory progress
 with regard to the logging of patient encounters, procedures or skills will be contacted by the clinical
 department.

 Patient Note
 Students are expected to learn how to perform and document full H&Ps during the clerkship. SMUSOM
 requires each student to submit completed two Patient Notes per week (Appendix 3) based on the patients
 that they have seen during the week.

 The Patient Note is written by the student in the role of the “doctor”, focusing on accurately reporting the
 patient history and physical findings and in compliance with HIPAA. Guidelines for the Patient Note
 Exercise, including an appropriately completed Patient Note and suggested content can be found in
 Appendix 4.

 In order to receive full credit for the weekly assignment, the student must satisfactorily complete two
 Patient Notes, which are graded by the Clinical Deans. A student who does not meet the Patient Note
 requirement receives no credit.

 Engaged Learning Experience
 SMUSOM defines an Engaged Learning Experience as a type of learning in which the student participates
 in the educational process and where the faculty member determines what and how the student should learn.
 As such, we have created Engaged Learning Assignments comprised of a series of 24 Clinical Learning
 Modules that students must complete during the course of the Internal Medicine Clerkship (Appendix 8).

         Clinical Learning Modules
         Students participating in the Internal Medicine Clerkship will be responsible for weekly Clinical
         Learning Modules on SMUSOM’s Learning Management System (LMS),
         http://lms.stmatthews.edu. Instructions for completing the weekly assignment can be found in
         Appendix 9.

         These Clinical Learning Modules are interactive virtual patient cases designed to encompass
         SMUSOM’s learning objectives as represented by the Clerkship Directors in Internal Medicine -
         Society for General Internal Medicine (CDIM-SGIM), Core Medicine Clerkship Curriculum Guide
         (Version 3.0) comprehensively and are designed for use by third-year medical students.

         As part of each Engaged Learning Assignment, students are also expected to complete a Reflection
         based on their interaction with the assigned cases.

         Reflections
         Reflections must be submitted for each of the weekly Clinical Learning Module cases. A
         Reflection has no percentage value, but is required. As a result, a student who does not complete a
         Reflection receives no credit for the weekly assignment. In order to receive full credit for each
         weekly assignment, the student must complete two Clinical Learning Module cases and submit a
         Reflection, which is graded pass/fail by the Clinical Dean.
                                                       -17-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           020
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 64 of 356 PageID 107



         What is a reflection?
         A reflection may be represented by describing a specific aspect of the case or disease state that:
             ˗ The student did not know and will help the student moving forward;
             ˗ Made the student think of a particular patient he/she has seen;
             ˗ Made the student think of something that he/she has been taught previously; or
             ˗ In some other way led to something the student learned that others might benefit from.

         Why is reflection important?
           ˗ Thinking about learning and writing things down helps to clarify thoughts and emotions;
           ˗ Reflection helps to focus on the student’s development as an effective independent learner,
                and on the strategies used to work towards this.

         What is a reflective learner?
           Reflective learners continually reflect on:
           ˗ What they are learning and how they are learning it;
           ˗ What their strengths and weaknesses in learning are; and
           ˗ The gaps in their knowledge and skills, and how they might work towards filling these.

 Interprofessional Education Reflective Exercise
 Students are expected to demonstrate the ability to communicate and work effectively with other health care
 professionals, and to make use of the unique contributions of other health care professionals. SMUSOM
 requires each student to submit one Interprofessional Education Reflective Exercise no later than the end of
 week 8. Failure to submit the exercise in a timely manner will result in point deduction which may affect the
 final grade. Students with Interprofessional Education Reflective Exercises that are deemed inadequate in
 any respect will be contacted by the clinical department and will need to resubmit. Guidelines for the
 Interprofessional Education Reflective Exercise, including an appropriately completed. Exercise can be
 found in Appendix 14 and 15.

 Monitoring and Evaluation
 SMUSOM is committed to the success of every student and actively monitors students’ progress throughout
 the clerkship. Performance on weekly assignments is reviewed by the Clinical Deans for content and
 quality to identify students in need of assistance (Appendix 2).

 Evaluation of Student Clerkship Performance
 Students should review the Clinical Clerkship Grading Guidelines in the SMUSOM Clinical Handbook.

 Mid-Clerkship Feedback
 The mid-clerkship assessment is designed to provide students an accurate assessment of their performance
 to date and identify areas for improvement during the second half of the clerkship. Students receive
 notification from the Clinical Department at the clerkship midpoint that they are required to review their
 performance to this point in the clerkship with at least one supervising attending physician. Students must
 discuss all areas of competency, as well as review their patient log, with this (these) supervising attending
 physician(s).

 Students are required to submit these mid-clerkship assessment forms (Appendix 6) to the Clinical
 Department no later than the end of week 7. Failure to submit the mid-clerkship assessment form in a
 timely manner will result in point deduction which may affect the final grade. Mid-clerkship assessment
 forms are reviewed for scope and content by the clinical department. Students with mid-clerkship
 assessment forms that are deemed inadequate in any respect will be contacted by the clinical department.

 The course grade consists of the overall performance on the Core Clerkship Exam, Engaged Learning
 Experience, Patient Log, Patient Note, and Clinical Faculty Evaluation.
                                                      -18-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          021
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 65 of 356 PageID 108


 Final Grade
 Students’ final grade is calculated as follows:

   Clinical Faculty
                                 A formal evaluation by the attending physician is completed at the end of the
   Evaluation:
                                 clerkship, which is based on performance, observation, and demonstration of
   Percentage of Final
                                 required competencies.
   Score: 30%
   Core Clerkship Exam:          Students are required to take the Internal Medicine Core Clerkship Examination
   Percentage of Final           (NBME) upon clerkship completion. Passing this examination is REQUIRED in
   Score: 40%                    order to progress to the next clinical clerkship.
   Engaged Learning              Students are required to complete two Clinical Learning Modules with
   Experience:                   accompanying Reflections organized around major clinical topics every week.
                                 These assignments must be submitted by Sunday, midnight (ET) in order to receive
   Percentage of Final           credit.
   Score: 10%
   Patient Logs:                 Students complete Patient Logs every week. Students are required to record ten or
   Percentage of Final           more Patient Encounters. Procedures are also recorded via the Patient Logs. The
   Score: 10%                    Patient Log must be submitted by Sunday, midnight (ET) in order to receive credit.
   Patient Note:                 Students are required to complete two Patient Notes (based on the patients that they
   Percentage of Final           have seen) every week. This assignment must be submitted by Sunday, midnight
   Score: 10%                    (ET) in order to receive credit.


   Mid-Clerkship                 Students are required to complete a Mid-Clerkship Assessment Form by Sunday,
   Feedback:                     midnight (ET) no later than one week past the mid-point of the clerkship. Failure
   Percentage of Final           to submit the Mid-Clerkship Assessment in a timely manner will result in point
   Score: Variable               deduction from a student’s final grade.
   Interprofessional             Students are required to complete an Interprofessional Education Reflection
   Education Reflection          Exercise by Sunday, midnight (ET) of week 8. Failure to submit the
   Exercise:                     Interprofessional Education Reflection Exercise in a timely manner will result in
   Percentage of Final           point deduction from a student’s final grade.
   Score: Variable

 Grading level:
 90-100% = Honors
 80-89% = High Pass
 70-79% = Pass
 <70%     = F

 Calculation of the student’s grade for the clerkship: the grade is comprised of six components which include:
 Core Clerkship Exam (40%); Clinical Faculty Evaluation (30%); Engaged Learning Experience (LMS +
 Reflection) (10%); Patient Logs (10%); Patient Note (10%); and any point deductions related to the Mid-
 Clerkship Assessment or the Interprofessional Education Reflective Exercise. Students must attain a minimum
 score of 70% in each of the Core Clerkship Exam, Clinical Faculty Evaluation, Engaged learning Experience,
 Patient Note and Patient Logs components.

 The Clinical Faculty Evaluation component of the grade is calculated based on a formula incorporating the
 faculty member’s assessment of how often the student "exceeds expectations", “meets expectations", or falls
 “below expectations". Note that any competencies that are "below expectations" require remediation to a
 level of at least 'meets expectations'.


                                                        -19-                                        Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                                022
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 66 of 356 PageID 109


 Students receiving a failing score on any of the components of the course grade (Core Clerkship Exam,
 Engaged Learning Experience, Patient Logs, Patient Note and Clinical Faculty Evaluation) are immediately
 reviewed by the Associate Dean for Clinical Medicine and are subject to remediation and/or referral to the
 student promotions committee.

 Students who are dissatisfied with a grade received from a faculty member or their final grade are not
 permitted to contact the faculty member or the clinical site. Students must contact the clinical department
 first to discuss their grievance.

 Competency Assessments
       Clinical Faculty Evaluation
       Competencies Assessed: See Appendix 5

         Core Clerkship Exam
         Competencies Assessed:
                PATIENT CARE
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1f. Make use of the scientific foundation for clinical decision making
                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention

         Engaged Learning Experience
         Competencies Assessed:
               PATIENT CARE
               1a. Perform a history, physical examination and basic procedures with competence and
               sensitivity in order to identify clinical problems and assess their urgency
               1b. Select and interpret appropriate laboratory and diagnostic studies
               1c. Analyze and synthesize data from history, physical exam and diagnostic studies
               1d. Develop hypotheses, diagnostic strategies and management plans
               1f. Make use of the scientific foundation for clinical decision-making
               1g. Use information technology to support care decisions and patient education
               SCIENTIFIC AND MEDICAL KNOWLEDGE
               2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
               2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
               history of illnesses
               2c. Demonstrate knowledge of health maintenance and disease prevention
               LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
               3c. Use information technology to access medical information and support his or her own
               education
               PROFESSIONALISM
               4c. Exhibit dependability and responsibility
               COMMUNICATION & INTERPERSONAL SKILLS
               5d. Demonstrate sensitivity to human differences and understanding of the impact of gender,
               ethnic, cultural background, socioeconomic and other social factors
               5e. Counsel and educate patients and their families
               5f. Promote wellness and preventive strategies

         Patient Logs
         Competencies Assessed:
                                                     -20-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          023
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 67 of 356 PageID 110


                 PATIENT CARE
                 1a. Perform a history, physical examination and basic procedures with competence and
                 sensitivity in order to identify clinical problems and assess their urgency
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1d. Develop hypotheses, diagnostic strategies and management plans
                 1f. Make use of the scientific foundation for clinical decision making
                 PROFESSIONALISM
                 4c. Exhibit dependability and responsibility

         Patient Note
         Competencies Assessed:
                 PATIENT CARE
                 1a. Perform a history, physical examination and basic procedures with competence and
                 sensitivity in order to identify clinical problems and assess their urgency
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1d. Develop hypotheses, diagnostic strategies and management plans
                 1e. Document data, assessment, and plans in the patient’s record
                 1f. Make use of the scientific foundation for clinical decision-making
                 SCIENTIFIC AND MEDICAL KNOWLEDGE
                 2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                 2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                 history of illnesses
                 2c. Demonstrate knowledge of health maintenance and disease prevention
                 COMMUNICATION & INTERPERSONAL SKILLS
                 5a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
                 relationship
                 5f. Promote wellness and preventive strategies

         Mid-Clerkship Feedback
         Competencies Assessed:
               LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
               3a. Display intellectual curiosity, willingness to examine assumptions and commitment to
               lifelong learning
               PROFESSIONALISM
               4c. Exhibit dependability and responsibility

 Student’s Evaluation of the Clerkship
 Student feedback is very important to the program. Completion of the clerkship evaluation form is required
 before the student can receive a final grade. Students will evaluate the total clerkship experience based on
 the following:
          1. Faculty members’ professionalism & willingness to teach
          2. Attitude of other personnel (nurses, house staff, administration)
          3. Quality of teaching diagnosis and treatment
          4. Opportunities to observe procedures
          5. Opportunities to perform procedures
          6. Sufficient # of patient contacts per day
          7. Sufficient # of history and physical exams per week
          8. Scope and variety of pathology / disease
          9. Quality of didactics (lecture, reading, rounds)
          10. Overall clerkship evaluation
          11. Average number of patient contacts per day
                                                     -21-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         024
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 68 of 356 PageID 111


         12. Average number of H&P exams done in a week
         13. Night call*
         14. Average number of night call done in a week
         15. Working weekends*
         16. Number of hours worked per week
         17. Retrospect- would take this clerkship again?
         18. Recommend- would recommend this clerkship?
         * requirements vary

 Course Policies
 Attendance
 Students are expected to be punctual, be well prepared, and have 100% attendance at all clerkships and
 related educational experiences. No vacations or time off is permitted during clerkships. Refer to the
 SMUSOM Clinical Medicine Handbook for further details regarding policies for attendance.

 Duty Hours
 The goals of the medical students and the faculty of SMUSOM are one and the same: to get the best medical
 education possible while not ignoring overall health and happiness. Attention needs to be paid to both
 duty/work hours and personal time.

 The following policies set forth the acceptable amount of time that clerkships may require of students, based
 upon the ACGME regulations for first-year residents. “Duty hours” include inpatient and outpatient clinical
 activities and scheduled academic exercises such as conferences and lectures that are related to the
 clerkship.
     • Total duty hours must not exceed 80 hours per week, averaged over a four-week period.
     • Call will be scheduled to coincide with the attending and/or resident team.
     • Duty hour periods in the hospital will not exceed 16 consecutive hours.
     • In each month the clerkship will provide each student with four individual 24-hour periods free
          from any required clinical or educational activities.

 Students should report duty hour violations directly to the Clinical Department.

 Core Clerkship Exam (CCE)
 SMUSOM uses the National Board of Medical Examiners (NBME) Clinical Science Subject Examination
 as the final exam for the Internal Medicine Clerkship. SMUSOM will provide the student’s name and email
 address to the NBME approximately 5 weeks before the end of the Internal Medicine clerkship.

 Each eligible SMUSOM student will receive an email with a link to a web page where he/she can
 print/download the scheduling permit and view policies and procedures for the testing session. This will
 enable the student to schedule the testing appointment online through the Prometric website and receive a
 confirmation notice.

 Students must schedule to take the exam in the 14-day exam window starting the last day of the rotation
 ending two weeks later. Taking time off during the clerkship to study for the exam or to take the exam is
 completely at the discretion of the Hospital/Clinical site.

 ALL Students must schedule their exam prior to the Saturday before the end of the clerkship.
 Students can cancel and reschedule their testing appointment without penalty or charge at any time up to 15
 days prior to the first day of the exam window. If the request is made less than 15 days prior to the
 scheduled appointment, Prometric will charge a fee. Fees for rescheduling/cancellation appear on the
 confirmation notice and will be charged to the student. Note: rescheduled exam dates can only occur within
 the testing window.

                                                     -22-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         025
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 69 of 356 PageID 112


 Failure to take or pass the exam within the prescribed two-week window will result in a grade of
 INCOMPLETE for the clerkship. If the student does not take the exam during the prescribed initial two
 week window, he/she will be assessed a score of zero (i.e. a failing score) and will only be permitted two
 additional attempts within the prescribed time period detailed below.

 SMUSOM’s goal is to provide the student with his or her NBME results 1 week after the last day of the 14-
 day exam window.

 If a student fails, and is already in another clinical clerkship (or is scheduled to start a clinical clerkship
 shortly) at the time that the school receives the failing score report, he/she may complete that clinical
 clerkship. However, NO additional clinical clerkships will be permitted until the student receives a passing
 grade for both the previously failed and current clinical clerkship Core Clerkship Exam (in the case of a
 core clinical clerkship).

 In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
 attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
 of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
 reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure
 to make the initial attempt during the prescribed window detailed above). The Core Clerkship Exam grade
 component shall be the average of all attempts.

 Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the
 prescribed six months in three attempts shall result in a FAILING grade for the core clinical clerkship.

 Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student take
 this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
 Clinical Science Subject Examination) within the parameters described above.

 Student Promotions
 Any student in clinical clerkships who receives a grade of F (failure) will be placed on academic probation
 for one year. If a second grade of F (Failure) is earned by the student while on academic probation, the student
 will be dismissed.
 The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘C’ should be reviewed
 by the Promotions Committee for consideration of placement on academic probation. The Dean will
 determine whether any remedial program will be required of the student, e.g. additional weeks of clerkship in
 the discipline.

 Academic Integrity
 St. Matthew’s University School of Medicine does not tolerate any form of academic dishonesty.

 Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for
 credit of any work or materials that are fictitious, attributable in whole or in part to another person, any act
 designed to give unfair advantage to a student or the attempt to commit such acts.

 All persons involved in academic dishonesty will be disciplined in accordance with University regulations
 and procedures. Discipline may include suspension or expulsion from the University.

 For example, it is plagiarism to copy history and physical exam findings from a medical record without
 performing the work and without attribution.

 Students who are unsure about what constitutes plagiarism should refer to:
 http://www.plagiarism.org/plagiarism-101/overview/.

                                                       -23-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                            026
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 70 of 356 PageID 113


 Recommended Textbooks
 Cecil Essentials of Medicine, 8th Edition, with Student Consult Online Access (Paperback)
 By: Thomas E. Andreoli, Charles C. J. Carpenter, Robert C. Griggs, Ivor Benjamin
 Publisher: Saunders; 8th Edition (March 2010)
 ISBN-10: 9781416061090           ISBN-13: 978-1416061090

 Washington Manual of Medical Therapeutics, 33rd Edition (Spiral-bound) By: Washington University
 School of Medicine
 Publisher: Lippincott Williams & Wilkins; 33rd Edition (April 2010)
 ISBN-10: 1608310035 ISBN-13: 978-1608310036

 Practical Guide to the Care of the Medical Patient (Spiral-bound)
 By: Fred F. Ferri (editor)
 Publisher: W.B. Saunders Company; 8th edition (June 2010)
 ISBN-10: 0323071589 ISBN-13: 978-0323071581

 Rapid Interpretation of EKG's, Sixth Edition (Paperback)
 By: Dale Dubin
 Publisher: Cover Publishing Company; Updated August, 2004 edition (October 15, 2000)
 ISBN: 0912912065

 Kochar's Concise Textbook of Medicine (Book with CD-ROM) (Paperback)
 By: Kesavan Kutty (Editor), Ralph M. Schapira (Editor), Jerome Van Ruiswyk,
 Mahendr S. Kochar
 Publisher: Lippincott Williams & Wilkins; 5th edition (February 2008)
 ISBN-10: 0781766990 ISBN-13: 978-0781766999

 Office and Bedside Procedures (Spiral-bound)
 By: Mark S. Chestnutt, Thomas N. Dewar, Richard M. Locksley
 Publisher: McGraw-Hill/Appleton & Lange; 1st edition (July 1, 1996)
 ISBN: 0838510957

 Primer of Water, Electrolyte, and Acid-Base Syndromes (Paperback)
 By: Jeffrey M. Brensilver, Emanuel Goldberger
 Publisher: Oxford University Press, USA; 8 edition (January 15, 1996)
 ISBN: 0803600542

 MKSAP for Students 5 Book
 American College of Physicians

 Internal Medicine Essentials for Students
 American College of Physicians

 Internal Medicine Clerkship Guide, 3e (Clerkship Guides)
 Paauw, Migeon, Burkholder editors, Oct 2007




                                                    -24-                                     Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                         027
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 71 of 356 PageID 114


 Appendix 1 – Internal Medicine Clerkship Learning Objectives
 1. Diagnostic Decision-Making
         A. Knowledge: Each student should be able to describe:
                  1. key history and physical examination findings pertinent to the differential diagnosis.
                  2. information resources for determining diagnostic options for patients with common and
                  uncommon medical problems.
                  3. key factors to consider when selecting from among diagnostic tests, including pretest
                  probabilities, performance characteristics of tests (sensitivity, specificity, likelihood ratios),
                  cost, risk, and patient preferences.
                  4. the relative cost of diagnostic tests.
                  5. how critical pathways or practice guidelines can be used to guide diagnostic test
                  ordering.
                  6. the method of deductive reasoning.
         B. Skills: Each student should be able to:
                  1. formulate a differential diagnosis based on the findings from the history and physical
                  examination.
                  2. use probability-based thinking to identify the most likely diagnoses.
                  3. use the differential diagnosis to help guide diagnostic test ordering and sequence.
                  4. use pretest probabilities and scientific evidence about performance characteristics of tests
                  (sensitivity, specificity, likelihood ratios) to determine post-test probabilities according to
                  the predictive value paradigm.
                  5. participate in selecting the diagnostic studies with the greatest likelihood of providing
                  useful results at a reasonable cost.
         C. Attitudes: Each student should:
                  1. incorporate the patient’s perspective into diagnostic decision-making.
                  2. limit the chances of false positive/false negative results by demonstrating thoughtful test
                  selection.

 2. Case Presentation Skills
         A. Knowledge: Each student should be able to describe:
                  1. components of comprehensive and abbreviated case presentations (oral and written) and
                  the settings appropriate for each.
         B. Skills: Each student should be able to:
                  1. prepare legible, comprehensive, and focused new patient workups that include the
                  following features as clinically appropriate:
                                o present illness organized chronologically, without repetition, omission, or
                                    extraneous information.
                                o a comprehensive physical examination with detail pertinent to the patient’s
                                    problem.
                                o a succinct and, where appropriate, unified list of all problems identified in
                                    the history and physical examination.
                                o a differential diagnosis for each problem (appropriate to level of training).
                                o a diagnosis/treatment plan for each problem (appropriate to level of
                                    training).
                  2. orally present a new patient’s case in a logical manner, chronologically developing the
                  present illness, summarizing the pertinent positive and negative findings as well as the
                  differential diagnosis and plans for further testing and treatment.
                  3. orally present a follow-up patient’s case, in a focused, problem-based manner that
                  includes pertinent new findings and diagnostic and treatment plans.
                  4. select the appropriate mode of presentation that is pertinent to the clinical situation.
         C. Attitudes: Each student should:


                                                        -25-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                             028
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 72 of 356 PageID 115


                 1. demonstrate a commitment to improving case presentation skills by regularly seeking
                 feedback on presentations.
                 2. Accurately and objectively record and present data.

 3. History-Taking and Physical Examination
         A. Knowledge: Each student should be able to describe:
                  1. the significant attributes of a symptom, including location and radiation, intensity,
                  quality, temporal sequence (onset, duration, frequency), alleviating factors, aggravating
                  factors, setting, associated symptoms, functional impairment, and patient’s interpretation of
                  symptom.
                  2. the four methods of physical examination (inspection, palpation, percussion, and
                  auscultation), including where and when to use them, their purposes, and the findings they
                  elicit.
                  3. the physiologic mechanisms that explain key findings in the history and physical exam.
                  4. the diagnostic value of history and physical exam information.
         B. Skills: Each student should be able to:
                  1. use language appropriate for each patient.
                  2. use non-verbal techniques to facilitate communication and pursue relevant inquiry.
                  3. elicit the patient’s chief complaint as well as a complete list of the patient’s concerns.
                  4. obtain a patient’s history in a logical, organized, and thorough manner, covering the
                  history of present illness; past medical history (including usual source of and access to
                  health care, childhood and adult illnesses, injuries, surgical procedures, obstetrical history,
                  psychiatric problems, hospitalizations, transfusions, medications, tobacco and alcohol use,
                  and drug allergies); preventive health measures; social, family, and occupational history;
                  and review of systems.
                  5. obtain, whenever necessary, supplemental historical information from other sources, such
                  as significant others or previous physicians.
                  6. demonstrate proper hygienic practices whenever examining a patient.
                  7. position the patient and self properly for each part of the physical examination.
                  8. perform a physical examination for a patient in a logical, organized, respectful, and
                  thorough manner, giving attention to the patient’s general appearance, vital signs, and
                  pertinent body regions.
                  9. communicate with the patient the purpose of the exam and explain the step-by-step
                  process.
                  10. adapt the scope and focus of the history and physical exam appropriately to the medical
                  situation and the time available.
         C. Attitudes: Each student should:
                  1. recognize the essential contribution of a pertinent history and physical examination to the
                  patient’s care by continuously working to improve these skills.
                  2. establish a habit of updating historical information and repeating important parts of the
                  physical exam during follow-up visits.
                  3. demonstrate consideration for the patient’s feelings, limitations, and cultural and social
                  background whenever taking a history and performing a physical exam.

 4. Communication And Relationships With Patients And Colleagues
       A. Knowledge: Each student should be able to describe:
                1. how patients’ and physicians’ perceptions, preferences, and actions are affected by
                cultural and psychosocial factors and how these factors affect the doctor-patient
                relationship.
                2. the role and contribution of each team member to the care of the patient.
                3. the role of psychosocial factors in team interactions.
                4. the role of the physician as patient advocate.
       B. Skills: Each student should be able to:
                                                      -26-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           029
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 73 of 356 PageID 116


                  1. demonstrate appropriate listening skills, including verbal and non-verbal techniques (e.g.,
                  restating, probing, clarifying, silence, eye contact, posture, touch) to demonstrate empathy
                  and help educate the patient.
                  2. demonstrate effective verbal skills including appropriate use of open- and closed-ended
                  questions, repetition, facilitation, explanation, and interpretation.
                  3. determine the information that a patient has independently obtained about his/her
                  problems.
                  4. identify patient’s emotional needs.
                  5. seek the patient’s point of view and concerns about his/her illness and the medical care
                  he/she is receiving.
                  6. determine the extent to which a patient wants to be involved in making decisions about
                  his/her care.
                  7. assess patient commitment and adherence to a treatment plan taking into account
                  personal and economic circumstances.
                  8. work with a variety of patients, including multiproblem patients, angry patients,
                  somatizing patients, and substance abuse patients.
                  9. work as an effective member of the patient care team, incorporating skills in
                  interprofessional collaboration.
                  11. Give and receive constructive feedback.
         C. Attitudes: Each student should:
                  1. work hard to develop effective doctor-patient communication skills.
                  2. take into consideration in each case the patient’s psychosocial status.
                  3. demonstrate respect for patients.
                  4. demonstrate actively involving the patient in his/her health care whenever possible.
                  5. demonstrate teamwork and respect toward all members of the health care team, as
                  manifested by reliability, responsibility, honesty, helpfulness, selflessness, and initiative in
                  working with the team.
                  6. respond pertinently to patient concerns.
                  7. attend to or advocate for the patient’s interests and needs in a manner appropriate to the
                  student’s role.

 5. Interpretation of Clinical Information
          A. Knowledge: Each student should be able to describe:
                   1. the various components of a complete blood count, blood smear, electrolyte panel,
                   general chemistry panel, electrocardiogram, urinalysis, pulmonary function tests, and body
                   fluid cell counts and chemistries.
                   2. range of normal variation in the results of a complete blood count, blood smear,
                   electrolyte panel, general chemistry panel, electrocardiogram, chest x-ray, urinalysis,
                   pulmonary function tests, and body fluid cell counts and chemistries.
                   3. results of the above tests in terms of the related pathophysiology.
                   4. test sensitivity, test specificity, pre-test probability, and predictive value.
                   5. how errors in test interpretation can affect clinical outcomes and costs.
          B. Skills: Each student should be able to:
                   1. interpret a blood smear, gram stain, electrocardiogram, chest X-ray, and urinalysis.
                   2. record the results of laboratory tests in an organized manner, using flow sheets when
                   appropriate.
                   3. estimate post-test probability based on test results and state the clinical significance of
                   these findings.
          C. Attitudes: Each student should:
                   1. demonstrate estimating the implications of test results before ordering tests and after test
                   results are available.
                   2. personally review imaging, urinalysis, and where available blood smears, to assess the
                   accuracy and significance of the results
                                                       -27-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                            030
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 74 of 356 PageID 117



 6. Therapeutic Decision-Making
         A. Knowledge: Each student should be able to describe:
                  1. information resources for determining medical and surgical treatment options for patients
                  with common and uncommon medical problems.
                  2. key factors to consider in choosing among treatment options, including risk, cost,
                  evidence about efficacy, and consistency with pathophysiologic reasoning.
                  3. how to use critical pathways and clinical practice guidelines to help guide therapeutic
                  decision-making.
                  4. factors that frequently alter the effects of medications, including drug interactions and
                  compliance problems.
                  5. factors to consider in selecting a medication from within a class of medication.
                  6. factors to consider in monitoring a patient’s response to treatment, including potential
                  adverse effects.
                  7. various ways that evidence about clinical effectiveness is presented to clinicians and the
                  potential biases of using absolute or relative risk or number of patients needed to treat.
                  8. methods of monitoring therapy and how to communicate them in both written and oral
                  form.
         B. Skills: Each student should be able to:
                  1. formulate an initial therapeutic plan.
                  2. access and utilize, when appropriate, information resources to help develop an
                  appropriate and timely therapeutic plan.
                  3. explain the extent to which the therapeutic plan is based on pathophysiologic reasoning
                  and scientific evidence of effectiveness.
                  4. begin to estimate the probability that a therapeutic plan will produce the desired outcome.
                  5. write prescriptions accurately.
                  6. counsel patients about how to take their medications and what to expect when they take
                  their medications, including beneficial outcomes and potential adverse effects.
                  7. monitor response to therapy.
         C. Attitudes: Each student should:
                  1. incorporate the patient in therapeutic decision-making, explaining the risks and benefits
                  of treatment.
                  2. respect patient’s informed choices, including the right to refuse treatment.
                  3. incorporate the elements of patient autonomy, treatment efficacy, quality of life, and
                  societal demands into decision-making.
                  4. provide close follow-up of patients under care.

 7. Bioethics Of Care
         A. Knowledge: Each student should be able to describe:
                  1. basic elements of informed consent.
                  2. circumstances under which informed consent is necessary and unnecessary.
                  3. basic concepts of autonomy, treatment efficacy, quality of life, and societal demands.
                  4. potential conflicts between individual patient preferences and societal demands.
                  5. the role of the physician in making decisions about the use of expensive or controversial
                  tests and treatments.
         B. Skills: Each student should be able to:
                  1. participate in a discussion about advance directives with a patient.
                  2. participate in informed consent for a procedure.
                  3. participate in the care of a consent-requiring terminally ill patient.
                  4. participate in a physician’s discussion with a patient about a requested treatment that may
                  not be considered appropriate (e.g., not cost-effective).
         C. Attitudes: Each student should:


                                                      -28-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          031
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 75 of 356 PageID 118


                  1. take into account the individual patient’s perspective and perceptions regarding health
                  and illness.
                  2. demonstrate a commitment to caring for all patients, regardless of gender, race,
                  socioeconomic status, intellect, sexual orientation, ability to pay, or cultural background.
                  3. recognize the importance of allowing terminally ill patients to die with comfort and
                  dignity when that is consistent with the wishes of the patient and/or the patient’s family.
                  4. recognize the potential conflicts between patient expectations and medically appropriate
                  care.

 8. Self-Directed Learning
         A. Knowledge: Each student should be able to describe:
                  1. key sources for obtaining updated information on issues relevant to the medical
                  management of adult patients.
                  2. a system for managing information from a variety of sources.
                  3. key questions to ask when critically appraising articles on diagnostic tests or therapies.
         B. Skills: Each student should be able to:
                  1. perform a computerized literature search to find articles pertinent to a clinical question.
                  2. demonstrate critical review skills.
                  3. read critically about issues pertinent to their patients.
                  4. assess the limits of medical knowledge in relation to patient problems.
                  5. use information from consultants critically.
                  6. recognize when he or she needs additional information to care for the patient.
                  7. ask colleagues (students, residents, nurses, faculty) for help when needed.
                  8. make use of available instruments to assess one’s own knowledge base.
         C. Attitudes: Each student should be able to:
                  1. demonstrate self-directed learning in every case.
                  2. acknowledge gaps in knowledge to both colleagues and patients and request help.

 9. Prevention
        A. Knowledge: Each student should be able to describe:
                 1. primary, secondary, and tertiary prevention.
                 2. criteria for determining whether or not a screening test should be incorporated into the
                 periodic health assessment of adults.
                 3. general types of preventive health care issues that should be addressed on a routine basis
                 in adult patients (i.e., cancer screening; prevention of infectious diseases, coronary artery
                 disease, osteoporosis, and injuries; and identification of substance abuse).
                 4. vaccines that have been recommended for routine use in at least some adults (i.e.,
                 influenza, pneumococcal, measles, mumps, rubella, tetanus-diphtheria, hepatitis).
                 5. indications for endocarditis prophylaxis.
                 6. methods for counseling patients about risk-factor modification.
                 7. influence of age and clinical status on approach to prevention.
                 8. general categories of high-risk patients in whom routine preventative health care must be
                 modified or enhanced (e.g., family history, travel to an underdeveloped area, etc.).
                 9. the major areas of controversy in screening.
        B. Skills: Each student should be able to:

                  1. locate recently published recommendations regarding measures that should be
                  incorporated into the periodic health assessment of adults.
                  2. identify patients at high risk for developing coronary artery disease and cancer by
                  screening for major risk factors.
                  3. obtain a sexual history and counsel patients about safe-sex practices.
                  4. obtain and interpret a Pap smear report.
                  5. counsel a patient on smoking cessation.
                                                       -29-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           032
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 76 of 356 PageID 119


                  6. perform a breast exam.
                  7. perform a digital rectal exam.
                  8. place and interpret a tuberculin skin test (PPD).
         C. Attitudes: Each student should:
                  1. address preventive health care issues as a routine part of their assessment of patients.
                  2. encourage patients to share responsibility for disease prevention.

 10. Coordination Of Care
        A. Knowledge: Each student should be able to describe:
                 1. the role of consultants and their limits in the care of a patient.
                 2. key personnel and programs in and out of the hospital that may be able to contribute to
                 the ongoing care of an individual patient for whom the student has responsibility.
                 3. the role of the primary care physician and the team in coordinating the comprehensive
                 and longitudinal patient care plan, including communicating with the patient and family
                 through telecommunications and evaluating patient well-being through home health and
                 other care providers.
                 4. the role of the primary care physician and the team in the coordination of care during key
                 transitions (e.g., outpatient to inpatient, inpatient to hospice, etc.).
        B. Skills: Each student should be able to:
                 1. discuss with the patient (and family as appropriate) ongoing health care needs, using
                 appropriate language, avoiding jargon and medical terminology.
                 2. participate in requesting a consultation and identifying the specific question(s) to be
                 addressed.
                 3. participate in the discussion of the consultant’s recommendations with the team
                 4. participate in developing a coordinated, ongoing care plan in the community.
                 5. obtain a social history that identifies potential limitations in the home setting which may
                 require an alteration in the medical care plan to protect the patient’s welfare.
                 6. develop skills for participating as a member of the care team
        C. Attitudes: Each student should:
                 1. demonstrate teamwork and respect toward all members of the health care team.
                 2. demonstrate responsibility for patients’ overall welfare.
                 3. participate, whenever possible, in coordination of care and in provision of continuity

 11. Procedures
         A. Knowledge: Each student should be able to describe:
                  1. key indications, contraindications, risks, and benefits of each of the procedures listed in
                  Table 2.
                  2. alternatives to a given procedure.
                  3. what the patient’s experience of the procedure will be.
         B. Skills: Each student should be able to:
                  1. observe precautions and contraindications for the procedures used.
                  2. understand how to obtain informed consent, when necessary, for procedures, including
                  the explanation of the purpose, possible complications, alternative approaches, and
                  conditions necessary to make the procedure as comfortable, safe, and interpretable as
                  possible.
                  3. understand step-by-step performance of procedures
         C. Attitudes: Each student should:
                  1. always participate in obtaining informed consent for procedures they perform or in which
                  they participate.
                  2. explain what the patient’s experience is likely to be in understandable terms.
                  3. communicate risks and benefits to patients.
                  4. always make efforts to maximize patient comfort during a procedure.


                                                      -30-                                       Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                            033
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 77 of 356 PageID 120


  Appendix 2 – Alignment of Learning Objectives, Competencies, and
  Assessment
   Clinical Learning Objectives                       Aligned with SMUSOM Competency                 Assessment Method
1. Diagnostic Decision Making                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
2. Case Presentation                          Patient Care                                      Clerkship Evaluation
                                              Communication & Interpersonal Skills              Patient Note
3. History and Physical                       Patient Care                                      Clerkship Evaluation
Examination                                   Communication & Interpersonal Skills              Engaged Learning (LMS)
                                                                                                Patient Note
4. Communication and                          Patient Care                                      Clerkship Evaluation
Relationships with Patients and               Professionalism                                   Engaged Learning (LMS)
Colleagues                                    Communication & Interpersonal Skills              Procedure logs
                                                                                                Mid-Clerkship Assessment
                                                                                                IPE Reflective Exercise
5. Interpretation of Clinical                 Patient Care                                      CCE
Information                                   Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
6. Therapeutic Decision Making                Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
7. Bioethics of Care                          Professionalism                                   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Logs
8. Self-Directed Learning                     Lifelong Learning, Scholarship, & Collaboration   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Procedure logs
                                                                                                Mid-Clerkship Assessment
9. Prevention                                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
10. Coordination of Care and                  Patient Care                                      Clerkship Evaluation
Teamwork                                      Social & Community Context Of Healthcare          Procedure logs
                                              Lifelong Learning, Scholarship, & Collaboration   IPE Reflective Exercise
11. Procedures                                Patient Care                                      Clerkship Evaluation
                                                                                                Patient Logs

     CCE =Core Clerkship Exam = National Board of Medical Examiners Subject Exam




                                                                          -31-                            Revised 5/3/21




                                        Exhibit F Clincial Medicine Handbood                                          034
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 78 of 356 PageID 121


 Appendix 3 ‐ Patient Note (PN) Form
 A blank form is shown below.




                                          -32-                     Revised 5/3/21




                          Exhibit F Clincial Medicine Handbood                 035
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 79 of 356 PageID 122


 Appendix 4 – Guidelines for the Patient Note Exercise
 This activity is designed to improve students’ ability to communicate vital patient information in a written
 format, as well as assess certain competencies required for graduation. In order to satisfy the Patient Note
 (PN) competencies, students’ notes will be read and graded by the Clinical Department each week. Each
 PN will be graded as either “Meets Expectations” or “Below Expectations”. Students who do not achieve
 competency in writing the PN by the end of the clerkship will receive a “U” in the respective competencies
 and will need to remediate. After successful remediation, students will receive an “S*” in place of the “U”
 according to school policy.

 In general, PN’s that “Meet Expectations” have the following common characteristics:
      The use of correct terminology (e.g., muscle strain rather than pulled muscle)
      A well-organized history section with subsections that are easy to find. If the patient has pain, all
         the descriptors of pain are included, along with an easy to follow timeline.
      Pertinent details of physical exam findings are also expected. For example, writing “pharynx
         without exudate or erythema” is preferable to stating that the pharynx is “clear,” and “lungs clear to
         auscultation bilaterally” is preferable to lungs “normal”.
      Only listing diagnoses supported by the history and physical exam. In some cases, there will only
         be one diagnosis.
      If there is more than one possible diagnosis, listing them in order of likelihood, with the most likely
         diagnosis first.
      Linking elements of the history, physical exam, differential diagnosis and plan throughout the PN.
         For example, each potential diagnosis should have appropriate elements in the history section
         including relevant positive and negative review of systems. Risk factors should also be included for
         each diagnosis (e.g., prior hx PID/STIs if ectopic pregnancy is in the differential). Each potential
         diagnosis should also have corresponding physical exam elements in the physical exam section of
         the note, and both history and physical exam elements should be in the data interpretation section.

 PN’s assessed as “Below Expectations” often include the following common mistakes:
     Documentation of history elements in the physical exam section (pain, past medical history, etc.).
     Documentation of physical exam elements in the history section (vital signs, tenderness, etc.).
     Incomplete documentation of physical exam findings (lungs “normal”, pelvic exam “WNL”, vital
        signs “normal” or “stable” or “unremarkable”).
     Listing improbable diagnoses with no supporting evidence (e.g., brain tumor in a patient with no
        focal neurological signs) or a plan that includes a test with no indications (e.g., MRI of the brain in
        a patient with headaches and no focal neurological signs).
     Listing an appropriate diagnosis with no supporting evidence (e.g., new onset diabetes without
        listing symptoms of polydipsia, polyphagia, polyuria; or pregnancy with no symptoms of pregnancy
        or mention of sexual activity, last menstrual period, or use of family planning).
     Use of non-standard abbreviations, such as CMT (cervical motion tenderness). Only commonly
        accepted abbreviations (such as those on the Step 2CS website) are acceptable.




                                                     -33-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          036
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 80 of 356 PageID 123


 Below is an example of a PN that would “Meet Expectations” for the Internal Medicine Clerkship.
 Positive aspects are indicated with a superscript and explained at the end of the PN.




 CC: Ms. J.B. is a 24 yo woman1 who complains of worsening sore throat since yesterday morning.
 HPI: She has never had a similar problem in the past. She has no difficulty swallowing, but notes that
 swallowing makes the pain worse. Nothing makes it better2. There is no SOB or sensation of choking or
 dysphagia. She has fatigue and has had some anorexia since the symptoms began. She has had some
 subjective fevers at home but has not taken her temperature. She has had no cough or rhinorrhea. There are
 no sick contacts at home or at work. She denies seasonal allergies and post-nasal drip. The patient thinks
 she has strep throat.3
 ROS: No chest pain, cough, wheezing, abdominal pain, N/V, or headache4
 PMHx: none
 Meds: none
 Allergies: none
 PSHx: none
 FHx: father with HTN
 SHx: married with 2 children, does not use ETOH, tobacco or drugs, monogamous with husband




 She is in no acute distress5
 VS: BP 105/74, R 16, P 72, T 98.5
 HEENT: Oropharynx without exudate or erythema, TMs clear without erythema bilaterally6
 Tender submandibular lymphadenopathy is present bilaterally
 Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness




  Diagnosis #1 Viral Pharyngitis

                 History Finding(s)                               Physical Exam Finding(s)
  Sore throat                                          Tender submandibular lymph nodes
  Subjective fever                                     Afebrile7
  Fatigue
  Anorexia
  Pain with swallowing

  Diagnosis #2 Bacterial Pharyngitis

                  History Finding(s)                              Physical Exam Finding(s)
  Sore throat                                          Tender submandibular lymph nodes
  Subjective fever
  Fatigue

                                                   -34-                                    Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                       037
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 81 of 356 PageID 124


  Anorexia
  Pain with swallowing
  No rhinorrhea8

                Diagnostic Studies
       Throat Culture

 Notes:
 1
   Complete identification of the patient.
 2
   Appropriate descriptors of pain are included in history.
 3
   Patient’s understanding of her disease is included.
 4
   ROS, PMHx, etc. are clearly designated and well organized.
 5
   General appearance and full vital signs are included, physical exam is clearly designated and well
 organized.
 6
   Physical exam findings are clearly described, not listed as “normal”.
 7
   Lack of fever supports the diagnosis of viral pharyngitis.
 8
   Lack of rhinorrhea supports the diagnosis of bacterial pharyngitis.




                                                     -35-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         038
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 82 of 356 PageID 125


 Below is an example of a PN would result in an assessment of “Below Expectations”. Problems are
 indicated with a superscript and explained at the end of the PN.




 The patient1 complains of pharangitis2. The sore throat started yesterday morning. She has never had a
 similar problem in the past. She also has abdominal pain and some anorexia since the symptoms began.
 She has no difficulty swallowing, but notes that swallowing makes the pain worse3. There is no sensation of
 choking or dysphagia. She has had some subjective fevers at home but has not taken her temperature. She
 denies chest pain4. VS: BP - 105/74, R - 16, P - 72, T - WNL5




 Her throat is clear6, but she has painful7 glands8.
 Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness936




  Diagnosis #1 Viral Pharyngitis

                  History Finding(s)                                Physical Exam Finding(s)
                                                          10
  Sore throat
  Subjective fever
  Fatigue
  Anorexia
  Pain with swallowing

  Diagnosis #2 Bacterial Pharyngitis11

                   History Finding(s)                               Physical Exam Finding(s)


  Diagnosis #3 Otitis Media12

                   History Finding(s)                               Physical Exam Finding(s)


                Diagnostic Studies
       Throat Culture
       Head/neck CT with contrast 13

 Notes:
 1
   Incomplete identification of the patient.
 2
   Not using the patient’s own words for the chief complaint.
 3
   Unorganized history (going from throat pain to abdomen, then back to throat).
                                                       -36-                                 Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                      039
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 83 of 356 PageID 126

 4
   Incomplete pertinent review of systems, no PMHx, SHx, etc.
 5
   Physical exam findings in the history.
 6
   General appearance and full vital signs are missing, and exam of main focus of her complaint (throat) is
 inadequate.
 7
   “Painful” is a descriptor that should be in the history, “tender” is objective and belongs in the physical
 exam.
 8
   “Glands” is not a medical term.
 9
   “Non-tender” and no “tenderness” is repetitive.
 10
    Tender lymph nodes is documented in the physical exam but is not listed in the physical exam findings in
 the data interpretation section.
 11
    Including a diagnosis without supporting evidence even if the diagnosis is possible.
 12
    Including a diagnosis that has no support in either the history or the physical exam.
 13
    Including a study that is not indicated, overly aggressive, and/or costly.




                                                     -37-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        040
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 84 of 356 PageID 127


     Appendix 5 – Sample Evaluation of Student Clerkship Performance

                                             ST. MATTHEW’S UNIVERSITY
                                                 SCHOOL OF MEDICINE
                                                                             In the U.S.
                                         St. Matthew’s University 12124 High Tech Avenue, Suite 350  Orlando, FL 32817
                                                  Tel. (407) 488-1700  Fax: (815) 377-3726  www.stmatthews.edu
                                            Clinicals: clinical@stmatthews.edu  Finance Office: finance@stmatthews.edu


                         Student Name                                                            Clinical Rotation

       Begin:                      End

                         Dates of Rotation                               Total              Attending/Supervising Physician
                                                                         Weeks


                        Hospital’s Name                                Hospital’s Address, City, State


     Please read rationale and background that follows this student evaluation form. To complete this evaluation check the
     appropriate category that reflects the student’s work within each competency based on the student’s overall performance.

                                                              PATIENT CARE
                                                                                                        Below                         Not          Not
                             Exceeding Expectations             Meeting Expectations
                                                                                                     Expectations                  Acceptable    Observed

1    Medical                    Logical, thorough, and           Elicits most pertinent           Incomplete, illogical,
     Interviewing               efficient histories              patient information              superficial histories
     (1a)

2    Physical                   Complete and accurate            Some omissions but               Incomplete, inaccurate,
     Examination                physical examinations            usually complete and             cursory, non-directed,
                                                                 accurate                         unreliable physical
     (1a)
                                                                                                  examination

3    Participation in           Exceptionally                    Actively participates in         Lacks initiative in patient
     Patient Care               conscientious in patient         patient care activities          care activities
     (1a, 1c)                   care activities, sound
                                judgment

4    Data Use and               “Manager” – uses                 “Interpreter” – attempts         “Reporter” – reports data
     Interpretation             information to develop           to interpret or apply            but makes no attempt to
     (1b, 1c, 1d, 1e)           insightful plans for             information appropriate to       interpret or apply
                                patient management               level of training                information

                                                  MEDICAL KNOWLEDGE
                                                                                                        Below                         Not          Not
                             Exceeding Expectations             Meeting Expectations
                                                                                                     Expectations                  Acceptable    Observed

5    Knowledge Base             Exceptional knowledge of         Solid fund of knowledge          Limited knowledge of
     (2a, 2b, 2c, 1f)           basic and clinical sciences                                       basic and clinical sciences

6    Interest in                Enthusiastic interest in         Demonstrates interest in         Minimal interest in
     Learning                   learning                         learning                         learning
     (2a, 2b, 2c, 3a)




                                                                      -38-                                                      Revised 5/3/21




                                     Exhibit F Clincial Medicine Handbood                                                                   041
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 85 of 356 PageID 128


                     LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                                                                                                            Below                           Not          Not
                                     Exceeding Expectations           Meeting Expectations
                                                                                                         Expectations                    Acceptable    Observed

8     Facilitation of                  Unusually proficient in         Facilitates the learning of    Shows little interest in
      Learning                         facilitating the learning of    other students and health      facilitating the learning of
      Amongst Team                     other students and health       care professionals             other students and health
                                       care professionals                                             care professionals
      (3a, 4f)

9     Ability to use                   Effectively uses scientific     Attempts to use scientific     Fails to use information
      Scientific Data to               studies to manage               studies to manage              from scientific studies to
      Manage Care                      information for patient         information for patient        enhance patient care.
                                       care. Participates in           care. Participates in          Does not participate in
      (3a, 3c, 3d, 1g)                 scholarly activities (e.g.,     scholarly activities (e.g.,    scholarly activities (e.g.
                                       journal club, research).        journal club, research).       journal club, research.)

10    Display of                       Self-motivated learner.         Usually demonstrates           Lacks insight and
      Initiative                       Completes all homework          personal initiative and        personal initiative. Does
      (3a)                             assignments and provides        completes all homework         not complete homework
                                       additional pertinent            assignments.                   assignments.
                                       information to the
                                       healthcare team.

                                                             PROFESSIONALISM
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

11    Compassion,                          Always demonstrates            Inconsistently                 Seldom demonstrates
      Integrity, and                       respect, compassion,          demonstrates respect,          respect, compassion,
      Honesty                              integrity and honesty         compassion, integrity and      integrity and honesty
                                                                         honesty
      (4a, 4b, 4c, 4e, 4f, 4h, 5c)

12    Reaction to                          Seeks and rapidly             Responds positively to         Resists or ignores
      Feedback                             responds to feedback          feedback                       feedback
      (4b, 4c, 4d, 4e, 4f)

13    Responsibility                       Teaches/role models           Displays responsible           Does not display
      (4b, 4c, 4d, 4g, 4h)                 responsible behavior;         behavior; attends all          responsible behavior;
                                           attends all required          teaching sessions as           does not attend or is
                                           teaching sessions and is      required and is punctual.      tardy to required
                                           punctual                                                     teaching sessions.

14    Patient and Staff                    Consistently considers        Considers the needs of         Does not consider the
      Consideration                        the needs of patients,        patients, families and         needs of patients,
      (4a, 4b, 4d, 4f, 4h, 5b, 5c)         families and colleagues       colleagues                     families or colleagues
                                           above his/her own

15    Acknowledgement of                   Willingly acknowledges         Acknowledges errors           Fails to acknowledge
      Errors                               errors                                                       errors
      (4b, 4c, 4d, 4e, 4h)

                                 INTERPERSONAL AND COMMUNICATION SKILLS
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

16    Relationship with                    Establishes highly            Establishes effective,         Does not establish
      Patients and                         effective, humanistic         humanistic and                 adequate, effective,
      Families                             and therapeutic               therapeutic relationships      humanistic and
                                           relationships with            with patients and families     therapeutic
      (5a, 5b, 5c, 5d, 5e, 5f)             patients and families                                        relationships with
                                                                                                        patients and families

17    Listening, Verbal,                     Demonstrates excellent      Shows adequate listening,      Demonstrates
      and Non-Verbal                       listening, written and        written and nonverbal          inadequate listening,
      Skills                               nonverbal                     communication skills           written or nonverbal
                                           communication skills                                         communication skills
      (5a, 5b, 5c, 5d)


                                                                           -39-                                                      Revised 5/3/21




                                           Exhibit F Clincial Medicine Handbood                                                                  042
      Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 86 of 356 PageID 129


18     Interpersonal Skills                 Always “interpersonally         Relates well to patients          Not “interpersonally
       w/ Patients and                      engaged” with patients          and their families and        engaged” with patients and
       Families                             and their families and          respects patient              their families but respects
                                            respects patient                confidentiality.              patient confidentiality.
       (5a,5b,5c,5d, 5e)                    confidentiality.

19     Documentation &                      Delivers well organized         Delivers organized                Delivers poorly
       Presentation Skills                  presentations, writes           patient presentation,             organized patient
       (5a, 5d, 5f)                         exceptionally organized         writes organized accurate         presentations. Has
                                            notes, appropriately            notes, including most             difficulty
                                            tailored to the situation,      pertinent information with        distinguishing pertinent
                                            with assessments that           little extraneous                 from extraneous
                                            are consistently                information                       information, writes
                                            thoughtful and reflect                                            notes that have
                                            reading.                                                          omissions, shows little
                                                                                                              application of clinical
                                                                                                              thinking or reading.

                             SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE
                                         Exceeding                                                        Below                            Not            Not
                                                                         Meeting Expectations
                                         Expectations                                                     Expectations                     Acceptable     Observed

20     Other healthcare                     Effectively makes use           Attempts to make use of           Unable to make use of
       professionals                        of unique contributions         unique contributions by,          unique contributions
       (6a, 6b, 6d, 5f)                     by, and works                   and work effectively              by, and work
                                            effectively with, other         with, other health care           effectively with, other
                                            health care professionals       professionals                     health care
                                                                                                              professionals
21     Use of Systems in                    Effectively uses                Attempts to use                   Does not use
       Care                                 systematic approaches           systematic approaches to          systematic approaches
       (6a, 6b)                             to reduce errors and            reduce errors and                 to reduce error and
                                            improve patient care            improve patient care              improve health care

        **Items in parentheses indicate sub-competencies assessed. See St. Matthew’s Competency Matrix for detailed description.


     Mid-Term Evaluation                                                 Not done                      Done          Date:
     Comments:




     Comments (for MSPE/Dean’s Letter):




     Constructive Comments (not for use in MSPE/Dean’s Letter):



     By signing my name below, I confirm that I have received and reviewed the SMUSOM Clerkship
     Syllabus, which includes the SMUSOM Competencies, Clerkship Learning Objectives, Clerkship required
     encounters and procedures, and SMUSOM policies.

 Clinical Faculty Signature                                                                            Date

 Print Last Name
                                                                             -40-                                                       Revised 5/3/21




                                             Exhibit F Clincial Medicine Handbood                                                                   043
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 87 of 356 PageID 130


 Appendix 6 – Sample Mid‐Clerkship Assessment Form

                                             Mid-Clerkship Assessment
       INSTRUCTIONS: The mid-clerkship assessment is designed to provide you an accurate assessment of your
       performance to date and identify areas for improvement during the second half of your clerkship. You are required
       to review your performance to this point in your clerkship with at least one of your supervising attending physicians.
       Discuss all areas of competency with this (these) supervising attending physician(s). You are required to complete
       this assessment, incorporating feedback from the supervising attending physician(s), and submit it to SUSOM by the
       deadline.

       MEDICAL KNOWLEDGE: (Knowledge of basic and clinical sciences; Interest in learning; Understanding of
       complex clinical situations and mechanisms of disease)




       Specific Areas for Improvement:_________________________________________________________________

       COMMUNICATION SKILLS: (Presentations on Rounds; Presentations of Assigned Patients; Interactions with
       Patients/Families)




       Specific Areas for Improvement:_________________________________________________________________

       PATIENT CARE: (H&Ps, Note Writing, Lab Interpretation, Overall Patient Care Activities, Procedures)




       Specific Areas for Improvement:_________________________________________________________________

       SELF LEARNING: (Facilitation of learning amongst team; Ability to use scientific data to manage care; Initiative)




       Specific Areas for Improvement:_________________________________________________________________

       SOCIAL & COMMUNITY CONTEXT OF HEALTH CARE: (Accesses/utilizes outside resources needed for
       effective and efficient patient care; Uses systematic approaches to reduce errors and improve patient care)




       Specific Areas for Improvement:_________________________________________________________________

       PROFESSIONALISM: (Conscientiousness; Interactions with others; Dress & Grooming; Punctuality; Honesty;
       Motivation; Ability to recognize limitations)




       Specific Areas for Improvement:_________________________________________________________________

       Supervising Attending Physician Name(s): ________________________________________________________

       Supervising Attending Physician Contact: ________________________________________________________

       ˜    I hereby confirm that I have met with, and reviewed my performance with the supervising attending
            physician(s) named above.




                                                               -41-                                               Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                                            044
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 88 of 356 PageID 131


 Appendix 7 – Sample Patient Log

                         ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                          -42-                         Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                          045
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 89 of 356 PageID 132


 Appendix 8– List of Required Clinical Learning Modules

         Case          Title                                   Subject
         CLIPP 5       16 year old girl's health maintenance   von Willebrand
         Simple 1      49 year old man with chest pain         Angina
         Simple 3      54 year old woman with syncope          atrial fib, mitral stenosis
         Simple 7      28 year old woman with light            diabetes, dka
                       headedness
         Simple 11     45 year old man with abnormal LFTs      active hepatitis C
         Simple 16     45 year old man who is overweight       obesity, hyperlipidemia,
                                                               metabolic syndrome
         Simple 17     28 year old man with a rash             multiple skin disorders
         Simple 19     42 year old woman with anemia           iron deficiency,
                                                               penicious anemia
         Simple 20     48 year old woman with HIV              HIV, mycobacterium
                                                               avium
         Simple 22     71 year old man with cough and          Pneumonia
                       fatigue
         Simple 23     54 year old woman with fatigue        hypertensive
                                                             nephropathy
         Simple 24     52 year old woman with HA, vomiting, bacterial meningitis
                       fever
         Simple 28     70 year old man with SOB & leg        COPD, cor pulmonale
                       swelling
         Simple 31     40 year old man with knee pain        osteoarthritis, gonorrhea
         Simple 32     39 year old woman with joint pain     systemic lupus
                                                             erythematosus
         Simple 33     49 year old woman with confusion      prerenal renal failure,
                                                             hypovolemia
         Simple 34     55 year old with low back pain        mechanical back pain,
                                                             sciatica
         fmCASES 2     55 year old man for annual exam       health counseling,
                                                             smoking cessation
         fmCASES 5     30 year old woman with palpitations   Hyperthyroidism
         fmCASES 7     53 year old man with leg swelling     DVT
         fmCASES 13    40 year old man with SOB              asthma, chronic sinusitis
         fmCASES 16    68 year old man with skin lesion      squamous cell CIS
                                                             (Bowen's Dz), BPH
         fmCASES 18    24 year old woman with headaches      migraine and tension
                                                             HAs
         fmCASES 19    39 year old male with epigastric pain H. pylori ulcer




                                            -43-                                      Revised 5/3/21




                      Exhibit F Clincial Medicine Handbood                                        046
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 90 of 356 PageID 133


 Appendix 9 ‐ Step‐By‐Step Instructions for Completing Engaged Learning
 Assignments
     1. Each week you are enrolled in a Core Clerkship, you will receive an email on Mondays with the
        weekly assignment instructions, which can also be accessed at http://lms.stmatthews.edu, log in
        using the new institutional email address: _@stmatthews.com as your username and the password
        you use to access the campus website.

     2. Enter the “Clinical Clerkship Online Course”

     3. Scroll down to the section marked "This Week's Assignment". (If your assignment is not available
        or an assignment for a different core is posted submit a trouble ticket).

     4. The assignment will direct you to either a case, or cases, available on med-u.org (Note: If this is
        your first time accessing the course, you will need to register with med-u.org. Instructions are
        provided on the Course Homepage) or will provide a link to an assignment within the course.

     5. Complete the assignment and then return to the "This Week's Assignment" section and your
        particular assignment to post your Reflections.

     6. Select the link to your assignment under "This week's assignments" in the Clinical Clerkship Online
        Course. At the bottom of assignment page for any given week (scroll down) you will see the Forum
        Discussion.

     7. Open the Forum Discussion.

     8. Click on “Reply” to post a Reflection. You can view other student Reflections as well for interactive
         dialogue.

     **All assignments and Reflections must be completed by Sunday at midnight Eastern Time of the
     assigned week to receive credit.

 Please note: There are currently 2 assignments which include a lesson that you access directly through this
 course. These assignments have videos embedded within the pages, then a short question to answer in order
 to progress.

 Please pay careful attention to these tips, instructions, and illustrations, and view all of the teaching videos
 in order. The videos must be viewed to receive credit for the assignment.

 In the event that technical issues arise in regards to viewing the videos within the assignment, it is suggested
 that you try to use a different web browser (Mozilla Firefox or Google Chrome) to view the assignment.




                                                       -44-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                            047
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 91 of 356 PageID 134


 Appendix 10‐ Step‐By‐Step Instructions for Weekly Patient Logs
 Submissions
     1. Students can access the Patient Logs page at:
        https://www.stmatthews.edu/Gateway/PLGateway2.html (A link is also provided from your
        Clinical Clerkships Online Course Home Page and from the stmatthews.edu website).

     2. Enter all the relevant identifying information regarding the patient, including age, sex, and location
        that the patient was seen.

     3. Select your role and identify the supervisor.

     4. Choose the appropriate Patient Encounter(s) and/or Procedure(s) from the drop-down menus.

     5. Document the extent of the physical exam performed (full, targeted, or none).

     6. Document what you charted.

     7. Comments and reflections regarding the experience are optional, and may be entered within the
        final textbox.

     8. Click the submit button at the end, and you will then have the opportunity to enter additional
        patients.

     9. When you have submitted your final patient for your week, select Quit.

     10. You will then receive email confirmation of your log submission.

 Please note: You will not be able to edit previously submitted Patient Logs or go back and 'make-up' logs
 from previous weeks.

 Patient Logs logging a minimum of ten (10) patients per week are required for every week of a core rotation
 regardless of the total number of weeks of said rotation. This applies to all core rotations.

 If you have any questions or technical problems please use the following link to submit and IT trouble
 ticket:
 http://www.stmatthews.edu/osticket/.

 Weekly Patient Logs MUST be submitted before midnight Sunday. Please do not wait until the last minute.

 Students receive a weekly email reminder every Thursday of the Internal Medicine Clerkship to complete
 the Patient Logs assignment.




                                                        -45-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          048
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 92 of 356 PageID 135


 Appendix 11- Step-By-Step Instructions for Weekly Patient Note Submissions

      1. Students can access the Patient Note page at:
         https://www.stmatthews.edu/Gateway/PNGateway.html (a link is also provided from your Clinical
         Clerkships Online Course Home Page and from the stmatthews.edu site.)

      2. Patient Note submissions will follow the same directions, restrictions and character limitation for
         each field as specified for USMLE Step 2CS1, including:
            • History - 950 characters or 15 lines
            • Physical Examination - 950 characters or 15 lines
            • Diagnosis - 100 characters for each diagnosis
            • History Findings and Physical Examination Findings - 100 characters for each field
            • Diagnostic Study/studies - 100 characters for each study recommendation
            • Students may add rows to the History Findings, Physical Examination
            • Findings and Diagnostic Study/Studies sections up to a maximum of eight rows each.

      3. Read all instructions on the form and enter your text in the appropriate fields.

      4. Only list the diagnoses supported by the history and physical exam. In some cases, there will
         only be one diagnosis. If there is more than one possible diagnosis, list them in order of likelihood,
         with the most likely diagnosis first.

     5. You are required to enter at least one Diagnostic Study.

     6. Provided you have entered all required information, click the "Submit" button at the bottom. You
        will be prompted to confirm your submission.

     7. Once submitted you may either submit another Patient Note or exit the application. Once you
        submit the required two Patient Notes for the week, you may no longer submit any Patient Notes
        until the next week.

  Please note: You will not be able to edit previously submitted Patient Notes or go back and 'make-up'
  Patient Notes from previous weeks.

  Patient Notes are required for every week of a core clerkship regardless of the total number of weeks of
  said clerkship. This applies to all core clerkships.

  If you have any questions or technical problems please use the following link to submit and IT trouble
 ticket:
  http://www.stmatthews.edu/osticket/.

 Weekly Patient Notes MUST be submitted before midnight Sunday. Please do not wait until the last
 minute.

  Students receive a weekly email reminder every Thursday of the Internal Medicine Clerkship to complete
  the Patient Note assignment.




                                                      -46-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          049
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 93 of 356 PageID 136


 Appendix 12- Step-By-Step Instructions for Submitting the Mid-Clerkship
 Assessment

    1. Go to the Mid-Clerkship Assessment Page:
       https://www.stmatthews.edu/Gateway/MCSAGateway.html (a link is also provided from your
       Clinical Clerkships Online Course Home Page and from the stmatthews.edu site.)

    2. You will receive an email reminder on Friday of Week 5 of the clerkship instructing you to
       complete an assessment of your performance on the clerkship.

    3. You will be able to submit only AFTER you have received the email reminder to fill the form.

    4. You must meet with the attending and/or resident in order to obtain their feedback on your
       performance on the clerkship to-date. You must discuss all areas of competency that will be
       evaluated at the conclusion of your clerkship.

    5. Read all instructions on the form and enter your text in the appropriate fields.

    6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to confirm
       before submitting.

    7. Once submitted you will be redirected to a page where you can view what you have submitted.
       Click “Exit Application” when you are finished.

    8. Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point
       deduction from the final grade as follows:

          •   Submitted late but by Sunday at midnight of Week 8 = final grade reduced by 1 points
          •   Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 2 points
          •   Not submitted by the end of Week 9 = Grade of “U” in Professionalism & Lifelong Learning
              competencies and INCOMPLETE Final Grade and remediation required.




                                                    -47-                                    Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                        050
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 94 of 356 PageID 137


     Appendix 13 SMUSOM Defined Patient Encounters with Alternative Clinical
     Learning (weeks 11-12)

                                                                                         Type of Encounter

                                     Level of        Clinical      Primary Clinical
                                                                                           Alternative Clinical Learning ***
                                     student         Setting          Learning
      Patient Encounter
                                  responsibility    (H/I, H/O,                                                                Screen
                                  (Pr, Pa, Ob)*    ED, CC, NH,     Direct                                           Partial
                                                                             Team     Full-Scale   Standardized               -Based
                                                     PPO)**        Patient                                           Task
                                                                             Care     Mannequin       Patient                 Simula
                                                                    Care                                            Trainer
                                                                                                                               tion
Abdominal Pain
Acute Myocardial Infarction
Acute Renal Failure/ Chronic
Kidney Disease
Altered Mental Status
Anemia
Arrhythmia/Valvular Disease
Back Pain
Cerebrovascular Accident/Stroke
Chest Pain
Common Cancers
COPD/Obstructive Airway
Disease
Cough
Diabetes Mellitus
Disease Prevention
Dyslipidemias
Dyspnea
Dysuria
Endocrine Disorder (not DM)
Fever
Fluid, Electrolyte, Acid-Base
Disorder
Gastrointestinal Bleeding
Geriatric Care
Health Promotion
Heart Failure
HIV Infection
Hypertension
Joint Pain
Liver Disease
Major Depression
Nosocomial Infections
Obesity
Pneumonia
Rash
Rheumatologic Problems
Screening
Severe Infection/Sepsis
Smoking Cessation
Substance Abuse
Upper Respiratory Complaint




                                                                 -48-                                        Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                                 051
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 95 of 356 PageID 138



 KEY
 *Level of Student Responsibility
  Pr= Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
  Pa = Participant (member of medical team, present on rounds, O.R., etc.)
  Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

 **Clinical Setting
   H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
   H/O - Hospital/Outpatient Clinic
   ED - Emergency Department / Urgent Care / Transport
   CC - Community Clinic
   NH -    Nursing Home / Home Care
   PPO - Private Practice Office

 *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
      Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
                                     respiratory, etc.). May range from high- to low-fidelity.
      Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students
                                     regarding his/her medical condition.
      Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal
                                  anatomy.
      Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases




                                                               -49-                                            Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                     052
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 96 of 356 PageID 139


  Appendix 14 – Guidelines for the IPE Reflection Exercise
  This activity is designed to improve students’ ability to work effectively with other health care
  professionals and to make use of the unique contributions of other health care professionals. In order to
  satisfy the IPE Reflection Exercise students submissions will be read and graded by the Clinical
  Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or
  “Below Expectations”. Students who do not achieve competency in writing the IPE initially, will be able
  to resubmit. Students who do not achieve competency by the end of the clerkship will receive a “U” in the
  respective competencies and will need to remediate. After successful remediation, students will receive an
  “S*” in place of the “U” according to school policy.

  In general, IPE Reflection Exercises that “Meet Expectations” have the following
  common characteristics:
       They include insights gained by you during your interactions with the health care professional
       They are well-organized, clearly written, and fully answer the question.

  Below is an example of an IPE Reflection Exercise that would meet expectations. The example responses
  are in italics.

  1.      Describe an ethical dilemma specific to Interprofessional patient-centered care and based on
  interviews with co-providers, describe how it was resolved. An example of such a dilemma could be an
  elderly male patient who wants to be discharged to home, but the social worker has determined that he
  would not be able to take care of himself. A pediatric example could be parents wanting to take the child
  home but Nursing is not confident that the parents can provide the care needed. (200 words maximum)

         An elderly female wanted to return to her own home to live independently, but she was not able to
          see and grip the medication bottle well enough to take her medications as indicated. The
          Occupational Therapy department recommended medication dispenser that a family member
          could fill each week that enabled her to take the correct dose.

  2.       Explain the roles and responsibilities of three other healthcare providers that you observed
  and how they work as part of the team to provide care. Based on brief discussions with them, describe
  the limitations of the medical professionals’ skills, knowledge, and attitudes that these other providers
  contribute. (200 words maximum)

         A teenager admitted with anorexia nervosa needed a precise amount of nutrition to become
          healthy, but not so much that she would get refeeding syndrome. The nutritionist was able to
          calculate her intake more precisely than the medical team which allowed the team to adjust
          her feeding plan.
         An elderly patient admitted to the psychiatric ward for depression was found to have
          subtle cognitive impairment by a comprehensive neuropsychological assessment completed
          by a psychologist. That testing helped the team understand some of his behaviors.
         A physical therapist evaluated a patient who had suffered several falls at home and she was able
          to recommend a certain type of walker that would help support the patient and help prevent
          further falls.

  3.       Describe how your unique attributes (experience level, expertise, culture, power, and hierarchy
  within the health team) have contributed to effective communication, conflict resolution, and positive
  interprofessional working relationships. If you can’t think of an example from your work, describe a
  conversation with a provider in another profession that demonstrates this. An example could be that your
  religious background helped you understand a patients concern that you were then able to explain to the
  team. Another example would be where your knowledge of the patient’s culture helps the team ensure
  the right care is delivered. (200 words maximum).

                                                      -50-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           053
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 97 of 356 PageID 140



         There was a patient who was admitted for a hysterectomy due to cervical cancer. The team
          didn’t think she knew was her uterus was, but I was able to talk to her in Spanish, verify that she
          knew what her uterus was, and help her understand the disease and our recommended treatment.

  1.      Describe three instances where another health professional contributed to patient-centered care
  through problem-solving. Describe their viewpoint based on a brief interview discussion with them
  (“How did you come up with that great idea?”). (200 words maximum)

         A patient was terrified of going into an elevator due to claustrophobia, but the transporter
          produced keys that would immediately stop the elevator and open the doors if the patient felt too
          scared.
         A patient refused to eat the hospital food. She wouldn’t tell anyone why, but a social worker
          found out that she was observing Ramadan and that the food was delivered during daylight
          hours. The social worker talked to the dietary service and was able to have food delivered on a
          schedule that worked for the patient.
         A patient was very concerned because of news reports that he would get the wrong medication
          while in the hospital. The nurse gave him a copy of the medications and schedule that the
          physician ordered, and had the pharmacist added a photo of each tablet. The patient kept the list
          by his bed so he could check each one as it was given to him.




                                                     -51-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          054
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 98 of 356 PageID 141


  Appendix 15‐ Step‐By‐Step Instructions for Submitting the IPE Reflection
  Exercise
          You will receive an email reminder on Friday of Week 4 of the clerkship instructing you to
            complete an IPE Reflection Exercise prior to the end of week 8.

          You must meet with the health care professional that you write about in the exercise. It does
            not need to be a formal meeting, but must include a conversation about their role.

        Go to the IPE Reflection Exercise Page: https://portal.stmatthews.edu/Clinical/clerkships (a link
         is also provided from your Clinical Clerkships Online Course Home Page.

          You will be able to submit only AFTER you have received the email reminder to fill the form.

          Read all instructions on the form and enter your text in the appropriate fields.

          After filling all fields, press the “Submit” button at the bottom. You will be prompted to
            confirm before submitting.

          Once submitted you will be redirected to a page where you can view what you have submitted.
            Click “Exit Application” when you are finished.

          Failure to submit the IPE Reflection Exercise in a timely manner will result in a point
            deduction from the final grade as follows:
                o Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 1 point
                o Submitted late but by Sunday at midnight of Week 10 = final grade reduced by 2 points
                o Submitted late but by Sunday at midnight of Week 11 = final grade reduced by 3 points
                o Submitted late but by Sunday at midnight of Week 12 = final grade reduced by 4 points
                o Not submitted by the end of Week 12 = final grade reduced by 5 points , grade of “U”
                   in Social & Community Context of Healthcare and INCOMPLETE Final Grade and
                   remediation required.




                                                    -52-                                      Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                          055
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 99 of 356 PageID 142


                     St. Matthew’s University School of Medicine
                                           Course Syllabus
                     OBSTETRICS & GYNECOLOGY
                                            Required Clerkship

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 Clerkship Goal
 The Obstetrics and Gynecology Clerkship is a six-week Core Rotation that provides patient-centered
 learning by exposing the student to routine, well-woman care as well as to a wide array of disease processes
 and procedures. The student will be directly involved in the management of patients in order to develop a
 solid understanding of women's healthcare. The primary goal of the Clerkship is to provide the student with
 a solid fund of knowledge in Obstetrics and Gynecology.

 The obstetrics portion of the clerkship will focus on prenatal care, management of labor and delivery and
 postpartum care. The gynecology portion of the clerkship will involve the management of female patients
 in the office setting as well as the participation in gynecologic surgical procedures and postoperative care.

 Core Clerkship Learning Objectives and Competencies
 During the course of the rotation, students will develop their competency in the areas of patient care,
 medical knowledge, lifelong learning, scholarship and collaboration, professionalism, interpersonal and
 communication skills, and social and community context of healthcare. They will be exposed to the
 management of patients with the expectation of enhancing their understanding of disease diagnosis,
 treatment and prevention. The clinical learning objectives are aligned with the competencies that each
 student is expected to satisfy by the end of the clerkship.

 Students’ proficiency in these competency areas is evaluated throughout the course of the clerkship and
 reflected in their final evaluation.

 SMUSOM Competencies
 1. Patient Care: Students must be able to provide patient care that is compassionate, appropriate, and
    effective for the treatment of illness and the promotion of health.
                                                      -53-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          056
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 100 of 356 PageID 143


  2. Scientific & Medical Knowledge: Students must demonstrate knowledge about established and
     evolving biomedical, clinical, and associated sciences and application of this knowledge to the practice
     of medicine throughout the life cycle.
  3. Lifelong Learning, Scholarship, & Collaboration: Students must be able to examine and evaluate their
     patient care practices, appraise and assimilate scientific evidence, and use this information to improve
     their abilities.
  4. Professionalism: Students must demonstrate a commitment to the highest standards of professional
     responsibility, adherence to ethical principles, and sensitivity in all interactions with patients, families,
     colleagues, and others with whom physicians must interact in their professional lives.
  5. Communication & Interpersonal Skills: Students must display interpersonal and communication skills
     that foster effective information exchange and build rapport with patients, their families, and professional
     associates.
  6. Social & Community Context of Healthcare: Students must demonstrate knowledge of and
     responsiveness to the larger context of health care and the ability to effectively call on system resources
     to provide care that is of optimal value to the health of the individual and of the community.

  Learning Objectives
   1. Diagnostic Decision-Making: Students should learn how to design safe, expeditious, and cost
       effective diagnostic evaluations in the differential diagnosis of the acute abdomen and chronic pelvic
       pain, the evaluation of breast complaints and gynecological malignancies.
   2. Case Presentation Skills: Students should develop facility with different types of case presentations:
       written and oral, new patient and follow-up, inpatient and outpatient.
   3. History-Taking and Physical Examination: Students should be able to obtain an accurate medical
       history and carefully perform a physical examination of women and incorporate ethical, social, and
       diversity perspectives to provide culturally competent health care.
   4. Communication and Relationships with Patients and Colleagues: Students should demonstrate a
       proficiency in communication and interpersonal skills, e.g. knowledge of preconception care including
       the impact of genetics, medical conditions and environmental factors on maternal health and fetal
       development and the normal physiologic changes of pregnancy and normal physiologic changes of
       pregnancy including interpretation of common diagnostic studies.
   5. Interpretation of Clinical Information: Students should be able to determine how test results will
       influence clinical decision-making and how to communicate this information to patients.
   6. Therapeutic Decision-Making: Students should demonstrate effective patient management in
       common problems in obstetrics (including knowledge of intra-partum care, postpartum care of the
       mother and newborn) and common benign gynecological conditions, and use basic therapeutic
       decision-making skills that incorporate both pathophysiologic reasoning and evidence-based
       knowledge, e.g. menstrual cycle physiology, discuss puberty and menopause and explain normal and
       abnormal bleeding etiology and evaluation of infertility.
   7. Bioethics of Care: Student should be able to recognize ethical dilemmas and respect different
       perceptions of health, illness, and health care held by patients of various religious and cultural
       backgrounds. This should include a preliminary assessment of patients with sexual concerns and
       develop a thorough understanding of contraception, including sterilization and abortion.
   8. Self-Directed Learning: Students should master and practice self-directed life-long learning,
       including the ability to access and utilize information systems and resources efficiently.
   9. Prevention: Students should be familiar with the principles of preventive health care in women to
       ensure their patients receive appropriate preventive services throughout the life span.
   10. Coordination of Care: Students should understand that the physician’s responsibility toward the
       patient does not stop at the end of the office visit or hospitalization but continues in collaboration with
       other professionals to ensure that the patient receives optimal care.
   11. Procedures: Students should become familiar with the performance of basic obstetrical and
       gynecologic procedures.



                                                        -54-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           057
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 101 of 356 PageID 144



  Student Responsibilities
  Clinical Experience
  During the Obstetrics & Gynecology Clerkship, students will be exposed to SMUSOM defined Patient
  Encounters and Procedures.

         Patient Encounters
         Through a series of Patient Encounters, students must become familiar with the most prevalent
         diseases and conditions in the area of women’s health and with the essentials of logical thinking that
         leads to the formulation of the differential diagnosis and appropriate management plans.

         The SMUSOM Patient Encounters (Table 1) are based upon those published by The Association of
         Professors of Gynecology and Obstetrics (APGO) and the APGO Undergraduate Medical
         Education Committee (APGO Medical Student Educational Objectives- 9th Edition). The types of
         Patient Encounters are intended to be representative of conditions that facilitate mastery of the
         SMUSOM competencies. All of these Patient Encounters can be seen by the student in a variety of
         settings.

         A single patient can potentially present with one or more of these problems and/or conditions for
         the student to document via the electronic log. For example, a woman in labor could be admitted
         for pregnancy induced hypertension and third trimester bleeding. In addition, she may be evaluated
         for rupture of membranes and require vaginal exam to check for cervical dilation. For one patient
         encounter, a number of clinical skills or procedures can be counted.

         Students complete Patient Encounters during the first 5 weeks of the clerkship through Primary
         Clinical Learning, as defined by SMUSOM as an experience in which the student participates in
         direct patient care or team care (patient rounds).

         During the last week of the clerkship, students may complete Patient Encounters through either
         Primary Clinical Learning or through Alternative Clinical Learning, as defined by SMUSOM as an
         experience in which the student participates in representative case-based discussions (e.g., morning
         report, grand rounds, morbidity/mortality, etc.) or simulation (web-based modules e.g., UWISE
         cases or standardized patients).

         Students must reflect their Patient Encounters in the Patient Logs during their Obstetrics &
         Gynecology Clerkship. Ideally, the exposure should be via real patient contact (either by direct care
         of these patients, or by observed care of someone else’s patient during ward rounds or clinic). If real
         patient contact is not possible, then an acceptable alternative would be case-based discussions or
         simulation (web-based modules e.g., UWISE cases or standardized patients).

         If the student has not documented the required Patient Encounters through Primary Clinical
         Learning (via the Patient Log) by the end of the 5th week of the clerkship, then opportunities to
         fulfill the remaining Patient Encounters through Alternative Clinical Learning will be sent via
         email. The program will ensure that the student logs a minimum of 50 Patient Encounters through
         Primary Clinical Learning in the first 5 weeks.




                                                      -55-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          058
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 102 of 356 PageID 145


  Table 1. SMUSOM Defined Patient Encounters
                                                                            Clinical             Type of Encounter
                                                            Level of        Setting
                                                            student        (H/I, H/O,       Primary Clinical Learning
                     Patient Encounter
                                                         responsibility     ED, CC,
                                                         (Pr, Pa, Ob)*        NH,             Direct
                                                                                                                Team Care
                                                                            PPO)**         Patient Care
       Abdominal Pain
       Abnormal Labor
       Abortion (Spontaneous / Induced)
       Alloimmunization
       Antepartum Care
       Chronic Pelvic Pain
       Disease Prevention
       Domestic Violence
       Ectopic Pregnancy
       Endometriosis
       Family Planning
       Fetal Growth Abnormalities
       Gynecologic cancers
       (vulvar/vaginal/cervical/endometrial/ovary)
       Health Promotion
       Hirsutism and Virilization
       Infertility
       Intrapartum Care
       Medical and Surgical Complications of
       Pregnancy
       Menopause
       Menstrual disorders
       (amenorrhea/dysmenorrhea/Premenstrual
       syndrome)
       Multifetal Gestation
       Normal and Abnormal Uterine Bleeding
       Pelvic Organ Prolapse and Urinary
       Incontinence
       Postpartum Care
       Postpartum Complications (e.g.
       infection/hemorrhage)
       Post-Term Pregnancy
       Preeclampsia-Eclampsia
       Premature Rupture of Membranes
       Preterm Labor
       Screening
       Sexually Transmitted Infections and Urinary
       Tract Infections
       Third Trimester Bleeding
       Uterine Leiomyomas
       Vulvar and Vaginal Disease

    KEY
    *Level of Student Responsibility
     Pr = Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
     Pa = Participant (member of medical team, present on rounds, O.R., etc.)
     Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

    **Clinical Setting
    H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
    H/O - Hospital/Outpatient Clinic
    ED - Emergency Department / Urgent Care / Transport
    CC - Community Clinic
    NH - Nursing Home / Home Care
    PPO - Private Practice Office

                                                               -56-                                              Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                       059
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 103 of 356 PageID 146


      Procedures

      The goal of clinical student training is to learn basic principles of the core specialties, covering common
      conditions, their presentations, evaluation, diagnosis, and basic treatment. Some procedures, as indicated
      below, must be completed in association with other health professionals so the students can develop the
      skills required to perform effectively in health care delivery teams. The student’s level of responsibility is
      primarily through observation. The following are clinical skills or procedures the student should have an
      understanding of by the end of the Obstetrics & Gynecology Clerkship through observation, performance,
      or simulation. If real patient contact was not possible, then an acceptable alternative would be via
      simulation (real simulation with standardized patients or virtual simulation via web-based modules, e.g.,
      UWISE cases).

      Table 2. SMUSOM Defined Procedures
                                                        Clinical                          Type of Encounter
                                     Level of           Setting        Primary
                                     student           (H/I, H/O,      Clinical          Alternative Clinical Learning***
         Procedure
                                  responsibility        ED, CC,        Learning
                                  (Pr, Pa, Ob)*           NH,           Direct    Full-Scale   Standardized
                                                                                                               Partial           Screen-
                                                        PPO)**                                                  Task              Based
                                                                        Patient   Mannequin       Patients
                                                                                                               Trainer         Simulation
Apgar Score (observe)
Bi-manual Pelvic Exam
Caesarean Section
Cervical Culture
Colposcopy
Cone Biopsy / LEEP (Loop
Electrosurgical Excision
Procedure)
Fetal Ultrasound
Laparoscopy / Robotic Surgery
Pap Smear
Pelvic Surgery (e.g., abdominal
hysterectomy, etc)
Speculum Examination
Vaginal Delivery
Wet Mount Interpretation
Observed conducting relevant
portions of the history and
physical exam
Breast feeding training of pt
with a nurse or lactation
consultant****
Prenatal visit patient
assessment and counseling with
nurse****
Discharge planning
postdelivery
with a nurse or other
professional****

      KEY
      *Level of Student Responsibility
        Pr = Primary (student performed procedure)
        Pa = Participant (student assisted in performing procedure)
        Ob = Observer (student observed procedure)

        **Clinical Setting
        H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery

                                                                      -57-                                    Revised 5/3/21




                                       Exhibit F Clincial Medicine Handbood                                               060
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 104 of 356 PageID 147

    H/O - Hospital/Outpatient Clinic
    ED - Emergency Department / Urgent Care / Transport
    CC - Community Clinic
    NH - Nursing Home / Home Care
    PPO - Private Practice Office


  *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
  Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
    respiratory, etc.). May range from high- to low-fidelity.
  Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students regarding
    his/her medical condition.
  Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal anatomy.
  Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases

  **** Must be completed in association with other health professionals.


  Patient Logs
  Students are expected to see a minimum of ten (10) patients per week which must be logged in the Patient
  Logs system (Appendix 7) and record the following:
          1. Patient Encounters listed in Table 1; and
          2. Procedures listed in Table 2.

  Students should also record all relevant information regarding the patient (e.g., age, gender, clinical setting,
  etc.) in the Patient Logs.

  Students who fail to submit logs in a timely fashion, or students who are not making satisfactory progress
  with regard to the logging of patient encounters, procedures or skills will be contacted by the clinical
  department.

  Patient Note
  Students are expected to learn how to perform and document full H&Ps during the clerkship. SMUSOM
  requires each student to submit completed two Patient Notes per week (Appendix 3) based on the patients
  that they have seen during the week.

  The Patient Note is written by the student in the role of the “doctor”, focusing on accurately reporting the
  patient history and physical findings and in compliance with HIPAA. Guidelines for the Patient Note
  Exercise, including an appropriately completed Patient Note and suggested content can be found in
  Appendix 4.

  In order to receive full credit for the weekly assignment, the student must satisfactorily complete two
  Patient Notes, which are graded by the Clinical Division Chiefs. A student who does not meet the Patient
  Note requirement receives no credit.

  Engaged Learning Experience
  SMUSOM defines an Engaged Learning Experience as a type of learning in which the student participates
  in the educational process and where the faculty member determines what and how the student should learn.
  As such, we have created Engaged Learning Assignments comprised of a series of 12 Clinical Learning
  Modules that students must complete during the course of the Obstetrics & Gynecology Clerkship
  (Appendix 8).

            Clinical Learning Modules
            Students participating in the Obstetrics & Gynecology Clerkship will be responsible for weekly
            Clinical Learning Modules on SMUSOM’s Learning Management System (LMS),


                                                                   -58-                                                Revised 5/3/21




                                     Exhibit F Clincial Medicine Handbood                                                          061
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 105 of 356 PageID 148


         http://lms.stmatthews.edu. Instructions for completing the weekly assignment can be found in
         Appendix 9.

         These Clinical Learning Modules are interactive virtual patient cases designed to encompass
         SMUSOM’s learning objectives as represented by the APGO Undergraduate Medical Education
         Committee (APGO Medical Student Educational Objectives- 9th Edition) comprehensively and are
         designed for use by third-year medical students.

         As part of each Engaged Learning Assignment, students are also expected to complete a Reflection
         based on their interaction with the assigned cases.

         Reflections
         Reflections must be submitted for each of the weekly Clinical Learning Module cases. A
         Reflection has no percentage value, but is required. As a result, a student who does not complete a
         Reflection receives no credit for the weekly assignment. In order to receive full credit for each
         weekly assignment, the student must complete two Clinical Learning Module cases and submit a
         Reflection, which is graded pass/fail by the Clinical Division Chiefs.

         What is a reflection?
           A Reflection may be represented by describing a specific aspect of the case or disease state that:
           ˗ The student did not know and will help the student moving forward;
           ˗ Made the student think of a particular patient he/she has seen;
           ˗ Made the student think of something that he/she has been taught previously; or
           ˗ In some other way led to something the student learned that others might benefit from.

         Why is reflection important?
           ˗ Thinking about learning and writing things down helps to clarify thoughts and emotions;
           ˗ Reflection helps to focus on the student’s development as an effective independent learner,
                and on the strategies used to work towards this.

         What is a reflective learner?
           Reflective learners continually reflect on:
           ˗ What they are learning and how they are learning it;
           ˗ What their strengths and weaknesses in learning are; and
           ˗ The gaps in their knowledge and skills, and how they might work towards filling these.

  Interprofessional Education Reflective Exercise
  Students are expected to demonstrate the ability to communicate and work effectively with other health
  care professionals, and to make use of the unique contributions of other health care professionals.
  SMUSOM requires each student to submit one Interprofessional Education Reflective Exercise no later
  than the end of week 8. Failure to submit the exercise in a timely manner will result in point deduction
  which may affect the final grade. Students with Interprofessional Education Reflective Exercises that are
  deemed inadequate in any respect will be contacted by the clinical department and will need to resubmit.
  Guidelines for the Interprofessional Education Reflective Exercise, including an appropriately completed
  Exercise can be found in Appendix 14 and 15.

  Monitoring and Evaluation
  SMUSOM is committed to the success every student and actively monitors students’ progress throughout
  the clerkship. Performance on weekly assignments is reviewed by the Clinical Deans for content and
  quality to identify students in need of assistance (Appendix 2).

  Evaluation of Student Clerkship Performance
  Students should review the Clinical Clerkship Grading Guidelines in the SMUSOM Clinical Handbook.
                                                     -59-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         062
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 106 of 356 PageID 149



  Mid-Clerkship Feedback
  The mid-clerkship assessment is designed to provide students and accurate assessment of their performance
  to date and identify areas for improvement during the second half of the clerkship. Students receive
  notification from the Clinical Department at the clerkship midpoint that they are required to review their
  performance to this point in the clerkship with at least one supervising attending physician. Students must
  discuss all areas of competency, as well as review their patient log, with this (these) supervising attending
  physician(s).

  Students are required to submit the mid-clerkship assessment forms (Appendix 6) to the Clinical
  Department no later than the end of week 4. Failure to submit the mid-clerkship assessment form in a
  timely manner will result in point deduction which may affect the final grade. Mid-clerkship assessment
  forms are reviewed for scope and content by the clinical department. Students with mid-clerkship
  assessment forms that are deemed inadequate in any respect will be contacted by the clinical department.

  The course grade consists of the overall performance on the Core Clerkship Exam, Engaged Learning
  Experience, Patient Logs, Patient Note, and Clinical Faculty Evaluation.

  Final Grade

  Students’ final grade is calculated as follows:

   Clinical Faculty
                                 A formal evaluation by the attending physician is completed at the end of the
   Evaluation:
                                 clerkship, which is based on performance, observation, and demonstration of
   Percentage of Final
                                 required competencies.
   Score: 30%
   Core Clerkship Exam:          Students are required to take the Obstetrics & Gynecology Core Clerkship
   Percentage of Final           Examination (NBME) upon clerkship completion. Passing this examination is
   Score: 40%                    REQUIRED in order to progress to the next clinical clerkship.
   Engaged Learning              Students are required to complete two Clinical Learning Modules with
   Experience:                   accompanying Reflections organized around major clinical topics every week.
                                 These assignments must be submitted by Sunday, midnight (ET) in order to receive
   Percentage of Final           credit.
   Score: 10%
   Patient Logs:                 Students complete Patient Logs every week. Students are required to record ten or
   Percentage of Final           more Patient Encounters. Procedures are also recorded via the Patient Logs. The
   Score: 10%                    Patient Log must be submitted by Sunday, midnight (ET) in order to receive credit.
   Patient Note:                 Students are required to complete two Patient Notes (based on the patients that they
   Percentage of Final           have seen) every week. This assignment must be submitted by Sunday, midnight
   Score: 10%                    (ET) in order to receive credit.

   Mid-Clerkship                 Students are required to complete a Mid-Clerkship Assessment Form by Sunday,
   Feedback:                     midnight (ET) no later than one week past the mid-point of the clerkship. Failure to
   Percentage of Final           submit the Mid-Clerkship Assessment in a timely manner will result in point
   Score: Variable               deduction from a student’s final grade.
   Interprofessional             Students are required to complete an Interprofessional Education Reflection
   Education Reflection          Exercise by Sunday, midnight (ET) of week 4. Failure to submit the
   Exercise:                     Interprofessional Education Reflection Exercise in a timely manner will result in
   Percentage of Final           point deduction from a student’s final grade.
   Score: Variable

                                                        -60-                                         Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                               063
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 107 of 356 PageID 150


  Grading level:
  90-100% = Honors
  80-89% = High Pass
  70-79% = Pass
  <70%     = F

  Calculation of the student’s grade for the clerkship: the grade is comprised of six components which
  include: Core Clerkship Exam (40%); Clinical Faculty Evaluation (30%); Engaged Learning Experience
  (LMS + Reflection) (10%); Patient Logs (10%); Patient Note (10%); and any point deductions related to the
  Mid-Clerkship Assessment or Interprofessional Education Reflection Exercise. Students must attain a
  minimum score of 70% in each of the Core Clerkship Exam, Clinical Faculty Evaluation, Engaged learning
  Experience, Patient Note and Patient Logs components.

  The Clinical Faculty Evaluation component grade is calculated based on a formula incorporating the faculty
  member’s assessment of how often the student "exceeds expectations", “meets expectations", or falls
  “below expectations". Note that any competencies that are "below expectations" require remediation to a
  level of at least 'meets expectations'.

  Students receiving a failing score on any of the components of the course grade (Core Clerkship Exam,
  Engaged Learning Experience, Patient Logs, Patient Note and Clinical Faculty Evaluation) are immediately
  reviewed by the Associate Dean for Clinical Medicine and are subject to remediation and/or referral to the
  student promotions committee.

  Students who are dissatisfied with a grade received from a faculty member or their final grade are not
  permitted to contact the faculty member or the clinical site. Students must contact the clinical department
  first to discuss their grievance.

  Competency Assessments
        Clinical Faculty Evaluation
        Competencies Assessed: See Appendix 5

          Core Clerkship Exam
          Competencies Assessed:
                 PATIENT CARE
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1f. Make use of the scientific foundation for clinical decision making
                 SCIENTIFIC AND MEDICAL KNOWLEDGE
                 2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                 2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                 history of illnesses
                 2c. Demonstrate knowledge of health maintenance and disease prevention

          Engaged Learning Experience
          Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision making
                1g. Use information technology to support care decisions and patient education
                                                      -61-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          064
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 108 of 356 PageID 151


                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3c. Use information technology to access medical information and support his or her own
                education
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility
                COMMUNICATION & INTERPERSONAL SKILLS
                5d. Demonstrate sensitivity to human differences and understanding of the impact of gender,
                ethnic, cultural background, socioeconomic and other social factors
                5e. Counsel and educate patients and their families
                5f. Promote wellness and preventive strategies

        Patient Logs
        Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision-making
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility

        Patient Note
        Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1e. Document data, assessment, and plans in the patient’s record
                1f. Make use of the scientific foundation for clinical decision making
                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention
                COMMUNICATION & INTERPERSONAL SKILLS
                5a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
                relationship
                5f. Promote wellness and preventive strategies

        Mid-Clerkship Feedback
        Competencies Assessed:
              LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
              3a. Display intellectual curiosity, willingness to examine assumptions and commitment to
              lifelong learning
                                                    -62-                                    Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                                         065
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 109 of 356 PageID 152


                  PROFESSIONALISM
                  4c. Exhibit dependability and responsibility

  Student’s Evaluation of the Clerkship
  Student feedback is very important to the program. Completion of the clerkship evaluation form is required
  before grade assignment can be posted. Using standardized measurement tools where appropriate, students
  will evaluate the total clerkship experience based on the following:
          1. Faculty members’ professionalism & willingness to teach
          2. Attitude of other personnel (nurses, house staff, administration)
          3. Quality of teaching diagnosis and treatment
          4. Opportunities to observe procedures
          5. Opportunities to perform procedures
          6. Sufficient # of patient contacts per day
          7. Sufficient # of history and physical exams per week
          8. Scope and variety of pathology / disease
          9. Quality of didactics (lecture, reading, rounds)
          10. Overall rotation evaluation
          11. Average number of patient contacts per day
          12. Average number of H&P exams done in a week
          13. Night call*
          14. Average number of night call done in a week
          15. Working weekends*
          16. Number of hours worked per week
          17. Retrospect- would take this rotation again?
          18. Recommend- would recommend this rotation?
          * requirements vary

  Course Policies
  Attendance
  Students are expected to be punctual, be well prepared, and have 100% attendance at all clerkships and
  related educational experiences. No vacations or time off are permitted during clerkships. Refer to the
  SMUSOM Clinical Medicine Handbook for further details regarding policies for attendance.

  Duty Hours
  The goals of the medical students and the faculty of SMUSOM are one and the same: to get the best medical
  education possible while not ignoring overall health and happiness. Attention needs to be paid to both
  duty/work hours and personal time.

  The following policies set forth the acceptable amount of time that clerkships may require of students, based
  upon the ACGME regulations for first-year residents. “Duty hours” include inpatient and outpatient clinical
  activities and scheduled academic exercises such as conferences and lectures that are related to the
  clerkship.
      • Total duty hours must not exceed 80 hours per week, averaged over a four-week period.
      • Call will be scheduled to coincide with the attending and/or resident team.
      • Duty hour periods in the hospital will not exceed 16 consecutive hours.
      • In each month the clerkship will provide each student with four individual 24-hour periods free
           from any required clinical or educational activities.

  Students should report duty hour violations directly to the Clinical Department.

  Core Clerkship Exam (CCE)
  SMUSOM uses the National Board of Medical Examiners (NBME) Clinical Science Subject Examination
  as the final exam for the Obstetrics & Gynecology Clerkship. SMUSOM will provide the student’s name
                                                      -63-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         066
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 110 of 356 PageID 153


  and email address to the NBME approximately 5 weeks before the end of the Obstetrics & Gynecology
  Clerkship.

  Each eligible SMUSOM student will receive an email with a link to a web page where he/she can
  print/download the scheduling permit and view policies and procedures for the testing session. This will
  enable the student to schedule the testing appointment online through the Prometric website and receive a
  confirmation notice.

  Students must schedule to take the exam in the 14-day exam window starting the Saturday before the end of
  the clerkship (first day of the window), and ending Friday, two weeks later. This means that every student
  can take the exam during the last week of his or her clerkship, and the week immediately after the end of the
  clerkship. Taking time off during the clerkship to study for the exam or to take the exam is completely at the
  discretion of the Hospital/Clinical site.

  ALL Students must schedule their exam prior to the Saturday before the end of the clerkship.
  Students can cancel and reschedule their testing appointment without penalty or charge at any time up to 15
  days prior to the first day of the exam window. If the request is made less than 15 days prior to the
  scheduled appointment, Prometric will charge a fee. Fees for rescheduling/cancellation appear on the
  confirmation notice and will be charged to the student. Note: rescheduled exam dates can only occur within
  the testing window.

  Failure to take or pass the exam within the prescribed two-week window will result in a grade of
  INCOMPLETE for the clerkship. If the student does not take the exam during the prescribed initial two
  week window, he/she will be assessed a score of zero (i.e. a failing score) and will only be permitted two
  additional attempts within the prescribed time period detailed below.

  SMUSOM’s goal is to provide the student with your NBME results 1 week after the last day of the 14-day
  exam window.

  If a student fails, and is already in another clinical clerkship (or is scheduled to start a clinical clerkship
  shortly) at the time that the school receives the failing score report, he/she may complete that clinical
  clerkship. However, NO additional clinical clerkships will be permitted until the student receives a passing
  grade for both the previously failed and current clinical clerkship Core Clerkship Exam (in the case of a
  core clinical clerkship).

  In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
  attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
  of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
  reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure
  to make the initial attempt during the prescribed window detailed above). The Core Clerkship Exam grade
  component shall be the average of all attempts.

  Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the
  prescribed six months in three attempts shall result in a FAILING grade for the core clinical clerkship.

  Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student take
  this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
  Clinical Science Subject Examination) within the parameters described above.

  Student Promotions
  Any student in clinical clerkships who receives a grade of F (Failure) will be placed on academic probation
  for one year. If a second grade of F (Failure) is earned by the student while on academic probation, the student
  will be dismissed.
                                                        -64-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            067
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 111 of 356 PageID 154


  The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘C’ should be reviewed
  by the Promotions Committee for consideration of placement on academic probation. The Dean will
  determine whether any remedial program will be required of the student, e.g. additional weeks of clerkship in
  the discipline.

  Academic Integrity
  St. Matthew’s University School of Medicine does not tolerate any form of academic dishonesty.

  Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for
  credit of any work or materials that are fictitious, attributable in whole or in part to another person, any act
  designed to give unfair advantage to a student or the attempt to commit such acts.

  All persons involved in academic dishonesty will be disciplined in accordance with University regulations
  and procedures. Discipline may include suspension or expulsion from the University.

  For example, it is plagiarism to copy history and physical exam findings from a medical record without
  performing the work and without attribution.

  Students who are unsure about what constitutes plagiarism should refer to:
  http://www.plagiarism.org/plag_article_preventing_plagiarism_when_writing.html.




                                                        -65-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            068
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 112 of 356 PageID 155


  Recommended Textbooks
  Hacker & Moore's Essentials of Obstetrics and Gynecology: With STUDENT CONSULT Online Access
  (Essentials of Obstetrics & Gynecology (Hacker)) [Paperback]
  By: Neville Hacker, J. George Moore, Joseph Gambone
  Publisher: Saunders; 5 edition (February 4, 2009)
  ISBN-10: 9781416059400 ISBN-13: 978-1416059400

  Obstetrics and Gynecology, 6th Edition (Paperback)
  By: Charles R. B. Beckmann (Editor), Frank W. Ling (Editor), Barbara M. Brzansky (Editor), William N. P.
  Herbert
  (Editor), Douglas W. Laube (Editor), Roger P. Smith (Editor)
  Publisher: Lippincott Williams & Wilkins; 6th edition (April 2009)
  ISBN-10: 0781788072 ISBN-13: 9780781788076

  Mosby's Pocket Guide to Fetal Monitoring: A Multidisciplinary Approach [Paperback]
  By: Susan Martin Tucker
  Publisher: Mosby; 6 edition (June 4, 2008)
  ISBN-10: 0323056709 ISBN-13: 978-0323056700

  Current Clinical Strategies: Gynecology and Obstetrics 2011: With ACOG Guidelines (Paperback)
  By: Paul D. Chan M.D., Christopher R. Winkle M.D.
  Publisher: Current Clinical Strategies; 2011 edition (September 3, 2010)
  ISBN-10: 1934323292 ISBN-13: 978-1934323298

  uWISE v.2 https://www.apgo.org/student/320-uwise-index.html
  The APGO Undergraduate Web-Based Interactive Self-Evaluation (uWISE) is a 529-question interactive
  self-exam designed to help medical students acquire the necessary basic knowledge in obstetrics and
  gynecology, regardless of future medical specialty choice.
  To access uWISE v.2, you must create a new account using your stmatthews.edu email. All students must
  create their own account with a username and password of their choice. Please do not share logins.




                                                   -66-                                   Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                      069
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 113 of 356 PageID 156


  Appendix 1 – Obstetrics & Gynecology Clerkship Learning Objectives

  1. Diagnostic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. Key history and physical examination findings pertinent to the differential diagnosis.
                   2. Information resources for determining diagnostic options for patients with common and
                   uncommon obstetrical and gynecologic problems.
                   3. Key factors to consider when selecting from among diagnostic tests, including pretest
                   probabilities, performance characteristics of tests (sensitivity, specificity, likelihood ratios),
                   cost, risk, and patient preferences.
                   4. The relative cost of diagnostic tests.
                   5. How critical pathways or practice guidelines can be used to guide diagnostic test
                   ordering.
                   6. The method of deductive reasoning.
          B. Skills: Each student should be able to:
                   1. Formulate a differential diagnosis based on the findings from the history and physical
                   examination.
                   2. Use probability-based thinking to identify the most likely diagnoses.
                   3. Use the differential diagnosis to help guide diagnostic test ordering and sequence.
                   4. Use pretest probabilities and scientific evidence about performance characteristics of
                   tests (sensitivity, specificity, likelihood ratios) to determine post-test probabilities according
                   to the predictive value paradigm.
                   5. Participate in selecting the diagnostic studies with the greatest likelihood of providing
                   useful results at a reasonable cost.
          C. Attitudes: Each student should:
                   1. Incorporate the patient’s perspective into diagnostic decision-making.
                   2. Limit the chances of false positive/false negative results by demonstrating thoughtful test
                   selection.

  2. Case Presentation Skills
          A. Knowledge: Each student should be able to describe:
                   1. components of comprehensive and abbreviated case presentations (oral and written) and
                   the settings appropriate for each.
          B. Skills: Each student should be able to:
                   1. prepare legible, comprehensive, and focused new patient workups that include the
                   following features as clinically appropriate:
                                 o present illness organized chronologically, without repetition, omission, or
                                    extraneous information.
                                 o a comprehensive physical examination with detail pertinent to the patient’s
                                    problem.
                                 o a succinct and, where appropriate, unified list of all problems identified in
                                    the history and physical examination.
                                 o a differential diagnosis for each problem (appropriate to level of training).
                                 o a diagnosis/treatment plan for each problem (appropriate to level of
                                    training).
                   2. orally present a new patient’s case in a logical manner, chronologically developing the
                   present illness or condition, summarizing the pertinent positive and negative findings as
                   well as the differential diagnosis and plans for further testing and treatment.
                   3. orally present a follow-up patient’s case, in a focused, problem-based manner that
                   includes pertinent new findings and diagnostic and treatment plans.
                   4. select the appropriate mode of presentation that is pertinent to the clinical situation.

          C. Attitudes: Each student should:
                                                         -67-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                             070
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 114 of 356 PageID 157


                  1. demonstrate a commitment to improving case presentation skills by regularly seeking
                  feedback on presentations.
                  2. Accurately and objectively record and present data.

  3. History-Taking and Physical Examination
          A. Knowledge: Each student should be able to describe:
                   1. the significant attributes of a symptom, including location and radiation, intensity,
                   quality, temporal sequence (onset, duration, frequency), alleviating factors, aggravating
                   factors, setting, associated symptoms, functional impairment, and patient’s interpretation of
                   symptom.
                   2. the four methods of physical examination (inspection, palpation, percussion, and
                   auscultation), including where and when to use them, their purposes, and the findings they
                   elicit.
                   3. the physiologic mechanisms that explain key findings in the history and physical exam.
                   4. the diagnostic value of history and physical exam information.
          B. Skills: Each student should be able to:
                   1. use language appropriate for each patient.
                   2. use non-verbal techniques to facilitate communication and pursue relevant inquiry.
                   3. elicit the patient’s chief complaint as well as a complete list of the patient’s concerns.
                   4. obtain a patient’s history in a logical, organized, and thorough manner, covering the
                   history of present illness; past medical history (including usual source of and access to
                   health care, childhood and adult illnesses, injuries, surgical procedures, obstetrical history,
                   psychiatric problems, hospitalizations, transfusions, medications, tobacco and alcohol use,
                   and drug allergies); preventive health measures; social, family, and occupational history;
                   and review of systems.
                   5. obtain, whenever necessary, supplemental historical information from other sources, such
                   as significant others or previous physicians.
                   6. demonstrate proper hygienic practices whenever examining a patient.
                   7. position the patient and self properly for each part of the physical examination.
                   8. perform a physical examination for a patient in a logical, organized, respectful, and
                   thorough manner, giving attention to the patient’s general appearance, vital signs, and
                   pertinent body regions.
                   9. communicate with the patient the purpose of the exam and explain the step-by-step
                   process.
                   10. adapt the scope and focus of the history and physical exam appropriately to the medical
                   situation and the time available.
          C. Attitudes: Each student should:
                   1. recognize the essential contribution of a pertinent history and physical examination to the
                   patient’s care by continuously working to improve these skills.
                   2. establish a habit of updating historical information and repeating important parts of the
                   physical exam during follow-up visits.
                   3. demonstrate consideration for the patient’s feelings, limitations, and cultural and social
                   background whenever taking a history and performing a physical exam.

  4. Communication And Relationships With Patients And Colleagues
        A. Knowledge: Each student should be able to describe:
                1. how patients’ and physicians’ perceptions, preferences, and actions are affected by
                cultural and psychosocial factors and how these factors affect the doctor-patient
                relationship.
                2. the role and contribution of each team member to the care of the patient.
                3. the role of psychosocial factors in team interactions.
                4. the role of the physician as patient advocate.


                                                       -68-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           071
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 115 of 356 PageID 158


          B. Skills: Each student should be able to:
                   1. demonstrate appropriate listening skills, including verbal and non-verbal techniques (e.g.,
                   restating, probing, clarifying, silence, eye contact, posture, touch) to demonstrate empathy
                   and help educate the patient.
                   2. demonstrate effective verbal skills including appropriate use of open- and closed-ended
                   questions, repetition, facilitation, explanation, and interpretation.
                   3. determine the information that a patient has independently obtained about his/her
                   problems.
                   4. identify patient’s emotional needs.
                   5. seek the patient’s point of view and concerns about his/her illness and the medical care
                   he/she is receiving.
                   6. determine the extent to which a patient wants to be involved in making decisions about
                   his/her care.
                   7. assess patient commitment and adherence to a treatment plan taking into account
                   personal and economic circumstances.
                   8. work with a variety of patients, including multiproblem patients, angry patients,
                   somatizing patients, and substance abuse patients.
                   9. work as an effective member of the patient care team, incorporating skills in
                   interprofessional collaboration.
                   11. Give and receive constructive feedback.
          C. Attitudes: Each student should:
                   1. work hard to develop effective doctor-patient communication skills.
                   2. take into consideration in each case the patient’s psychosocial status.
                   3. demonstrate respect for patients.
                   4. demonstrate actively involving the patient in his/her health care whenever possible.
                   5. demonstrate teamwork and respect toward all members of the health care team, as
                   manifested by reliability, responsibility, honesty, helpfulness, selflessness, and initiative in
                   working with the team.
                   6. respond pertinently to patient concerns.
                   7. attend to or advocate for the patient’s interests and needs in a manner appropriate to the
                   student’s role.

  5. Interpretation of Clinical Information
           A. Knowledge: Each student should be able to describe:
                    1. the various components of a complete blood count, blood smear, electrolyte panel,
                    general chemistry panel, electrocardiogram, fetal monitoring, urinalysis, and body fluid
                    cell counts and chemistries.
                    2. range of normal variation in the results of a complete blood count, blood smear,
                    electrolyte panel, general chemistry panel, electrocardiogram, fetal monitoring, chest x-ray,
                    urinalysis, and body fluid cell counts and chemistries.
                    3. results of the above tests in terms of the related pathophysiology.
                    4. test sensitivity, test specificity, pre-test probability, and predictive value.
                    5. how errors in test interpretation can affect clinical outcomes and costs.
           B. Skills: Each student should be able to:
                    1. interpret a blood smear, gram stain, electrocardiogram, chest X-ray, and urinalysis.
                    2. record the results of laboratory tests in an organized manner, using flow sheets when
                    appropriate.
                    3. estimate post-test probability based on test results and state the clinical significance of
                    these findings.
           C. Attitudes: Each student should:
                    1. demonstrate estimating the implications of test results before ordering tests and after test
                    results are available.


                                                        -69-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            072
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 116 of 356 PageID 159


                  2. personally review imaging, urinalysis, and where available blood smears, to assess the
                  accuracy and significance of the results

  6. Therapeutic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. information resources for determining medical and surgical treatment options for patients
                   with common obstetrical and gynecologic problems.
                   2. key factors to consider in choosing among treatment options, including risk, cost,
                   evidence about efficacy, and consistency with pathophysiologic reasoning.
                   3. how to use critical pathways and clinical practice guidelines to help guide therapeutic
                   decision making.
                   4. factors that frequently alter the effects of medications, including drug interactions and
                   compliance problems.
                   5. factors to consider in selecting a medication from within a class of medication.
                   6. factors to consider in monitoring a patient’s response to treatment, including potential
                   adverse effects.
                   7. various ways that evidence about clinical effectiveness is presented to clinicians and the
                   potential biases of using absolute or relative risk or number of patients needed to treat.
                   8. methods of monitoring therapy and how to communicate them in both written and oral
                   form.
          B. Skills: Each student should be able to:
                   1. formulate an initial therapeutic plan.
                   2. access and utilize, when appropriate, information resources to help develop an
                   appropriate and timely therapeutic plan.
                   3. explain the extent to which the therapeutic plan is based on pathophysiologic reasoning
                   and scientific evidence of effectiveness.
                   4. begin to estimate the probability that a therapeutic plan will produce the desired outcome.
                   5. write prescriptions accurately.
                   6. counsel patients about how to take their medications and what to expect when they take
                   their medications, including beneficial outcomes and potential adverse effects.
                   7. monitor response to therapy.
          C. Attitudes: Each student should:
                   1. incorporate the patient in therapeutic decision-making, explaining the risks and benefits
                   of treatment.
                   2. respect patient’s informed choices, including the right to refuse treatment.
                   3. incorporate the elements of patient autonomy, treatment efficacy, quality of life, and
                   societal demands into decision-making.
                   4. provide close follow-up of patients under care.

  7. Bioethics Of Care
          A. Knowledge: Each student should be able to describe:
                   1. basic elements of informed consent.
                   2. circumstances under which informed consent is necessary and unnecessary.
                   3. basic concepts of autonomy, treatment efficacy, quality of life, and societal demands.
                   4. potential conflicts between individual patient preferences and societal demands.
                   5. the role of the physician in making decisions about the use of expensive or controversial
                   tests and treatments.
          B. Skills: Each student should be able to:
                   1. participate in a discussion about advance directives with a patient.
                   2. participate in informed consent for a procedure.
                   3. participate in the care of a consent-requiring terminally ill patient.
                   4. participate in a physician’s discussion with a patient about a requested treatment that may
                   not be considered appropriate (e.g., not cost-effective).
                                                       -70-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          073
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 117 of 356 PageID 160



          C. Attitudes: Each student should:
                   1. take into account the individual patient’s perspective and perceptions regarding health
                   and illness.
                   2. demonstrate a commitment to caring for all patients, regardless of gender, race,
                   socioeconomic status, intellect, sexual orientation, ability to pay, or cultural background.
                   3. recognize the importance of allowing terminally ill patients to die with comfort and
                   dignity when that is consistent with the wishes of the patient and/or the patient’s family.
                   4. recognize the potential conflicts between patient expectations and medically appropriate
                   care.

  8. Self-Directed Learning
          A. Knowledge: Each student should be able to describe:
                   1. key sources for obtaining updated information on issues relevant to the medical
                   management of adult patients.
                   2. a system for managing information from a variety of sources.
                   3. key questions to ask when critically appraising articles on diagnostic tests or therapies.
          B. Skills: Each student should be able to:
                   1. perform a computerized literature search to find articles pertinent to a clinical question.
                   2. demonstrate critical review skills.
                   3. read critically about issues pertinent to their patients.
                   4. assess the limits of medical knowledge in relation to patient problems.
                   5. use information from consultants critically.
                   6. recognize when he or she needs additional information to care for the patient.
                   7. ask colleagues (students, residents, nurses, faculty) for help when needed.
                   8. make use of available instruments to assess one’s own knowledge base.
          C. Attitudes: Each student should be able to:
                   1. demonstrate self-directed learning in every case.
                   2. acknowledge gaps in knowledge to both colleagues and patients and request help.

  9. Prevention
         A. Knowledge: Each student should be able to describe:
                1. primary, secondary, and tertiary prevention.
                2. criteria for determining whether or not a screening test should be incorporated into the
                periodic health assessment of adults.
                3. general types of preventive health care issues that should be addressed on a routine basis
                in adult patients (i.e., cancer screening; prevention of infectious diseases, coronary artery
                disease, osteoporosis, and injuries; and identification of substance abuse).
                4. vaccines that have been recommended for routine use in at least some adults (i.e.,
                influenza, pneumococcal, measles, mumps, rubella, tetanus-diphtheria, hepatitis, HPV).
                5. methods for counseling patients about risk-factor modification.
                6. influence of age and clinical status on approach to prevention.
                7. general categories of high-risk patients in whom routine preventative health care must be
                modified or enhanced (e.g., family history, travel to an underdeveloped area, etc.).
                8. the major areas of controversy in screening.

          B. Skills: Each student should be able to:
                   1. locate recently published recommendations regarding measures that should be
                   incorporated into the periodic health assessment of adults.
                   2. obtain a sexual history and counsel patients about safe-sex practices.
                   3. obtain and interpret a Pap smear report.
                   4. counsel a patient on smoking cessation.
                   5. perform a breast exam.
                                                        -71-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           074
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 118 of 356 PageID 161


                  6. perform a digital rectal exam.

          C. Attitudes: Each student should:
                   1. address preventive health care issues as a routine part of their assessment of patients.
                   2. encourage patients to share responsibility for disease prevention.

  10. Coordination Of Care
         A. Knowledge: Each student should be able to describe:
                  1. the role of consultants and their limits in the care of a patient.
                  2. key personnel and programs in and out of the hospital that may be able to contribute to
                  the ongoing care of an individual patient for whom the student has responsibility.
                  3. the role of the primary care physician and the team in coordinating the comprehensive
                  and longitudinal patient care plan, including communicating with the patient and family
                  through telecommunications and evaluating patient well-being through home health and
                  other care providers.
                  4. the role of the primary care physician and the team in the coordination of care during key
                  transitions (e.g., outpatient to inpatient, inpatient to hospice, etc.).
         B. Skills: Each student should be able to:
                  1. discuss with the patient (and family as appropriate) ongoing health care needs, using
                  appropriate language, avoiding jargon and medical terminology.
                  2. participate in requesting a consultation and identifying the specific question(s) to be
                  addressed.
                  3. participate in the discussion of the consultant’s recommendations with the team
                  4. participate in developing a coordinated, ongoing care plan in the community.
                  5. obtain a social history that identifies potential limitations in the home setting which may
                  require an alteration in the medical care plan to protect the patient’s welfare.
                  6. develop skills for participating as a member of the care team
         C. Attitudes: Each student should:
                  1. demonstrate teamwork and respect toward all members of the health care team.
                  2. demonstrate responsibility for patients’ overall welfare.
                  3. participate, whenever possible, in coordination of care and in provision of continuity

  11. Procedures
          A. Knowledge: Each student should be able to describe:
                   1. key indications, contraindications, risks, and benefits of each of the procedures listed in
                   Table 2.
                   2. alternatives to a given procedure.
                   3. what the patient’s experience of the procedure will be.
          B. Skills: Each student should be able to:
                   1. observe precautions and contraindications for the procedures used.
                            2. understand how to obtain informed consent, when necessary, for procedures,
                            including the explanation of the purpose, possible complications, alternative
                            approaches, and conditions necessary to make the procedure as comfortable, safe,
                            and interpretable as possible.
                   3. understand step-by-step performance of procedures
          C. Attitudes: Each student should:
                   1. always participate in obtaining informed consent for procedures they perform or in which
                   they participate.
                   2. explain what the patient’s experience is likely to be in understandable terms.
                   3. communicate risks and benefits to patients.
                   4. always make efforts to maximize patient comfort during a procedure.



                                                       -72-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                            075
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 119 of 356 PageID 162


  Appendix 2 – Alignment of Learning Objectives, Competencies, and
  Assessment
   Clinical Learning Objectives                       Aligned with SMUSOM Competency                 Assessment Method
1. Diagnostic Decision Making                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
2. Case Presentation                          Patient Care                                      Clerkship Evaluation
                                              Communication & Interpersonal Skills              Patient Note
3. History and Physical                       Patient Care                                      Clerkship Evaluation
Examination                                   Communication & Interpersonal Skills              Engaged Learning (LMS)
                                                                                                Patient Note
4. Communication and                          Patient Care                                      Clerkship Evaluation
Relationships with Patients and               Professionalism                                   Engaged Learning (LMS)
Colleagues                                    Communication & Interpersonal Skills              Procedure logs
                                                                                                Mid-Clerkship Assessment
                                                                                                IPE Reflective Exercise
5. Interpretation of Clinical                 Patient Care                                      CCE
Information                                   Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
6. Therapeutic Decision Making                Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
7. Bioethics of Care                          Professionalism                                   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Logs
8. Self-Directed Learning                     Lifelong Learning, Scholarship, & Collaboration   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Procedure logs
                                                                                                Mid-Clerkship Assessment
9. Prevention                                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
10. Coordination of Care and                  Patient Care                                      Clerkship Evaluation
Teamwork                                      Social & Community Context Of Healthcare          Procedure logs
                                              Lifelong Learning, Scholarship, & Collaboration   IPE Reflective Exercise
11. Procedures                                Patient Care                                      Clerkship Evaluation
                                                                                                Patient Logs

  CCE =Core Clerkship Exam = National Board of Medical Examiners Subject Exam




                                                                           -73-                           Revised 5/3/21




                                         Exhibit F Clincial Medicine Handbood                                         076
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 120 of 356 PageID 163


  Appendix 3 ‐ Patient Note (PN) Form
  A blank form is shown below.




                                           -74-                    Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                077
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 121 of 356 PageID 164


  Appendix 4 – Guidelines for the Patient Note Exercise
  This activity is designed to improve students’ ability to communicate vital patient information in a written
  format, as well as assess certain competencies required for graduation. In order to satisfy the Patient Note
  (PN) competencies, students’ notes will be read and graded by the Clinical Division Chiefs each week.
  Each PN will be graded as either “Meets Expectations” or “Below Expectations”. Students who do not
  achieve competency in writing the PN by the end of the clerkship will receive a “U” in the respective
  competencies and will need to remediate. After successful remediation, students will receive an “S*” in
  place of the “U” according to school policy.

  In general, PN’s that “Meet Expectations” have the following common characteristics:
       The use of correct terminology (e.g., muscle strain rather than pulled muscle)
       A well-organized history section with subsections that are easy to find. If the patient has pain, all
          the descriptors of pain are included, along with an easy to follow timeline.
       Pertinent details of physical exam findings are also expected. For example, writing “pharynx
          without exudate or erythema” is preferable to stating that the pharynx is “clear,” and “lungs clear to
          auscultation bilaterally” is preferable to lungs “normal”.
       Only listing diagnoses supported by the history and physical exam. In some cases, there will only
          be one diagnosis.
       If there is more than one possible diagnosis, listing them in order of likelihood, with the most likely
          diagnosis first.
       Linking elements of the history, physical exam, differential diagnosis and plan throughout the PN.
          For example, each potential diagnosis should have appropriate elements in the history section
          including relevant positive and negative review of systems. Risk factors should also be included for
          each diagnosis (e.g., prior hx PID/STIs if ectopic pregnancy is in the differential). Each potential
          diagnosis should also have corresponding physical exam elements in the physical exam section of
          the note, and both history and physical exam elements should be in the data interpretation section.

  PN’s assessed as “Below Expectations” often include the following common mistakes:
      Documentation of history elements in the physical exam section (pain, past medical history, etc.).
      Documentation of physical exam elements in the history section (vital signs, tenderness, etc.).
      Incomplete documentation of physical exam findings (lungs “normal”, pelvic exam “WNL”, vital
         signs “normal” or “stable” or “unremarkable”).
      Listing improbable diagnoses with no supporting evidence (e.g., brain tumor in a patient with no
         focal neurological signs) or a plan that includes a test with no indications (e.g., MRI of the brain in
         a patient with headaches and no focal neurological signs).
      Listing an appropriate diagnosis with no supporting evidence (e.g., new onset diabetes without
         listing symptoms of polydipsia, polyphagia, polyuria; or pregnancy with no symptoms of pregnancy
         or mention of sexual activity, last menstrual period, or use of family planning).
      Use of non-standard abbreviations, such as CMT (cervical motion tenderness). Only commonly
         accepted abbreviations (such as those on the Step 2CS website) are acceptable.




                                                      -75-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          078
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 122 of 356 PageID 165


  Below is an example of a PN that would “Meet Expectations” for the Internal Medicine Clerkship.
  Positive aspects are indicated with a superscript and explained at the end of the PN.




  CC: Ms. J.B. is a 24 y.o. woman1 who complains of worsening sore throat since yesterday morning.
  HPI: She has never had a similar problem in the past. She has no difficulty swallowing, but notes that
  swallowing makes the pain worse. Nothing makes it better2. There is no SOB or sensation of choking or
  dysphagia. She has fatigue and has had some anorexia since the symptoms began. She has had some
  subjective fevers at home but has not taken her temperature. She has had no cough or rhinorrhea. There are
  no sick contacts at home or at work. She denies seasonal allergies and post-nasal drip. The patient thinks
  she has strep throat.3
  ROS: No chest pain, cough, wheezing, abdominal pain, N/V, or headache4
  PMHx: none
  Meds: none
  Allergies: none
  PSHx: none
  FHx: father with HTN
  SHx: married with 2 children, does not use ETOH, tobacco or drugs, monogamous with husband




  She is in no acute distress5
  VS: BP 105/74, R 16, P 72, T 98.5
  HEENT: Oropharynx without exudate or erythema, TMs clear without erythema bilaterally6
  Tender submandibular lymphadenopathy is present bilaterally
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness




   Diagnosis #1 Viral Pharyngitis

                  History Finding(s)                               Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever                                     Afebrile7
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis

                   History Finding(s)                              Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever
   Fatigue
   Anorexia
                                                    -76-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                       079
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 123 of 356 PageID 166


   Pain with swallowing
   No rhinorrhea8

                 Diagnostic Studies
        Throat Culture

  Notes:
  1
    complete identification of the patient.
  2
    appropriate descriptors of pain are included in history.
  3
    Patients understanding of her disease is included.
  4
    ROS, PMHx, etc. are clearly designated and well organized.
  5
    General appearance and full vital signs are included, physical exam is clearly designated and well
  organized.
  6
    Physical exam findings are clearly described, not listed as “normal”.
  7
    lack of fever supports the diagnosis of viral pharyngitis.
  8
    lack of rhinorrhea supports the diagnosis of bacterial pharyngitis.




                                                      -77-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         080
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 124 of 356 PageID 167


  Below is an example of a PN would result in an assessment of “Below Expectations”. Problems are
  indicated with a superscript and explained at the end of the PN.




  The patient 1 complains of pharangitis2. The sore throat started yesterday morning. She has never had a
  similar problem in the past. She also has abdominal pain and some anorexia since the symptoms began.
  She has no difficulty swallowing, but notes that swallowing makes the pain worse3. There is no sensation of
  choking or dysphagia. She has had some subjective fevers at home but has not taken her temperature. She
  denies chest pain4. VS: BP - 105/74, R - 16, P - 72, T - WNL5




  Her throat is clear6, but she has painful7 glands8.
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness9




   Diagnosis #1 Viral Pharyngitis

                   History Finding(s)                                Physical Exam Finding(s)
                                                         10
   Sore throat
   Subjective fever
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis11

                   History Finding(s)                                Physical Exam Finding(s)


   Diagnosis #3 Otitis Media12

                   History Finding(s)                                Physical Exam Finding(s)


                 Diagnostic Studies
        Throat Culture
        Head/neck CT with contrast 13

  Notes:
  1
    incomplete identification of the patient.
  2
    Not using the patient’s own words for the chief complaint.
  3
    Unorganized history (going from throat pain to abdomen, then back to throat).
  4
    Incomplete pertinent review of systems, no PMHx, SHx, etc.
                                                     -78-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        081
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 125 of 356 PageID 168

  5
    Physical exam findings in the history.
  6
    General appearance and full vital signs are missing, and exam of main focus of her complaint (throat) is
  inadequate.
  7
    “Painful” is a descriptor that should be in the history, “tender” is objective and belongs in the physical
  exam.
  8
    “glands” is not a medical term.
  9
    “non-tender” and no “tenderness” is repetitive.
  10
     tender lymph nodes is documented in the physical exam but is not listed in the physical exam findings in
  the data interpretation section.
  11
     Including a diagnosis without supporting evidence even if the diagnosis is possible.
  12
     Including a diagnosis that has no support in either the history or the physical exam.
  13
     Including a study that is not indicated, overly aggressive, and/or costly.


  Patient Note Suggested Content: OB-GYN History and Physical Exam

  Chief Complaint (CC)
      First sentence should include age, gravidity/parity, LMP and presenting problem.
      Example: 42 yo G3P2Ab1 AA, LMP 12/1/14, who comes to the ED complaining of vaginal
         bleeding.

  History of Present Illness (HPI)
       What are the questions for someone with abdominal/pelvic pain, vaginal bleeding, vaginal
          discharge, pain when urinating, vulvar itching, etc.? The patient’s responses go in this section.

  Gynecological History
      Menstrual history – menarche, duration, flow and cycle length.
      Contraceptive/sexual history – sexually active, number of partners, new partners in the past
        three months, condom use, current method of birth control, history of sexual abuse, etc.
      Screening/prevention – date and results of last Pap smear and/or mammogram, breast self-
        exam.
      Past OB-GYN illnesses/disease or procedures.

  Special attention in Social/Medical History
      Tobacco, alcohol, drug use.
      Non-prescription medications (including alternative therapies, herbs, etc.).

  Special attention in Physical Exam (PE)
      Should be extensive in the area of the CC.
      Vital signs including weight gained if pregnant.
      Breast.
      Abdomen including fundal height and FHTs if pregnant.
      Pelvic exam.
              - Bartholin’s glands, urethra, Skene’s glands/external genitalia/vulva.
              - Vagina.
              - Cervix.
              - Bimanual exam – uterus (size/consistency/shape), adnexa, rectovaginal.




                                                      -79-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         082
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 126 of 356 PageID 169



      Appendix 5 – Sample Evaluation of Student Clerkship Performance


                                              ST. MATTHEW’S UNIVERSITY
                                                  SCHOOL OF MEDICINE
                                                                              In the U.S.
                                          St. Matthew’s University 12124 High Tech Avenue, Suite 350  Orlando, FL 32817
                                                   Tel. (407) 488-1700  Fax: (815) 377-3726  www.stmatthews.edu
                                             Clinicals: clinical@stmatthews.edu  Finance Office: finance@stmatthews.edu


                          Student Name                                                            Clinical Rotation

       Begin:                       End

                          Dates of Rotation                               Total              Attending/Supervising Physician
                                                                          Weeks


                         Hospital’s Name                                Hospital’s Address, City, State


      Please read rationale and background that follows this student evaluation form. To complete this evaluation check the
      appropriate category that reflects the student’s work within each competency based on the student’s overall performance.

                                                               PATIENT CARE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

1    Medical                     Logical, thorough, and           Elicits most pertinent           Incomplete, illogical,
     Interviewing                efficient histories              patient information              superficial histories
     (1a)

2    Physical                    Complete and accurate            Some omissions but               Incomplete, inaccurate,
     Examination                 physical examinations            usually complete and             cursory, non-directed,
                                                                  accurate                         unreliable physical
     (1a)
                                                                                                   examination

3    Participation in            Exceptionally                    Actively participates in         Lacks initiative in patient
     Patient Care                conscientious in patient         patient care activities          care activities
     (1a, 1c)                    care activities, sound
                                 judgment

4    Data Use and                “Manager” – uses                 “Interpreter” – attempts         “Reporter” – reports data
     Interpretation              information to develop           to interpret or apply            but makes no attempt to
     (1b, 1c, 1d, 1e)            insightful plans for             information appropriate to       interpret or apply
                                 patient management               level of training                information

                                                   MEDICAL KNOWLEDGE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

5    Knowledge Base              Exceptional knowledge of         Solid fund of knowledge          Limited knowledge of
     (2a, 2b, 2c, 1f)            basic and clinical sciences                                       basic and clinical sciences

6    Interest in                 Enthusiastic interest in         Demonstrates interest in         Minimal interest in
     Learning                    learning                         learning                         learning
     (2a, 2b, 2c, 3a)




                                                                       -80-                                                      Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                                   083
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 127 of 356 PageID 170


                     LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                                                                                                            Below                           Not          Not
                                     Exceeding Expectations           Meeting Expectations
                                                                                                         Expectations                    Acceptable    Observed

8     Facilitation of                  Unusually proficient in         Facilitates the learning of    Shows little interest in
      Learning                         facilitating the learning of    other students and health      facilitating the learning of
      Amongst Team                     other students and health       care professionals             other students and health
                                       care professionals                                             care professionals
      (3a, 4f)

9     Ability to use                   Effectively uses scientific     Attempts to use scientific     Fails to use information
      Scientific Data to               studies to manage               studies to manage              from scientific studies to
      Manage Care                      information for patient         information for patient        enhance patient care.
                                       care. Participates in           care. Participates in          Does not participate in
      (3a, 3c, 3d, 1g)                 scholarly activities (e.g.,     scholarly activities (e.g.,    scholarly activities (e.g.
                                       journal club, research).        journal club, research).       journal club, research.)

10    Display of                       Self-motivated learner.         Usually demonstrates           Lacks insight and
      Initiative                       Completes all homework          personal initiative and        personal initiative. Does
      (3a)                             assignments and provides        completes all homework         not complete homework
                                       additional pertinent            assignments.                   assignments.
                                       information to the
                                       healthcare team.

                                                             PROFESSIONALISM
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

11    Compassion,                          Always demonstrates            Inconsistently                 Seldom demonstrates
      Integrity, and                       respect, compassion,          demonstrates respect,          respect, compassion,
      Honesty                              integrity and honesty         compassion, integrity and      integrity and honesty
                                                                         honesty
      (4a, 4b, 4c, 4e, 4f, 4h, 5c)

12    Reaction to                          Seeks and rapidly             Responds positively to         Resists or ignores
      Feedback                             responds to feedback          feedback                       feedback
      (4b, 4c, 4d, 4e, 4f)

13    Responsibility                       Teaches/role models           Displays responsible           Does not display
      (4b, 4c, 4d, 4g, 4h)                 responsible behavior;         behavior; attends all          responsible behavior;
                                           attends all required          teaching sessions as           does not attend or is
                                           teaching sessions and is      required and is punctual.      tardy to required
                                           punctual                                                     teaching sessions.

14    Patient and Staff                    Consistently considers        Considers the needs of         Does not consider the
      Consideration                        the needs of patients,        patients, families and         needs of patients,
      (4a, 4b, 4d, 4f, 4h, 5b, 5c)         families and colleagues       colleagues                     families or colleagues
                                           above his/her own

15    Acknowledgement of                   Willingly acknowledges         Acknowledges errors           Fails to acknowledge
      Errors                               errors                                                       errors
      (4b, 4c, 4d, 4e, 4h)

                                 INTERPERSONAL AND COMMUNICATION SKILLS
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

16    Relationship with                    Establishes highly            Establishes effective,         Does not establish
      Patients and                         effective, humanistic         humanistic and                 adequate, effective,
      Families                             and therapeutic               therapeutic relationships      humanistic and
                                           relationships with            with patients and families     therapeutic
      (5a, 5b, 5c, 5d, 5e, 5f)             patients and families                                        relationships with
                                                                                                        patients and families

17    Listening, Verbal,                     Demonstrates excellent      Shows adequate listening,      Demonstrates
      and Non-Verbal                       listening, written and        written and nonverbal          inadequate listening,
      Skills                               nonverbal                     communication skills           written or nonverbal
                                           communication skills                                         communication skills
      (5a, 5b, 5c, 5d)


                                                                           -81-                                                      Revised 5/3/21




                                           Exhibit F Clincial Medicine Handbood                                                                  084
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 128 of 356 PageID 171


18     Interpersonal Skills                 Always “interpersonally         Relates well to patients          Not “interpersonally
       w/ Patients and                      engaged” with patients          and their families and        engaged” with patients and
       Families                             and their families and          respects patient              their families but respects
                                            respects patient                confidentiality.              patient confidentiality.
       (5a,5b,5c,5d, 5e)                    confidentiality.

19     Documentation &                      Delivers well organized         Delivers organized                Delivers poorly
       Presentation Skills                  presentations, writes           patient presentation,             organized patient
       (5a, 5d, 5f)                         exceptionally organized         writes organized accurate         presentations. Has
                                            notes, appropriately            notes, including most             difficulty
                                            tailored to the situation,      pertinent information with        distinguishing pertinent
                                            with assessments that           little extraneous                 from extraneous
                                            are consistently                information                       information, writes
                                            thoughtful and reflect                                            notes that have
                                            reading.                                                          omissions, shows little
                                                                                                              application of clinical
                                                                                                              thinking or reading.

                             SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE
                                         Exceeding                                                        Below                            Not            Not
                                                                         Meeting Expectations
                                         Expectations                                                     Expectations                     Acceptable     Observed

20     Other healthcare                     Effectively makes use           Attempts to make use of           Unable to make use of
       professionals                        of unique contributions         unique contributions by,          unique contributions
       (6a, 6b, 6d, 5f)                     by, and works                   and work effectively              by, and work
                                            effectively with, other         with, other health care           effectively with, other
                                            health care professionals       professionals                     health care
                                                                                                              professionals
21     Use of Systems in                    Effectively uses                Attempts to use                   Does not use
       Care                                 systematic approaches           systematic approaches to          systematic approaches
       (6a, 6b)                             to reduce errors and            reduce errors and                 to reduce error and
                                            improve patient care            improve patient care              improve health care

        **Items in parentheses indicate sub-competencies assessed. See St. Matthew’s Competency Matrix for detailed description.


     Mid-Term Evaluation                                                 Not done                      Done          Date:
     Comments:




     Comments (for MSPE/Dean’s Letter):




     Constructive Comments (not for use in MSPE/Dean’s Letter):



     By signing my name below, I confirm that I have received and reviewed the SMUSOM Clerkship
     Syllabus, which includes the SMUSOM Competencies, Clerkship Learning Objectives, Clerkship required
     encounters and procedures, and SMUSOM policies.

 Clinical Faculty Signature                                                                            Date

 Print Last Name
                                                                             -82-                                                       Revised 5/3/21




                                             Exhibit F Clincial Medicine Handbood                                                                   085
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 129 of 356 PageID 172


  Appendix 6 – Sample Mid-Clerkship Assessment Form
                                             Mid-Clerkship Assessment
       INSTRUCTIONS: The mid-clerkship assessment is designed to provide you an accurate assessment of your
       performance to date and identify areas for improvement during the second half of your clerkship. You are required
       to review your performance to this point in your clerkship with at least one of your supervising attending physicians.
       Discuss all areas of competency with this (these) supervising attending physician(s). You are required to complete
       this assessment, incorporating feedback from the supervising attending physician(s), and submit it to SUSOM by the
       deadline.

       MEDICAL KNOWLEDGE: (Knowledge of basic and clinical sciences; Interest in learning; Understanding of
       complex clinical situations and mechanisms of disease)




       Specific Areas for Improvement:_________________________________________________________________

       COMMUNICATION SKILLS: (Presentations on Rounds; Presentations of Assigned Patients; Interactions with
       Patients/Families)




       Specific Areas for Improvement:_________________________________________________________________

       PATIENT CARE: (H&Ps, Note Writing, Lab Interpretation, Overall Patient Care Activities, Procedures)




       Specific Areas for Improvement:_________________________________________________________________

       SELF LEARNING: (Facilitation of learning amongst team; Ability to use scientific data to manage care; Initiative)




       Specific Areas for Improvement:_________________________________________________________________

       SOCIAL & COMMUNITY CONTEXT OF HEALTH CARE: (Accesses/utilizes outside resources needed for
       effective and efficient patient care; Uses systematic approaches to reduce errors and improve patient care)




       Specific Areas for Improvement:_________________________________________________________________

       PROFESSIONALISM: (Conscientiousness; Interactions with others; Dress & Grooming; Punctuality; Honesty;
       Motivation; Ability to recognize limitations)




       Specific Areas for Improvement:_________________________________________________________________

       Supervising Attending Physician Name(s): ________________________________________________________

       Supervising Attending Physician Contact: ________________________________________________________

       ˜    I hereby confirm that I have met with, and reviewed my performance with the supervising attending
            physician(s) named above.




                                                               -83-                                               Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                                            086
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 130 of 356 PageID 173


  Appendix 7 – Sample Patient Log

                         ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                          -84-                         Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                          087
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 131 of 356 PageID 174



  Appendix 8 – List of Required Online Learning Cases

          Case        Title                                     Subject
     CLIPP       1    Evaluation & Care of the Newborn          Congenital CMV
     CLIPP       7    Newborn boy with respiratory distress     IODM, premie, TTN
     CLIPP       22   16 year old girl with abdominal pain      PID
     Simple      13   65 year old woman for annual physical     Screening guidelines, osteopenia
     Simple      14   18 year old woman pre-college physical    UTI, chlamydia
     Simple      30   55 year old woman with leg pain           Venous thromboembolism
     fmCASES      1   45 year old woman annual exam             Annual gyn care
     fmCASES     12   16 year old girl with vaginal bleeding    Spontaneous abortion
                                                                Pregnancy, advanced maternal
     fmCASES     14   35 year old woman with amenorrhea         age, Down's
                      55 year old woman with post menopausal
     fmCASES     17   bleeding                                  Menopause, DUB
     fmCASES     20   28 year old woman with abdominal pain     Domestic violence
     fmCASES     24   4 week old girl with fussiness            Colic, post-partum depression
     fmCASES     30   27 year old female - Labor & Delivery     Labor and Delivery
     fmCASES     32   33 year old female with painful periods   Dysmenorrhea




                                                 -85-                                Revised 5/3/21




                          Exhibit F Clincial Medicine Handbood                                   088
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 132 of 356 PageID 175


  Appendix 9 ‐ Step‐By‐Step Instructions for Completing Engaged Learning
  Assignments
       1. Each week you are enrolled in a Core Clerkship, you will receive an email on Mondays with the
           weekly assignment instructions, which can also be accessed at http://lms.stmatthews.edu, log in
           using the new institutional email address: _@stmatthews.com as your username and the
           password you use to access the campus website.
       2. Enter the “Clinical Clerkship Online Course”
       3. Scroll down to the section marked "This Week's Assignment". (If your assignment is not
           available or an assignment for a different core is posted submit a trouble ticket).
       4. The assignment will direct you to either a case, or cases, available on med-u.org (Note: If this is
           your first time accessing the course, you will need to register with med-u.org. Instructions are
           provided on the Course Homepage) or will provide a link to an assignment within the course.
       5. Complete the assignment and then return to the "This Week's Assignment" section and your
           particular assignment to post your Reflections.
       6. Select the link to your assignment under "This week's assignments" in the Clinical Clerkship
           Online Course. At the bottom of assignment page for any given week (scroll down) you will see
           the Forum Discussion.
       7. Open the Forum Discussion.
       8. Click on “Reply” to post a Reflection. You can view other student Reflections as well for
           interactive dialogue.

        **All assignments and Reflections must be completed by Sunday at midnight Eastern Time of the
        assigned week to receive credit.

        Please note: There are currently 2 assignments which include a lesson that you access directly
        through this course. These assignments have videos embedded within the pages, then a short
        question to answer in order to progress.

        Please pay careful attention to these tips, instructions, and illustrations, and view all of the teaching
        videos in order. The videos must be viewed to receive credit for the assignment.

        In the event that technical issues arise in regards to viewing the videos within the assignment, it is
        suggested that you try to use a different web browser (Mozilla Firefox or Google Chrome) to view
        the assignment.




                                                      -86-                                       Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                             089
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 133 of 356 PageID 176


  Appendix 10- Step-By-Step Instructions for Weekly Patient Logs Submissions
      1. Students can access the Patient Logs page at:
         https://www.stmatthews.edu/Gateway/PLGateway2.html (A link is also provided from your
         Clinical Clerkships Online Course Home Page and from the stmatthews.edu website).

      2. Enter all the relevant identifying information regarding the patient, including age, sex, and location
         that the patient was seen.

      3. Select your role and identify the supervisor.

      4. Choose the appropriate Patient Encounter(s) and/or Procedure(s) from the drop-down menus.

      5. Document the extent of the physical exam performed (full, targeted, or none).

      6. Document what you charted.

      7. Comments and reflections regarding the experience are optional, and may be entered within the
         final textbox.

      8. Click the submit button at the end, and you will then have the opportunity to enter additional
         patients.

      9. When you have submitted your final patient for your week, select Quit.

      10. You will then receive email confirmation of your log submission.

  Please note: You will not be able to edit previously submitted Patient Logs or go back and 'make-up' logs
  from previous weeks.

  Patient Logs logging a minimum of ten (10) patients per week are required for every week of a core rotation
  regardless of the total number of weeks of said rotation. This applies to all core rotations.

  If you have any questions or technical problems please use the following link to submit and IT trouble
  ticket:
  http://www.stmatthews.edu/osticket/.

  Weekly Patient Logs MUST be submitted before midnight Sunday. Please do not wait until the last minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Logs assignment.




                                                         -87-                                   Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          090
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 134 of 356 PageID 177


  Appendix 11‐ Step‐By‐Step Instructions for Weekly Patient Note
  Submissions
      1. Students can access the Patient Note page at:
         https://www.stmatthews.edu/Gateway/PNGateway.html (a link is also provided from your Clinical
         Clerkships Online Course Home Page and from the stmatthews.edu site.)

      2. Patient Note submissions will follow the same directions, restrictions and character limitation for
         each field as specified for USMLE Step 2CS2, including:
            • History - 950 characters or 15 lines
            • Physical Examination - 950 characters or 15 lines
            • Diagnosis - 100 characters for each diagnosis
            • History Findings and Physical Examination Findings - 100 characters for each field
            • Diagnostic Study/studies - 100 characters for each study recommendation
            • Students may add rows to the History Findings, Physical Examination
            • Findings and Diagnostic Study/Studies sections up to a maximum of eight rows each.

      3. Read all instructions on the form and enter your text in the appropriate fields.

      4. You must enter at least two diagnoses. The first diagnosis requires at least four justifications in the
         fields below it. Any other diagnoses require at least two.

      5. You are required to enter at least one Diagnostic Study.

      6. Provided you have entered all required information, click the "Submit" button at the bottom. You
         will be prompted to confirm your submission.

      7. Once submitted you may either submit another Patient Note or exit the application. Once you
         submit the required two Patient Notes for the week, you may no longer submit any Patient Notes
         until the next week.

  Please note: You will not be able to edit previously submitted Patient Notes or go back and 'make-up'
  Patient Notes from previous weeks.

  Patient Notes are required for every week of a core clerkship regardless of the total number of weeks of
  said clerkship. This applies to all core clerkships.

     If you have any questions or technical problems please use the following link to submit and IT trouble
     ticket: http://www.stmatthews.edu/osticket/.

  Weekly Patient Notes MUST be submitted before midnight Sunday. Please do not wait until the last
  minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Note assignment.




                                                      -88-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           091
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 135 of 356 PageID 178


  Appendix 12‐ Step‐By‐Step Instructions for Submitting the Mid‐Clerkship
  Assessment
     1. Go to the Mid-Clerkship Assessment Page:
        https://www.stmatthews.edu/Gateway/MCSAGateway.html (a link is also provided from your
        Clinical Clerkships Online Course Home Page and from the stmatthews.edu site.)

     2. You will receive an email reminder on Friday of Week 2 of the clerkship instructing you to
        complete an assessment of your performance on the clerkship.

     3. You will be able to submit only AFTER you have received the email reminder to fill the form.

     4. You must meet with the attending and/or resident in order to obtain their feedback on your
        performance on the clerkship to-date. You must discuss all areas of competency that will be
        evaluated at the conclusion of your clerkship.

     5. Read all instructions on the form and enter your text in the appropriate fields.

     6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to confirm
        before submitting.

     7. Once submitted you will be redirected to a page where you can view what you have submitted.
        Click “Exit Application” when you are finished.

     8. Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point
        deduction from the final grade as follows:

           •   Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 2 points
           •   Not submitted by the end of Week 5 = Grade of “U” in Professionalism & Lifelong Learning
               competencies and INCOMPLETE Final Grade and remediation required.




                                                     -89-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        092
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 136 of 356 PageID 179


    Appendix 13 ‐ SMUSOM Defined Patient Encounters with Alternative
    Clinical Learning (week 6)

                                                 Clinical                           Type of Encounter
                               Level of          Setting     Primary Clinical
                               student          (H/I, H/O,                             Alternative Clinical Learning ***
    Patient Encounter                                           Learning
                               responsibility    ED, CC,
                                                             Direct                                            Partial         Screen-
                               (Pr, Pa, Ob)*       NH,       Patient
                                                                        Team    Full-Scale   Standardized
                                                                                                                Task            Based
                                                 PPO)**                 Care    Mannequin       Patient
                                                              Care                                             Trainer       Simulation
Abdominal Pain
Abnormal Labor
Abortion (Spontaneous /
Induced)
Alloimmunization
Antepartum Care
Chronic Pelvic Pain
Disease Prevention
Domestic Violence
Ectopic Pregnancy
Endometriosis
Family Planning
Fetal Growth Abnormalities
Gynecologic cancers
(vulvar/vaginal/cervical/end
ometrial/ovary)
Health Promotion
Hirsutism and Virilization
Infertility
Intrapartum Care
Medical and Surgical
Complications of Pregnancy
Menopause
Menstrual disorders
(amenorrhea/dysmenorrhea/
Premenstrual syndrome)
Multifetal Gestation
Normal and Abnormal
Uterine Bleeding
Pelvic Organ Prolapse and
Urinary Incontinence
Postpartum Care
Postpartum Complications
(e.g. infection/hemorrhage)
Post-Term Pregnancy
Preeclampsia-Eclampsia
Premature Rupture of
Membranes
Preterm Labor
Screening
Sexually Transmitted
Infections and Urinary Tract
Infections
Third Trimester Bleeding
Uterine Leiomyomas
Vulvar and Vaginal Disease




                                                             -90-                                           Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                               093
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 137 of 356 PageID 180


  KEY
  *Level of Student Responsibility
   Pr = Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
   Pa = Participant (member of medical team, present on rounds, O.R., etc.)
   Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

  **Clinical Setting
    H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
    H/O - Hospital/Outpatient Clinic
    ED - Emergency Department / Urgent Care / Transport
    CC - Community Clinic
    NH - Nursing Home / Home Care
    PPO - Private Practice Office

  *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
       Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
                                      respiratory, etc.). May range from high- to low-fidelity.
       Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students
                                      regarding his/her medical condition.
       Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal
                                   anatomy.
       Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases




                                                                 -91-                                           Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                                     094
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 138 of 356 PageID 181


  Appendix 14 – Guidelines for the IPE Reflection Exercise
   This activity is designed to improve students’ ability to work effectively with other health care
   professionals and to make use of the unique contributions of other health care professionals. In order to
   satisfy the IPE Reflection Exercise students’ submissions will be read and graded by the Clinical
   Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or
   “Below Expectations”. Students who do not achieve competency in writing the IPE initially, will be able
   to resubmit. Students who do not achieve competency by the end of the clerkship will receive a “U” in the
   respective competencies and will need to remediate. After successful remediation, students will receive an
   “S*” in place of the “U” according to school policy.

   In general, IPE Reflection Exercises that “Meet Expectations” have the following
   common characteristics:
        They include insights gained by you during your interactions with the health care professional
        They are well-organized, clearly written, and fully answer the question.

   Below is an example of an IPE Reflection Exercise that would meet expectations. The example responses
   are in italics.

   1.      Describe an ethical dilemma specific to Interprofessional patient-centered care and based on
           interviews with co-providers, describe how it was resolved. An example of such a dilemma
           could be an elderly male patient who wants to be discharged to home, but the social worker has
           determined that he would not be able to take care of himself. A pediatric example could be
           parents wanting to take the child home but Nursing is not confident that the parents can provide
           the care needed. (200 words maximum)

                  An elderly female wanted to return to her own home to live independently, but she was
                   not able to see and grip the medication bottle well enough to take her medications as
                   indicated. The Occupational Therapy department recommended medication dispenser
                   that a family member could fill each week that enabled her to take the correct dose.

   2.      Explain the roles and responsibilities of three other healthcare providers that you observed and
           how they work as part of the team to provide care. Based on brief discussions with them,
           describe the limitations of the medical professionals’ skills, knowledge, and attitudes that
           these other providers contribute. (200 words maximum)

                  A teenager admitted with anorexia nervosa needed a precise amount of nutrition to
                   become healthy, but not so much that she would get refeeding syndrome. The
                   nutritionist was able to calculate her intake more precisely than the medical team
                   which allowed the team to adjust her feeding plan.
                  An elderly patient admitted to the psychiatric ward for depression was found to
                   have subtle cognitive impairment by a comprehensive neuropsychological
                   assessment completed by a psychologist. That testing helped the team understand
                   some of his behaviors.
                  A physical therapist evaluated a patient who had suffered several falls at home and she
                   was able to recommend a certain type of walker that would help support the patient and
                   help prevent further falls.

   3.      Describe how your unique attributes (experience level, expertise, culture, power, and hierarchy
           within the health team) have contributed to effective communication, conflict resolution, and
           positive interprofessional working relationships. If you can’t think of an example from your
           work, describe a conversation with a provider in another profession that demonstrates this. An
           example could be that your religious background helped you understand a patients concern that

                                                      -92-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          095
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 139 of 356 PageID 182


        you were then able to explain to the team. Another example would be where your knowledge of
        the patient’s culture helps the team ensure the right care is delivered. (200 words maximum).

                   There was a patient who was admitted for a hysterectomy due to cervical cancer. The
                    team didn’t think she knew was her uterus was, but I was able to talk to her in
                    Spanish, verify that she knew what her uterus was, and help her understand the
                    disease and our recommended treatment.

   4.   Describe three instances where another health professional contributed to patient-centered
        care through problem-solving. Describe their viewpoint based on a brief interview discussion
        with them (“How did you come up with that great idea?”). (200 words maximum)

               •    A patient was terrified of going into an elevator due to claustrophobia, but the
                    transporter produced keys that would immediately stop the elevator and open the
                    doors if the patient felt too scared.
               •    A patient refused to eat the hospital food. She wouldn’t tell anyone why, but a
                    social worker found out that she was observing Ramadan and that the food was
                    delivered during daylight hours. The social worker talked to the dietary service
                    and was able to have food delivered on a schedule that worked for the patient.
               •    A patient was very concerned because of news reports that he would get the wrong
                    medication while in the hospital. The nurse gave him a copy of the medications and
                    schedule that the physician ordered, and had the pharmacist added a photo of each
                    tablet. The patient kept the list by his bed so he could check each one as it was
                    given to him.




                                                  -93-                                    Revised 5/3/21




                          Exhibit F Clincial Medicine Handbood                                        096
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 140 of 356 PageID 183



   Appendix 15‐ Step‐By‐Step Instructions for Submitting the IPE
   Reflection Exercise
        1. You will receive an email reminder on Friday of Week 1 of the clerkship instructing you
              to complete an IPE Reflection Exercise prior to the end of week 4.

        2. You must meet with the health care professional that you write about in the exercise. It
              does not need to be a formal meeting, but must include a conversation about their
              role.

        3. Go to the IPE Reflection Exercise Page: https://portal.stmatthews.edu/Clinical/clerkships
               (a link is also provided from your Clinical Clerkships Online Course Home Page.)

        4. You will be able to submit only AFTER you have received the email reminder to fill the form.

        5. Read all instructions on the form and enter your text in the appropriate fields.

        6. After filling all fields, press the “Submit” button at the bottom. You will be prompted
               to confirm before submitting.

        7. Once submitted you will be redirected to a page where you can view what you have
              submitted. Click “Exit Application” when you are finished.

        8. Failure to submit the IPE Reflection Exercise in a timely manner will result in a
                point deduction from the final grade as follows:
                 o Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 1 point
                 o Submitted late but by Sunday at midnight of Week 6 = final grade reduced by 2 points
                 o Not submitted by the end of Week 6 = final grade reduced by 3 points, grade of “U”
                   in Social & Community Context of Healthcare and INCOMPLETE Final Grade and
                   remediation required.




                                                   -94-                                       Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                                           097
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 141 of 356 PageID 184



                      St. Matthew’s University School of Medicine
                                             Course Syllabus
                                            PEDIATRICS
                                              Required Clerkship

   Clerkship Faculty and Staff
   Clinical Department Chair
   Mohamed Mir MD
   mmir@stmatthews.edu

   Clinical Deans                                              Clinical Coordinator
   David Salter MD                                             Carol Weir RN
   Dean of Clinical Sciences                                   cweir@stmatthews.edu
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   Office: 407-488-1744


   Clerkship Goal
   The Pediatric Clerkship is a six-week experience that provides an opportunity for each student to develop
   the basic skills required to provide medical care for infants, children, and adolescents, and to provide a
   foundation for further training in pediatrics. During the Pediatric clerkship, students will learn to appreciate
   the influence of growth and development on children, by experiencing first-hand how the maturation
   process affects the diagnosis and management of illness and how it influences general well-being. Factors
   unique to the pediatric encounter will be emphasized. Since children are not responsible for their own
   health care, students will also learn how to evaluate the family unit, parenting skills and the home
   environment as part of the child’s total health evaluation.

   Core Clerkship Competencies and Learning Objectives
   During the course of this training period, students are expected to develop their understanding and
   competency in the areas of patient care, medical knowledge, lifelong learning, scholarship and
   collaboration, professionalism, interpersonal and communication skills, and social and community
   context of healthcare. They will be exposed to the management of pediatric patients with the expectation
   of enhancing their understanding of disease diagnosis, management, and prevention. The clinical learning
   objectives are aligned with the competencies that each student is expected to satisfy by the end of the
   clerkship.




                                                        -95-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            098
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 142 of 356 PageID 185


   Each learning objective is organized into three key areas: knowledge, skills and attitude (Appendix 1).
   Students’ proficiency in these competency areas are evaluated throughout the course of the clerkship and
   reflected in their final evaluation.

   SMUSOM Competencies
   1. Patient Care: Students must be able to provide patient care that is compassionate, appropriate, and
      effective for the treatment of illness and the promotion of health.
   2. Scientific & Medical Knowledge: Students must demonstrate knowledge about established and
      evolving biomedical, clinical, and associated sciences and application of this knowledge to the practice
      of medicine throughout the life cycle.
   3. Lifelong Learning, Scholarship, & Collaboration: Students must be able to examine and evaluate
      their patient care practices, appraise and assimilate scientific evidence, and use this information to
      improve their abilities.
   4. Professionalism: Students must demonstrate a commitment to the highest standards of professional
      responsibility, adherence to ethical principles, and sensitivity in all interactions with patients, families,
      colleagues, and others with whom physicians must interact in their professional lives.
   5. Communication & Interpersonal Skills: Students must display interpersonal and communication
      skills that foster effective information exchange and build rapport with patients, their families, and
      professional associates.
   6. Social & Community Context of Healthcare: Students must demonstrate knowledge of and
      responsiveness to the larger context of health care and the ability to effectively call on system
      resources to provide care that is of optimal value to the health of the individual and of the community.

   Learning Objectives
   1. Diagnostic Decision-Making: Students should learn how to design safe, expeditious, and cost
       effective diagnostic evaluations.
   2. Case Presentation Skills: Students should develop facility with different types of case presentations:
       written and oral, new patient and follow-up, inpatient and outpatient.
   3. History-Taking and Physical Examination: Students should be able to obtain an accurate pediatric
       history and carefully perform a physical examination, which is fundamental to providing
       comprehensive care to pediatric patients.
   4. Communication and Relationships with Patients and Colleagues: Students should demonstrate a
       proficiency in communication and interpersonal skills.
   5. Interpretation of Clinical Information: Students should be able to determine how test results will
       influence clinical decision-making and how to communicate this information to patients.
   6. Therapeutic Decision-Making: Students should demonstrate effective patient management, using
       basic therapeutic decision-making skills that incorporate both pathophysiologic reasoning and
       evidence-based knowledge
   7. Bioethics of Care: Student should be able to recognize ethical dilemmas and respect different
       perceptions of health, illness, and health care held by patients of various religious and cultural
       backgrounds.
   8. Self-Directed Learning: Students should master and practice self-directed life-long learning,
       including the ability to access and utilize information systems and resources efficiently.
   9. Health Supervision: Students should be familiar with the principles of preventive health care to
       ensure that patients and parents understand and that patients receive appropriate health maintenance.
   10. Coordination of Care: Students should understand that the physician’s responsibility toward the
       patient does not stop at the end of the office visit or hospitalization but continues in collaboration with
       other professionals to ensure that the patient receives optimal care.
   11. Procedures: Students should become familiar with the performance of basic medical procedures.




                                                        -96-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            099
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 143 of 356 PageID 186


   Student Responsibilities
   Clinical Experience
   During the Pediatric Clerkship students should encounter patients defined in the SMUSOM Patient
   Encounters and Procedures list.

          Patient Encounters
          Through a series of Patient Encounters, students become familiar with the most prevalent diseases
          and conditions, and with the essentials of structured thinking that leads to the differential
          diagnosis and formulation of management plans.

          The SMUSOM Patient Encounters (Table 1) are based upon those published by the Council on
          Medical Student Education in Pediatrics (COMSEP). The types of Patient Encounters are
          intended to be representative of symptoms and conditions that facilitate mastery of the SMUSOM
          competencies. All of these Patient Encounters may be seen by the student in a variety of settings.

          A single patient can potentially present with one or more of these problems and/or condition for
          the student to log; for example, a patient with cystic fibrosis can present with pneumonia, so the
          student can log one encounter of a chronic medical problem, and one encounter for lower
          respiratory problem.

          Students complete Patient Encounters during the first 5 weeks of the clerkship through Primary
          Clinical Learning, as defined by SMUSOM as an experience in which the student participates in
          direct patient care or team care (patient rounds).

          During the last week of the clerkship, students may complete Patient Encounters through either
          Primary Clinical Learning or through Alternative Clinical Learning, as defined by SMUSOM as
          an experience in which the student participates in representative case-based discussions (e.g.,
          morning report, grand rounds, morbidity/mortality, etc.) or simulation (web-based modules e.g.,
          CLIPP cases or standardized patients).

          Students must reflect upon their Patient Encounters in the Patient Logs during their Pediatric
          Clerkship. Ideally, the exposure should be via real patient contact (either by direct care of these
          patients, or by observed care of someone else’s patient during ward rounds or clinic). If real
          patient contact is not possible, then an acceptable alternative would be case-based discussions or
          simulation (web-based modules e.g., CLIPP cases or standardized patients).

          If the student has not documented the required Patient Encounters through Primary Clinical
          Learning (via the Patient Log) by the end of the 5th week of the clerkship, then opportunities to
          fulfill the remaining Patient Encounters through Alternative Clinical Learning will be sent via
          email. The program will ensure that the student logs a minimum of 50 Patient Encounters through
          Primary Clinical Learning in the first 5 weeks.




                                                     -97-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          100
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 144 of 356 PageID 187


   Table 1. SMUSOM Defined Patient Encounters
                                                                                               Type of Encounter
                                                        Level of
                                                        student        Clinical Setting     Primary Clinical Learning
                   Patient Encounter
                                                     responsibility     (H/I, H/O, ED,
                                                     (Pr, Pa, Ob)*     CC, NH, PPO)**         Direct
                                                                                                            Team Care
                                                                                           Patient Care
       Abdominal Pain
       Asthma / Allergy
       Behavioral Problem (Autism, ADHD, etc.)
       Child abuse and neglect
       Chronic Medical Problem (Seasonal
       allergies, Asthma, CP, CF, DM,
       Malignancy, etc.)
       CNS Complaint (Headache/ Concussion /
       Closed head injury / Meningitis /
       Encephalitis / Seizure)
       Congenital abnormality (Structural
       Malformations, Metabolic Disorders)
       Developmental Delay
       Fever
       Fluid / Electrolyte Imbalance / Dehydration
       GI Complaint (Nausea, Vomiting,
       Diarrhea, Abdominal pain,etc.)
       Growth Abnormality
       GU Complaint (Dysuria / Hematuria /
       Proteinuria, etc)
       Hematologic Disorder
       Malignancy
       Musculoskeletal complaint (joint/limb
       pain/injury)
       Neonatal jaundice
       Nutrition / Feeding
       Otitis / Conjunctivitis
       Pediatric Emergency (Respiratory distress,
       shock, trauma, etc.)
       Rash / Dermatitis
       Respiratory Tract Infection (Lower)
       Respiratory Tract Infection (Upper)
       Substance abuse
       Well child care - Adolescent (13-19
       years)
       Well child care - Infant (1-12 months)
       Well child care - Newborn (0-1 month)
       Well child care – School aged (5-12 years)
       Well child care - Toddler (12-60 months)

     KEY
     *Level of Student Responsibility                                 **Clinical Setting
     Pr = Primary (student primarily responsible for Patient          H/I - Hospital/Inpatient/Infusion Center/Ambulatory
           Encounter, e.g., performed H&P, procedure, etc.)           Surgery
     Pa = Participant (member of medical team, present on             H/O - Hospital/Outpatient Clinic
           rounds, O.R., etc.)                                        ED - Emergency Department / Urgent Care / Transport
                                                                      CC - Community Clinic
     Ob= Observer (only involved in discussion of patient,            NH - Nursing Home / Home Care
         presentation of case, etc.)                                  PPO - Private Practice Office




                                                               -98-                                         Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                                   101
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 145 of 356 PageID 188


                  Procedures
                  The goal of clinical student training is to learn basic principles of Pediatrics, covering common
                  symptoms and conditions, their presentation, evaluation, diagnosis, and basic treatment. Some
                  procedures, as indicated below, must be completed in association with other health professionals
                  so the students can develop the skills required to perform effectively in health care delivery
                  teams. The student’s level of responsibility is primarily through supervised learning. The
                  following are clinical skills or procedures the student should have an understanding of by the end
                  of the Pediatric Clerkship through observation, performance, or simulation. If real patient contact
                  is not possible, then an acceptable alternative would be via simulation (real simulation with
                  standardized patients or virtual simulation via web-based modules, e.g., CLIPP cases).

        Table 2. SMUSOM Defined Procedures
                                                                                                Type of Encounter
                                                       Clinical         Primary
                                     Level of          Setting          Clinical               Alternative Clinical Learning***
          Procedure                  student          (H/I, H/O,        Learning
                                  responsibility       ED, CC,
                                                                                                                        Partial          Screen-
                                  (Pr, Pa, Ob)*          NH,            Direct        Full-Scale      Standardized
                                                                                                                         Task             Based
                                                       PPO)**           Patient       Mannequin          Patients
                                                                                                                        Trainer        Simulation
Administration of inhalation
therapy
Calculate/plot BMI
HEADSSS assessment in
adolescent
Immunization counseling
Nasopharyngeal swab
Otoscopy
Plot growth curve
Prescription writing
Vision and Hearing Screening
Observed conducting relevant
portions of the history and
physical exam
IM immunization
administration by a nurse****
Deliver nebulized medication
with a respiratory therapist or
nurse****
Measure peak flow with
respiratory therapist or
nurse****



        KEY
          *Level of Student Responsibility                               Full-Scale Mannequin – Full-body human patient simulator
          Pr = Primary (student performed procedure)                       that mimics various function s of the human body (e.g.
          Pa = Participant (student assisted in performing procedure)      cardiac, respiratory, etc.). May range from high- to low-
          Ob = Observer (student observed procedure)                       fidelity.
          **Clinical Setting                                             Standardized Patients – Person trained to portray a clinical
          H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery      condition, or actual patient trained to interact with students
          H/O - Hospital/Outpatient Clinic                                 regarding his/her medical condition.
          ED - Emergency Department / Urgent Care / Transport            Partial Task Trainer – Physical model that simulates a subset of
          CC - Community Clinic                                            physiologic function to include normal and abnormal
          NH - Nursing Home / Home Care                                    anatomy.
          PPO - Private Practice Office                                  Screen-Based Simulation – Multimedia-based clinical cases,
        *** Alternative Clinical Learning (Definitions from 2011           including online patient cases
        AAMC Medical Simulation in Medical Education Survey)             **** Must be completed in association with other health
                                                                         professionals.

                                                                   -99-                                               Revised 5/3/21




                                       Exhibit F Clincial Medicine Handbood                                                       102
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 146 of 356 PageID 189


  Patient Logs
  Students are expected to see a minimum of ten (10) patients per week which must be logged in the Patient
  Logs system (Appendix 7) and record the following:
          1. Patient Encounters listed in Table 1; and
          2. Procedures listed in Table 2.

  Students should also record all relevant information regarding the patient (e.g, age, gender, clinical setting,
  etc.) in the Patient Logs.

  Students who fail to submit logs in a timely fashion, or students who are not making satisfactory progress
  with regard to the logging of patient encounters, procedures or skills will be contacted by the clinical
  department.

  Patient Note
  Students are expected to learn how to perform and document full H&Ps during the clerkship. SMUSOM
  requires each student to submit completed two Patient Notes per week (Appendix 3) based on the patients
  that they have seen during the week.

  The Patient Note is written by the student in the role of the “doctor”, focusing on accurately reporting the
  patient history and physical findings and in compliance with HIPAA. Guidelines for the Patient Note
  Exercise, including an appropriately completed Patient Note and suggested content can be found in
  Appendix 4.

  In order to receive full credit for the weekly assignment, the student must satisfactorily complete two
  Patient Notes, which are graded by the Clinical Division Chiefs. A student who does not meet the Patient
  Note requirement receives no credit.

  Engaged Learning Experience
  SMUSOM defines an Engaged Learning Experience as a type of learning in which the student participates
  in the educational process and where the faculty member determines what and how the student should learn.
  As such, we have created Engaged Learning Assignments comprised of a series of 12 Clinical Learning
  Modules that students must complete during the course of the Pediatric Clerkship (Appendix 8).

          Clinical Learning Modules
          Students participating in the Pediatric Clerkship will be responsible for weekly Clinical Learning
          Modules on SMUSOM’s Learning Management System (LMS), http://lms.stmatthews.edu.
          Instructions for completing the weekly assignment can be found in Appendix 9.

          These Clinical Learning Modules are interactive virtual patient cases designed to encompass
          SMUSOM’s learning objectives as represented by the Computer-assisted Learning in Pediatrics
          Program (CLIPP). CLIPP is a comprehensive learning program for use by third-year medical
          students during their pediatric clerkship. This program is part of the Med-U learning system.

          As part of each Engaged Learning Assignment, students are also expected to complete a Reflection
          based on their interaction with the assigned cases.

          Reflections
          Reflections must be submitted for each of the weekly Clinical Learning Module cases. A
          Reflection has no percentage value, but is required. As a result, a student who does not complete a
          Reflection receives no credit for the weekly assignment. In order to receive full credit for each
          weekly assignment, the student must complete two Clinical Learning Module cases and submit a
          Reflection, which is graded pass/fail by the Clinical Division Chiefs.

                                                       -100-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           103
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 147 of 356 PageID 190



          What is a reflection?
          A reflection may be represented by describing a specific aspect of the case or disease state that:
              ˗ The student did not know and will help the student moving forward;
              ˗ Made the student think of a particular patient he/she has seen;
              ˗ Made the student think of something that he/she has been taught previously; or
              ˗ In some other way led to something the student learned that others might benefit from.

          Why is reflection important?
            ˗ Thinking about learning and writing things down helps to clarify thoughts and emotions;
            ˗ Reflection helps to focus on the student’s development as an effective independent learner,
                 and on the strategies used to work towards this.

          What is a reflective learner?
            Reflective learners continually reflect on:
            ˗ What they are learning and how they are learning it;
            ˗ What their strengths and weaknesses in learning are; and
            ˗ The gaps in their knowledge and skills, and how they might work towards filling these.

  Interprofessional Education Reflective Exercise
  Students are expected to demonstrate the ability to communicate and work effectively with other health
  care professionals, and to make use of the unique contributions of other health care professionals.
  SMUSOM requires each student to submit one Interprofessional Education Reflective Exercise no later
  than the end of week 8. Failure to submit the exercise in a timely manner will result in point deduction
  which may affect the final grade. Students with Interprofessional Education Reflective Exercises that are
  deemed inadequate in any respect will be contacted by the clinical department and will need to resubmit.
  Guidelines for the Interprofessional Education Reflective Exercise, including an appropriately completed
  Exercise can be found in Appendix 14 and 15.

  Monitoring and Evaluation
  SMUSOM is committed to the success of every student and actively monitors students’ progress throughout
  the clerkship. Performance on weekly assignments is reviewed by the Clinical Division Chiefs for content
  and quality to identify students in need of assistance (Appendix 2).

  Evaluation of Student Clerkship Performance
  Students should review the Clinical Clerkship Grading Guidelines in the SMUSOM Clinical Handbook.

  Mid-Clerkship Feedback
  The mid-clerkship assessment is designed to provide students an accurate assessment of their performance
  to date and identify areas for improvement during the second half of the clerkship. Students receive
  notification from the Clinical Department at the clerkship midpoint that they are required to review their
  performance to this point in the clerkship with at least one supervising attending physician. Students must
  discuss all areas of competency, as well as review their patient log, with this (these) supervising attending
  physician(s).

  Students are required to submit the mid-clerkship assessment forms (Appendix 6) to the Clinical
  Department no later than the end of week 4. Failure to submit the mid-clerkship assessment form in a
  timely manner will result in point deduction which may affect the final grade. Mid-clerkship assessment
  forms are reviewed for scope and content by the clinical department. Students with mid-clerkship
  assessment forms that are deemed inadequate in any respect will be contacted by the clinical department.

  The course grade consists of the overall performance on the Core Clerkship Exam, Engaged Learning
  Experience, Patient Log, Patient Note, and Clinical Faculty Evaluation.
                                                      -101-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          104
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 148 of 356 PageID 191




  Final Grade
   Clinical Faculty
                                A formal evaluation by the attending physician is completed at the end of the
   Evaluation:
                                clerkship, which is based on performance, observation, and demonstration of
   Percentage of Final
                                required competencies.
   Score: 30%
   Core Clerkship Exam:         Students are required to take the Pediatric Medicine Core Clerkship Examination
   Percentage of Final          (NBME) upon clerkship completion. Passing this examination is REQUIRED in
   Score: 40%                   order to progress to the next clinical clerkship.
   Engaged Learning             Students are required to complete two Clinical Learning Modules with
   Experience:                  accompanying Reflections organized around major clinical topics every week.
                                These assignments must be submitted by Sunday, midnight (ET) in order to receive
   Percentage of Final          credit.
   Score: 10%
   Patient Logs:                Students complete Patient Logs every week. Students are required to record ten or
   Percentage of Final          more Patient Encounters. Procedures are also recorded via the Patient Logs. The
   Score: 10%                   Patient Log must be submitted by Sunday, midnight (ET) in order to receive credit.
   Patient Note:                Students are required to complete two Patient Notes (based on the patients that they
   Percentage of Final          have seen) every week. This assignment must be submitted by Sunday, midnight
   Score: 10%                   (ET) in order to receive credit.

  Each students’ final grade is calculated as follows:
   Mid-Clerkship                 Students are required to complete a Mid-Clerkship Assessment Form by Sunday,
   Feedback:                     midnight (ET) no later than one week past the mid-point of the clerkship. Failure to
   Percentage of Final           submit the Mid-Clerkship Assessment in a timely manner will result in point
   Score: Variable               deduction from a student’s final grade.
   Interprofessional             Students are required to complete an Interprofessional Education Reflection
   Education Reflection          Exercise by Sunday, midnight (ET) of week 4. Failure to submit the
   Exercise:                     Interprofessional Education Reflection Exercise in a timely manner will result in
   Percentage of Final           point deduction from a student’s final grade.



  Grading level:
  90-100% = Honors
  80-89% = High Pass
  70-79% = Pass
  <70%     = F

  Calculation of the student’s grade for the clerkship: the grade is comprised of six components which
  include: Core Clerkship Exam (40%); Clinical Faculty Evaluation (30%); Engaged Learning Experience
  (LMS + Reflection) (10%); Patient Logs (10%); Patient Note (10%); and any point deductions related to the
  Mid-Clerkship Assessment or the Interprofessional Education Reflective Exercise. Students must attain a
  minimum score of 70% in each of the Core Clerkship Exam, Clinical Faculty Evaluation, Engaged learning
  Experience, Patient Note and Patient Logs components.

  The Clinical Faculty Evaluation component of the grade is calculated based on a formula incorporating the
  faculty member’s assessment of how often the student "exceeds expectations", “meets expectations", or falls


                                                         -102-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                               105
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 149 of 356 PageID 192


  “below expectations". Note that any competencies that are "below expectations" require remediation to a
  level of at least 'meets expectations'.

  Students receiving a failing score on any of the components of the course grade (Core Clerkship Exam,
  Engaged Learning Experience, Patient Logs, Patient Note and Clinical Faculty Evaluation) are immediately
  reviewed by the Associate Dean for Clinical Medicine and are subject to remediation and/or referral to the
  student promotions committee.

  Students who are dissatisfied with a grade received from a faculty member or their final grade are not
  permitted to contact the faculty member or the clinical site. Students must contact the clinical department
  first to discuss their grievance.

  Competency Assessments
        Clinical Faculty Evaluation
        Competencies Assessed: See Appendix 5

          Core Clerkship Exam
          Competencies Assessed:
                 PATIENT CARE
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1f. Make use of the scientific foundation for clinical decision making
                 SCIENTIFIC AND MEDICAL KNOWLEDGE
                 2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                 2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                 history of illnesses
                 2c. Demonstrate knowledge of health maintenance and disease prevention

          Engaged Learning Experience
          Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision making
                1g. Use information technology to support care decisions and patient education
                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3c. Use information technology to access medical information and support his or her own
                education
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility
                COMMUNICATION & INTERPERSONAL SKILLS
                5d. Demonstrate sensitivity to human differences and understanding of the impact of gender,
                ethnic, cultural background, socioeconomic and other social factors
                5e. Counsel and educate patients and their families
                5f. Promote wellness and preventive strategies
                                                      -103-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          106
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 150 of 356 PageID 193



          Patient Logs
          Competencies Assessed:
                  PATIENT CARE
                  1a. Perform a history, physical examination and basic procedures with competence and
                  sensitivity in order to identify clinical problems and assess their urgency
                  1b. Select and interpret appropriate laboratory and diagnostic studies
                  1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                  1d. Develop hypotheses, diagnostic strategies and management plans
                  1f. Make use of the scientific foundation for clinical decision making
                  PROFESSIONALISM
                  4c. Exhibit dependability and responsibility

          Patient Note
          Competencies Assessed:
                  PATIENT CARE
                  1a. Perform a history, physical examination and basic procedures with competence and
                  sensitivity in order to identify clinical problems and assess their urgency
                  1b. Select and interpret appropriate laboratory and diagnostic studies
                  1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                  1d. Develop hypotheses, diagnostic strategies and management plans
                  1e. Document data, assessment, and plans in the patient’s record
                  1f. Make use of the scientific foundation for clinical decision making
                  SCIENTIFIC AND MEDICAL KNOWLEDGE
                  2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                  2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                  history of illnesses
                  2c. Demonstrate knowledge of health maintenance and disease prevention
                  COMMUNICATION & INTERPERSONAL SKILLS
                  5a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
                  relationship
                  5f. Promote wellness and preventive strategies

          Mid-Clerkship Feedback
          Competencies Assessed:
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3a. Display intellectual curiosity, willingness to examine assumptions and commitment to
                lifelong learning
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility

  Student’s Evaluation of the Clerkship
  Student feedback is very important to the program. Completion of the clerkship evaluation form is required
  before grade assignment can be posted. Using standardized measurement tools where appropriate, students
  will evaluate the total clerkship experience based on the following:
          1. Faculty members’ professionalism & willingness to teach
          2. Attitude of other personnel (nurses, house staff, administration)
          3. Quality of teaching diagnosis and treatment
          4. Opportunities to observe procedures
          5. Opportunities to perform procedures
          6. Sufficient # of patient contacts per day
          7. Sufficient # of history and physical exams per week
          8. Scope and variety of pathology / disease
                                                     -104-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         107
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 151 of 356 PageID 194


          9. Quality of didactics (lecture, reading, rounds)
          10. Overall rotation evaluation
          11. Average number of patient contacts per day
          12. Average number of H&P exams done in a week
          13. Night call*
          14. Average number of night call done in a week
          15. Working weekends*
          16. Number of hours worked per week
          17. Retrospect- would take this rotation again?
          18. Recommend- would recommend this rotation?
          * requirements vary

  Course Policies
  Attendance
  Students are expected to be punctual, be well prepared, and have 100% attendance at all clerkships and
  related educational experiences. No vacations or time off is permitted during clerkships. Refer to the
  SMUSOM Clinical Medicine Handbook for further details regarding policies for attendance.

  Duty Hours
  The goals of the medical students and the faculty of SMUSOM are one and the same: to get the best medical
  education possible while not ignoring overall health and happiness. Attention needs to be paid to both
  duty/work hours and personal time.

  The following policies set forth the acceptable amount of time that clerkships may require of students, based
  upon the ACGME regulations for first-year residents. “Duty hours” include inpatient and outpatient clinical
  activities and scheduled academic exercises such as conferences and lectures that are related to the
  clerkship.
      • Total duty hours must not exceed 80 hours per week, averaged over a four-week period.
      • Call will be scheduled to coincide with the attending and/or resident team.
      • Duty hour periods in the hospital will not exceed 16 consecutive hours.
      • In each month the clerkship will provide each student with four individual 24-hour periods free
           from any required clinical or educational activities.

  Students should report duty hour violations directly to the Clinical Department.

  Core Clerkship Exam (CCE)
  SMUSOM uses the National Board of Medical Examiners (NBME) Clinical Science Subject Examination
  as the final exam for the Pediatric Clerkship. SMUSOM will provide the student’s name and email address
  to the NBME approximately 5 weeks before the end of the Pediatric clerkship.

  Each eligible SMUSOM student will receive an email with a link to a web page where he/she can
  print/download the scheduling permit and view policies and procedures for the testing session. This will
  enable the student to schedule the testing appointment online through the Prometric website and receive a
  confirmation notice.

  Students must schedule to take the exam in the 14-day exam window starting the Saturday before the end of
  the clerkship (first day of the window), and ending Friday, two weeks later. This means that every student
  can take the exam during the last week of his or her clerkship, and the week immediately after the end of the
  clerkship. Taking time off during the clerkship to study for the exam or to take the exam is completely at the
  discretion of the Hospital/Clinical site.

  ALL Students must schedule their exam prior to the Saturday before the end of the clerkship.
  Students can cancel and reschedule their testing appointment without penalty or charge at any time up to 15
                                                      -105-                                    Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         108
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 152 of 356 PageID 195


  days prior to the first day of the exam window. If the request is made less than 15 days prior to the
  scheduled appointment, Prometric will charge a fee. Fees for rescheduling/cancellation appear on the
  confirmation notice and will be charged to the student. Note: rescheduled exam dates can only occur within
  the testing window.

  Failure to take or pass the exam within the prescribed two-week window will result in a grade of
  INCOMPLETE for the clerkship. If the student does not take the exam during the prescribed initial two
  week window, he/she will be assessed a score of zero (i.e. a failing score) and will only be permitted two
  additional attempts within the prescribed time period detailed below.

  SMUSOM’s goal is to provide the student with his or her NBME results 1 week after the last day of the 14-
  day exam window.

  If a student fails, and is already in another clinical clerkship (or is scheduled to start a clinical clerkship
  shortly) at the time that the school receives the failing score report, he/she may complete that clinical
  clerkship. However, NO additional clinical clerkships will be permitted until the student receives a passing
  grade for both the previously failed and current clinical clerkship Core Clerkship Exam (in the case of a
  core clinical clerkship).

  In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
  attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
  of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
  reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure
  to make the initial attempt during the prescribed window detailed above). The Core Clerkship Exam grade
  component shall be the average of all attempts.

  Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the
  prescribed six months in three attempts shall result in a FAILING grade for the core clinical clerkship.

  Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student take
  this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
  Clinical Science Subject Examination) within the parameters described above.

  Student Promotions
  Any student in clinical clerkships who receives a grade of F (failure) will be placed on academic probation
  for one year. If a second grade of F (Failure) is earned by the student while on academic probation, the student
  will be dismissed.
  The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘C’ should be reviewed
  by the Promotions Committee for consideration of placement on academic probation. The Dean will
  determine whether any remedial program will be required of the student, e.g. additional weeks of clerkship in
  the discipline.

  Academic Integrity
  St. Matthew’s University School of Medicine does not tolerate any form of academic dishonesty.

  Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for
  credit of any work or materials that are fictitious, attributable in whole or in part to another person, any act
  designed to give unfair advantage to a student or the attempt to commit such acts.

  All persons involved in academic dishonesty will be disciplined in accordance with University regulations
  and procedures. Discipline may include suspension or expulsion from the University.


                                                       -106-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            109
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 153 of 356 PageID 196


  For example, it is plagiarism to copy history and physical exam findings from a medical record without
  performing the work and without attribution.

  Students who are unsure about what constitutes plagiarism should refer to:
  http://www.plagiarism.org/plag_article_preventing_plagiarism_when_writing.html.




                                                    -107-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        110
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 154 of 356 PageID 197


  Recommended Textbooks
  Nelson Essentials of Pediatrics: With STUDENT CONSULT Online Access (Essentials of Pediatrics
  (Nelson)) [Paperback]
  By: Robert M. Kliegman, Karen Marcdante, Hal B. Jenson, Richard E. Behrman
  Publisher: Saunders; 6 edition (March 31, 2010)
  ISBN-10: 1437706436 ISBN-13: 978-1437706437

  The Harriet Lane Handbook: A Manual for Pediatric House Officers, 19th Edition (Paperback)
  By: Johns Hopkins Hospital , Kristin Arcara (Author), Megan Tschudy MD (Author)
  Publisher: Mosby; 19 edition (June 8, 2011)
  ISBN-10: 0323079423 ISBN-13: 978-0323079426

  Pediatric Pearls: the Handbook of Practical Pediatrics (Paperback)
  By: Beryl J. Rosenstein, Patricia D. Fosarelli, M. Douglas Baker
  Publisher: Mosby; 4 edition (June 15, 2002)
  ISBN: 0323014984

  Pediatric Primary Care: Well-Child Care (Core Handbooks in Pediatrics) (Paperback)
  By: Raymond C., M.D. Baker (Editor)
  Publisher: Lippincott Williams & Wilkins; Rev Ed edition (March 2001)
  ISBN: 0781728894

  Pediatrics: A Primary Care Approach (Paperback)
  By: Carol D. Berkowitz
  Publisher: Amer Academy of Pediatrics; 3 edition (June 30, 2008)
  ISBN-10: 9781581102833 ISBN-13: 978-1581102833

  Zitelli and Davis' Atlas of Pediatric Physical Diagnosis: Expert Consult - Online and Print, 6e
  By: Basil J. Zitelli MD, Sara C McIntire MD
  Publisher: Saunders; 6 edition (April 26, 2012)
  ISBN-10: 0323079326




                                                      -108-                                    Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         111
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 155 of 356 PageID 198


  Appendix 1 - Pediatric Clerkship Learning Objectives
  1. Diagnostic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. Key history and physical examination findings pertinent to the differential diagnosis.
                   2. Information resources for determining diagnostic options for patients with common and
                   uncommon medical problems.
                   3. key factors to consider when selecting from among diagnostic tests, including pretest
                   probabilities, performance characteristics of tests (sensitivity, specificity, likelihood ratios),
                   cost, risk, and patient preferences.
                   4. the relative cost of diagnostic tests.
                   5. how critical pathways or practice guidelines can be used to guide diagnostic test
                   ordering.
                   6. the method of deductive reasoning.
          B. Skills: Each student should be able to:
                   1. formulate a differential diagnosis based on the findings from the history and physical
                   examination.
                   2. use probability-based thinking to identify the most likely diagnoses.
                   3. use the differential diagnosis to help guide diagnostic test ordering and sequence.
                   4. use pretest probabilities and scientific evidence about performance characteristics of tests
                   (sensitivity, specificity, likelihood ratios) to determine post-test probabilities according to
                   the predictive value paradigm.
                   5. participate in selecting the diagnostic studies with the greatest likelihood of providing
                   useful results at a reasonable cost.
          C. Attitudes: Each student should:
                   1. incorporate the patient’s and family’s perspective into diagnostic decision-making.
                   2. limit the chances of false positive/false negative results by demonstrating thoughtful test
                   selection.

  2. Case Presentation Skills
          A. Knowledge: Each student should be able to describe:
                   1. components of comprehensive and abbreviated case presentations (oral and written) and
                   the settings appropriate for each.
          B. Skills: Each student should be able to:
                   1. prepare legible, comprehensive, and focused new patient workups that include the
                   following features as clinically appropriate:
                                 o present illness organized chronologically, without repetition, omission, or
                                     extraneous information.
                                 o a comprehensive physical examination with detail pertinent to the patient’s
                                     problem.
                                 o a succinct and, where appropriate, unified list of all problems identified in
                                     the history and physical examination.
                                 o a differential diagnosis for each problem (appropriate to level of training).
                                 o a diagnosis/treatment plan for each problem (appropriate to level of
                                     training).
                   2. orally present a new patient’s case in a logical manner, chronologically developing the
                   present illness, summarizing the pertinent positive and negative findings as well as the
                   differential diagnosis and plans for further testing and treatment.
                   3. orally present a follow-up patient’s case, in a focused, problem-based manner that
                   includes pertinent new findings and diagnostic and treatment plans.
                   4. select the appropriate mode of presentation that is pertinent to the clinical situation.



                                                        -109-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                             112
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 156 of 356 PageID 199


          C. Attitudes: Each student should:
                   1. demonstrate a commitment to improving case presentation skills by regularly seeking
                   feedback on presentations.
                   2. Accurately and objectively record and present data.

  3. History-Taking and Physical Examination
          A. Knowledge: Each student should be able to describe:
                  1. the significant attributes of a symptom, including location and radiation, intensity,
                  quality, temporal sequence (onset, duration, frequency), alleviating factors, aggravating
                  factors, setting, associated symptoms, functional impairment, and patient’s interpretation of
                  symptom.
                  2. the four methods of physical examination (inspection, palpation, percussion, and
                  auscultation), including where and when to use them, their purposes, and the findings they
                  elicit.
                  3. the physiologic mechanisms that explain key findings in the history and physical exam.
                  4. the diagnostic value of history and physical exam information.

          B. Skills: Each student should be able to:
                   1. Demonstrate the role of patient observation in determining the nature of a child's illness
                       and developmental stage
                   2. Conduct a pediatric physical examination appropriate to the nature of the visit or
                       complaint (complete vs. focused) and the age of the patient
                   3. use language appropriate for each patient.
                   4. use non-verbal techniques to facilitate communication and pursue relevant inquiry.
                   5. elicit the patient’s chief complaint as well as a complete list of the patient’s/parent’s
                       concerns.
                   6. obtain a patient’s history in a logical, organized, and thorough manner, covering the
                       history of present illness; past medical history (including usual source of and access to
                       health care, childhood illnesses, injuries, surgical procedures, obstetrical history,
                       psychiatric problems, hospitalizations, transfusions, medications, tobacco and alcohol
                       use, and drug allergies); preventive health measures; social, and family history; and
                       review of systems.
                   7. obtain, whenever necessary, supplemental historical information from other sources,
                       such as family, parents, or previous physicians.
                   8. demonstrate proper hygienic practices whenever examining a patient.
                   9. position the patient and self properly for each part of the physical examination.
                   10. perform a physical examination for a patient in a logical, organized, respectful, and
                       thorough manner, giving attention to the patient’s general appearance, vital signs, and
                       pertinent body regions.
                   11. communicate with the patient and parent the purpose of the exam and explain the step-
                       by-step process.
                   12. adapt the scope and focus of the history and physical exam appropriately to the medical
                       situation and the time available.

          C. Attitudes: Each student should:
                   1. recognize the essential contribution of a pertinent history and physical examination to the
                   patient’s care by continuously working to improve these skills.
                   2. establish a habit of updating historical information and repeating important parts of the
                   physical exam during follow-up visits.
                   3. demonstrate consideration for the parents’ and patient’s feelings, limitations, and
                   cultural and social background whenever taking a history and performing a physical exam.


                                                      -110-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          113
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 157 of 356 PageID 200


  4. Communication and Relationships With Patients And Colleagues
        A. Knowledge: Each student should be able to describe:
                 1. how patient/family and physicians’ perceptions, preferences, and actions are affected by
                 cultural and psychosocial factors and how these factors affect the doctor-patient
                 relationship.
                 2. the role and contribution of each team member to the care of the patient.
                 3. the role of psychosocial factors in team interactions.
                 4. the role of the physician as patient advocate.
        B. Skills: Each student should be able to:
                 1. Conduct an effective interview by adapting the interview to the visit (e.g., first visit,
                      acute care, health supervision), the age of the patient, and the chief complaint
                 2. Demonstrate effective verbal and non-verbal communications skills with children and
                      their parents or families that include:
                           o Establishment of rapport taking into account the patient's age and development
                                stage
                           o Use of communication techniques that enable development of a therapeutic
                                alliance being sensitive to the unique social condition and cultural background
                                of the family
                           o Identification of the primary concerns of the patient and/or family
                           o Discussion of medical information in terms understandable to patients and
                                families.
                 3. Correctly identify the need for an interpreter in specific patient/parent-physician
                      interactions.
                 4. Demonstrate effective oral and written communication with the health care team
                      avoiding jargon and vague terms (e.g. clear and normal).
                 5. Present a complete, well-organized verbal summary of the patient's history and physical
                      examination findings, including an assessment and plan modifying the presentation to
                      fit the time constraints and educational goals of the situation.
                 6. Document the history, physical examination, and assessment and plan using a format
                      appropriate to the clinical situation (e.g., inpatient admission, progress note, office or
                      clinic visit, acute illness, health supervision visit, and interval care visits).

          C. Attitudes: Each student should:
                   1. work hard to develop effective doctor-patient communication skills.
                   2. take into consideration in each case the patient’s psychosocial status.
                   3. demonstrate respect for patients and their families.
                   4. demonstrate actively involving the patient in his/her health care whenever possible.
                   5. demonstrate teamwork and respect toward all members of the health care team, as
                   manifested by reliability, responsibility, honesty, helpfulness, selflessness, and initiative in
                   working with the team.
                   6. respond pertinently to patient and parent concerns.
                   7. attend to or advocate for the patient’s interests and needs in a manner appropriate to the
                   student’s role.

  5. Test Interpretation
           A. Knowledge: Each student should be able to describe:
                    1. the age-appropriate values for commonly used laboratory tests, such as the CBC,
                    urinalysis, and serum electrolytes.
                    2. results of the above tests in terms of the related pathophysiology.
                    3. test sensitivity, test specificity, pre-test probability, and predictive value.
                    4. how errors in test interpretation can affect clinical outcomes and costs.
           B. Skills: Each student should be able to:
                    1. interpret a blood smear, gram stain, chest X-ray, and urinalysis.
                                                       -111-                                       Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                             114
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 158 of 356 PageID 201


                   2. record the results of laboratory tests in an organized manner, using flow sheets when
                   appropriate.
                   3. estimate post-test probability based on test results and state the clinical significance of
                   these findings.
          C. Attitudes: Each student should:
                   1. demonstrate estimating the implications of test results before ordering tests and after test
                   results are available.
                   2. personally review X-ray films, blood smears, etc., to assess the accuracy and significance
                   of the results.

  6. Therapeutic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. information resources for determining medical and surgical treatment options for patients
                   with common pediatric problems.
                   2. key factors to consider in choosing among treatment options, including risk, cost,
                   evidence about efficacy, and consistency with pathophysiologic reasoning.
                   3. how to use critical pathways and clinical practice guidelines to help guide therapeutic
                   decision making.
                   4. factors that frequently alter the effects of medications, including drug interactions and
                   compliance problems.
                   5. factors to consider in selecting a medication from within a class of medication in the
                   pediatric population.
                   6. factors to consider in monitoring a patient’s response to treatment, including potential
                   adverse effects.
                   7. various ways that evidence about clinical effectiveness is presented to clinicians and the
                   potential biases of using absolute or relative risk or number of patients needed to treat.
                   8. methods of monitoring therapy and how to communicate them in both written and oral
                   form.
          B. Skills: Each student should be able to:
                   1. formulate an initial therapeutic plan.
                   2. access and utilize, when appropriate, information resources to help develop an
                   appropriate and timely therapeutic plan.
                   3. explain the extent to which the therapeutic plan is based on pathophysiologic reasoning
                   and scientific evidence of effectiveness.
                   4. begin to estimate the probability that a therapeutic plan will produce the desired outcome.
                   5. write prescriptions accurately.
                   6. counsel patients and families about how the patient should take their medications and
                   what to expect when they take their medications, including beneficial outcomes and
                   potential adverse effects.
                   7. monitor response to therapy.
          C. Attitudes: Each student should:
                   1. incorporate the patient/parent in therapeutic decision-making, explaining the risks and
                   benefits of treatment.
                   2. respect patient/parent’s informed choices
                   3. provide close follow-up of patients under care.

  7. Bioethics Of Care
          A. Knowledge: Each student should be able to describe:
                  1. basic elements of informed consent as it pertains to the pediatric patient
                  2. circumstances under which informed consent is necessary and unnecessary.
                  3. basic concepts of autonomy, treatment efficacy, quality of life, and societal demands.
                  4. potential conflicts between individual patient/parent preferences and societal demands.


                                                      -112-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           115
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 159 of 356 PageID 202


                   5. the role of the physician in making decisions about the use of expensive or controversial
                   tests and treatments.
                   6. What constitutes an “emancipated minor”, and what are the implications of this in caring
                   for such a patient?
          B. Skills: Each student should be able to:
                   1. participate in informed consent for a procedure.
                   2. participate in a physician’s discussion with a patient/parent about a requested treatment
                   that may not be considered appropriate (e.g., not cost-effective).
          C. Attitudes: Each student should:
                   1. take into account the individual patient’s and parent’s perspective and perceptions
                   regarding health and illness.
                   2. demonstrate a commitment to caring for all patients, regardless of gender, race,
                   socioeconomic status, intellect, sexual orientation, ability to pay, or cultural background.
                   3. recognize the potential conflicts between patient/parent expectations and medically
                   appropriate care.

  8. Self-Directed Learning
          A. Knowledge: Each student should be able to describe:
                   1. key sources for obtaining updated information on issues relevant to the medical
                   management of pediatric patients.
                   2. a system for managing information from a variety of sources.
                   3. key questions to ask when critically appraising articles on diagnostic tests or therapies.
          B. Skills: Each student should be able to:
                   1. assess the limits of their medical knowledge in relation to patient problems.
                   2. identify relevant primary resources to assist in an evidence-based analysis of the
                   pertinent clinical question.
                   3. demonstrate critical review skills.
                   4. recognize when additional information is needed to care for the patient.
                   5. understand the value of consultants and how to use their information critically.
                   6. ask colleagues (students, residents, nurses, faculty) for help when needed.
                   7. make use of available instruments to assess one’s own knowledge base.
          C. Attitudes: Each student should be able to:
                   1. demonstrate self-directed learning in every case.
                   2. acknowledge gaps in knowledge to both colleagues and patients and request help.

  9. Health Supervision
         A. Knowledge: Each student should be able to describe:
             1. the most common preventable morbidities in childhood and describe strategies for
                 prevention.
             2. the components of a health supervision visit including health promotion and disease and
                 injury prevention, the appropriate use of screening tools, and immunizations for newborns,
                 infants, toddlers, school aged children, and adolescents.
             3. the rationale for childhood immunizations and the basis for parental refusal of
                 immunizations (risk for autism, religious) and be able to properly educate them based on
                 evidence-based medicine.
             4. the rationale for screening tests (such as environmental lead questionnaire, domestic
                 violence screening, CBC, urinalysis, blood lead level, and PPD).
             5. the indications, appropriate use, interpretation, and limitations of the following screening
                 tests:
                      o Neonatal screening
                      o Developmental screening
                      o Hearing and vision screening
                      o Lead screening

                                                       -113-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           116
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 160 of 356 PageID 203


                       o    Anemia screening
                       o    Tuberculosis testing
              6. anticipatory guidance and describe how it changes based on the age of the child.
          B. Skills: Each student should be able to:
              1. Demonstrate an ability to provide age-appropriate anticipatory guidance about nutrition,
                   behavior, immunizations, injury prevention, and pubertal development.
          C. Attitudes: Each student should:
                   1. address preventive health care issues with the patients and families as a routine part of
                   their assessment.
                   2. encourage patients (when age appropriate) to share responsibility for disease prevention.

  10. Coordination Of Care
         A. Knowledge: Each student should be able to describe:
                  1. the role of consultants and their limits in the care of a patient.
                  2. key personnel and programs in and out of the hospital that may be able to contribute to
                  the ongoing care of an individual patient for whom the student has responsibility.
                  3. the role of the primary care pediatrician and the team in coordinating the comprehensive
                  and longitudinal patient care plan, including communicating with the patient and family
                  through telecommunications and evaluating patient well-being through home health and
                  other care providers.
                  4. the role of the primary care physician and the team in the coordination of care during key
                  transitions (e.g., outpatient to inpatient, inpatient to hospice, etc.).
         B. Skills: Each student should be able to:
                  1. discuss with the patient (and family as appropriate) ongoing health care needs, using
                  appropriate language, avoiding jargon and medical terminology.
                  2. participate in requesting a consultation and identifying the specific question(s) to be
                  addressed.
                  3. participate in the discussion of the consultant’s recommendations with the team
                  4. participate in developing a coordinated, ongoing care plan in the community.
                  5. obtain a social history that identifies potential limitations in the home setting which may
                  require an alteration in the medical care plan to protect the patient’s welfare.
                  6. develop skills for participating as a member of the care team
         C. Attitudes: Each student should:
                  1. demonstrate teamwork and respect toward all members of the health care team.
                  2. demonstrate responsibility for patients’ overall welfare.
                  3. participate, whenever possible, in coordination of care and in provision of continuity

  11. Procedures
          A. Knowledge: Each student should be able to describe:
                   1. key indications, contraindications, risks, and benefits of each of the following basic
                   procedures:
                        ˗ Vision and hearing screening
                        ˗ Administration of inhalation therapy (MDI/Spacer/Nebulizer)
                        ˗ Throat culture
                        ˗ Immunizations: intramuscular injection, subcutaneous injection
                        ˗ Nasopharyngeal swab
                        ˗ Peak flow measurement
                        ˗ Peripheral intravenous catheter insertion
                        ˗ Lumbar puncture
                   2. alternatives to a given procedure (if appropriate).
                   3. what the patient’s experience of the procedure will be.
          B. Skills: Each student should be able to:
                   1. observe precautions and contraindications for the procedures used.
                                                       -114-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           117
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 161 of 356 PageID 204


                2. understand how to obtain informed consent, when necessary, for procedures, including
                the explanation of the purpose, possible complications, alternative approaches, and
                conditions necessary to make the procedure as comfortable, safe, and interpretable as
                possible.
                3. understand step-by-step performance of procedures
       C. Attitudes: Each student should:
                1. always participate in obtaining informed consent for basic procedures they perform or in
                which they participate.
                2. explain what the patient’s experience is likely to be in understandable terms.
                3. communicate risks and benefits to patients.
                4. always make efforts to maximize patient comfort during a procedure.




                                                  -115-                                     Revised 5/3/21




                          Exhibit F Clincial Medicine Handbood                                          118
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 162 of 356 PageID 205


  Appendix 2 – Alignment of Learning Objectives, Competencies, and
  Assessment
      Clinical Learning              Aligned with SMUSOM Competency                                 Assessment Method
         Objectives
   1. Diagnostic Decision           Patient Care                                  CCE (Score and Profile)
   Making                           Scientific & Medical Knowledge                Clerkship Evaluation
                                                                                  Engaged Learning (LMS)
                                                                                  Patient Note
   2. Case Presentation             Patient Care                                  Clerkship Evaluation
                                    Communication & Interpersonal Skills          Patient Note
   3. History and Physical          Patient Care                                  Clerkship Evaluation
   Examination                      Communication & Interpersonal Skills          Engaged Learning (LMS)
                                                                                  Patient Note
   4. Communication and             Patient Care                                  Clerkship Evaluation
   Relationships with               Professionalism                               Engaged Learning (LMS)
   Patients and                     Communication & Interpersonal Skills          Procedure Logs
   Colleagues                                                                     Mid-Clerkship Assessment
                                                                                  IPE Reflective Exercise
   5. Interpretation of             Patient Care                                  CCE (Profile)
   Clinical Information             Scientific & Medical Knowledge                Clerkship Evaluation
                                                                                  Engaged Learning (LMS)
                                                                                  Patient Note
   6. Therapeutic                   Patient Care                                  CCE (Profile)
   Decision Making                  Scientific & Medical Knowledge                Clerkship Evaluation
                                                                                  Engaged Learning (LMS)
                                                                                  Patient Note
   7. Bioethics of Care             Professionalism                               Clerkship Evaluation
                                                                                  Engaged Learning (LMS)
                                                                                  Patient Logs
   8. Self-Directed                 Lifelong Learning, Scholarship, &             Clerkship Evaluation
   Learning                         Collaboration                                 Engaged Learning (LMS)
                                                                                  Procedure Logs
                                                                                  Mid-Clerkship Assessment
   9. Prevention                    Patient Care                                  CCE (Profile)
                                    Scientific & Medical Knowledge                Clerkship Evaluation
                                                                                  Engaged Learning (LMS)
                                                                                  Patient Note
   10. Coordination of              Patient Care                                  Clerkship Evaluation
   Care and Teamwork                Social & Community Context Of                 Procedure Logs
                                    Healthcare                                    IPE Reflective Exercise
                                    Lifelong Learning, Scholarship, &
                                    Collaboration
   11. Procedures                   Patient Care                                  Clerkship Evaluation
                                                                                  Patient Logs
  CCE =Core Clerkship Exam = National Board of Medical Examiners Subject Exam



  Appendix 3 - Patient Note (PN) Form


  A blank form is shown below.




                                                                          -116-                              Revised 5/3/21




                                         Exhibit F Clincial Medicine Handbood                                            119
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 163 of 356 PageID 206




                                      -117-                        Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                      120
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 164 of 356 PageID 207


  Appendix 4 – Guidelines for the Patient Note Exercise
  This activity is designed to improve students’ ability to communicate vital patient information in a written
  format, as well as assess certain competencies required for graduation. In order to satisfy the Patient Note
  (PN) competencies, students’ notes will be read and graded by the Clinical Department each week. Each
  PN will be graded as either “Meets Expectations” or “Below Expectations”. Students who do not achieve
  competency in writing the PN by the end of the clerkship will receive a “U” in the respective competencies
  and will need to remediate. After successful remediation, students will receive an “S*” in place of the “U”
  according to school policy.

  In general, PN’s that “Meet Expectations” have the following common characteristics:
       The use of correct terminology (e.g., muscle strain rather than pulled muscle)
       A well-organized history section with subsections that are easy to find. If the patient has pain, all
          the descriptors of pain are included, along with an easy to follow timeline.
       Pertinent details of physical exam findings are also expected. For example, writing “pharynx
          without exudate or erythema” is preferable to stating that the pharynx is “clear,” and “lungs clear to
          auscultation bilaterally” is preferable to lungs “normal”.
       Only listing diagnoses supported by the history and physical exam. In some cases, there will only
          be one diagnosis.
       If there is more than one possible diagnosis, listing them in order of likelihood, with the most likely
          diagnosis first.
       Linking elements of the history, physical exam, differential diagnosis and plan throughout the PN.
          For example, each potential diagnosis should have appropriate elements in the history section
          including relevant positive and negative review of systems. Risk factors should also be included for
          each diagnosis (e.g., prior hx PID/STIs if ectopic pregnancy is in the differential). Each potential
          diagnosis should also have corresponding physical exam elements in the physical exam section of
          the note, and both history and physical exam elements should be in the data interpretation section.

  PN’s assessed as “Below Expectations” often include the following common mistakes:
      Documentation of history elements in the physical exam section (pain, past medical history, etc.).
      Documentation of physical exam elements in the history section (vital signs, tenderness, etc.).
      Incomplete documentation of physical exam findings (lungs “normal”, pelvic exam “WNL”, vital
         signs “normal” or “stable” or “unremarkable”).
      Listing improbable diagnoses with no supporting evidence (e.g., brain tumor in a patient with no
         focal neurological signs) or a plan that includes a test with no indications (e.g., MRI of the brain in
         a patient with headaches and no focal neurological signs).
      Listing an appropriate diagnosis with no supporting evidence (e.g., new onset diabetes without
         listing symptoms of polydipsia, polyphagia, polyuria; or pregnancy with no symptoms of pregnancy
         or mention of sexual activity, last menstrual period, or use of family planning).
      Use of non-standard abbreviations, such as CMT (cervical motion tenderness). Only commonly
         accepted abbreviations (such as those on the Step 2CS website) are acceptable.




                                                      -118-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          121
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 165 of 356 PageID 208


  Below is an example of a PN that would “Meet Expectations” for the Internal Medicine Clerkship.
  Positive aspects are indicated with a superscript and explained at the end of the PN.




  CC: Ms. J.B. is a 24 yo woman1 who complains of worsening sore throat since yesterday morning.
  HPI: She has never had a similar problem in the past. She has no difficulty swallowing, but notes that
  swallowing makes the pain worse. Nothing makes it better2. There is no SOB or sensation of choking or
  dysphagia. She has fatigue and has had some anorexia since the symptoms began. She has had some
  subjective fevers at home but has not taken her temperature. She has had no cough or rhinorrhea. There are
  no sick contacts at home or at work. She denies seasonal allergies and post-nasal drip. The patient thinks
  she has strep throat.3
  ROS: No chest pain, cough, wheezing, abdominal pain, N/V, or headache4
  PMHx: none
  Meds: none
  Allergies: none
  PSHx: none
  FHx: father with HTN
  SHx: married with 2 children, does not use ETOH, tobacco or drugs, monogamous with husband




  She is in no acute distress5
  VS: BP 105/74, R 16, P 72, T 98.5
  HEENT: Oropharynx without exudate or erythema, TMs clear without erythema bilaterally6
  Tender submandibular lymphadenopathy is present bilaterally
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness




   Diagnosis #1 Viral Pharyngitis

                  History Finding(s)                               Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever                                     Afebrile7
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis

                   History Finding(s)                              Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever
   Fatigue
   Anorexia
                                                    -119-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                       122
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 166 of 356 PageID 209


   Pain with swallowing
   No rhinorrhea8

                 Diagnostic Studies
        Throat Culture

  Notes:
  1
    complete identification of the patient.
  2
    appropriate descriptors of pain are included in history.
  3
    Patients understanding of her disease is included.
  4
    ROS, PMHx, etc. are clearly designated and well organized.
  5
    General appearance and full vital signs are included, physical exam is clearly designated and well
  organized.
  6
    Physical exam findings are clearly described, not listed as “normal”.
  7
    lack of fever supports the diagnosis of viral pharyngitis.
  8
    lack of rhinorrhea supports the diagnosis of bacterial pharyngitis.




                                                     -120-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         123
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 167 of 356 PageID 210


  Below is an example of a PN would result in an assessment of “Below Expectations”. Problems are
  indicated with a superscript and explained at the end of the PN.




  The patient 1 complains of pharangitis2. The sore throat started yesterday morning. She has never had a
  similar problem in the past. She also has abdominal pain and some anorexia since the symptoms began.
  She has no difficulty swallowing, but notes that swallowing makes the pain worse3. There is no sensation of
  choking or dysphagia. She has had some subjective fevers at home but has not taken her temperature. She
  denies chest pain4. VS: BP - 105/74, R - 16, P - 72, T - WNL5




  Her throat is clear6, but she has painful7 glands8.
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness9




   Diagnosis #1 Viral Pharyngitis

                   History Finding(s)                                Physical Exam Finding(s)
                                                         10
   Sore throat
   Subjective fever
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis11

                   History Finding(s)                                Physical Exam Finding(s)


   Diagnosis #3 Otitis Media12

                   History Finding(s)                                Physical Exam Finding(s)


                 Diagnostic Studies
        Throat Culture
        Head/neck CT with contrast 13

  Notes:
  1
    incomplete identification of the patient.
  2
    Not using the patient’s own words for the chief complaint.
  3
    Unorganized history (going from throat pain to abdomen, then back to throat).
  4
    Incomplete pertinent review of systems, no PMHx, SHx, etc.
                                                    -121-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        124
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 168 of 356 PageID 211

  5
    Physical exam findings in the history.
  6
    General appearance and full vital signs are missing, and exam of main focus of her complaint (throat) is
  inadequate.
  7
    “Painful” is a descriptor that should be in the history, “tender” is objective and belongs in the physical
  exam.
  8
    “glands” is not a medical term.
  9
    “non-tender” and no “tenderness” is repetitive.
  10
     tender lymph nodes is documented in the physical exam but is not listed in the physical exam findings in
  the data interpretation section.
  11
     Including a diagnosis without supporting evidence even if the diagnosis is possible.
  12
     Including a diagnosis that has no support in either the history or the physical exam.
  13
     Including a study that is not indicated, overly aggressive, and/or costly.



  Patient Note Suggested Content: Pediatric History and Physical Exam

  Chief Complaint (CC)
      First sentence should include age, gender (m/f), previously healthy or pertinent diagnoses.

  History of Present Illness (HPI)
       Health and behavior prior to onset of symptoms; epidemiology; any therapies tried by
          parents or physician.
       Parental concerns (if any).

  Special attention in Medical History
      Birth history (if infant): Gestational age, cesarean versus vaginal, GxPx of mother, prenatal
          course (meds, infections, fetal activity), delivery, neonatal course (home with mom?
          feeding, fevers).
      Feeding history (if infant): how often and what content.
      Growth and development: growth curves and motor milestones (too short, too tall, too
          heavy, too thin, bottle/cup, toilet training, school performance, interactive skills and
          independence, sleep habits, elimination habits).
      Immunizations.

  Special attention in Social History
      HEADSS exam in adolescents.
      Social history: household, planned pregnancy?, peers, smoke, sexual activity.

  Special attention in Physical Exam (PE)
      Should be extensive for the area related to the CC.
      vital signs (for any age): weight: ___ kg = (___) % ile height ___ cm = (___) % ile
          head circumference = ___ cm = (___) % ile.
      vitals signs as per _________: (with cry?) HR:___ BP:___ RR___ T____.
      I&O’s for inpatients in cc/kg/day.




                                                     -122-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         125
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 169 of 356 PageID 212


      Appendix 5 – Sample Evaluation of Student Clerkship Performance

                                              ST. MATTHEW’S UNIVERSITY
                                                  SCHOOL OF MEDICINE
                                                                              In the U.S.
                                          St. Matthew’s University 12124 High Tech Avenue, Suite 350  Orlando, FL 32817
                                                   Tel. (407) 488-1700  Fax: (815) 377-3726  www.stmatthews.edu
                                             Clinicals: clinical@stmatthews.edu  Finance Office: finance@stmatthews.edu


                          Student Name                                                            Clinical Rotation

       Begin:                       End

                          Dates of Rotation                               Total              Attending/Supervising Physician
                                                                          Weeks


                         Hospital’s Name                                Hospital’s Address, City, State


      Please read rationale and background that follows this student evaluation form. To complete this evaluation check the
      appropriate category that reflects the student’s work within each competency based on the student’s overall performance.

                                                               PATIENT CARE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

1    Medical                     Logical, thorough, and           Elicits most pertinent           Incomplete, illogical,
     Interviewing                efficient histories              patient information              superficial histories
     (1a)

2    Physical                    Complete and accurate            Some omissions but               Incomplete, inaccurate,
     Examination                 physical examinations            usually complete and             cursory, non-directed,
                                                                  accurate                         unreliable physical
     (1a)
                                                                                                   examination

3    Participation in            Exceptionally                    Actively participates in         Lacks initiative in patient
     Patient Care                conscientious in patient         patient care activities          care activities
     (1a, 1c)                    care activities, sound
                                 judgment

4    Data Use and                “Manager” – uses                 “Interpreter” – attempts         “Reporter” – reports data
     Interpretation              information to develop           to interpret or apply            but makes no attempt to
     (1b, 1c, 1d, 1e)            insightful plans for             information appropriate to       interpret or apply
                                 patient management               level of training                information

                                                   MEDICAL KNOWLEDGE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

5    Knowledge Base              Exceptional knowledge of         Solid fund of knowledge          Limited knowledge of
     (2a, 2b, 2c, 1f)            basic and clinical sciences                                       basic and clinical sciences

6    Interest in                 Enthusiastic interest in         Demonstrates interest in         Minimal interest in
     Learning                    learning                         learning                         learning
     (2a, 2b, 2c, 3a)




                                                                      -123-                                                      Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                                   126
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 170 of 356 PageID 213


                     LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                                                                                                            Below                           Not          Not
                                     Exceeding Expectations           Meeting Expectations
                                                                                                         Expectations                    Acceptable    Observed

8     Facilitation of                  Unusually proficient in         Facilitates the learning of    Shows little interest in
      Learning                         facilitating the learning of    other students and health      facilitating the learning of
      Amongst Team                     other students and health       care professionals             other students and health
                                       care professionals                                             care professionals
      (3a, 4f)

9     Ability to use                   Effectively uses scientific     Attempts to use scientific     Fails to use information
      Scientific Data to               studies to manage               studies to manage              from scientific studies to
      Manage Care                      information for patient         information for patient        enhance patient care.
                                       care. Participates in           care. Participates in          Does not participate in
      (3a, 3c, 3d, 1g)                 scholarly activities (e.g.,     scholarly activities (e.g.,    scholarly activities (e.g.
                                       journal club, research).        journal club, research).       journal club, research.)

10    Display of                       Self-motivated learner.         Usually demonstrates           Lacks insight and
      Initiative                       Completes all homework          personal initiative and        personal initiative. Does
      (3a)                             assignments and provides        completes all homework         not complete homework
                                       additional pertinent            assignments.                   assignments.
                                       information to the
                                       healthcare team.

                                                             PROFESSIONALISM
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

11    Compassion,                          Always demonstrates            Inconsistently                 Seldom demonstrates
      Integrity, and                       respect, compassion,          demonstrates respect,          respect, compassion,
      Honesty                              integrity and honesty         compassion, integrity and      integrity and honesty
                                                                         honesty
      (4a, 4b, 4c, 4e, 4f, 4h, 5c)

12    Reaction to                          Seeks and rapidly             Responds positively to         Resists or ignores
      Feedback                             responds to feedback          feedback                       feedback
      (4b, 4c, 4d, 4e, 4f)

13    Responsibility                       Teaches/role models           Displays responsible           Does not display
      (4b, 4c, 4d, 4g, 4h)                 responsible behavior;         behavior; attends all          responsible behavior;
                                           attends all required          teaching sessions as           does not attend or is
                                           teaching sessions and is      required and is punctual.      tardy to required
                                           punctual                                                     teaching sessions.

14    Patient and Staff                    Consistently considers        Considers the needs of         Does not consider the
      Consideration                        the needs of patients,        patients, families and         needs of patients,
      (4a, 4b, 4d, 4f, 4h, 5b, 5c)         families and colleagues       colleagues                     families or colleagues
                                           above his/her own

15    Acknowledgement of                   Willingly acknowledges         Acknowledges errors           Fails to acknowledge
      Errors                               errors                                                       errors
      (4b, 4c, 4d, 4e, 4h)

                                 INTERPERSONAL AND COMMUNICATION SKILLS
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

16    Relationship with                    Establishes highly            Establishes effective,         Does not establish
      Patients and                         effective, humanistic         humanistic and                 adequate, effective,
      Families                             and therapeutic               therapeutic relationships      humanistic and
                                           relationships with            with patients and families     therapeutic
      (5a, 5b, 5c, 5d, 5e, 5f)             patients and families                                        relationships with
                                                                                                        patients and families

17    Listening, Verbal,                     Demonstrates excellent      Shows adequate listening,      Demonstrates
      and Non-Verbal                       listening, written and        written and nonverbal          inadequate listening,
      Skills                               nonverbal                     communication skills           written or nonverbal
                                           communication skills                                         communication skills
      (5a, 5b, 5c, 5d)


                                                                          -124-                                                      Revised 5/3/21




                                           Exhibit F Clincial Medicine Handbood                                                                  127
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 171 of 356 PageID 214


18     Interpersonal Skills                 Always “interpersonally         Relates well to patients          Not “interpersonally
       w/ Patients and                      engaged” with patients          and their families and        engaged” with patients and
       Families                             and their families and          respects patient              their families but respects
                                            respects patient                confidentiality.              patient confidentiality.
       (5a,5b,5c,5d, 5e)                    confidentiality.

19     Documentation &                      Delivers well organized         Delivers organized                Delivers poorly
       Presentation Skills                  presentations, writes           patient presentation,             organized patient
       (5a, 5d, 5f)                         exceptionally organized         writes organized accurate         presentations. Has
                                            notes, appropriately            notes, including most             difficulty
                                            tailored to the situation,      pertinent information with        distinguishing pertinent
                                            with assessments that           little extraneous                 from extraneous
                                            are consistently                information                       information, writes
                                            thoughtful and reflect                                            notes that have
                                            reading.                                                          omissions, shows little
                                                                                                              application of clinical
                                                                                                              thinking or reading.

                             SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE
                                         Exceeding                                                        Below                            Not            Not
                                                                         Meeting Expectations
                                         Expectations                                                     Expectations                     Acceptable     Observed

20     Other healthcare                     Effectively makes use           Attempts to make use of           Unable to make use of
       professionals                        of unique contributions         unique contributions by,          unique contributions
       (6a, 6b, 6d, 5f)                     by, and works                   and work effectively              by, and work
                                            effectively with, other         with, other health care           effectively with, other
                                            health care professionals       professionals                     health care
                                                                                                              professionals
21     Use of Systems in                    Effectively uses                Attempts to use                   Does not use
       Care                                 systematic approaches           systematic approaches to          systematic approaches
       (6a, 6b)                             to reduce errors and            reduce errors and                 to reduce error and
                                            improve patient care            improve patient care              improve health care

        **Items in parentheses indicate sub-competencies assessed. See St. Matthew’s Competency Matrix for detailed description.


     Mid-Term Evaluation                                                 Not done                      Done          Date:
     Comments:




     Comments (for MSPE/Dean’s Letter):




     Constructive Comments (not for use in MSPE/Dean’s Letter):



     By signing my name below, I confirm that I have received and reviewed the SMUSOM Clerkship
     Syllabus, which includes the SMUSOM Competencies, Clerkship Learning Objectives, Clerkship required
     encounters and procedures, and SMUSOM policies.

 Clinical Faculty Signature                                                                            Date

 Print Last Name
                                                                            -125-                                                       Revised 5/3/21




                                             Exhibit F Clincial Medicine Handbood                                                                   128
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 172 of 356 PageID 215


  Appendix 6 – Sample Mid‐Clerkship Assessment Form

                                             Mid-Clerkship Assessment
       INSTRUCTIONS: The mid-clerkship assessment is designed to provide you an accurate assessment of your
       performance to date and identify areas for improvement during the second half of your clerkship. You are required
       to review your performance to this point in your clerkship with at least one of your supervising attending physicians.
       Discuss all areas of competency with this (these) supervising attending physician(s). You are required to complete
       this assessment, incorporating feedback from the supervising attending physician(s), and submit it to SUSOM by the
       deadline.

       MEDICAL KNOWLEDGE: (Knowledge of basic and clinical sciences; Interest in learning; Understanding of
       complex clinical situations and mechanisms of disease)




       Specific Areas for Improvement:_________________________________________________________________

       COMMUNICATION SKILLS: (Presentations on Rounds; Presentations of Assigned Patients; Interactions with
       Patients/Families)




       Specific Areas for Improvement:_________________________________________________________________

       PATIENT CARE: (H&Ps, Note Writing, Lab Interpretation, Overall Patient Care Activities, Procedures)




       Specific Areas for Improvement:_________________________________________________________________

       SELF LEARNING: (Facilitation of learning amongst team; Ability to use scientific data to manage care; Initiative)




       Specific Areas for Improvement:_________________________________________________________________

       SOCIAL & COMMUNITY CONTEXT OF HEALTH CARE: (Accesses/utilizes outside resources needed for
       effective and efficient patient care; Uses systematic approaches to reduce errors and improve patient care)




       Specific Areas for Improvement:_________________________________________________________________

       PROFESSIONALISM: (Conscientiousness; Interactions with others; Dress & Grooming; Punctuality; Honesty;
       Motivation; Ability to recognize limitations)




       Specific Areas for Improvement:_________________________________________________________________

       Supervising Attending Physician Name(s): ________________________________________________________

       Supervising Attending Physician Contact: ________________________________________________________

       ˜    I hereby confirm that I have met with, and reviewed my performance with the supervising attending
            physician(s) named above.




                                                              -126-                                               Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                                            129
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 173 of 356 PageID 216


  Appendix 7 – Sample Patient Log


                         ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                         -127-                         Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                          130
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 174 of 356 PageID 217


  Appendix 8 – List of Required Online Learning Cases


       Case        Title                                       Subject
   CLIPP       8   6 day old girl with jaundice                Breastfeeding
   CLIPP      12   10 month old girl with cough                Airway foreign body
   CLIPP      13   6 year old girl with chronic cough          Asthma
   CLIPP      14   18 month old girl with congestion           Otitis media, hearing loss
   CLIPP      17   4 year old girl refusing to walk            Transient synovitis
   CLIPP      23   15 year old girl with lethargy and fever    Meningococcal sepsis
   CLIPP      24   2 year old boy with altered mental status   Lead poisoning
   CLIPP      26   9 week old boy not gaining weight           Cystic fibrosis
   CLIPP      27   8 year old girl with abdominal pain         Crohn's disease
   CLIPP      28   18 month old boy with developmental delay   Cerebral palsy
   CLIPP      29   Infant boy with hypotonia                   Down syndrome
   CLIPP      31   5 year old with puffy eyes                  Nephrotic syndrome




                                                 -128-                                  Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                                     131
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 175 of 356 PageID 218


  Appendix 9 ‐ Step‐By‐Step Instructions for Completing Engaged Learning
  Assignments
       1. Each week you are enrolled in a Core Clerkship, you will receive an email on Mondays with the
           weekly assignment instructions, which can also be accessed at http://lms.stmatthews.edu, log in
           using the new institutional email address: _@stmatthews.com as your username and the
           password you use to access the campus website.
       2. Enter the “Clinical Clerkship Online Course”
       3. Scroll down to the section marked "This Week's Assignment". (If your assignment is not
           available or an assignment for a different core is posted submit a trouble ticket).
       4. The assignment will direct you to either a case, or cases, available on med-u.org (Note: If this is
           your first time accessing the course, you will need to register with med-u.org. Instructions are
           provided on the Course Homepage) or will provide a link to an assignment within the course.
       5. Complete the assignment and then return to the "This Week's Assignment" section and your
           particular assignment to post your Reflections.
       6. Select the link to your assignment under "This week's assignments" in the Clinical Clerkship
           Online Course. At the bottom of assignment page for any given week (scroll down) you will see
           the Forum Discussion.
       7. Open the Forum Discussion.
       8. Click on “Reply” to post a Reflection. You can view other student Reflections as well for
           interactive dialogue.

        **All assignments and Reflections must be completed by Sunday at midnight Eastern Time of the
        assigned week to receive credit.

        Please note: There are currently 2 assignments, which include a lesson that you access directly
        through this course. These assignments have videos embedded within the pages, then a short
        question to answer in order to progress.

        Please pay careful attention to these tips, instructions, and illustrations, and view all of the teaching
        videos in order. The videos must be viewed to receive credit for the assignment.

        In the event that technical issues arise in regards to viewing the videos within the assignment, it is
        suggested that you try to use a different web browser (Mozilla Firefox or Google Chrome) to view
        the assignment.




                                                     -129-                                       Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                             132
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 176 of 356 PageID 219


  Appendix 10- Step-By-Step Instructions for Weekly Patient Logs Submissions
      1. Students can access the Patient Logs page at:
         https://www.stmatthews.edu/Gateway/PLGateway2.html (A link is also provided from your
         Clinical Clerkships Online Course Home Page and from the stmatthews.edu website).

      2. Enter all the relevant identifying information regarding the patient, including age, sex, and location
         that the patient was seen.

      3. Select your role and identify the supervisor.

      4. Choose the appropriate Patient Encounter(s) and/or Procedure(s) from the drop-down menus.

      5. Document the extent of the physical exam performed (full, targeted, or none).

      6. Document what you charted.

      7. Comments and reflections regarding the experience are optional, and may be entered within the
         final textbox.

      8. Click the submit button at the end, and you will then have the opportunity to enter additional
         patients.

      9. When you have submitted your final patient for your week, select Quit.

      10. You will then receive email confirmation of your log submission.

  Please note: You will not be able to edit previously submitted Patient Logs or go back and 'make-up' logs
  from previous weeks.

  Patient Logs logging a minimum of ten (10) patients per week are required for every week of a core rotation
  regardless of the total number of weeks of said rotation. This applies to all core rotations.

  If you have any questions or technical problems please use the following link to submit and IT trouble
  ticket:
  http://www.stmatthews.edu/osticket/.

  Weekly Patient Logs MUST be submitted before midnight Sunday. Please do not wait until the last minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Logs assignment.




                                                      -130-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          133
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 177 of 356 PageID 220


  Appendix 11‐ Step‐By‐Step Instructions for Weekly Patient Note
  Submissions
      1. Students can access the Patient Note page at:
         https://www.stmatthews.edu/Gateway/PNGateway.html (a link is also provided from your Clinical
         Clerkships Online Course Home Page and from the stmatthews.edu site.)

      2. Patient Note submissions will follow the same directions, restrictions and character limitation for
         each field as specified for USMLE Step 2CS3, including:
            • History - 950 characters or 15 lines
            • Physical Examination - 950 characters or 15 lines
            • Diagnosis - 100 characters for each diagnosis
            • History Findings and Physical Examination Findings - 100 characters for each field
            • Diagnostic Study/studies - 100 characters for each study recommendation
            • Students may add rows to the History Findings, Physical Examination
            • Findings and Diagnostic Study/Studies sections up to a maximum of eight rows each.

      3. Read all instructions on the form and enter your text in the appropriate fields.

      4. Only list the diagnoses supported by the history and physical exam. In some cases, there will only
         be one diagnosis. If there is more than one possible diagnosis, list them in order of likelihood, with
         the most likely diagnosis first.

     5. You are required to enter at least one Diagnostic Study.

      6. Provided you have entered all required information, click the "Submit" button at the bottom. You
         will be prompted to confirm your submission.

      7. Once submitted you may either submit another Patient Note or exit the application. Once you
         submit the required two Patient Notes for the week, you may no longer submit any Patient Notes
         until the next week.

  Please note: You will not be able to edit previously submitted Patient Notes or go back and 'make-up'
  Patient Notes from previous weeks.

  Patient Notes are required for every week of a core clerkship regardless of the total number of weeks of
  said clerkship. This applies to all core clerkships.

     If you have any questions or technical problems please use the following link to submit and IT trouble
     ticket: http://www.stmatthews.edu/osticket/.

  Weekly Patient Notes MUST be submitted before midnight Sunday. Please do not wait until the last
  minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Note assignment.




                                                     -131-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          134
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 178 of 356 PageID 221


  Appendix 12‐ Step‐By‐Step Instructions for Submitting the Mid‐Clerkship
  Assessment
     1. Go to the Mid-Clerkship Assessment Page:
        https://www.stmatthews.edu/Gateway/MCSAGateway.html (a link is also provided from your
        Clinical Clerkships Online Course Home Page and from the stmatthews.edu site.)

     2. You will receive an email reminder on Friday of Week 2 of the clerkship instructing you to
        complete an assessment of your performance on the clerkship.

     3. You will be able to submit only AFTER you have received the email reminder to fill the form.

     4. You must meet with the attending and/or resident in order to obtain their feedback on your
        performance on the clerkship to-date. You must discuss all areas of competency that will be
        evaluated at the conclusion of your clerkship.

     5. Read all instructions on the form and enter your text in the appropriate fields.

     6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to confirm
        before submitting.

     7. Once submitted you will be redirected to a page where you can view what you have submitted.
        Click “Exit Application” when you are finished.

     8. Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point
        deduction from the final grade as follows:

           •   Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 2 points
           •   Not submitted by the end of Week 5 = Grade of “U” in Professionalism & Lifelong Learning
               competencies and INCOMPLETE Final Grade and remediation required.




                                                     -132-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        135
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 179 of 356 PageID 222


     Appendix 13 ‐ SMUSOM Defined Patient Encounters with Alternative
     Clinical Learning (week 6)

                                                    Clinical                          Type of Encounter
                                     Level of       Setting     Primary Clinical
                                     student       (H/I, H/O,                             Alternative Clinical Learning ***
       Patient Encounter                                           Learning
                                  responsibility    ED, CC,
                                                                 Direct                                        Partial        Screen-
                                  (Pr, Pa, Ob)*       NH,        Patient
                                                                           Team    Full-Scale   Standardized
                                                                                                                Task           Based
                                                    PPO)**                 Care    Mannequin       Patient
                                                                  Care                                         Trainer      Simulation
Abdominal Pain
Asthma / Allergy
Behavioral Problem (Autism,
ADHD, etc.)
Child abuse and neglect
Chronic Medical Problem
(Seasonal allergies, Asthma,
CP, CF, DM, Malignancy, etc.)
CNS Complaint (Headache/
Concussion / Closed head
injury / Meningitis /
Encephalitis / Seizure)
Congenital abnormality
(Structural Malformations,
Metabolic Disorders)
Developmental Delay
Fever
Fluid / Electrolyte Imbalance /
Dehydration
GI Complaint (Nausea,
Vomiting, Diarrhea,
Abdominal pain,etc.)
Growth Abnormality
GU Complaint (Dysuria /
Hematuria / Proteinuria, etc)
Hematologic Disorder
Malignancy
Musculoskeletal complaint
(joint/limb pain/injury)
Neonatal jaundice
Nutrition / Feeding
Otitis / Conjunctivitis
Pediatric Emergency
(Respiratory distress, shock,
trauma, etc.)
Rash / Dermatitis
Respiratory Tract Infection
(Lower)
Respiratory Tract Infection
(Upper)
Substance abuse
Well child care - Adolescent
(13-19 years)
Well child care - Infant (1-12
months)
Well child care - Newborn (0-1
month)
Well child care – School aged
(5-12 years)
Well child care - Toddler (12-
60 months)


                                                                -133-                                      Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                               136
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 180 of 356 PageID 223



  KEY
  *Level of Student Responsibility
   Pr = Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
   Pa = Participant (member of medical team, present on rounds, O.R., etc.)
   Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

  **Clinical Setting
    H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
    H/O - Hospital/Outpatient Clinic
    ED - Emergency Department / Urgent Care / Transport
    CC - Community Clinic
    NH -    Nursing Home / Home Care
    PPO - Private Practice Office

  *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
       Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
                                      respiratory, etc.). May range from high- to low-fidelity.
       Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students
                                      regarding his/her medical condition.
       Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal
                                   anatomy.
       Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases




                                                               -134-                                            Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                                     137
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 181 of 356 PageID 224


  Appendix 14 – Guidelines for the IPE Reflection Exercise
   This activity is designed to improve students’ ability to work effectively with other health care
   professionals and to make use of the unique contributions of other health care professionals. In order to
   satisfy the IPE Reflection Exercise students submissions will be read and graded by the Clinical
   Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or
   “Below Expectations”. Students who do not achieve competency in writing the IPE initially, will be able
   to resubmit. Students who do not achieve competency by the end of the clerkship will receive a “U” in the
   respective competencies and will need to remediate. After successful remediation, students will receive an
   “S*” in place of the “U” according to school policy.

   In general, IPE Reflection Exercises that “Meet Expectations” have the following
   common characteristics:
        They include insights gained by you during your interactions with the health care professional
        They are well-organized, clearly written, and fully answer the question.

   Below is an example of an IPE Reflection Exercise that would meet expectations. The example responses
   are in italics.

  1.      Describe an ethical dilemma specific to Interprofessional patient-centered care and based on
          interviews with co-providers, describe how it was resolved. An example of such a dilemma could
          be an elderly male patient who wants to be discharged to home, but the social worker has
          determined that he would not be able to take care of himself. A pediatric example could be
          parents wanting to take the child home but Nursing is not confident that the parents can provide
          the care needed. (200 words maximum)

                 An elderly female wanted to return to her own home to live independently, but she was not
                  able to see and grip the medication bottle well enough to take her medications as
                  indicated. The Occupational Therapy department recommended medication dispenser that
                  a family member could fill each week that enabled her to take the correct dose.

  2.      Explain the roles and responsibilities of three other healthcare providers that you observed and
          how they work as part of the team to provide care. Based on brief discussions with them,
          describe the limitations of the medical professionals’ skills, knowledge, and attitudes that these
          other providers contribute. (200 words maximum)

                 A teenager admitted with anorexia nervosa needed a precise amount of nutrition to
                  become healthy, but not so much that she would get refeeding syndrome. The
                  nutritionist was able to calculate her intake more precisely than the medical team which
                  allowed the team to adjust her feeding plan.
                 An elderly patient admitted to the psychiatric ward for depression was found to
                  have subtle cognitive impairment by a comprehensive neuropsychological
                  assessment completed by a psychologist. That testing helped the team understand
                  some of his behaviors.
                 A physical therapist evaluated a patient who had suffered several falls at home and she
                  was able to recommend a certain type of walker that would help support the patient and
                  help prevent further falls.

  3.      Describe how your unique attributes (experience level, expertise, culture, power, and hierarchy
          within the health team) have contributed to effective communication, conflict resolution, and
          positive interprofessional working relationships. If you can’t think of an example from your work,
          describe a conversation with a provider in another profession that demonstrates this. An example
          could be that your religious background helped you understand a patients concern that you were

                                                      -135-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           138
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 182 of 356 PageID 225


       then able to explain to the team. Another example would be where your knowledge of the
       patient’s culture helps the team ensure
                 delivered. (200 words maximum).
             •       There was a patient who was admitted for a hysterectomy due to cervical cancer. The
                     team didn’t think she knew was her uterus was, but I was able to talk to her in Spanish,
                     verify that she knew what her uterus was, and help her understand the disease and our
                     recommended treatment.

  4.   Describe three instances where another health professional contributed to patient-centered care
       through problem-solving. Describe their viewpoint based on a brief interview discussion with
       them (“How did you come up with that great idea?”). (200 words maximum)

                 •    A patient was terrified of going into an elevator due to claustrophobia, but the
                      transporter produced keys that would immediately stop the elevator and open the
                      doors if the patient felt too scared.
                 •    A patient refused to eat the hospital food. She wouldn’t tell anyone why, but a social
                      worker found out that she was observing Ramadan and that the food was delivered
                      during daylight hours. The social worker talked to the dietary service and was able
                      to have food delivered on a schedule that worked for the patient.
                 •    A patient was very concerned because of news reports that he would get the wrong
                      medication while in the hospital. The nurse gave him a copy of the medications and
                      schedule that the physician ordered, and had the pharmacist added a photo of each
                      tablet. The patient kept the list by his bed so he could check each one as it was given
                      to him.




                                                     -136-                                      Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           139
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 183 of 356 PageID 226



   Appendix 15‐ Step‐By‐Step Instructions for Submitting the IPE
   Reflection Exercise

         1. You will receive an email reminder on Friday of Week 1 of the clerkship instructing you
            to complete an IPE Reflection Exercise prior to the end of week 4.

         2. You must meet with the health care professional that you write about in the exercise. It
            does not need to be a formal meeting, but must include a conversation about their role.

         3.Go to the IPE Reflection Exercise Page: https://portal.stmatthews.edu/Clinical/clerkships (a
           link is also provided from your Clinical Clerkships Online Course Home Page.)

         4. You will be able to submit only AFTER you have received the email reminder to fill the form.

         5. Read all instructions on the form and enter your text in the appropriate fields.

         6. After filling all fields, press the “Submit” button at the bottom. You will be prompted
            to confirm before submitting.

         7. Once submitted you will be redirected to a page where you can view what you have
            submitted. Click “Exit Application” when you are finished.

         8. Failure to submit the IPE Reflection Exercise in a timely manner will result in a
            point deduction from the final grade as follows:
                  • Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 1 point
                  • Submitted late but by Sunday at midnight of Week 6 = final grade reduced by 2 points
                  • Not submitted by the end of Week 6 = final grade reduced by 3 points, grade of “U”
                    in Social & Community Context of Healthcare and INCOMPLETE Final Grade and
                    remediation required.




                                                   -137-                                       Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                                            140
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 184 of 356 PageID 227



                      St. Matthew’s University School of Medicine
                                            Course Syllabus
                                          PSYCHIATRY
                                              Required Clerkship


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   Clerkship Goal
   The Psychiatry Clerkship is a six-week clerkship designed to provide students with knowledge and
   clinical experiences in the examination, diagnosis, and management of common psychiatric syndromes.
   Students will participate in patient care in both inpatient and outpatient settings. Students are expected to
   be active members of the treatment team. Students are exposed to patients with a variety of mental health
   disorders, with no particular category of conditions emphasized. Each student is expected to see patients
   every day, write progress notes on each patient, present his or her patients on rounds, engage in active
   discussion regarding diagnosis and management with the team, and participate in the administrative duties
   necessary for patient care. By the end of the rotation students should be able to formulate a bio-
   psychosocial assessment, differential diagnosis and treatment plan. The clerkship focuses on learning
   interview skills, team collaboration and respect for psychiatric patients, their families and their disorders.
   All students complete the clerkship with a fundamental understanding of the role of the Psychiatrist and
   the conditions that he or she treats.

   Core Clerkship Competencies and Learning Objectives
   During the course of this training period, students are expected to develop their understanding and
   competency in the areas of patient care, medical knowledge, lifelong learning, scholarship and
   collaboration, professionalism, interpersonal and communication skills, and social and community
   context of healthcare. They will be exposed to the management of patients with the expectation of
   enhancing their understanding of disease diagnosis, treatment and prevention. The competencies are

                                                      -138-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                          141
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 185 of 356 PageID 228


   aligned with clinical learning objectives that each student is expected to satisfy by the end of the
   clerkship.

   Students’ proficiency in these competency areas are evaluated throughout the course of the clerkship and
   reflected in their final evaluation.

   SMUSOM Competencies
   1. Patient Care: Students must be able to provide patient care that is compassionate, appropriate, and
      effective for the treatment of illness and the promotion of health.
   2. Scientific & Medical Knowledge: Students must demonstrate knowledge about established and
      evolving biomedical, clinical, and associated sciences and application of this knowledge to the practice
      of medicine throughout the life cycle.
   3. Lifelong Learning, Scholarship, & Collaboration: Students must be able to examine and evaluate
      their patient care practices, appraise and assimilate scientific evidence, and use this information to
      improve their abilities.
   4. Professionalism: Students must demonstrate a commitment to the highest standards of professional
      responsibility, adherence to ethical principles, and sensitivity in all interactions with patients, families,
      colleagues, and others with whom physicians must interact in their professional lives.
   5. Communication & Interpersonal Skills: Students must display interpersonal and communication
      skills that foster effective information exchange and build rapport with patients, their families, and
      professional associates.
   6. Social & Community Context of Healthcare: Students must demonstrate knowledge of and
      responsiveness to the larger context of health care and the ability to effectively call on system
      resources to provide care that is of optimal value to the health of the individual and of the community.

  Learning Objectives
  1. Diagnostic Decision-Making Students should be able to explain the basics of psychopathology,
      including the DSM-V criteria for major adult and childhood illnesses; principles of natural history,
      treatment response, and theories of etiology; and differential diagnoses of common presenting
      psychiatric symptoms.
  2. Case Presentation Skills: Students should develop facility with different types of case presentations:
      written and oral, new patient and follow-up, inpatient, emergency and outpatient.
  3. History-Taking and Physical Examination: Students should be able to conduct a complete
      psychiatric history, including relevant mental and behavioral symptoms, family history, psychosocial
      function, and medical history, including how to perform a complete mental status examination,
      making accurate observations of pathological behavior and mental phenomena and inquiring into
      areas that may not be spontaneously revealed.
  4. Communication and Relationships with Patients and Colleagues: Students should learn how to
      engage patients by establishing a comfortable, professional rapport and managing patients’ emotional
      responses during the psychiatric workup, including responses, recognizing that sharing relevant
      information with the team facilitates care.
  5. Interpretation of Clinical Information: Students should be able to formulate a psychiatric case using
      the DSM-V multiaxial system, incorporating the psychiatric differential diagnosis, relevant medical
      conditions, psychosocial stressors, and level of function; this formulation should employ a problem-
      based approach based on assessments of acuteness, severity, functional impact, and potential for harm
      to self or others.
  6. Therapeutic Decision-Making: Students should develop and help execute an initial treatment
      planning including how to manage patients’ emotional responses when conducting a psychiatric
      interview.
  7. Bioethics of Care: Students should demonstrate honesty and integrity in all interactions and activities
      with patients, families, medical colleagues and others and should maintain an appropriate professional
      stance with patients.

                                                       -139-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            142
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 186 of 356 PageID 229


   8. Self-Directed Learning: Students should utilize clinically relevant research, from the basic sciences
       of medicine or from patient centered clinical research, to assess the accuracy and precision of
       diagnostic tests (including the clinical examination), the power of prognostic markers, and the
       efficacy and safety of therapeutic, rehabilitative, and preventive regimens as they pertain to
       psychiatry and decision-making.
   9. Prevention: Students should be familiar with the principles of preventive health care to ensure their
       patients receive appropriate preventive services utilizing regimens for health maintenance designed to
       reduce mental illness.
   10. Coordination of Care: Students should perform effectively as members of the psychiatric service
       and will share relevant clinical information regarding their patients to facilitate care. Students should
       understand that the physician’s responsibility toward the patient does not stop at the end of the office
       visit or hospitalization but continues in collaboration with other professionals to ensure that the
       patient receives optimal care.

   Student Responsibilities
   Clinical Experience
   During the Psychiatry Clerkship students should encounter patients defined in the SMUSOM Patient
   Encounters and Procedures list.

           Patient Encounters
           Through a series of Patient Encounters, students become familiar with the most prevalent diseases
           and conditions, and with the essentials of structured thinking that leads to the differential
           diagnosis and formulation of management plans.

           The SMUSOM Patient Encounters (Table 1) are based upon those published by the Association
           of Directors of Medical Student Education in Psychiatry (ADMSEP). The types of Patient
           Encounters are intended to be representative of symptoms and conditions that facilitate mastery
           of the SMUSOM competencies. All of these Patient Encounters may be seen by the student in a
           variety of settings.

           Students complete Patient Encounters during the first 5 weeks of the clerkship through Primary
           Clinical Learning, as defined by SMUSOM as an experience in which the student participates in
           direct patient care or team care (patient rounds).

           During the last week of the clerkship, students may complete Patient Encounters through either
           Primary Clinical Learning or through Alternative Clinical Learning, as defined by SMUSOM as
           an experience in which the student participates in representative case-based discussions (e.g.,
           morning report, grand rounds, morbidity/mortality, etc.) or simulation (web-based modules e.g.,
           SIMPLE cases or standardized patients).

           Students must reflect their Patient Encounters in the Patient Logs during their Psychiatry
           Clerkship. Ideally, the exposure should be via real patient contact (either by direct care of these
           patients, or by observed care of someone else’s patient during ward rounds or clinic). If real
           patient contact is not possible, then an acceptable alternative would be case-based discussions or
           simulation (web-based modules e.g., SIMPLE cases or standardized patients).

           If the student has not documented the required Patient Encounters through Primary Clinical
           Learning (via the Patient Log) by the end of the 5th week of the clerkship, then opportunities to
           fulfill the remaining Patient Encounters through Alternative Clinical Learning will be sent via
           email. The program will ensure that the student logs a minimum of 50 Patient Encounters through
           Primary Clinical Learning in the first 5 weeks.

                                                      -140-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           143
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 187 of 356 PageID 230



           Table 1. SMUSOM Defined Patient Encounters
                                                                                              Type of Encounter

                                                  Level of student                             Primary Clinical
                                                                        Clinical Setting          Learning
                    Patient Encounter              responsibility
                                                                         (H/I, H/O, ED,
                                                   (Pr, Pa, Ob)*                             Direct
                                                                        CC, NH, PPO)**                     Team
                                                                                             Patient
                                                                                                           Care
                                                                                              Care
             Acute psychosis
             Alcohol/Substance use disorder
             Attention-deficit hyperactivity
             disorder
             Autistic spectrum disorder
             Bipolar Disorder
             Delirium
             Dementia
             Eating Disorder
             Electroconvulsive Therapy
             Generalized anxiety disorder
             Involuntary commitment
             Major Depressive Disorder
             Mental disorders secondary to
             medical condition
             Obsessive-compulsive disorder
             Panic disorder with or without
             agoraphobia
             Personality disorder
             Pharmacotherapeutics:
             Antidepressants
             Pharmacotherapeutics:
             Antipsychotics
             Pharmacotherapeutics:
             Anxiolytics
             Pharmacotherapeutics: Mood
             stabilizers
             Post-traumatic stress disorder
             Psychopharmacologic
             Emergency
             Psychotherapy
             Schizoaffective Disorder
             Schizophrenia
             Somatoform disorder
             Suicidal/ Homicidal Risk
             Assessment

     KEY
     *Level of Student Responsibility
      Pr = Primary (student primarily responsible for Patient           *Clinical Setting
            Encounter, e.g., performed H&P, procedure, etc.)            H/I - Hospital/Inpatient/Infusion Center/Ambulatory
      Pa = Participant (member of medical team, present on              Surgery
            rounds, O.R., etc.)                                         H/O - Hospital/Outpatient Clinic
                                                                        ED - Emergency Department / Urgent Care / Transport
     Ob= Observer (only involved in discussion of patient,              CC - Community Clinic
         presentation of case, etc.)                                    NH - Nursing Home / Home Care
                                                                        PPO - Private Practice Office




                                                                -141-                                         Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                    144
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 188 of 356 PageID 231


  Patient Logs
  Students are expected to see a minimum of ten (10) patients per week, which must be logged in the Patient
  Logs system (Appendix 7) and record the following:
          1. Patient Encounters listed in Table 1; and
          2. Procedures listed in Table 2.

  Students should also record all relevant information regarding the patient (e.g., age, gender, clinical setting,
  etc.) in the Patient Logs.

  Students who fail to submit logs in a timely fashion, or students who are not making satisfactory progress
  with regard to the logging of patient encounters, procedures or skills will be contacted by the clinical
  department.


  Patient Note
  Students are expected to learn how to perform and document full H&Ps during the clerkship. SMUSOM
  requires each student to submit completed two Patient Notes per week (Appendix 3) based on the patients
  that they have seen during the week.

  The Patient Note is written by the student in the role of the “doctor”, focusing on accurately reporting the
  patient history and physical findings and in compliance with HIPAA. Guidelines for the Patient Note
  Exercise, including an appropriately completed Patient Note and suggested content can be found in
  Appendix 4.

  In order to receive full credit for the weekly assignment, the student must satisfactorily complete two
  Patient Notes, which are graded by the Clinical Deans. A student who does not meet the Patient Note
  requirement receives no credit.

  Engaged Learning Experience
  SMUSOM defines an Engaged Learning Experience as a type of learning in which the student participates
  in the educational process and where the faculty member determines what and how the student should learn.
  As such, we have created Engaged Learning Assignments comprised of a series of 12 Clinical Learning
  Modules that students must complete during the course of the Psychiatry Clerkship (Appendix 8).

          Clinical Learning Modules
          Students participating in the Psychiatry Clerkship will be responsible for weekly Clinical Learning
          Modules on SMUSOM’s Learning Management System (LMS), http://lms.stmatthews.edu.
          Instructions for completing the weekly assignment can be found in Appendix 9.

          These Clinical Learning Modules are interactive virtual patient cases designed to encompass
          SMUSOM’s learning objectives as represented by the Computer-assisted Learning in Psychiatry
          Program (CLIPP). CLIPP is a comprehensive learning program for use by third-year medical
          students during their psychiatry clerkship.

          As part of each Engaged Learning Assignment, students are also expected to complete a Reflection
          based on their interaction with the assigned cases.

          Reflections
          Reflections must be submitted for each of the weekly Clinical Learning Module cases. A
          Reflection has no percentage value, but is required. As a result, a student who does not complete a
          Reflection receives no credit for the weekly assignment. In order to receive full credit for each
          weekly assignment, the student must complete two Clinical Learning Module cases and submit a
          Reflection, which is graded pass/fail by the Clinical Dean.
                                                       -142-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           145
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 189 of 356 PageID 232



          What is a reflection?
          A reflection may be represented by describing a specific aspect of the case or disease state that:
              ˗ The student did not know and will help the student moving forward;
              ˗ Made the student think of a particular patient he/she has seen;
              ˗ Made the student think of something that he/she has been taught previously; or
              ˗ In some other way led to something the student learned that others might benefit from.

          Why is reflection important?
            ˗ Thinking about learning and writing things down helps to clarify thoughts and emotions;
            ˗ Reflection helps to focus on the student’s development as an effective independent learner,
                 and on the strategies used to work towards this.

          What is a reflective learner?
            Reflective learners continually reflect on:
            ˗ What they are learning and how they are learning it;
            ˗ What their strengths and weaknesses in learning are; and
            ˗ The gaps in their knowledge and skills, and how they might work towards filling these.

  Interprofessional Education Reflective Exercise
  Students are expected to demonstrate the ability to communicate and work effectively with other health
  care professionals, and to make use of the unique contributions of other health care professionals.
  SMUSOM requires each student to submit one Interprofessional Education Reflective Exercise no later
  than the end of week 8. Failure to submit the exercise in a timely manner will result in point deduction
  which may affect the final grade. Students with Interprofessional Education Reflective Exercises that are
  deemed inadequate in any respect will be contacted by the clinical department and will need to resubmit.
  Guidelines for the Interprofessional Education Reflective Exercise, including an appropriately completed
  Exercise can be found in Appendix 14 and 15.

  Monitoring and Evaluation
  SMUSOM is committed to the success of every student and actively monitors students’ progress throughout
  the clerkship. Performance on weekly assignments is reviewed by the Clinical Deans for content and
  quality to identify students in need of assistance (Appendix 2).

  Evaluation of Student Clerkship Performance
  Students should review the Clinical Clerkship Grading Guidelines in the SMUSOM Clinical Handbook.

  Mid-Clerkship Feedback
  The mid-clerkship assessment is designed to provide students an accurate assessment of their performance
  to date and identify areas for improvement during the second half of the clerkship. Students receive
  notification from the Clinical Department at the clerkship midpoint that they are required to review their
  performance to this point in the clerkship with at least one supervising attending physician. Students must
  discuss all areas of competency, as well as review their patient log, with this (these) supervising attending
  physician(s).

  Students are required to submit the mid-clerkship assessment forms (Appendix 6) to the Clinical
  Department no later than the end of week 4. Failure to submit the mid-clerkship assessment form in a
  timely manner will result in point deduction which may affect the final grade. Mid-clerkship assessment
  forms are reviewed for scope and content by the clinical department. Students with mid-clerkship
  assessment forms that are deemed inadequate in any respect will be contacted by the clinical department.

  The course grade consists of the overall performance on the Core Clerkship Exam, Engaged Learning
  Experience, Patient Log, Patient Note, and Clinical Faculty Evaluation.
                                                      -143-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          146
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 190 of 356 PageID 233




  Final Grade

  Each students’ final grade is calculated as follows:
   Clinical Faculty
                                 A formal evaluation by the attending physician is completed at the end of the
   Evaluation:
                                 clerkship, which is based on performance, observation, and demonstration of
   Percentage of Final
                                 required competencies.
   Score: 30%
   Core Clerkship Exam:          Students are required to take the Psychiatry Core Clerkship Examination (NBME)
   Percentage of Final           upon clerkship completion. Passing this examination is REQUIRED in order to
   Score: 40%                    progress to the next clinical clerkship.
   Engaged Learning              Students are required to complete two Clinical Learning Modules with
   Experience:                   accompanying Reflections organized around major clinical topics every week.
                                 These assignments must be submitted by Sunday, midnight (ET) in order to receive
   Percentage of Final           credit.
   Score: 10%
   Patient Logs:                 Students complete Patient Logs every week. Students are required to record ten or
   Percentage of Final           more Patient Encounters. Procedures are also recorded via the Patient Logs. The
   Score: 10%                    Patient Log must be submitted by Sunday, midnight (ET) in order to receive credit.
   Patient Note:                 Students are required to complete two Patient Notes (based on the patients that they
   Percentage of Final           have seen) every week. This assignment must be submitted by Sunday, midnight
   Score: 10%                    (ET) in order to receive credit.
    Mid-Clerkship                Students are required to complete a Mid-Clerkship Assessment Form by Sunday,
    Feedback:                    midnight (ET) no later than one week past the mid-point of the clerkship. Failure to
   Percentage of Final Score:    submit the Mid-Clerkship Assessment in a timely manner will result in point
    Variable                     deduction from a student’s final grade.
   Interprofessional             Students are required to complete an Interprofessional Education Reflection
   Education Reflection          Exercise by Sunday, midnight (ET) of week 4. Failure to submit the
   Exercise:                     Interprofessional Education Reflection Exercise in a timely manner will result in
   Percentage of Final Score:    point deduction from a student’s final grade.
    Variable

  Grading level:
  90-100% = Honors
  80-89% = High Pass
  70-79% = Pass
  <70%     = F

  Calculation of the student’s grade for the clerkship: the grade is comprised of six components which
  include: Core Clerkship Exam (40%); Clinical Faculty Evaluation (30%); Engaged Learning Experience
  (LMS + Reflection) (10%); Patient Logs (10%); Patient Note (10%); and any point deductions related to the
  Mid-Clerkship Assessment or the Interprofessional Education Reflective Exercise. Students must attain a
  minimum score of 70% in each of the Core Clerkship Exam, Clinical Faculty Evaluation, Engaged learning
  Experience, Patient Note and Patient Logs components.

  The Clinical Faculty Evaluation component of the grade is calculated based on a formula incorporating the
  faculty member’s assessment of how often the student "exceeds expectations", “meets expectations", or falls
  “below expectations". Note that any competencies that are "below expectations" require remediation to a
  level of at least 'meets expectations'.

                                                        -144-                                         Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              147
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 191 of 356 PageID 234



  Students receiving a failing score on any of the components of the course grade (Core Clerkship Exam,
  Engaged Learning Experience, Patient Logs, Patient Note and Clinical Faculty Evaluation) are immediately
  reviewed by the Associate Dean for Clinical Medicine and are subject to remediation and/or referral to the
  student promotions committee.

  Students who are dissatisfied with a grade received from a faculty member or their final grade are not
  permitted to contact the faculty member or the clinical site. Students must contact the clinical department
  first to discuss their grievance.

  Competency Assessments
        Clinical Faculty Evaluation
        Competencies Assessed: See Appendix 5

          Core Clerkship Exam
          Competencies Assessed:
                 PATIENT CARE
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1f. Make use of the scientific foundation for clinical decision making
                 SCIENTIFIC AND MEDICAL KNOWLEDGE
                 2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                 2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                 history of illnesses
                 2c. Demonstrate knowledge of health maintenance and disease prevention

          Engaged Learning Experience
          Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision making
                1g. Use information technology to support care decisions and patient education
                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3c. Use information technology to access medical information and support his or her own
                education
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility
                COMMUNICATION & INTERPERSONAL SKILLS
                5d. Demonstrate sensitivity to human differences and understanding of the impact of gender,
                ethnic, cultural background, socioeconomic and other social factors
                5e. Counsel and educate patients and their families
                5f. Promote wellness and preventive strategies

          Patient Logs
                                                      -145-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          148
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 192 of 356 PageID 235


          Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision making
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility

          Patient Note
          Competencies Assessed:
                  PATIENT CARE
                  1a. Perform a history, physical examination and basic procedures with competence and
                  sensitivity in order to identify clinical problems and assess their urgency
                  1b. Select and interpret appropriate laboratory and diagnostic studies
                  1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                  1d. Develop hypotheses, diagnostic strategies and management plans
                  1e. Document data, assessment, and plans in the patient’s record
                  1f. Make use of the scientific foundation for clinical decision-making
                  SCIENTIFIC AND MEDICAL KNOWLEDGE
                  2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                  2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                  history of illnesses
                  2c. Demonstrate knowledge of health maintenance and disease prevention
                  COMMUNICATION & INTERPERSONAL SKILLS
                  5a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
                  relationship
                  5f. Promote wellness and preventive strategies

          Mid-Clerkship Feedback
          Competencies Assessed:
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3a. Display intellectual curiosity, willingness to examine assumptions and commitment to
                lifelong learning
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility

  Student’s Evaluation of the Clerkship
  Student feedback is very important to the program. Completion of the clerkship evaluation form is required
  before grade assignment can be posted. Using standardized measurement tools where appropriate, students
  will evaluate the total clerkship experience based on the following:
          1. Faculty members’ professionalism & willingness to teach
          2. Attitude of other personnel (nurses, house staff, administration)
          3. Quality of teaching diagnosis and treatment
          4. Opportunities to observe procedures
          5. Opportunities to perform procedures
          6. Sufficient # of patient contacts per day
          7. Sufficient # of history and physical exams per week
          8. Scope and variety of pathology / disease
          9. Quality of didactics (lecture, reading, rounds)
          10. Overall rotation evaluation
                                                     -146-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         149
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 193 of 356 PageID 236


          11. Average number of patient contacts per day
          12. Average number of H&P exams done in a week
          13. Night call*
          14. Average number of night call done in a week
          15. Working weekends*
          16. Number of hours worked per week
          17. Retrospect- would take this rotation again?
          18. Recommend- would recommend this rotation?
          * requirements vary

  Course Policies
  Attendance
  Students are expected to be punctual, be well prepared, and have 100% attendance at all clerkships and
  related educational experiences. No vacations or time off is permitted during clerkships. Refer to the
  SMUSOM Clinical Medicine Handbook for further details regarding policies for attendance.

  Duty Hours
  The goals of the medical students and the faculty of SMUSOM are one and the same: to get the best medical
  education possible while not ignoring overall health and happiness. Attention needs to be paid to both
  duty/work hours and personal time.

  The following policies set forth the acceptable amount of time that clerkships may require of students, based
  upon the ACGME regulations for first-year residents. “Duty hours” include inpatient and outpatient clinical
  activities and scheduled academic exercises such as conferences and lectures that are related to the
  clerkship.
      • Total duty hours must not exceed 80 hours per week, averaged over a four-week period.
      • Call will be scheduled to coincide with the attending and/or resident team.
      • Duty hour periods in the hospital will not exceed 16 consecutive hours.
      • In each month the clerkship will provide each student with four individual 24-hour periods free
           from any required clinical or educational activities.

  Students should report duty hour violations directly to the Clinical Department.

  Core Clerkship Exam (CCE)
  SMUSOM uses the National Board of Medical Examiners (NBME) Clinical Science Subject Examination
  as the final exam for the Psychiatry Clerkship. SMUSOM will provide the student’s name and email
  address to the NBME approximately 5 weeks before the end of the Psychiatry clerkship.

  Each eligible SMUSOM student will receive an email with a link to a web page where he/she can
  print/download the scheduling permit and view policies and procedures for the testing session. This will
  enable the student to schedule the testing appointment online through the Prometric website and receive a
  confirmation notice.

  Students must schedule to take the exam in the 14-day exam window starting the Saturday before the end of
  the clerkship (first day of the window), and ending Friday, two weeks later. This means that every student
  can take the exam during the last week of his or her clerkship, and the week immediately after the end of the
  clerkship. Taking time off during the clerkship to study for the exam or to take the exam is completely at the
  discretion of the Hospital/Clinical site.

  ALL Students must schedule their exam prior to the Saturday before the end of the clerkship.
  Students can cancel and reschedule their testing appointment without penalty or charge at any time up to 15
  days prior to the first day of the exam window. If the request is made less than 15 days prior to the
  scheduled appointment, Prometric will charge a fee. Fees for rescheduling/cancellation appear on the
                                                      -147-                                    Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         150
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 194 of 356 PageID 237


  confirmation notice and will be charged to the student. Note: rescheduled exam dates can only occur within
  the testing window.

  Failure to take or pass the exam within the prescribed two-week window will result in a grade of
  INCOMPLETE for the clerkship. If the student does not take the exam during the prescribed initial two
  week window, he/she will be assessed a score of zero (i.e. a failing score) and will only be permitted two
  additional attempts within the prescribed time period detailed below.

  SMUSOM’s goal is to provide the student with his or her NBME results 1 week after the last day of the 14-
  day exam window.

  If a student fails, and is already in another clinical clerkship (or is scheduled to start a clinical clerkship
  shortly) at the time that the school receives the failing score report, he/she may complete that clinical
  clerkship. However, NO additional clinical clerkships will be permitted until the student receives a passing
  grade for both the previously failed and current clinical clerkship Core Clerkship Exam (in the case of a
  core clinical clerkship).

  In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
  attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
  of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
  reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure
  to make the initial attempt during the prescribed window detailed above). The Core Clerkship Exam grade
  component shall be the average of all attempts.

  Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the
  prescribed six months in three attempts shall result in a FAILING grade for the core clinical clerkship.

  Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student take
  this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
  Clinical Science Subject Examination) within the parameters described above.

  Student Promotions
  Any student in clinical clerkships who receives a grade of F (failure) will be placed on academic probation
  for one year. If a second grade of F (Failure) is earned by the student while on academic probation, the student
  will be dismissed.
  The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘C’ should be reviewed
  by the Promotions Committee for consideration of placement on academic probation. The Dean will
  determine whether any remedial program will be required of the student, e.g. additional weeks of clerkship in
  the discipline.

  Academic Integrity
  St. Matthew’s University School of Medicine does not tolerate any form of academic dishonesty.

  Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for
  credit of any work or materials that are fictitious, attributable in whole or in part to another person, any act
  designed to give unfair advantage to a student or the attempt to commit such acts.

  All persons involved in academic dishonesty will be disciplined in accordance with University regulations
  and procedures. Discipline may include suspension or expulsion from the University.

  For example, it is plagiarism to copy history and physical exam findings from a medical record without
  performing the work and without attribution.

                                                       -148-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            151
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 195 of 356 PageID 238



  Students who are unsure about what constitutes plagiarism should refer to:
  http://www.plagiarism.org/plag_article_preventing_plagiarism_when_writing.html.




                                                  -149-                             Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                152
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 196 of 356 PageID 239


  Recommended Textbooks
  Kaplan and Shaddock’s Synopsis of Psychiatry: Behavioral Sciences/Clinical Psychiatry (Paperback)
  By: Benjamin J. Shaddock, Virginia A. Shaddock
  Publisher: Lippincott Williams & Wilkins; 10th edition (May 2007)
  ISBN-10: 0-7817-7327-X ISBN-13: 978-0-7817-7327-0

  Desk Reference to the Diagnostic Criteria from DSM-5TM (Paperback)
  By: American Psychiatric Association
  Publisher: American Psychiatric Publishing (May 2013)
  ISBN: 0890425566

  Psychiatry 2010 Edition (Current Clinical Strategies) [Paperback]
  By: Rhoda K Hahn, Lawrence J. Albers, Christopher Reist, MD, Paul Chan
  Publisher: Current Clinical Strategies Publishing; 2010 edition (November 7, 2009)
  ISBN-10: 193432325X ISBN-13: 978-1934323250

  Handbook of Psychiatric Drug Therapy (Paperback)
  Publisher: Lippincott Williams & Wilkins; Sixth edition (August 18, 2009)
  By: George W. Arana, Steven E. Hyman, Lawrence A. Labbate,
  Maurizio Fava, J. F. Rosenbaum (Editor)
  ISBN-10: 0781774861 ISBN-13: 978-0781774864

  Introductory Textbook of Psychiatry
  By: Nancy Andreasen; Donald Black (editors); 5th edition (2011)
  Publisher: American Psychiatric Press

  Clinical Psychopharmacology Made Ridiculously Simple (Paperback)
  Publisher: MedMaster Inc
  By: John Preston, James Preston; 7th edition




                                                    -150-                                 Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                     153
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 197 of 356 PageID 240


  Appendix 1 - Psychiatry Clerkship Learning Objectives
  1. Diagnostic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. key history and physical examination findings pertinent to the differential diagnosis.
                   2. information resources for determining diagnostic options for patients with common and
                   uncommon psychiatric problems.
                   3. key factors to consider when selecting from among diagnostic tests, including pretest
                   probabilities, performance characteristics of tests (sensitivity, specificity, likelihood ratios),
                   cost, risk, and patient preferences.
                   4. the relative cost of diagnostic tests.
                   5. how critical pathways or practice guidelines can be used to guide diagnostic test
                   ordering.
                   6. the method of deductive reasoning.
          B. Skills: Each student should be able to:
                   1. formulate a differential diagnosis based on the findings from the history and physical
                   examination.
                   2. use probability-based thinking to identify the most likely diagnoses.
                   3. use the differential diagnosis to help guide diagnostic test ordering and sequence.
                   4. use pretest probabilities and scientific evidence about performance characteristics of tests
                   (sensitivity, specificity, likelihood ratios) to determine post-test probabilities according to
                   the predictive value paradigm.
                   5. participate in selecting the diagnostic studies with the greatest likelihood of providing
                   useful results at a reasonable cost.
          C. Attitudes: Each student should:
                   1. incorporate the patient’s perspective into diagnostic decision-making.
                   2. limit the chances of false positive/false negative results by demonstrating thoughtful test
                   selection.

  2. Case Presentation Skills
          A. Knowledge: Each student should be able to describe:
                   1. components of comprehensive and abbreviated case presentations (oral and written) and
                   the settings appropriate for each.
          B. Skills: Each student should be able to:
                   1. prepare legible, comprehensive, and focused new patient workups that include the
                   following features as clinically appropriate:
                                 o present illness organized chronologically, without repetition, omission, or
                                     extraneous information.
                                 o a comprehensive physical examination with detail pertinent to the patient’s
                                     problem.
                                 o a succinct and, where appropriate, unified list of all problems identified in
                                     the history and physical examination.
                                 o a differential diagnosis for each problem (appropriate to level of training).
                                 o a diagnosis/treatment plan for each problem (appropriate to level of
                                     training).
                   2. orally present a new patient’s case in a logical manner, chronologically developing the
                   present illness, summarizing the pertinent positive and negative findings as well as the
                   differential diagnosis and plans for further testing and treatment.
                   3. orally present a follow-up patient’s case, in a focused, problem-based manner that
                   includes pertinent new findings and diagnostic and treatment plans.
                   4. select the appropriate mode of presentation that is pertinent to the clinical situation.
          C. Attitudes: Each student should:


                                                        -151-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                             154
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 198 of 356 PageID 241


                  1. demonstrate a commitment to improving case presentation skills by regularly seeking
                  feedback on presentations.
                  2. Accurately and objectively record and present data.

  3. History-Taking and Physical Examination
          A. Knowledge: Each student should be able to describe:
                   1. the significant attributes of a symptom, alleviating factors, aggravating factors, setting,
                   associated symptoms, functional impairment, and patient’s interpretation of the symptom.
                   2. the physiologic mechanisms that explain key findings in the history and physical exam.
                   3. the diagnostic value of history and physical exam information.
          B. Skills: Each student should be able to:
                   1. use language appropriate for each patient.
                   2. use non-verbal techniques to facilitate communication and pursue relevant inquiry.
                   3. elicit the patient’s chief complaint as well as a complete list of the patient’s concerns.
                   4. obtain a patient’s history in a logical, organized, and thorough manner, covering the
                   history of present illness; past medical history (including usual source of and access to
                   health care, childhood and adult illnesses, injuries, surgical procedures, obstetrical history,
                   psychiatric problems, hospitalizations, transfusions, medications, tobacco and alcohol use,
                   and drug allergies); preventive health measures; social, family, and occupational history;
                   and review of systems.
                   5. obtain, whenever necessary, supplemental historical information from other sources, such
                   as significant others or previous physicians.
                   6. demonstrate proper hygienic practices whenever examining a patient.
                   7. position the patient and self properly for each part of the physical examination.
                   8. perform a physical examination for a patient in a logical, organized, respectful, and
                   thorough manner, giving attention to the patient’s general appearance, vital signs, and
                   pertinent body regions.
                   9. communicate with the patient the purpose of the exam and explain the step-by-step
                   process.
                   10. adapt the scope and focus of the history and physical exam appropriately to the medical
                   situation and the time available.
          C. Attitudes: Each student should:
                   1. recognize the essential contribution of a pertinent history and physical examination to the
                   patient’s care by continuously working to improve these skills.
                   2. establish a habit of updating historical information and repeating important parts of the
                   physical exam during follow-up visits.
                   3. demonstrate consideration for the patient’s feelings, limitations, and cultural and social
                   background whenever taking a history and performing a physical exam.

  4. Communication And Relationships With Patients And Colleagues
        A. Knowledge: Each student should be able to describe:
                 1. how patients’ and physicians’ perceptions, preferences, and actions are affected by
                 cultural and psychosocial factors and how these factors affect the doctor-patient
                 relationship.
                 2. the role and contribution of each team member to the care of the patient.
                 3. the role of psychosocial factors in team interactions.
                 4. the role of the physician as patient advocate.
        B. Skills: Each student should be able to:
                 1. demonstrate appropriate listening skills, including verbal and non-verbal techniques (e.g.,
                 restating, probing, clarifying, silence, eye contact, posture, touch) to demonstrate empathy
                 and help educate the patient.
                 2. demonstrate effective verbal skills including appropriate use of open- and closed-ended
                 questions, repetition, facilitation, explanation, and interpretation.
                                                       -152-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           155
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 199 of 356 PageID 242


                   3. determine the information that a patient has independently obtained about his/her
                   problems.
                   4. identify patient’s emotional needs.
                   5. seek the patient’s point of view and concerns about his/her illness and the medical care
                   he/she is receiving.
                   6. determine the extent to which a patient wants to be involved in making decisions about
                   his/her care.
                   7. assess patient commitment and adherence to a treatment plan taking into account
                   personal and economic circumstances.
                   8. work with a variety of patients, including multiproblem patients, angry patients,
                   somatizing patients, and substance abuse patients.
                   9. work as an effective member of the patient care team, incorporating skills in
                   interprofessional collaboration.
                   10. Give and receive constructive feedback.
          C. Attitudes: Each student should:
                   1. work hard to develop effective doctor-patient communication skills.
                   2. take into consideration in each case the patient’s psychosocial status.
                   3. demonstrate respect for patients.
                   4. demonstrate actively involving the patient in his/her health care whenever possible.
                   5. demonstrate teamwork and respect toward all members of the health care team, as
                   manifested by reliability, responsibility, honesty, helpfulness, selflessness, and initiative in
                   working with the team.
                   6. respond pertinently to patient concerns.
                   7. attend to or advocate for the patient’s interests and needs in a manner appropriate to the
                   student’s role.

  5. Interpretation of Clinical Information
           A. Knowledge: Each student should be able to describe:
                    1. the various components of laboratory and diagnostic studies.
                    2. range of normal variation in the results.
                    3. results of the tests in terms of the related pathophysiology.
                    4. test sensitivity, test specificity, pre-test probability, and predictive value.
                    5. how errors in test interpretation can affect clinical outcomes and costs.
           B. Skills: Each student should be able to:
                    1. record the results of laboratory tests in an organized manner, using flow sheets when
                    appropriate.
                    2. estimate post-test probability based on test results and state the clinical significance of
                    these findings.
           C. Attitudes: Each student should:
                    1. demonstrate estimating the implications of test results before ordering tests and after test
                    results are available.
                    2. personally review laboratory and diagnostic studies to assess the accuracy and
                    significance of the results.

  6. Therapeutic Decision-Making
          A. Knowledge: Each student should be able to describe:
                  1. information resources for determining treatment options for patients with common
                  psychiatric problems.
                  2. key factors to consider in choosing among treatment options, including risk, cost,
                  evidence about efficacy, and consistency with pathophysiologic reasoning.
                  3. how to use critical pathways and clinical practice guidelines to help guide therapeutic
                  decision making.


                                                        -153-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            156
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 200 of 356 PageID 243


                   4. factors that frequently alter the effects of medications, including drug interactions and
                   compliance problems.
                   5. factors to consider in selecting a medication from within a class of medication.
                   6. factors to consider in monitoring a patient’s response to treatment, including potential
                   adverse effects.
                   7. various ways that evidence about clinical effectiveness is presented to clinicians and the
                   potential biases of using absolute or relative risk or number of patients needed to treat.
                   8. methods of monitoring therapy and how to communicate them in both written and oral
                   form.
          B. Skills: Each student should be able to:
                   1. formulate an initial therapeutic plan.
                   2. access and utilize, when appropriate, information resources to help develop an
                   appropriate and timely therapeutic plan.
                   3. explain the extent to which the therapeutic plan is based on pathophysiologic reasoning
                   and scientific evidence of effectiveness.
                   4. begin to estimate the probability that a therapeutic plan will produce the desired outcome.
                   5. write prescriptions accurately.
                   6. counsel patients about how to take their medications and what to expect when they take
                   their medications, including beneficial outcomes and potential adverse effects.
                   7. monitor response to therapy.
          C. Attitudes: Each student should:
                   1. incorporate the patient in therapeutic decision-making, explaining the risks and benefits
                   of treatment.
                   2. respect patient’s informed choices, including the right to refuse treatment.
                   3. incorporate the elements of patient autonomy, treatment efficacy, quality of life, and
                   societal demands into decision-making.
                   4. provide close follow-up of patients under care.

  7. Bioethics Of Care
          A. Knowledge: Each student should be able to describe:
                   1. basic elements of informed consent.
                   2. circumstances under which informed consent is necessary and unnecessary.
                   3. basic concepts of autonomy, treatment efficacy, quality of life, and societal demands.
                   4. potential conflicts between individual patient preferences and societal demands.
                   5. the role of the physician in making decisions about the use of expensive or controversial
                   tests and treatments.
          B. Skills: Each student should be able to:
                   1. participate in a discussion about advance directives with a patient.
                   2. participate in informed consent for a procedure.
                   3. participate in the care of a consent-requiring terminally ill patient.
                   4. participate in a physician’s discussion with a patient about a requested treatment that may
                   not be considered appropriate (e.g., not cost-effective).
          C. Attitudes: Each student should:
                   1. take into account the individual patient’s perspective and perceptions regarding health
                   and illness.
                   2. demonstrate a commitment to caring for all patients, regardless of gender, race,
                   socioeconomic status, intellect, sexual orientation, ability to pay, or cultural background.
                   3. recognize the importance of allowing terminally ill patients to die with comfort and
                   dignity when that is consistent with the wishes of the patient and/or the patient’s family.
                   4. recognize the potential conflicts between patient expectations and medically appropriate
                   care.



                                                      -154-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          157
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 201 of 356 PageID 244



  8. Self-Directed Learning
          A. Knowledge: Each student should be able to describe:
                   1. key sources for obtaining updated information on issues relevant to the medical
                   management of adult patients.
                   2. a system for managing information from a variety of sources.
                   3. key questions to ask when critically appraising articles on diagnostic tests or therapies.
          B. Skills: Each student should be able to:
                   1. perform a computerized literature search to find articles pertinent to a clinical question.
                   2. demonstrate critical review skills.
                   3. read critically about issues pertinent to their patients.
                   4. assess the limits of medical knowledge in relation to patient problems.
                   5. use information from consultants critically.
                   6. recognize when he or she needs additional information to care for the patient.
                   7. ask colleagues (students, residents, nurses, faculty) for help when needed.
                   8. make use of available instruments to assess one’s own knowledge base.
          C. Attitudes: Each student should be able to:
                   1. demonstrate self-directed learning in every case.
                   2. acknowledge gaps in knowledge to both colleagues and patients and request help.

  9. Prevention
         A. Knowledge: Each student should be able to describe:
                  1. primary, secondary, and tertiary prevention.
                  2. criteria for determining whether or not a screening test should be incorporated into the
                  periodic health assessment of adults.
                  3. general types of preventive health care issues that should be addressed on a routine basis
                  in psychiatric patients.
                  4. methods for counseling patients about risk-factor modification.
                  5. influence of age and clinical status on approach to prevention.
                  6. general categories of high-risk patients in whom routine preventative health care must be
                  modified or enhanced.
         B. Skills: Each student should be able to:
                  1. locate recently published recommendations regarding measures that should be
                  incorporated into the periodic health assessment of adults.
                  2. counsel a patient on smoking cessation.
         C. Attitudes: Each student should:
                  1. address preventive health care issues as a routine part of their assessment of patients.
                  2. encourage patients to share responsibility for disease prevention.

  10. Coordination Of Care
         A. Knowledge: Each student should be able to describe:
                  1. the role of consultants and their limits in the care of a patient.
                  2. key personnel and programs in and out of the hospital that may be able to contribute to
                  the ongoing care of an individual patient for whom the student has responsibility.
                  3. the role of the primary care physician and the team in coordinating the comprehensive
                  and longitudinal patient care plan, including communicating with the patient and family
                  through telecommunications and evaluating patient well-being through home health and
                  other care providers.
                  4. the role of the primary care physician and the team in the coordination of care during key
                  transitions (e.g., outpatient to inpatient, inpatient to hospice, etc.).
         B. Skills: Each student should be able to:
                  1. discuss with the patient (and family as appropriate) ongoing health care needs, using
                  appropriate language, avoiding jargon and medical terminology.
                                                       -155-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           158
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 202 of 356 PageID 245


                2. participate in requesting a consultation and identifying the specific question(s) to be
                addressed.
                3. participate in the discussion of the consultant’s recommendations with the team.
                4. participate in developing a coordinated, ongoing care plan in the community.
                5. obtain a social history that identifies potential limitations in the home setting which may
                require an alteration in the medical care plan to protect the patient’s welfare.
                6. develop skills for participating as a member of the care team.
       C. Attitudes: Each student should:
                1. demonstrate teamwork and respect toward all members of the health care team.
                2. demonstrate responsibility for patients’ overall welfare.
                3. participate, whenever possible, in coordination of care and in provision of continuity.




                                                   -156-                                      Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                                           159
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 203 of 356 PageID 246


   Appendix 2 – Alignment of Learning Objectives, Competencies, and
   Assessment

    Clinical Learning                       Aligned with SMUSOM Competency                     Assessment Method
       Objectives
1. Diagnostic Decision              Patient Care                                      CCE (Score and Profile)
Making                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Patient Note
2. Case Presentation                Patient Care                                      Clerkship Evaluation
                                    Communication & Interpersonal Skills              Patient Note
3. History and Physical             Patient Care                                      Clerkship Evaluation
Examination                         Communication & Interpersonal Skills              Engaged Learning (LMS)
                                                                                      Patient Note
4. Communication and                Patient Care                                      Clerkship Evaluation
Relationships with                  Professionalism                                   Engaged Learning (LMS)
Patients and Colleagues             Communication & Interpersonal Skills              Procedure Logs
                                                                                      Mid-Clerkship Assessment
                                                                                      IPE Reflective Exercise
5. Interpretation of Clinical       Patient Care                                      CCE (Profile)
Information                         Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Patient Note
6. Therapeutic Decision             Patient Care                                      CCE (Profile)
Making                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Patient Note
7. Bioethics of Care                Professionalism                                   Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Patient Logs
8. Self-Directed Learning           Lifelong Learning, Scholarship, & Collaboration   Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Procedure Logs
                                                                                      Mid-Clerkship Assessment
9. Prevention                       Patient Care                                      CCE (Profile)
                                    Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                      Engaged Learning (LMS)
                                                                                      Patient Note
10. Coordination of Care            Patient Care                                      Clerkship Evaluation
and Teamwork                        Social & Community Context Of Healthcare          Procedure Logs
                                    Lifelong Learning, Scholarship, & Collaboration   IPE Reflective Exercise
11. Procedures                      Patient Care                                      Clerkship Evaluation
                                                                                      Patient Logs

   CCE =Core Clerkship Exam = National Board of Medical Examiners Subject Exam




                                                                           -157-                          Revised 5/3/21




                                          Exhibit F Clincial Medicine Handbood                                        160
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 204 of 356 PageID 247


  Appendix 3 ‐ Patient Note (PN) Form
  A blank form is shown below.




                                          -158-                    Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                161
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 205 of 356 PageID 248


  Appendix 4 – Guidelines for the Patient Note Exercise
  This activity is designed to improve students’ ability to communicate vital patient information in a written
  format, as well as assess certain competencies required for graduation. In order to satisfy the Patient Note
  (PN) competencies, students’ notes will be read and graded by the Clinical Department each week. Each
  PN will be graded as either “Meets Expectations” or “Below Expectations”. Students who do not achieve
  competency in writing the PN by the end of the clerkship will receive a “U” in the respective competencies
  and will need to remediate. After successful remediation, students will receive an “S*” in place of the “U”
  according to school policy.

  In general, PN’s that “Meet Expectations” have the following common characteristics:
       The use of correct terminology (e.g., muscle strain rather than pulled muscle)
       A well-organized history section with subsections that are easy to find. If the patient has pain, all
          the descriptors of pain are included, along with an easy to follow timeline.
       Pertinent details of physical exam findings are also expected. For example, writing “pharynx
          without exudate or erythema” is preferable to stating that the pharynx is “clear,” and “lungs clear to
          auscultation bilaterally” is preferable to lungs “normal”.
       Only listing diagnoses supported by the history and physical exam. In some cases, there will only
          be one diagnosis.
       If there is more than one possible diagnosis, listing them in order of likelihood, with the most likely
          diagnosis first.
       Linking elements of the history, physical exam, differential diagnosis and plan throughout the PN.
          For example, each potential diagnosis should have appropriate elements in the history section
          including relevant positive and negative review of systems. Risk factors should also be included for
          each diagnosis (e.g., prior hx PID/STIs if ectopic pregnancy is in the differential). Each potential
          diagnosis should also have corresponding physical exam elements in the physical exam section of
          the note, and both history and physical exam elements should be in the data interpretation section.

  PN’s assessed as “Below Expectations” often include the following common mistakes:
      Documentation of history elements in the physical exam section (pain, past medical history, etc.).
      Documentation of physical exam elements in the history section (vital signs, tenderness, etc.).
      Incomplete documentation of physical exam findings (lungs “normal”, pelvic exam “WNL”, vital
         signs “normal” or “stable” or “unremarkable”).
      Listing improbable diagnoses with no supporting evidence (e.g., brain tumor in a patient with no
         focal neurological signs) or a plan that includes a test with no indications (e.g., MRI of the brain in
         a patient with headaches and no focal neurological signs).
      Listing an appropriate diagnosis with no supporting evidence (e.g., new onset diabetes without
         listing symptoms of polydipsia, polyphagia, polyuria; or pregnancy with no symptoms of pregnancy
         or mention of sexual activity, last menstrual period, or use of family planning).
      Use of non-standard abbreviations, such as CMT (cervical motion tenderness). Only commonly
         accepted abbreviations (such as those on the Step 2CS website) are acceptable.




                                                      -159-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          162
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 206 of 356 PageID 249


  Below is an example of a PN that would “Meet Expectations” for the Internal Medicine Clerkship.
  Positive aspects are indicated with a superscript and explained at the end of the PN.




  CC: Ms. J.B. is a 24 yo woman1 who complains of worsening sore throat since yesterday morning.
  HPI: She has never had a similar problem in the past. She has no difficulty swallowing, but notes that
  swallowing makes the pain worse. Nothing makes it better2. There is no SOB or sensation of choking or
  dysphagia. She has fatigue and has had some anorexia since the symptoms began. She has had some
  subjective fevers at home but has not taken her temperature. She has had no cough or rhinorrhea. There are
  no sick contacts at home or at work. She denies seasonal allergies and post-nasal drip. The patient thinks
  she has strep throat.3
  ROS: No chest pain, cough, wheezing, abdominal pain, N/V, or headache4
  PMHx: none
  Meds: none
  Allergies: none
  PSHx: none
  FHx: father with HTN
  SHx: married with 2 children, does not use ETOH, tobacco or drugs, monogamous with husband




  She is in no acute distress5
  VS: BP 105/74, R 16, P 72, T 98.5
  HEENT: Oropharynx without exudate or erythema, TMs clear without erythema bilaterally6
  Tender submandibular lymphadenopathy is present bilaterally
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness




   Diagnosis #1 Viral Pharyngitis

                  History Finding(s)                               Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever                                     Afebrile7
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis

                   History Finding(s)                              Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever
   Fatigue
   Anorexia
                                                    -160-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                       163
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 207 of 356 PageID 250


   Pain with swallowing
   No rhinorrhea8

                 Diagnostic Studies
        Throat Culture

  Notes:
  1
    complete identification of the patient.
  2
    appropriate descriptors of pain are included in history.
  3
    Patients understanding of her disease is included.
  4
    ROS, PMHx, etc. are clearly designated and well organized.
  5
    General appearance and full vital signs are included, physical exam is clearly designated and well
  organized.
  6
    Physical exam findings are clearly described, not listed as “normal”.
  7
    lack of fever supports the diagnosis of viral pharyngitis.
  8
    lack of rhinorrhea supports the diagnosis of bacterial pharyngitis.




                                                     -161-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         164
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 208 of 356 PageID 251


  Below is an example of a PN would result in an assessment of “Below Expectations”. Problems are
  indicated with a superscript and explained at the end of the PN.




  The patient 1 complains of pharangitis2. The sore throat started yesterday morning. She has never had a
  similar problem in the past. She also has abdominal pain and some anorexia since the symptoms began.
  She has no difficulty swallowing, but notes that swallowing makes the pain worse3. There is no sensation of
  choking or dysphagia. She has had some subjective fevers at home but has not taken her temperature. She
  denies chest pain4. VS: BP - 105/74, R - 16, P - 72, T - WNL5




  Her throat is clear6, but she has painful7 glands8.
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness9




   Diagnosis #1 Viral Pharyngitis

                   History Finding(s)                                Physical Exam Finding(s)
                                                         10
   Sore throat
   Subjective fever
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis11

                   History Finding(s)                                Physical Exam Finding(s)


   Diagnosis #3 Otitis Media12

                   History Finding(s)                                Physical Exam Finding(s)


                 Diagnostic Studies
        Throat Culture
        Head/neck CT with contrast 13

  Notes:
  1
    incomplete identification of the patient.
  2
    Not using the patient’s own words for the chief complaint.
  3
    Unorganized history (going from throat pain to abdomen, then back to throat).
  4
    Incomplete pertinent review of systems, no PMHx, SHx, etc.
                                                    -162-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        165
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 209 of 356 PageID 252

  5
    Physical exam findings in the history.
  6
    General appearance and full vital signs are missing, and exam of main focus of her complaint (throat) is
  inadequate.
  7
    “Painful” is a descriptor that should be in the history, “tender” is objective and belongs in the physical
  exam.
  8
    “glands” is not a medical term.
  9
    “non-tender” and no “tenderness” is repetitive.
  10
     tender lymph nodes is documented in the physical exam but is not listed in the physical exam findings in
  the data interpretation section.
  11
     Including a diagnosis without supporting evidence even if the diagnosis is possible.
  12
     Including a diagnosis that has no support in either the history or the physical exam.
  13
     Including a study that is not indicated, overly aggressive, and/or costly.




  Patient Note Suggested Content: Psychiatric History and Physical Exam

  Chief Complaint (CC)
      First sentence should include alone or accompanied, voluntary or involuntary.

  History of Present Illness (HPI)
       Stressors.
       Past psychiatric diagnoses/hospitalizations.

  Special attention in Social/Medical History
      Substance use.
      Family history.

  Special areas of the Physical Exam (PE)
      Appearance and behavior (dress, grooming, personal hygiene, body language including posture,
          motor behavior).
      Speech and language (quantity, rate, rhythm, volume, articulation of words, fluency).
      Mood and affect (predominant emotion that a patient experiences (normal descriptor =
          euthymic, abnormal could be dysthymic, sad, irritable, expansive, euphoric, nervous, angry).
      Thoughts and perceptions (thought processes = thought form, how well thoughts are strung
          together).




                                                     -163-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         166
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 210 of 356 PageID 253


      Appendix 5 – Sample Evaluation of Student Clerkship Performance

                                              ST. MATTHEW’S UNIVERSITY
                                                  SCHOOL OF MEDICINE
                                                                              In the U.S.
                                          St. Matthew’s University 12124 High Tech Avenue, Suite 350  Orlando, FL 32817
                                                   Tel. (407) 488-1700  Fax: (815) 377-3726  www.stmatthews.edu
                                             Clinicals: clinical@stmatthews.edu  Finance Office: finance@stmatthews.edu


                          Student Name                                                            Clinical Rotation

       Begin:                       End

                          Dates of Rotation                               Total              Attending/Supervising Physician
                                                                          Weeks


                         Hospital’s Name                                Hospital’s Address, City, State


      Please read rationale and background that follows this student evaluation form. To complete this evaluation check the
      appropriate category that reflects the student’s work within each competency based on the student’s overall performance.

                                                               PATIENT CARE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

1    Medical                     Logical, thorough, and           Elicits most pertinent           Incomplete, illogical,
     Interviewing                efficient histories              patient information              superficial histories
     (1a)

2    Physical                    Complete and accurate            Some omissions but               Incomplete, inaccurate,
     Examination                 physical examinations            usually complete and             cursory, non-directed,
                                                                  accurate                         unreliable physical
     (1a)
                                                                                                   examination

3    Participation in            Exceptionally                    Actively participates in         Lacks initiative in patient
     Patient Care                conscientious in patient         patient care activities          care activities
     (1a, 1c)                    care activities, sound
                                 judgment

4    Data Use and                “Manager” – uses                 “Interpreter” – attempts         “Reporter” – reports data
     Interpretation              information to develop           to interpret or apply            but makes no attempt to
     (1b, 1c, 1d, 1e)            insightful plans for             information appropriate to       interpret or apply
                                 patient management               level of training                information

                                                   MEDICAL KNOWLEDGE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

5    Knowledge Base              Exceptional knowledge of         Solid fund of knowledge          Limited knowledge of
     (2a, 2b, 2c, 1f)            basic and clinical sciences                                       basic and clinical sciences

6    Interest in                 Enthusiastic interest in         Demonstrates interest in         Minimal interest in
     Learning                    learning                         learning                         learning
     (2a, 2b, 2c, 3a)




                                                                      -164-                                                      Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                                   167
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 211 of 356 PageID 254


                     LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                                                                                                            Below                           Not          Not
                                     Exceeding Expectations           Meeting Expectations
                                                                                                         Expectations                    Acceptable    Observed

8     Facilitation of                  Unusually proficient in         Facilitates the learning of    Shows little interest in
      Learning                         facilitating the learning of    other students and health      facilitating the learning of
      Amongst Team                     other students and health       care professionals             other students and health
                                       care professionals                                             care professionals
      (3a, 4f)

9     Ability to use                   Effectively uses scientific     Attempts to use scientific     Fails to use information
      Scientific Data to               studies to manage               studies to manage              from scientific studies to
      Manage Care                      information for patient         information for patient        enhance patient care.
                                       care. Participates in           care. Participates in          Does not participate in
      (3a, 3c, 3d, 1g)                 scholarly activities (e.g.,     scholarly activities (e.g.,    scholarly activities (e.g.
                                       journal club, research).        journal club, research).       journal club, research.)

10    Display of                       Self-motivated learner.         Usually demonstrates           Lacks insight and
      Initiative                       Completes all homework          personal initiative and        personal initiative. Does
      (3a)                             assignments and provides        completes all homework         not complete homework
                                       additional pertinent            assignments.                   assignments.
                                       information to the
                                       healthcare team.

                                                             PROFESSIONALISM
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

11    Compassion,                          Always demonstrates            Inconsistently                 Seldom demonstrates
      Integrity, and                       respect, compassion,          demonstrates respect,          respect, compassion,
      Honesty                              integrity and honesty         compassion, integrity and      integrity and honesty
                                                                         honesty
      (4a, 4b, 4c, 4e, 4f, 4h, 5c)

12    Reaction to                          Seeks and rapidly             Responds positively to         Resists or ignores
      Feedback                             responds to feedback          feedback                       feedback
      (4b, 4c, 4d, 4e, 4f)

13    Responsibility                       Teaches/role models           Displays responsible           Does not display
      (4b, 4c, 4d, 4g, 4h)                 responsible behavior;         behavior; attends all          responsible behavior;
                                           attends all required          teaching sessions as           does not attend or is
                                           teaching sessions and is      required and is punctual.      tardy to required
                                           punctual                                                     teaching sessions.

14    Patient and Staff                    Consistently considers        Considers the needs of         Does not consider the
      Consideration                        the needs of patients,        patients, families and         needs of patients,
      (4a, 4b, 4d, 4f, 4h, 5b, 5c)         families and colleagues       colleagues                     families or colleagues
                                           above his/her own

15    Acknowledgement of                   Willingly acknowledges         Acknowledges errors           Fails to acknowledge
      Errors                               errors                                                       errors
      (4b, 4c, 4d, 4e, 4h)

                                 INTERPERSONAL AND COMMUNICATION SKILLS
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

16    Relationship with                    Establishes highly            Establishes effective,         Does not establish
      Patients and                         effective, humanistic         humanistic and                 adequate, effective,
      Families                             and therapeutic               therapeutic relationships      humanistic and
                                           relationships with            with patients and families     therapeutic
      (5a, 5b, 5c, 5d, 5e, 5f)             patients and families                                        relationships with
                                                                                                        patients and families

17    Listening, Verbal,                     Demonstrates excellent      Shows adequate listening,      Demonstrates
      and Non-Verbal                       listening, written and        written and nonverbal          inadequate listening,
      Skills                               nonverbal                     communication skills           written or nonverbal
                                           communication skills                                         communication skills
      (5a, 5b, 5c, 5d)


                                                                          -165-                                                      Revised 5/3/21




                                           Exhibit F Clincial Medicine Handbood                                                                  168
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 212 of 356 PageID 255


18     Interpersonal Skills                 Always “interpersonally         Relates well to patients          Not “interpersonally
       w/ Patients and                      engaged” with patients          and their families and        engaged” with patients and
       Families                             and their families and          respects patient              their families but respects
                                            respects patient                confidentiality.              patient confidentiality.
       (5a,5b,5c,5d, 5e)                    confidentiality.

19     Documentation &                      Delivers well organized         Delivers organized                Delivers poorly
       Presentation Skills                  presentations, writes           patient presentation,             organized patient
       (5a, 5d, 5f)                         exceptionally organized         writes organized accurate         presentations. Has
                                            notes, appropriately            notes, including most             difficulty
                                            tailored to the situation,      pertinent information with        distinguishing pertinent
                                            with assessments that           little extraneous                 from extraneous
                                            are consistently                information                       information, writes
                                            thoughtful and reflect                                            notes that have
                                            reading.                                                          omissions, shows little
                                                                                                              application of clinical
                                                                                                              thinking or reading.

                             SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE
                                         Exceeding                                                        Below                            Not            Not
                                                                         Meeting Expectations
                                         Expectations                                                     Expectations                     Acceptable     Observed

20     Other healthcare                     Effectively makes use           Attempts to make use of           Unable to make use of
       professionals                        of unique contributions         unique contributions by,          unique contributions
       (6a, 6b, 6d, 5f)                     by, and works                   and work effectively              by, and work
                                            effectively with, other         with, other health care           effectively with, other
                                            health care professionals       professionals                     health care
                                                                                                              professionals
21     Use of Systems in                    Effectively uses                Attempts to use                   Does not use
       Care                                 systematic approaches           systematic approaches to          systematic approaches
       (6a, 6b)                             to reduce errors and            reduce errors and                 to reduce error and
                                            improve patient care            improve patient care              improve health care

        **Items in parentheses indicate sub-competencies assessed. See St. Matthew’s Competency Matrix for detailed description.


     Mid-Term Evaluation                                                 Not done                      Done          Date:
     Comments:




     Comments (for MSPE/Dean’s Letter):




     Constructive Comments (not for use in MSPE/Dean’s Letter):



     By signing my name below, I confirm that I have received and reviewed the SMUSOM Clerkship
     Syllabus, which includes the SMUSOM Competencies, Clerkship Learning Objectives, Clerkship required
     encounters and procedures, and SMUSOM policies.

 Clinical Faculty Signature                                                                            Date

 Print Last Name
                                                                            -166-                                                       Revised 5/3/21




                                             Exhibit F Clincial Medicine Handbood                                                                   169
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 213 of 356 PageID 256



  Appendix 6 – Sample Mid‐Clerkship Assessment Form
                                             Mid-Clerkship Assessment
       INSTRUCTIONS: The mid-clerkship assessment is designed to provide you an accurate assessment of your
       performance to date and identify areas for improvement during the second half of your clerkship. You are required
       to review your performance to this point in your clerkship with at least one of your supervising attending physicians.
       Discuss all areas of competency with this (these) supervising attending physician(s). You are required to complete
       this assessment, incorporating feedback from the supervising attending physician(s), and submit it to SUSOM by the
       deadline.

       MEDICAL KNOWLEDGE: (Knowledge of basic and clinical sciences; Interest in learning; Understanding of
       complex clinical situations and mechanisms of disease)




       Specific Areas for Improvement:_________________________________________________________________

       COMMUNICATION SKILLS: (Presentations on Rounds; Presentations of Assigned Patients; Interactions with
       Patients/Families)




       Specific Areas for Improvement:_________________________________________________________________

       PATIENT CARE: (H&Ps, Note Writing, Lab Interpretation, Overall Patient Care Activities, Procedures)




       Specific Areas for Improvement:_________________________________________________________________

       SELF LEARNING: (Facilitation of learning amongst team; Ability to use scientific data to manage care; Initiative)




       Specific Areas for Improvement:_________________________________________________________________

       SOCIAL & COMMUNITY CONTEXT OF HEALTH CARE: (Accesses/utilizes outside resources needed for
       effective and efficient patient care; Uses systematic approaches to reduce errors and improve patient care)




       Specific Areas for Improvement:_________________________________________________________________

       PROFESSIONALISM: (Conscientiousness; Interactions with others; Dress & Grooming; Punctuality; Honesty;
       Motivation; Ability to recognize limitations)




       Specific Areas for Improvement:_________________________________________________________________

       Supervising Attending Physician Name(s): ________________________________________________________

       Supervising Attending Physician Contact: ________________________________________________________

       ˜    I hereby confirm that I have met with, and reviewed my performance with the supervising attending
            physician(s) named above.



                                                              -167-                                               Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                                            170
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 214 of 356 PageID 257




  Appendix 7 – Sample Patient Log


                         ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                         -168-                         Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                          171
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 215 of 356 PageID 258


  Appendix 8 – List of Required Online Learning Cases

           Case                          Title                                Subject
                                                                     obesity, ADHD, diabetes,
        CLIPP     4         8 year old boy well child check                 hypertension
       eCLIPP     1            6 year old girl with seizure          epilepsy, cultural contexts
       eCLIPP     3         2 year old boy with pneumonia           pneumonia, cultural contexts
       Simple     5          55 year old man with fatigue                    depression
                       55 year old woman with upper abdominal
        Simple     9                       pain                       pancreatitis, alcoholism
        Simple    18    75 year old man with memory problems                 dementia
                        75 year old woman with altered mental
       Simple     25                      status                     delerium, hyponatremia
       Simple     26   58 year old man with altered mental status         alcohol abuse
      fmCASES      3       65 year old woman with insomnia           major depressive disorder
                                                                     anxiety, coronary artery
      fmCASES      9     50 year old woman with palpitations           disease risk factors
      fmCASES     29       70 year old man with dementia                     dementia




                                                 -169-                                 Revised 5/3/21




                        Exhibit F Clincial Medicine Handbood                                       172
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 216 of 356 PageID 259


  Appendix 9 ‐ Step‐By‐Step Instructions for Completing Engaged Learning
  Assignments
       1. Each week you are enrolled in a Core Clerkship, you will receive an email on Mondays with the
           weekly assignment instructions, which can also be accessed at http://lms.stmatthews.edu, log in
           using the new institutional email address: _@stmatthews.com as your username and the
           password you use to access the campus website.
       2. Enter the “Clinical Clerkship Online Course”
       3. Scroll down to the section marked "This Week's Assignment". (If your assignment is not
           available or an assignment for a different core is posted submit a trouble ticket).
       4. The assignment will direct you to either a case, or cases, available on med-u.org (Note: If this is
           your first time accessing the course, you will need to register with med-u.org. Instructions are
           provided on the Course Homepage) or will provide a link to an assignment within the course.
       5. Complete the assignment and then return to the "This Week's Assignment" section and your
           particular assignment to post your Reflections.
       6. Select the link to your assignment under "This week's assignments" in the Clinical Clerkship
           Online Course. At the bottom of assignment page for any given week (scroll down) you will see
           the Forum Discussion.
       7. Open the Forum Discussion.
       8. Click on “Reply” to post a Reflection. You can view other student Reflections as well for
           interactive dialogue.

        **All assignments and Reflections must be completed by Sunday at midnight Eastern Time of the
        assigned week to receive credit.

        Please note: There are currently 2 assignments which include a lesson that you access directly
        through this course. These assignments have videos embedded within the pages, then a short
        question to answer in order to progress.

        Please pay careful attention to these tips, instructions, and illustrations, and view all of the teaching
        videos in order. The videos must be viewed to receive credit for the assignment.

        In the event that technical issues arise in regards to viewing the videos within the assignment, it is
        suggested that you try to use a different web browser (Mozilla Firefox or Google Chrome) to view
        the assignment.




                                                     -170-                                       Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                             173
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 217 of 356 PageID 260


  Appendix 10- Step-By-Step Instructions for Weekly Patient Logs Submissions
      1. Students can access the Patient Logs page at:
         https://www.stmatthews.edu/Gateway/PLGateway2.html (A link is also provided from your
         Clinical Clerkships Online Course Home Page and from the stmatthews.edu website).

      2. Enter all the relevant identifying information regarding the patient, including age, sex, and location
         that the patient was seen.

      3. Select your role and identify the supervisor.

      4. Choose the appropriate Patient Encounter(s) and/or Procedure(s) from the drop-down menus.

      5. Document the extent of the physical exam performed (full, targeted, or none).

      6. Document what you charted.

      7. Comments and reflections regarding the experience are optional, and may be entered within the
         final textbox.

      8. Click the submit button at the end, and you will then have the opportunity to enter additional
         patients.

      9. When you have submitted your final patient for your week, select Quit.

      10. You will then receive email confirmation of your log submission.

  Please note: You will not be able to edit previously submitted Patient Logs or go back and 'make-up' logs
  from previous weeks.

  Patient Logs logging a minimum of ten (10) patients per week are required for every week of a core rotation
  regardless of the total number of weeks of said rotation. This applies to all core rotations.

  If you have any questions or technical problems please use the following link to submit and IT trouble
  ticket:
  http://www.stmatthews.edu/osticket/.

  Weekly Patient Logs MUST be submitted before midnight Sunday. Please do not wait until the last minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Logs assignment.




                                                      -171-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          174
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 218 of 356 PageID 261


  Appendix 11‐ Step‐By‐Step Instructions for Weekly Patient Note
  Submissions
      1. Students can access the Patient Note page at:
         https://www.stmatthews.edu/Gateway/PNGateway.html (a link is also provided from your Clinical
         Clerkships Online Course Home Page and from the stmatthews.edu site.)

      2. Patient Note submissions will follow the same directions, restrictions and character limitation for
         each field as specified for USMLE Step 2CS4, including:
            • History - 950 characters or 15 lines
            • Physical Examination - 950 characters or 15 lines
            • Diagnosis - 100 characters for each diagnosis
            • History Findings and Physical Examination Findings - 100 characters for each field
            • Diagnostic Study/studies - 100 characters for each study recommendation
            • Students may add rows to the History Findings, Physical Examination
            • Findings and Diagnostic Study/Studies sections up to a maximum of eight rows each.

      3. Read all instructions on the form and enter your text in the appropriate fields.

      4. You only list the diagnoses supported by the history and physical exam. In some cases, there will
         only be one diagnosis. If there is more than one possible diagnosis, list them in order of likelihood,
         with the most likely diagnosis first.

     5. You are required to enter at least one Diagnostic Study.

     6. Provided you have entered all required information, click the "Submit" button at the bottom. You
        will be prompted to confirm your submission.

      7. Once submitted you may either submit another Patient Note or exit the application. Once you
         submit the required two Patient Notes for the week, you may no longer submit any Patient Notes
         until the next week.

  Please note: You will not be able to edit previously submitted Patient Notes or go back and 'make-up'
  Patient Notes from previous weeks.

  Patient Notes are required for every week of a core clerkship regardless of the total number of weeks of
  said clerkship. This applies to all core clerkships.

     If you have any questions or technical problems please use the following link to submit and IT trouble
     ticket: http://www.stmatthews.edu/osticket/.

  Weekly Patient Notes MUST be submitted before midnight Sunday. Please do not wait until the last
  minute.

  Students receive a weekly email reminder every Thursday of the Ob-Gyn Clerkship to complete the Patient
  Note assignment.




                                                     -172-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          175
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 219 of 356 PageID 262


  Appendix 12‐ Step‐By‐Step Instructions for Submitting the Mid‐Clerkship
  Assessment
     1. Go to the Mid-Clerkship Assessment Page:
        https://www.stmatthews.edu/Gateway/MCSAGateway.html (a link is also provided from your
        Clinical Clerkships Online Course Home Page and from the stmatthews.edu site.)

     2. You will receive an email reminder on Friday of Week 2 of the clerkship instructing you to
        complete an assessment of your performance on the clerkship.

     3. You will be able to submit only AFTER you have received the email reminder to fill the form.

     4. You must meet with the attending and/or resident in order to obtain their feedback on your
        performance on the clerkship to-date. You must discuss all areas of competency that will be
        evaluated at the conclusion of your clerkship.

     5. Read all instructions on the form and enter your text in the appropriate fields.

     6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to confirm
        before submitting.

     7. Once submitted you will be redirected to a page where you can view what you have submitted.
        Click “Exit Application” when you are finished.

     8. Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point
        deduction from the final grade as follows:

           •   Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 2 points
           •   Not submitted by the end of Week 5 = Grade of “U” in Professionalism & Lifelong Learning
               competencies and INCOMPLETE Final Grade and remediation required.




                                                     -173-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        176
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 220 of 356 PageID 263


     Appendix 13 ‐ SMUSOM Defined Patient Encounters with Alternative
     Clinical Learning (week 6)

                                                                                               Type of Encounter
                                      Level of        Clinical
                                      student         Setting         Primary Clinical
      Patient Encounter                                                                           Alternative Clinical Learning ***
                                   responsibility    (H/I, H/O,          Learning
                                   (Pr, Pa, Ob)*    ED, CC, NH,       Direct                                              Partial
                                                                                                                                      Screen
                                                      PPO)**                      Team      Full-Scale    Standardized                -Based
                                                                      Patient                                              Task
                                                                                  Care      Mannequin        Patient                  Simula
                                                                       Care                                               Trainer
                                                                                                                                       tion
Acute psychosis
Alcohol/Substance use disorder
Attention-deficit hyperactivity
disorder
Autistic spectrum disorder
Bipolar Disorder
Delirium
Dementia
Eating Disorder
Electroconvulsive Therapy
Generalized anxiety disorder
Involuntary commitment
Major Depressive Disorder
Mental disorders secondary to
medical condition
Obsessive-compulsive disorder
Panic disorder with or without
agoraphobia
Personality disorder
Pharmacotherapeutics:
Antidepressants
Pharmacotherapeutics:
Antipsychotics
Pharmacotherapeutics:
Anxiolytics
Pharmacotherapeutics: Mood
stabilizers
Post-traumatic stress disorder
Psychopharmacologic
Emergency
Psychotherapy
Schizoaffective Disorder
Schizophrenia
Somatoform disorder
Suicidal/ Homicidal Risk
Assessment

     KEY
     *Level of Student Responsibility
      Pr= Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
      Pa = Participant (member of medical team, present on rounds, O.R., etc.)
      Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

     **Clinical Setting
       H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
       H/O - Hospital/Outpatient Clinic
       ED - Emergency Department / Urgent Care / Transport
       CC - Community Clinic
       NH - Nursing Home / Home Care

                                                                  -174-                                            Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                     177
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 221 of 356 PageID 264

   PPO -    Private Practice Office

  *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
       Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
                                      respiratory, etc.). May range from high- to low-fidelity.
       Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students
                                      regarding his/her medical condition.
       Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal
                                   anatomy.
       Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases




                                                               -175-                                            Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                  178
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 222 of 356 PageID 265


  Appendix 14 – Guidelines for the IPE Reflection Exercise
   This activity is designed to improve students’ ability to work effectively with other health care
   professionals and to make use of the unique contributions of other health care professionals. In order to
   satisfy the IPE Reflection Exercise students submissions will be read and graded by the Clinical
   Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or
   “Below Expectations”. Students who do not achieve competency in writing the IPE initially, will be able
   to resubmit. Students who do not achieve competency by the end of the clerkship will receive a “U” in the
   respective competencies and will need to remediate. After successful remediation, students will receive an
   “S*” in place of the “U” according to school policy.

   In general, IPE Reflection Exercises that “Meet Expectations” have the following
   common characteristics:
        They include insights gained by you during your interactions with the health care professional
        They are well-organized, clearly written, and fully answer the question.

   Below is an example of an IPE Reflection Exercise that would meet expectations. The example responses
   are in italics.

   1.      Describe an ethical dilemma specific to Interprofessional patient-centered care and based on
           interviews with co-providers, describe how it was resolved. An example of such a dilemma
           could be an elderly male patient who wants to be discharged to home, but the social worker has
           determined that he would not be able to take care of himself. A pediatric example could be
           parents wanting to take the child home but Nursing is not confident that the parents can provide
           the care needed. (200 words maximum)

                  An elderly female wanted to return to her own home to live independently, but she was
                   not able to see and grip the medication bottle well enough to take her medications as
                   indicated. The Occupational Therapy department recommended medication dispenser
                   that a family member could fill each week that enabled her to take the correct dose.

   2.      Explain the roles and responsibilities of three other healthcare providers that you observed
           and how they work as part of the team to provide care. Based on brief discussions with them,
           describe the limitations of the medical professionals’ skills, knowledge, and attitudes that
           these other providers contribute. (200 words maximum)

                  A teenager admitted with anorexia nervosa needed a precise amount of nutrition to
                   become healthy, but not so much that she would get refeeding syndrome. The
                   nutritionist was able to calculate her intake more precisely than the medical team
                   which allowed the team to adjust her feeding plan.
                  An elderly patient admitted to the psychiatric ward for depression was found to
                   have subtle cognitive impairment by a comprehensive neuropsychological
                   assessment completed by a psychologist. That testing helped the team understand
                   some of his behaviors.
                  A physical therapist evaluated a patient who had suffered several falls at home and she
                   was able to recommend a certain type of walker that would help support the patient and
                   help prevent further falls.


   3.      Describe how your unique attributes (experience level, expertise, culture, power, and hierarchy
           within the health team) have contributed to effective communication, conflict resolution, and
           positive interprofessional working relationships. If you can’t think of an example from your
           work, describe a conversation with a provider in another profession that demonstrates this. An
           example could be that your religious background helped you understand a patients concern that
                                                     -176-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                         179
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 223 of 356 PageID 266


         you were then able to explain to the team. Another example would be where your knowledge of
         the patient’s culture helps the team ensure the right care is delivered. (200 words maximum).

              •       There was a patient who was admitted for a hysterectomy due to cervical cancer. The
                      team didn’t think she knew was her uterus was, but I was able to talk to her in Spanish,
                      verify that she knew what her uterus was, and help her understand the disease and our
                      recommended treatment.

     4. Describe three instances where another health professional contributed to patient-centered care
           through problem-solving. Describe their viewpoint based on a brief interview discussion
           with them (“How did you come up with that great idea?”). (200 words maximum)

                       A patient was terrified of going into an elevator due to claustrophobia, but the
                        transporter produced keys that would immediately stop the elevator and open the
                        doors if the patient felt too scared.
                       A patient refused to eat the hospital food. She wouldn’t tell anyone why, but a
                        social worker found out that she was observing Ramadan and that the food was
                        delivered during daylight hours. The social worker talked to the dietary service
                        and was able to have food delivered on a schedule that worked for the patient.
                       A patient was very concerned because of news reports that he would get the wrong
                        medication while in the hospital. The nurse gave him a copy of the medications and
                        schedule that the physician ordered, and had the pharmacist added a photo of each
                        tablet. The patient kept the list by his bed so he could check each one as it was given
                        to him.




                                                      -177-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           180
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 224 of 356 PageID 267



   Appendix 15‐ Step‐By‐Step Instructions for Submitting the IPE
   Reflection Exercise

      1. You will receive an email reminder on Friday of Week 1 of the clerkship instructing you to
         complete an IPE Reflection Exercise prior to the end of week 4.

      2. You must meet with the health care professional that you write about in the exercise. It does
         not need to be a formal meeting, but must include a conversation about their role.

      3. Go to the IPE Reflection Exercise Page:https://portal.stmatthews.edu/Clinical/clerkships (a link
         is also provided from your Clinical Clerkships Online Course Home Page.)

      4. You will be able to submit only AFTER you have received the email reminder to fill the form.

      5. Read all instructions on the form and enter your text in the appropriate fields.

      6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to
         confirm before submitting.

      7. Once submitted you will be redirected to a page where you can view what you have submitted.
         Click “Exit Application” when you are finished.

      8. Failure to submit the IPE Reflection Exercise in a timely manner will result in a point
         deduction from the final grade as follows:
              • Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 1 point
              • Submitted late but by Sunday at midnight of Week 6 = final grade reduced by 2 points
              • Not submitted by the end of Week 6 = final grade reduced by 3 points, grade of “U” in
                Social & Community Context of Healthcare and INCOMPLETE Final Grade and
                remediation required.




                                                     -178-                                    Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                          181
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 225 of 356 PageID 268



                     St. Matthew’s University School of Medicine
                                           Course Syllabus
                                             SURGERY
                                            Required Clerkship

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   Clerkship Goal
   The Surgical Clerkship is a twelve-week experience designed to expose students to a wide variety of
   surgical diseases. Students will be active participants in the initial work-up of patients, the operation,
   post-operative care and follow-up in the office all in order to provide continuity of care. Students are
   expected to understand the anatomy and pathophysiology behind the disease processes. There is not an
   expectation to understand how to perform an operation but more importantly, what are the indications for
   an operation. Students will take an active role in the operating room by learning to suture, hold the
   camera during laparoscopy, assist, etc. Outside of the operating room, students will be responsible for
   patient care in the hospital. There is a strong emphasis placed on the student being efficient and
   organized and learning to present patients on rounds clearly and concisely. The overall goal at the end of
   the rotation is for the student to be knowledgeable on surgical topics as well as being a more complete
   medical student more prepared for residency.

   Core Clerkship Competencies and Learning Objectives
   During this required rotation, students are expected to develop their understanding and competency in the
   areas of patient care, medical knowledge, lifelong learning, scholarship and collaboration,
   professionalism, interpersonal and communication skills, and social and community context of healthcare.
   Students will be exposed to the management of surgical patients with the expectation of enhancing their
   understanding of disease diagnosis, treatment and prevention. The competencies are aligned with clinical
   learning objectives that each student is expected to satisfy by the end of the clerkship.

                                                     -179-                                    Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                       182
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 226 of 356 PageID 269


   Students’ proficiency in these competency areas are evaluated throughout the course of the clerkship and
   reflected in their final evaluation.

   SMUSOM Competencies
   1. Patient Care: Students must be able to provide patient care that is compassionate, appropriate, and
      effective for the treatment of illness and the promotion of health.
   2. Scientific & Medical Knowledge: Students must demonstrate knowledge about established and
      evolving biomedical, clinical, and associated sciences and application of this knowledge to the practice
      of medicine throughout the life cycle.
   3. Lifelong Learning, Scholarship, & Collaboration: Students must be able to examine and evaluate
      their patient care practices, appraise and assimilate scientific evidence, and use this information to
      improve their abilities.
   4. Professionalism: Students must demonstrate a commitment to the highest standards of professional
      responsibility, adherence to ethical principles, and sensitivity in all interactions with patients, families,
      colleagues, and others with whom physicians must interact in their professional lives.
   5. Communication & Interpersonal Skills: Students must display interpersonal and communication
      skills that foster effective information exchange and build rapport with patients, their families, and
      professional associates.
   6. Social & Community Context of Healthcare: Students must demonstrate knowledge of and
      responsiveness to the larger context of health care and the ability to effectively call on system
      resources to provide care that is of optimal value to the health of the individual and of the community.

   Learning Objectives
   1. Diagnostic Decision-Making: Students should understand the scientific basis of surgical diseases,
       recognize surgical disease presentations, and know when to call for a surgical consultation.
   2. Case Presentation Skills: Students should develop proficiency with different types of case
       presentations: written and oral, new patient and follow-up, inpatient and outpatient.
   3. History-Taking and Physical Examination: Students should be able to perform a focused history
       and physical (H&P) exam on a surgical patient with a plausible plan and differential diagnosis.
   4. Communication and Relationships with Patients and Colleagues: Students should demonstrate a
       proficiency in communication and interpersonal skills and be able to communicate clear and effective
       plans regarding patient care to the team.
   5. Interpretation of Clinical Information: Students should be able to determine how test results will
       influence clinical decision-making and how to communicate this information to patients and be able
       to describe the anatomy, underlying pathophysiology and basic management principles of surgical
       diseases.
   6. Therapeutic Decision-Making: Students should use basic therapeutic decision-making skills that
       incorporate both pathophysiologic reasoning and evidence-based knowledge.
   7. Bioethics of Care: Student should be able to recognize ethical dilemmas and respect different
       perceptions of health, illness, and health care held by patients of various religious and cultural
       backgrounds and demonstrate the correct procedure for obtaining informed consent.
   8. Self-Directed Learning: Students should master and practice self-directed life-long learning,
       including the ability to access and utilize information systems and resources efficiently.
   9. Prevention: Students should be able to anticipate and suggest treatment for various post-operative
       complications and be familiar with the principles of preventive health care to ensure their patients
       receive appropriate preventive services.
   10. Coordination of Care: Students should understand the roles of various operative team members and
       how operative services fit in the “bigger picture” of the health system.
   11. Procedures: Students should become familiar with basic surgical procedures.




                                                       -180-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            183
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 227 of 356 PageID 270




   Student Responsibilities
   Clinical Experience
   During the Surgery Clerkship, students should encounter patients defined in the SMUSOM Patient
   Encounters and Procedures list.

          Patient Encounters
          Through a series of Patient Encounters, students become familiar with the most prevalent
          diseases and conditions, and with the essentials of critical thinking that lead to the differential
          diagnosis and formulation of management plans.

          The SMUSOM Patient Encounters (Table 1) are based upon those published by the American
          College of Surgeons (ACS): http://www.facs.org/education/surgicalskills.html.

          The types of Patient Encounters are intended to be representative of symptoms and conditions
          that facilitate mastery of the SMUSOM competencies. All of these Patient Encounters may be
          seen by the student in a variety of settings.

          A single patient can potentially present with one or more of these problems and/or condition for
          the student to log as a Patient Encounter; for example, a patient with burns can present with
          metabolic failure / shock, so the student can log one case of burn and one case of metabolic
          failure / shock.

          Students complete Patient Encounters during the first 10 weeks of the clerkship through Primary
          Clinical Learning, as defined by SMUSOM as an experience in which the student participates in
          direct patient care or team care (patient rounds).

          During the last two weeks of the clerkship, students may complete Patient Encounters through
          either Primary Clinical Learning or through Alternative Clinical Learning, as defined by
          SMUSOM as an experience in which the student participates in representative case-based
          discussions (e.g., morning report, grand rounds, morbidity/mortality, etc.) or simulation (web-
          based modules e.g., SIMPLE cases or standardized patients).

          Students must reflect their Patient Encounters in the Patient Logs during their Surgery Clerkship.
          Ideally, the exposure should be via real patient contact (either by direct care of these patients, or
          by observed care of someone else’s patient during ward rounds or clinic). If real patient contact is
          not possible, then an acceptable alternative would be case-based discussions or simulation (web-
          based modules e.g., SIMPLE cases or standardized patients).

          If the student has not documented the required Patient Encounters through Primary Clinical
          Learning (via the Patient Log) by the end of the 10th week of the clerkship, then opportunities to
          fulfill the remaining Patient Encounters through Alternative Clinical Learning will be sent via
          email. The program will ensure that the student logs a minimum of 100 Patient Encounters
          through Primary Clinical Learning in the first 10 weeks.




                                                      -181-                                       Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                             184
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 228 of 356 PageID 271


           Table 1. SMUSOM Defined Patient Encounters
                                                                                              Type of Encounter
                                                   Level of student     Clinical Setting       Primary Clinical
                     Patient Encounter              responsibility       (H/I, H/O, ED,            Learning
                                                    (Pr, Pa, Ob)*       CC, NH, PPO)**        Direct
                                                                                                          Team
                                                                                              Patient
                                                                                                           Care
                                                                                               Care
              Abdomen Evaluation: Acute
              Abdomen, Masses, Pain, Bowel
              Obstruction
              Burns
              Cardiothoracic Surgery
              Disease Prevention / Screening
              (Colonoscopy, etc.)
              Fluids, Electrolytes and Acid
              Base Balance
              Hernia
              Informed Consent
              Metabolic Failure / Shock
              Nutrition management
              Orthopedic Surgery
              Perioperative Evaluation
              Post-Operative Care
              Surgical Bleeding and Blood
              Replacement
              Surgical Disease of the Biliary
              Tract
              Surgical Disease of the Breast
              Surgical Disease of the Colon,
              Rectum and Anus
              Surgical Disease of the
              Esophagus
              Surgical Disease of the Genito-
              Urinary Tract
              Surgical Disease of the Head and
              Neck
              Surgical Disease of the Liver
              Surgical Disease of the Pancreas
              Surgical Disease of the Small
              Intestine and Appendix
              Surgical Disease of the Spleen
              Surgical Disease of the Stomach
              and Duodenum
              Surgical Endocrinology
              (Adrenal/Thyroid/Parathyroid)
              Surgical Oncology
              Trauma / Shock
              Vascular Surgery
              Wounds and Wound Healing

     KEY
     *Level of Student Responsibility                                   **Clinical Setting
      Pr = Primary (student primarily responsible for Patient           H/I - Hospital/Inpatient/Infusion Center/Ambulatory
            Encounter, e.g., performed H&P, procedure, etc.)            Surgery
      Pa = Participant (member of medical team, present on              H/O - Hospital/Outpatient Clinic
            rounds, O.R., etc.)                                         ED - Emergency Department / Urgent Care / Transport
                                                                        CC - Community Clinic
     Ob= Observer (only involved in discussion of patient,              NH - Nursing Home / Home Care
         presentation of case, etc.)                                    PPO - Private Practice Office




                                                                -182-                                         Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                    185
  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 229 of 356 PageID 272



                  Procedures
                  The goal of clinical student training is to learn basic principles of Surgery, covering common
                  symptoms and conditions, their presentation, evaluation, diagnosis, and basic treatment. Some
                  procedures, as indicated below, must be completed in association with other health professionals
                  so the students can develop the skills required to perform effectively in health care delivery
                  teams. The student’s level of responsibility is primarily through supervised learning. The
                  following are clinical skills or procedures the student should have an understanding of by the end
                  of the Surgery Clerkship through observation, performance, or simulation. If real patient contact
                  is not possible, then an acceptable alternative would be via simulation (real simulation with
                  standardized patients or virtual simulation via web-based modules, e.g., WISEMD cases).

                  Table 2. SMUSOM Defined Procedures
                                                                                                 Type of Encounter
                                                         Clinical        Primary
                                      Level of           Setting         Clinical               Alternative Clinical Learning***
         Procedure                    student           (H/I, H/O,       Learning
                                   responsibility        ED, CC,
                                                                                                                        Partial          Screen-
                                   (Pr, Pa, Ob)*           NH,           Direct        Full-Scale     Standardized
                                                                                                                         Task             Based
                                                         PPO)**          Patient       Mannequin         Patients
                                                                                                                        Trainer        Simulation
Arterial Blood Gas
Bladder catheter
insertion/removal
Central venous catheter
insertion
Chest Tube Placement
Drainage of abscess
EGD/Colonoscopy
Injection (Subcutaneous, IM, or
IV)
Lesion biopsy
Nasogastric tube insertion /
removal
Peripheral IV insertion/
venipuncture
Suturing
Wound Care/Dressing change
Observed conducting relevant
portions of the history and
physical exam
Dressing change with nursing
staff****
Determine ability to ambulate
with physical therapist or
nurse****
nurse****
Participate in discharge
planning with nurse or social
worker****
Participate with nurse or any
allied health professional in
discussion of care being
delivered****
        KEY
           *Level of Student Responsibility
           Pr = Primary (student performed procedure)                        **Clinical Setting
           Pa = Participant (student assisted in performing procedure)       H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
           Ob = Observer (student observed procedure)                        H/O - Hospital/Outpatient Clinic
                                                                     -183-                                            Revised 5/3/21




                                         Exhibit F Clincial Medicine Handbood                                                     186
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 230 of 356 PageID 273


     ED - Emergency Department / Urgent Care / Transport            Standardized Patients – Person trained to portray a clinical
     CC - Community Clinic                                            condition, or actual patient trained to interact with students
     NH - Nursing Home / Home Care                                    regarding his/her medical condition.
     PPO - Private Practice Office                                  Partial Task Trainer – Physical model that simulates a subset of
   *** Alternative Clinical Learning (Definitions from 2011           physiologic function to include normal and abnormal
   AAMC Medical Simulation in Medical Education Survey)               anatomy.
   Full-Scale Mannequin – Full-body human patient simulator         Screen-Based Simulation – Multimedia-based clinical cases,
     that mimics various function s of the human body (e.g.           including online patient cases
     cardiac, respiratory, etc.). May range from high- to low-
     fidelity.                                                      **** Must be completed in association with other health
                                                                    professionals.

  Patient Logs
  Students are expected to see a minimum of ten (10) patients per week which must be logged in the Patient
  Logs system (Appendix 7) and record the following:
          1. Patient Encounters listed in Table 1; and
          2. Procedures listed in Table 2.

  Students should also record all relevant information regarding the patient (e.g, age, gender, clinical setting,
  etc.) in the Patient Logs.

  Students who fail to submit logs in a timely fashion, or students who are not making satisfactory progress
  with regard to the logging of patient encounters, procedures or skills will be contacted by the clinical
  department.

  Patient Note
  Students are expected to learn how to perform and document full H&Ps during the clerkship. SMUSOM
  requires each student to submit completed two Patient Notes per week (Appendix 3) based on the patients
  that they have seen during the week.

  The Patient Note is written by the student in the role of the “doctor”, focusing on accurately reporting the
  patient history and physical findings and in compliance with HIPAA. Guidelines for the Patient Note
  Exercise, including an appropriately completed Patient Note and suggested content can be found in
  Appendix 4.

  In order to receive full credit for the weekly assignment, the student must satisfactorily complete two
  Patient Notes, which are graded by the Clinical Deans. A student who does not meet the Patient Note
  requirement receives no credit.

  Engaged Learning Experience
  SMUSOM defines an Engaged Learning Experience as a type of learning in which the student participates
  in the educational process and where the faculty member determines what and how the student should learn.
  As such, we have created Engaged Learning Assignments comprised of a series of 24 Clinical Learning
  Modules that students must complete during the course of the Surgery Clerkship (Appendix 8).

           Clinical Learning Modules
           Students participating in the Surgery Clerkship will be responsible for weekly Clinical Learning
           Modules on SMUSOM’s Learning Management System (LMS), http://lms.stmatthews.edu.
           Instructions for completing the weekly assignment can be found in Appendix 9.

           These Clinical Learning Modules are interactive virtual patient cases designed to encompass
           SMUSOM’s learning objectives as represented by the Association for Surgical Education’s (ASE)
           Surgical Educator’s Handbook comprehensively and are designed for use by third-year medical
           students.

                                                                 -184-                                           Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                                       187
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 231 of 356 PageID 274


          As part of each Engaged Learning Assignment, students are also expected to complete a Reflection
          based on their interaction with the assigned cases.

          Reflections
          Reflections must be submitted for each of the weekly Clinical Learning Module cases. A
          Reflection has no percentage value, but is required. As a result, a student who does not complete a
          Reflection receives no credit for the weekly assignment. In order to receive full credit for each
          weekly assignment, the student must complete two Clinical Learning Module cases and submit a
          Reflection, which is graded pass/fail by the Clinical Dean.

          What is a reflection?
            A reflection may be represented by describing a specific aspect of the case or disease state that:
            ˗ The student did not know and will help the student moving forward;
            ˗ Made the student think of a particular patient he/she has seen;
            ˗ Made the student think of something that he/she has been taught previously; or
            ˗ In some other way led to something the student learned that others might benefit from.

          Why is reflection important?
            ˗ Thinking about learning and writing things down helps to clarify thoughts and emotions;
            ˗ Reflection helps to focus on the student’s development as an effective independent learner,
                 and on the strategies used to work towards this.

          What is a reflective learner?
            Reflective learners continually reflect on:
            ˗ What they are learning and how they are learning it;
            ˗ What their strengths and weaknesses in learning are; and
            ˗ The gaps in their knowledge and skills, and how they might work towards filling these.

  Monitoring and Evaluation
  SMUSOM is committed to the success of every student and actively monitors students’ progress throughout
  the clerkship. Performance on weekly assignments is reviewed by the Clinical Deans for content and
  quality to identify students in need of assistance (Appendix 4).

  Evaluation of Student Clerkship Performance
  Students should review the Clinical Clerkship Grading Guidelines in the SMUSOM Clinical Handbook.

  Mid-Clerkship Feedback
  The mid-clerkship assessment is designed to provide students an accurate assessment of their performance
  to date and identify areas for improvement during the second half of the clerkship. Students receive
  notification from the Clinical Department at the clerkship midpoint that they are required to review their
  performance to this point in the clerkship with at least one supervising attending physician. Students must
  discuss all areas of competency, as well as review their patient log, with this (these) supervising attending
  physician(s).

  Students are required to submit these mid-clerkship assessment forms (Appendix 6) to the Clinical
  Department no later than the end of week 7. Failure to submit the mid-clerkship assessment form in a
  timely manner will result in point deduction which may affect the final grade. Mid-clerkship assessment
  forms are reviewed for scope and content by the clinical department. Students with mid-clerkship
  assessment forms that are deemed inadequate in any respect will be contacted by the clinical department.

  The course grade consists of the overall performance on the Core Clerkship Exam, Engaged Learning
  Experience, Patient Log, Patient Note, and Clinical Faculty Evaluation.

                                                      -185-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          188
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 232 of 356 PageID 275


  Final Grade
  Students’ final grade is calculated as follows:

   Clinical Faculty
                                 A formal evaluation by the attending physician is completed at the end of the
   Evaluation:
                                 clerkship, which is based on performance, observation, and demonstration of
   Percentage of Final
                                 required competencies.
   Score: 30%
   Core Clerkship Exam:          Students are required to take the Surgery Core Clerkship Examination (NBME)
   Percentage of Final           upon clerkship completion. Passing this examination is REQUIRED in order to
   Score: 40%                    progress to the next clinical clerkship.
   Engaged Learning              Students are required to complete two Clinical Learning Modules with
   Experience:                   accompanying Reflections organized around major clinical topics every week.
                                 These assignments must be submitted by Sunday, midnight (ET) in order to receive
   Percentage of Final           credit.
   Score: 10%
   Patient Logs:                 Students complete Patient Logs every week. Students are required to record ten or
   Percentage of Final           more Patient Encounters. Procedures are also recorded via the Patient Logs. The
   Score: 10%                    Patient Log must be submitted by Sunday, midnight (ET) in order to receive credit.
   Patient Note:                 Students are required to complete two Patient Notes (based on the patients that they
   Percentage of Final           have seen) every week. This assignment must be submitted by Sunday, midnight
   Score: 10%                    (ET) in order to receive credit.

   Mid-Clerkship                 Students are required to complete a Mid-Clerkship Assessment Form by Sunday,
   Feedback:                     midnight (ET) no later than one week past the mid-point of the clerkship. Failure to
   Percentage of Final           submit the Mid-Clerkship Assessment in a timely manner will result in point
   Score: Variable               deduction from a student’s final grade.
   Interprofessional             Students are required to complete an Interprofessional Education Reflection
   Education Reflection          Exercise by Sunday, midnight (ET) of week 8. Failure to submit the
   Exercise:                     Interprofessional Education Reflection Exercise in a timely manner will result in
   Percentage of Final           point deduction from a student’s final grade.
   Score: Variable

  Grading level:
  90-100% = Honors
  80-89% = High Pass
  70-79% = Pass
  <70%     = F

  Calculation of the student’s grade for the clerkship: the grade is comprised of six components which
  include: Core Clerkship Exam (40%); Clinical Faculty Evaluation (30%); Engaged Learning Experience
  (LMS + Reflection) (10%); Patient Logs (10%); Patient Note (10%); and any point deductions related to the
  Mid-Clerkship Assessment or the Interprofessional Education Reflective Exercise. Students must attain a
  minimum score of 70% in each of the Core Clerkship Exam, Clinical Faculty Evaluation, Engaged learning
  Experience, Patient Note and Patient Logs components.

  The Clinical Faculty Evaluation component of the grade is calculated based on a formula incorporating the
  faculty member’s assessment of how often the student "exceeds expectations", “meets expectations", or falls
  “below expectations". Note that any competencies that are "below expectations" require remediation to a
  level of at least 'meets expectations'.


                                                        -186-                                        Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                               189
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 233 of 356 PageID 276


  Students receiving a failing score on any of the components of the course grade (Core Clerkship Exam,
  Engaged Learning Experience, Patient Logs, Patient Note and Clinical Faculty Evaluation) are immediately
  reviewed by the Associate Dean for Clinical Medicine and are subject to remediation and/or referral to the
  student promotions committee.

  Students who are dissatisfied with a grade received from a faculty member or their final grade are not
  permitted to contact the faculty member or the clinical site. Students must contact the clinical department
  first to discuss their grievance.

  Competency Assessments
        Clinical Faculty Evaluation
        Competencies Assessed: See Appendix 5

          Core Clerkship Exam
          Competencies Assessed:
                 PATIENT CARE
                 1b. Select and interpret appropriate laboratory and diagnostic studies
                 1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                 1f. Make use of the scientific foundation for clinical decision making
                 SCIENTIFIC AND MEDICAL KNOWLEDGE
                 2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                 2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                 history of illnesses
                 2c. Demonstrate knowledge of health maintenance and disease prevention

          Engaged Learning Experience
          Competencies Assessed:
                PATIENT CARE
                1a. Perform a history, physical examination and basic procedures with competence and
                sensitivity in order to identify clinical problems and assess their urgency
                1b. Select and interpret appropriate laboratory and diagnostic studies
                1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                1d. Develop hypotheses, diagnostic strategies and management plans
                1f. Make use of the scientific foundation for clinical decision making
                1g. Use information technology to support care decisions and patient education
                SCIENTIFIC AND MEDICAL KNOWLEDGE
                2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                history of illnesses
                2c. Demonstrate knowledge of health maintenance and disease prevention
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3c. Use information technology to access medical information and support his or her own
                education
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility
                COMMUNICATION & INTERPERSONAL SKILLS
                5d. Demonstrate sensitivity to human differences and understanding of the impact of gender,
                ethnic, cultural background, socioeconomic and other social factors
                5e. Counsel and educate patients and their families
                5f. Promote wellness and preventive strategies

          Patient Logs
          Competencies Assessed:
                                                      -187-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          190
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 234 of 356 PageID 277


                  PATIENT CARE
                  1a. Perform a history, physical examination and basic procedures with competence and
                  sensitivity in order to identify clinical problems and assess their urgency
                  1b. Select and interpret appropriate laboratory and diagnostic studies
                  1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                  1d. Develop hypotheses, diagnostic strategies and management plans
                  1f. Make use of the scientific foundation for clinical decision making
                  PROFESSIONALISM
                  4c. Exhibit dependability and responsibility

          Patient Note
          Competencies Assessed:
                  PATIENT CARE
                  1a. Perform a history, physical examination and basic procedures with competence and
                  sensitivity in order to identify clinical problems and assess their urgency
                  1b. Select and interpret appropriate laboratory and diagnostic studies
                  1c. Analyze and synthesize data from history, physical exam and diagnostic studies
                  1d. Develop hypotheses, diagnostic strategies and management plans
                  1e. Document data, assessment, and plans in the patient’s record
                  1f. Make use of the scientific foundation for clinical decision making
                  SCIENTIFIC AND MEDICAL KNOWLEDGE
                  2a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
                  2b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural
                  history of illnesses
                  2c. Demonstrate knowledge of health maintenance and disease prevention
                  COMMUNICATION & INTERPERSONAL SKILLS
                  5a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
                  relationship
                  5f. Promote wellness and preventive strategies

          Mid-Clerkship Feedback
          Competencies Assessed:
                LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                3a. Display intellectual curiosity, willingness to examine assumptions and commitment to
                lifelong learning
                PROFESSIONALISM
                4c. Exhibit dependability and responsibility

  Student’s Evaluation of the Clerkship
  Student feedback is very important to the program. Completion of the clerkship evaluation form is required
  before the student can receive a final grade. Students will evaluate the total clerkship experience based on
  the following:
           1. Faculty members’ professionalism & willingness to teach
           2. Attitude of other personnel (nurses, house staff, administration)
           3. Quality of teaching diagnosis and treatment
           4. Opportunities to observe procedures
           5. Opportunities to perform procedures
           6. Sufficient # of patient contacts per day
           7. Sufficient # of history and physical exams per week
           8. Scope and variety of pathology / disease
           9. Quality of didactics (lecture, reading, rounds)
           10. Overall clerkship evaluation
           11. Average number of patient contacts per day
                                                     -188-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         191
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 235 of 356 PageID 278


          12. Average number of H&P exams done in a week
          13. Night call*
          14. Average number of night call done in a week
          15. Working weekends*
          16. Number of hours worked per week
          17. Retrospect- would take this clerkship again?
          18. Recommend- would recommend this clerkship?
          * requirements vary

  Course Policies
  Attendance
  Students are expected to be punctual, be well prepared, and have 100% attendance at all clerkships and
  related educational experiences. No vacations or time off is permitted during clerkships. Refer to the
  SMUSOM Clinical Medicine Handbook for further details regarding policies for attendance.

  Duty Hours
  The goals of the medical students and the faculty of SMUSOM are one and the same: to get the best medical
  education possible while not ignoring overall health and happiness. Attention needs to be paid to both
  duty/work hours and personal time.

  The following policies set forth the acceptable amount of time that clerkships may require of students, based
  upon the ACGME regulations for first-year residents. “Duty hours” include inpatient and outpatient clinical
  activities and scheduled academic exercises such as conferences and lectures that are related to the
  clerkship.
      • Total duty hours must not exceed 80 hours per week, averaged over a four-week period.
      • Call will be scheduled to coincide with the attending and/or resident team.
      • Duty hour periods in the hospital will not exceed 16 consecutive hours.
      • In each month the clerkship will provide each student with four individual 24-hour periods free
           from any required clinical or educational activities.

  Students should report duty hour violations directly to the Clinical Department.

  Core Clerkship Exam (CCE)
  SMUSOM uses the National Board of Medical Examiners (NBME) Clinical Science Subject Examination
  as the final exam for the Surgery Clerkship. SMUSOM will provide the student’s name and email address
  to the NBME approximately 5 weeks before the end of the Surgery clerkship.

  Each eligible SMUSOM student will receive an email with a link to a web page where he/she can
  print/download the scheduling permit and view policies and procedures for the testing session. This will
  enable the student to schedule the testing appointment online through the Prometric website and receive a
  confirmation notice.

  Students must schedule to take the exam in the 14-day exam window starting the Saturday before the end of
  the clerkship (first day of the window), and ending Friday, two weeks later. This means that every student
  can take the exam during the last week of his or her clerkship, and the week immediately after the end of the
  clerkship. Taking time off during the clerkship to study for the exam or to take the exam is completely at the
  discretion of the Hospital/Clinical site.

  ALL Students must schedule their exam prior to the Saturday before the end of the clerkship.
  Students can cancel and reschedule their testing appointment without penalty or charge at any time up to 15
  days prior to the first day of the exam window. If the request is made less than 15 days prior to the
  scheduled appointment, Prometric will charge a fee. Fees for rescheduling/cancellation appear on the

                                                      -189-                                    Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         192
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 236 of 356 PageID 279


  confirmation notice and will be charged to the student. Note: rescheduled exam dates can only occur within
  the testing window.

  Failure to take or pass the exam within the prescribed two-week window will result in a grade of
  INCOMPLETE for the clerkship. If the student does not take the exam during the prescribed initial two
  week window, he/she will be assessed a score of zero (i.e. a failing score) and will only be permitted two
  additional attempts within the prescribed time period detailed below.

  SMUSOM’s goal is to provide the student with his or her NBME results 1 week after the last day of the 14-
  day exam window.

  If a student fails, and is already in another clinical clerkship (or is scheduled to start a clinical clerkship
  shortly) at the time that the school receives the failing score report, he/she may complete that clinical
  clerkship. However, NO additional clinical clerkships will be permitted until the student receives a passing
  grade for both the previously failed and current clinical clerkship Core Clerkship Exam (in the case of a
  core clinical clerkship).

  In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
  attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
  of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
  reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure
  to make the initial attempt during the prescribed window detailed above). The Core Clerkship Exam grade
  component shall be the average of all attempts.

  Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the
  prescribed six months in three attempts shall result in a FAILING grade for the core clinical clerkship.

  Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student take
  this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
  Clinical Science Subject Examination) within the parameters described above.

  Student Promotions
  Any student in clinical clerkships who receives a grade of F (failure) will be placed on academic probation
  for one year. If a second grade of F (Failure) is earned by the student while on academic probation, the student
  will be dismissed.
  The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘C’ should be reviewed
  by the Promotions Committee for consideration of placement on academic probation. The Dean will
  determine whether any remedial program will be required of the student, e.g. additional weeks of clerkship in
  the discipline.

  Academic Integrity
  St. Matthew’s University School of Medicine does not tolerate any form of academic dishonesty.

  Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for
  credit of any work or materials that are fictitious, attributable in whole or in part to another person, any act
  designed to give unfair advantage to a student or the attempt to commit such acts.

  All persons involved in academic dishonesty will be disciplined in accordance with University regulations
  and procedures. Discipline may include suspension or expulsion from the University.

  For example, it is plagiarism to copy history and physical exam findings from a medical record without
  performing the work and without attribution.

                                                       -190-                                       Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            193
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 237 of 356 PageID 280



  Students who are unsure about what constitutes plagiarism should refer to:
  http://www.plagiarism.org/plag_article_preventing_plagiarism_when_writing.html.




                                                  -191-                             Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                194
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 238 of 356 PageID 281


  Recommended Textbooks
  Essentials of General Surgery [Paperback]
  By: Peter F. Lawrence
  Publisher: Lippincott Williams & Wilkins; Fifth edition (2013)
  ISBN-10: 0781784956

  Schwartz’s Principles of Surgery, 9th Edition (Hardback)
  By: F. Charles Brunicardi (Editor), Dana K. Andersen, Timothy R. Billiar, David L. Dunn, John G. Hunter,
  Jeffrey B. Matthews, Raphael B.Pollock
  Publisher: McGraw-Hill; 9th Edition (September 2009)
  ISBN-10: 007154769X ISBN-13: 978-0071547697

  Sabiston Textbook of Surgery, 18th Edition (Hardback)
  By: Courtney M. Townsend, Jr., R. Daniel Beauchamp, B. Mark Evers, Kenneth L. Mattox
  Publisher: W.B. Saunders Company; 18th Edition (November 2007)
  ISBN-10: 141605233X ISBN-13: 978-1416052333

  Greenfield’s Surgery: Scientific Principles and Practice (Hardback)
  By: Michael W. Mulholland, Keith D. Lillimore, Gerald M. Doherty, Ronald V. Maier, Gilbert R.
  Upchurch, Jr.
  Publisher: Lippincott Williams & Wilkins; Fifth edition (October 25, 2010)
  ISBN-10: 9781605473550 ISBN-13: 978-1605473550

  ACS Surgery: Principles & Practice, 6th Edition [Hardcover]
  By: Wiley W. Souba, Mitchell P. Fink, Gregory J. Jurkovich, Larry P. Kaiser, William H. Pearce, John H.
  Pemberton, Nathaniel J. Soper
  Publisher: WebMD Professional Publishing; 6th edition (June 22, 2007)
  ISBN-10: 0977222624 ISBN-13: 978-0977222629

  The Washington Manual of Surgery, 5th Edition (Paperback)
  By: Washington University School of Medicine Department of Surgery
  Publisher: Lippincott Williams & Wilkins; 5th Edition (December 2007)
  ISBN-10: 0781774470 ISBN-13: 978-0781774475

  Surgical Recall (Recall Series) [Paperback]
  By: Lorne H. Blackbourne MD FACS (Author)
  Publisher: Lippincott Williams & Wilkins; Sixth, North American Edition edition (June 16, 2011)
  ISBN-10: 1608314219 ISBN-13: 978-1608314218




                                                    -192-                                  Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                      195
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 239 of 356 PageID 282


  Appendix 1 – Surgery Clerkship Learning Objectives

  1. Diagnostic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. key history and physical examination findings pertinent to the differential diagnosis.
                   2. information resources for determining diagnostic options for patients with common and
                   uncommon surgical problems.
                   3. the basic principles governing wound care, suturing, and management of tissue infections
                   (e.g., the decision-making involved in determining when an infection needs drainage vs.
                   when antibiotics alone are sufficient).
                   4. the overall spectrum of surgical illnesses (e.g., diverticulitis, biliary disease, liver disease,
                   colorectal cancer, breast disease, and peripheral vascular disease) and the important steps in
                   the decision process for treating these conditions.
          B. Skills: Each student should be able to:
                   1. formulate a differential diagnosis based on the findings from the history and physical
                   examination.
                   2. use probability-based thinking to identify the most likely diagnoses.
                   3. use the differential diagnosis to help guide diagnostic test ordering and sequence.
                   4. participate in selecting the diagnostic studies with the greatest likelihood of providing
                   useful results at a reasonable cost.
          C. Attitudes: Each student should:
                   1. incorporate the patient’s perspective into diagnostic decision-making.
                   2. limit the chances of false positive/false negative results by demonstrating thoughtful test
                   selection.

  2. Case Presentation Skills
          A. Knowledge: Each student should be able to describe:
                   1. components of comprehensive and abbreviated case presentations (oral and written) and
                   the settings appropriate for each.
          B. Skills: Each student should be able to:
                   1. prepare legible, comprehensive, and focused new patient workups that include the
                   following features as clinically appropriate:
                                 o present illness organized chronologically, without repetition, omission, or
                                     extraneous information.
                                 o a comprehensive physical examination with detail pertinent to the patient’s
                                     problem.
                                 o a succinct and, where appropriate, unified list of all problems identified in
                                     the history and physical examination.
                                 o a differential diagnosis for each problem (appropriate to level of training).
                                 o a diagnosis/treatment plan for each problem (appropriate to level of
                                     training).
                   2. orally present a new patient’s case in a logical manner, chronologically developing the
                   present illness, summarizing the pertinent positive and negative findings as well as the
                   differential diagnosis and plans for further testing and treatment.
                   3. orally present a follow-up patient’s case, in a focused, problem-based manner that
                   includes pertinent new findings and diagnostic and treatment plans.
                   4. select the appropriate mode of presentation that is pertinent to the clinical situation.
          C. Attitudes: Each student should:
                   1. demonstrate a commitment to improving case presentation skills by regularly seeking
                   feedback on presentations.
                   2. Accurately and objectively record and present data.

  3. History-Taking and Physical Examination
                                                         -193-                                       Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                             196
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 240 of 356 PageID 283


          A. Knowledge: Each student should be able to describe:
                   1. the significant attributes of a symptom, including location and radiation, intensity,
                   quality, temporal sequence (onset, duration, frequency), alleviating factors, aggravating
                   factors, setting, associated symptoms, functional impairment, and patient’s interpretation of
                   symptom.
                   2. the four methods of physical examination (inspection, palpation, percussion, and
                   auscultation), including where and when to use them, their purposes, and the findings they
                   elicit.
                   3. the physiologic mechanisms that explain key findings in the history and physical exam.
                   4. the diagnostic value of history and physical exam information.
          B. Skills: Each student should be able to:
                   1. Perform a complete history and physical examination on patients hospitalized for surgical
                   illnesses.
                   2. use language appropriate for each patient.
                   2. use non-verbal techniques to facilitate communication and pursue relevant inquiry.
                   3. elicit the patient’s chief complaint as well as a complete list of the patient’s concerns.
                   4. obtain a patient’s history in a logical, organized, and thorough manner.
                   5. obtain, whenever necessary, supplemental historical information from other sources, such
                   as significant others or previous physicians.
                   6. demonstrate proper hygienic practices whenever examining a patient.
                   7. position the patient and self properly for each part of the physical examination.
                   8. perform a physical examination for a patient in a logical, organized, respectful, and
                   thorough manner, giving attention to the patient’s general appearance, vital signs, and
                   pertinent body regions.
                   9. communicate with the patient the purpose of the exam and explain the step-by-step
                   process.
                   10. adapt the scope and focus of the history and physical exam appropriately to the surgical
                   situation and the time available.
          C. Attitudes: Each student should:
                   1. recognize the essential contribution of a pertinent history and physical examination to the
                   patient’s care by continuously working to improve these skills.
                   2. establish a habit of updating historical information and repeating important parts of the
                   physical exam during follow-up visits.
                   3. demonstrate consideration for the patient’s feelings, limitations, and cultural and social
                   background whenever taking a history and performing a physical exam.

  4. Communication And Relationships With Patients And Colleagues
        A. Knowledge: Each student should be able to describe:
                 1. how patients’ and physicians’ perceptions, preferences, and actions are affected by
                 cultural and psychosocial factors and how these factors affect the doctor-patient
                 relationship.
                 2. the role and contribution of each surgical team member to the care of the patient.
                 3. the role of psychosocial factors in team interactions.
                 4. the role of the physician as patient advocate.
        B. Skills: Each student should be able to:
                 1. demonstrate appropriate listening skills, including verbal and non-verbal techniques (e.g.,
                 restating, probing, clarifying, silence, eye contact, posture, touch) to demonstrate empathy
                 and help educate the patient.
                 2. demonstrate effective verbal skills including appropriate use of open- and closed-ended
                 questions, repetition, facilitation, explanation, and interpretation.
                 3. determine the information that a patient has independently obtained about his/her surgical
                 problems.
                 4. identify patient’s emotional needs.
                                                      -194-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          197
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 241 of 356 PageID 284


                   5. seek the patient’s point of view and concerns about his/her illness and the surgical care
                   he/she is receiving.
                   6. determine the extent to which a patient wants to be involved in making decisions about
                   his/her care.
                   7. assess patient commitment and adherence to a treatment plan taking into account
                   personal and economic circumstances.
                   8. work as an effective member of the patient care team, incorporating skills in inter-
                   professional collaboration.
                   11. Give and receive constructive feedback.
          C. Attitudes: Each student should:
                   1. work hard to develop effective doctor-patient communication skills.
                   2. take into consideration in each case the patient’s psychosocial status.
                   3. demonstrate respect for patients.
                   4. demonstrate actively involving the patient in his/her health care whenever possible.
                   5. demonstrate teamwork and respect toward all members of the health care team, as
                   manifested by reliability, responsibility, honesty, helpfulness, selflessness, and initiative in
                   working with the team.
                   6. respond pertinently to patient concerns.
                   7. attend to or advocate for the patient’s interests and needs in a manner appropriate to the
                   student’s role.

  5. Interpretation of Clinical Information
           A. Knowledge: Each student should be able to describe:
                    1. a differential diagnosis for a patient presenting with an acute surgical problem.
                    2. the correlations among clinical observation, surgical (operative) pathology, and the
                    physiological alterations achieved through surgery.
                    3. test sensitivity, test specificity, pre-test probability, and predictive value.
                    4. how errors in test interpretation can affect clinical outcomes and costs.
           B. Skills: Each student should be able to:
                    1. record the results of laboratory and or imaging tests in an organized manner.
                    2. estimate post-test probability based on test results and state the clinical significance of
                    these findings.
           C. Attitudes: Each student should:
                    1. demonstrate estimating the implications of test results before ordering tests and after test
                    results are available.
                    2. personally review imaging studies to assess the accuracy and significance of the results.

  6. Therapeutic Decision-Making
          A. Knowledge: Each student should be able to describe:
                   1. information resources for determining surgical treatment options for patients with
                   common surgical problems.
                   2. key factors to consider in choosing among treatment options, including risk, cost,
                   evidence about efficacy, and consistency with pathophysiologic reasoning.
                   3. factors to consider in monitoring a patient’s response to surgery, including potential
                   adverse effects.
                   4. the pre- and post-operative care of patients and how to communicate them in both written
                   and oral form.
          B. Skills: Each student should be able to:
                   1. formulate an initial surgical plan.
                   2. access and utilize, when appropriate, information resources to help develop an
                   appropriate and timely plan.
                   3. explain the extent to which the surgery is based on pathophysiologic reasoning and
                   scientific evidence of effectiveness.
                                                        -195-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                            198
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 242 of 356 PageID 285


                   4. estimate the probability that a surgery will produce the desired outcome.
                   5. counsel patients about what to expect pre-and post-operatively, including beneficial
                   outcomes and potential adverse effects.
          C. Attitudes: Each student should:
                   1. incorporate the patient in decision-making, explaining the risks and benefits of surgery.
                   2. respect patient’s informed choices, including the right to refuse treatment.
                   3. incorporate the elements of patient autonomy, treatment efficacy, quality of life, and
                   societal demands into decision-making.
                   4. provide close follow-up of patients under care.

  7. Bioethics Of Care
          A. Knowledge: Each student should be able to describe:
                   1. basic elements of informed consent.
                   2. circumstances under which informed consent is necessary and unnecessary.
                   3. basic concepts of autonomy, treatment efficacy, quality of life, and societal demands.
                   4. potential conflicts between individual patient preferences and societal demands.
                   5. the role of the physician in making decisions about the use of expensive or controversial
                   tests and treatments.
          B. Skills: Each student should be able to:
                   1. participate in a discussion about advance directives with a patient.
                   2. participate in informed consent for a procedure.
                   3. participate in the care of a consent-requiring terminally ill patient.
                   4. participate in a physician’s discussion with a patient about a requested treatment that may
                   not be considered appropriate (e.g., not cost-effective).
          C. Attitudes: Each student should:
                   1. take into account the individual patient’s perspective and perceptions regarding health
                   and illness.
                   2. demonstrate a commitment to caring for all patients, regardless of gender, race,
                   socioeconomic status, intellect, sexual orientation, ability to pay, or cultural background.
                   3. recognize the importance of allowing terminally ill patients to die with comfort and
                   dignity when that is consistent with the wishes of the patient and/or the patient’s family.
                   4. recognize the potential conflicts between patient expectations and medically appropriate
                   care.

  8. Self-Directed Learning
          A. Knowledge: Each student should be able to describe:
                   1. key sources for obtaining updated information on issues relevant to the surgical
                   management of patients.
                   2. a system for managing information from a variety of sources.
                   3. key questions to ask when critically appraising articles on diagnostic tests or therapies.
          B. Skills: Each student should be able to:
                   1. perform a computerized literature search to find articles pertinent to a clinical question.
                   2. demonstrate critical review skills.
                   3. read critically about issues pertinent to their patients.
                   4. assess the limits of medical knowledge in relation to patient problems.
                   5. use information from consultants critically.
                   6. recognize when he or she needs additional information to care for the patient.
                   7. ask colleagues (students, residents, nurses, faculty) for help when needed.
                   8. make use of available instruments to assess one’s own knowledge base.
          C. Attitudes: Each student should be able to:
                   1. demonstrate self-directed learning in every case.
                   2. acknowledge gaps in knowledge to both colleagues and patients and request help.


                                                       -196-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                           199
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 243 of 356 PageID 286


  9. Prevention
         A. Knowledge: Each student should be able to describe:
                  1. treatment for various post-operative complications, including but not limited to:
                           ◦Fever
                           ◦Wound complications
                           ◦Decreased urine output
                           ◦Electrolyte derangements
                  2. care for post-operative surgical wounds.
                  3. indications for DVT prophylaxis.
                  4. methods for counseling patients about risk-factor modification.
                  5. influence of age and clinical status on approach to prevention.
                  6. the major areas of controversy in screening and the role of surgery as related to these
                    areas.
         B. Skills: Each student should be able to:
                  1. locate recently published recommendations regarding measures that should be
                      incorporated into the periodic health assessment of patients.
         C. Attitudes: Each student should:
                  1. address preventive health care issues as a routine part of their assessment of pre-and post-
                    operative patients.
                  2. encourage patients to share responsibility for disease prevention.

  10. Coordination Of Care
         A. Knowledge: Each student should be able to describe:
                  1. the role of consultants and their limits in the care of a patient.
                  2. the clinical situations when consultations should be made with physicians from major
                  surgical subspecialties (e.g., Urology, Plastic Surgery, Pediatric Surgery, ENT, Orthopedic
                  surgery, Transplant Surgery, and Neurosurgery).
                  3. key personnel and programs in and out of the hospital that may be able to contribute to
                  the ongoing care of an individual patient for whom the student has responsibility.
         B. Skills: Each student should be able to:
                  1.appreciate the entire treatment cycle of the surgical patient from diagnosis to operative
                  management and through recovery.
                  2. discuss with the patient (and family as appropriate) ongoing health care needs, using
                  appropriate language, avoiding jargon and medical terminology.
                  3. participate in requesting a consultation and identifying the specific question(s) to be
                  addressed.
                  4. participate in the discussion of the consultant’s recommendations with the team.
                  5. participate in developing a coordinated, ongoing care plan in the community.
                  6. obtain a social history that identifies potential limitations in the home setting which may
                  require an alteration in the medical care plan to protect the patient’s welfare.
                  7. develop skills for participating as a member of the care team.
         C. Attitudes: Each student should:
                  1. demonstrate teamwork and respect toward all members of the health care team.
                  2. demonstrate responsibility for patients’ overall welfare.
                  3. participate, whenever possible, in coordination of care and in provision of continuity.

  11. Procedures
          A. Knowledge: Each student should be able to describe:
                   1. key indications, contraindications, risks, and benefits of the procedures in Table 2.
                   2. alternatives to a given procedure.
                   3. what the patient’s experience of the procedure will be.
          B. Skills: Each student should be able to:
                   1. observe precautions and contraindications for the procedures used.
                                                       -197-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                            200
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 244 of 356 PageID 287


                2. understand how to obtain informed consent, when necessary, for procedures, including
                the explanation of the purpose, possible complications, alternative approaches, and
                conditions necessary to make the procedure as comfortable, safe, and interpretable as
                possible.
                3. understand step-by-step performance of procedures.
       C. Attitudes: Each student should:
                1. always participate in obtaining informed consent for procedures they perform or in which
                they participate.
                2. explain what the patient’s experience is likely to be in understandable terms.
                3. communicate risks and benefits to patients.
                4. always make efforts to maximize patient comfort during a procedure.




                                                  -198-                                    Revised 5/3/21




                          Exhibit F Clincial Medicine Handbood                                         201
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 245 of 356 PageID 288


  Appendix 2 – Alignment of Learning Objectives, Competencies, and
  Assessment

   Clinical Learning Objectives                       Aligned with SMUSOM Competency                 Assessment Method
1. Diagnostic Decision Making                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
2. Case Presentation                          Patient Care                                      Clerkship Evaluation
                                              Communication & Interpersonal Skills              Patient Note
3. History and Physical                       Patient Care                                      Clerkship Evaluation
Examination                                   Communication & Interpersonal Skills              Engaged Learning (LMS)
                                                                                                Patient Note
4. Communication and                          Patient Care                                      Clerkship Evaluation
Relationships with Patients and               Professionalism                                   Engaged Learning (LMS)
Colleagues                                    Communication & Interpersonal Skills              Procedure Logs
                                                                                                Mid-Clerkship Assessment
                                                                                                IPE Reflective Exercise
5. Interpretation of Clinical                 Patient Care                                      CCE
Information                                   Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
6. Therapeutic Decision Making                Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
7. Bioethics of Care                          Professionalism                                   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Logs
8. Self-Directed Learning                     Lifelong Learning, Scholarship, & Collaboration   Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Procedure Logs
                                                                                                Mid-Clerkship Assessment
9. Prevention                                 Patient Care                                      CCE
                                              Scientific & Medical Knowledge                    Clerkship Evaluation
                                                                                                Engaged Learning (LMS)
                                                                                                Patient Note
10. Coordination of Care and                  Patient Care                                      Clerkship Evaluation
Teamwork                                      Social & Community Context Of Healthcare          Procedure Logs
                                              Lifelong Learning, Scholarship, & Collaboration   IPE Reflective Exercise
11. Procedures                                Patient Care                                      Clerkship Evaluation
                                                                                                Patient Logs
  CCE =Core Clerkship Exam = National Board of Medical Examiners Subject Exam




                                                                          -199-                           Revised 5/3/21




                                         Exhibit F Clincial Medicine Handbood                                         202
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 246 of 356 PageID 289




  Appendix 3 ‐ Patient Note (PN) Form

  A blank form is shown below.




                                          -200-                    Revised 5/3/21




                           Exhibit F Clincial Medicine Handbood                203
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 247 of 356 PageID 290


  Appendix 4 – Guidelines for the Patient Note Exercise
  This activity is designed to improve students’ ability to communicate vital patient information in a written
  format, as well as assess certain competencies required for graduation. In order to satisfy the Patient Note
  (PN) competencies, students’ notes will be read and graded by the Clinical Department each week. Each
  PN will be graded as either “Meets Expectations” or “Below Expectations”. Students who do not achieve
  competency in writing the PN by the end of the clerkship will receive a “U” in the respective competencies
  and will need to remediate. After successful remediation, students will receive an “S*” in place of the “U”
  according to school policy.

  In general, PN’s that “Meet Expectations” have the following common characteristics:
       The use of correct terminology (e.g., muscle strain rather than pulled muscle)
       A well-organized history section with subsections that are easy to find. If the patient has pain, all
          the descriptors of pain are included, along with an easy to follow timeline.
       Pertinent details of physical exam findings are also expected. For example, writing “pharynx
          without exudate or erythema” is preferable to stating that the pharynx is “clear,” and “lungs clear to
          auscultation bilaterally” is preferable to lungs “normal”.
       Only listing diagnoses supported by the history and physical exam. In some cases, there will only
          be one diagnosis.
       If there is more than one possible diagnosis, listing them in order of likelihood, with the most likely
          diagnosis first.
       Linking elements of the history, physical exam, differential diagnosis and plan throughout the PN.
          For example, each potential diagnosis should have appropriate elements in the history section
          including relevant positive and negative review of systems. Risk factors should also be included for
          each diagnosis (e.g., prior hx PID/STIs if ectopic pregnancy is in the differential). Each potential
          diagnosis should also have corresponding physical exam elements in the physical exam section of
          the note, and both history and physical exam elements should be in the data interpretation section.

  PN’s assessed as “Below Expectations” often include the following common mistakes:
      Documentation of history elements in the physical exam section (pain, past medical history, etc.).
      Documentation of physical exam elements in the history section (vital signs, tenderness, etc.).
      Incomplete documentation of physical exam findings (lungs “normal”, pelvic exam “WNL”, vital
         signs “normal” or “stable” or “unremarkable”).
      Listing improbable diagnoses with no supporting evidence (e.g., brain tumor in a patient with no
         focal neurological signs) or a plan that includes a test with no indications (e.g., MRI of the brain in
         a patient with headaches and no focal neurological signs).
      Listing an appropriate diagnosis with no supporting evidence (e.g., new onset diabetes without
         listing symptoms of polydipsia, polyphagia, polyuria; or pregnancy with no symptoms of pregnancy
         or mention of sexual activity, last menstrual period, or use of family planning).
      Use of non-standard abbreviations, such as CMT (cervical motion tenderness). Only commonly
         accepted abbreviations (such as those on the Step 2CS website) are acceptable.




                                                      -201-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          204
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 248 of 356 PageID 291


  Below is an example of a PN that would “Meet Expectations” for the Internal Medicine Clerkship.
  Positive aspects are indicated with a superscript and explained at the end of the PN.




  CC: Ms. J.B. is a 24 yo woman1 who complains of worsening sore throat since yesterday morning.
  HPI: She has never had a similar problem in the past. She has no difficulty swallowing, but notes that
  swallowing makes the pain worse. Nothing makes it better2. There is no SOB or sensation of choking or
  dysphagia. She has fatigue and has had some anorexia since the symptoms began. She has had some
  subjective fevers at home but has not taken her temperature. She has had no cough or rhinorrhea. There are
  no sick contacts at home or at work. She denies seasonal allergies and post-nasal drip. The patient thinks
  she has strep throat.3
  ROS: No chest pain, cough, wheezing, abdominal pain, N/V, or headache4
  PMHx: none
  Meds: none
  Allergies: none
  PSHx: none
  FHx: father with HTN
  SHx: married with 2 children, does not use ETOH, tobacco or drugs, monogamous with husband




  She is in no acute distress5
  VS: BP 105/74, R 16, P 72, T 98.5
  HEENT: Oropharynx without exudate or erythema, TMs clear without erythema bilaterally6
  Tender submandibular lymphadenopathy is present bilaterally
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness




   Diagnosis #1 Viral Pharyngitis

                  History Finding(s)                               Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever                                     Afebrile7
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis

                   History Finding(s)                              Physical Exam Finding(s)
   Sore throat                                          Tender submandibular lymph nodes
   Subjective fever
   Fatigue
   Anorexia
                                                    -202-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                       205
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 249 of 356 PageID 292


   Pain with swallowing
   No rhinorrhea8

                 Diagnostic Studies
        Throat Culture

  Notes:
  1
    complete identification of the patient.
  2
    appropriate descriptors of pain are included in history.
  3
    Patients understanding of her disease is included.
  4
    ROS, PMHx, etc. are clearly designated and well organized.
  5
    General appearance and full vital signs are included, physical exam is clearly designated and well
  organized.
  6
    Physical exam findings are clearly described, not listed as “normal”.
  7
    lack of fever supports the diagnosis of viral pharyngitis.
  8
    lack of rhinorrhea supports the diagnosis of bacterial pharyngitis.




                                                     -203-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         206
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 250 of 356 PageID 293


  Below is an example of a PN would result in an assessment of “Below Expectations”. Problems are
  indicated with a superscript and explained at the end of the PN.




  The patient 1 complains of pharangitis2. The sore throat started yesterday morning. She has never had a
  similar problem in the past. She also has abdominal pain and some anorexia since the symptoms began.
  She has no difficulty swallowing, but notes that swallowing makes the pain worse3. There is no sensation of
  choking or dysphagia. She has had some subjective fevers at home but has not taken her temperature. She
  denies chest pain4. VS: BP - 105/74, R - 16, P - 72, T - WNL5




  Her throat is clear6, but she has painful7 glands8.
  Abdomen: normoactive bowel sounds, non-tender, no splenic or hepatic enlargement or tenderness9




   Diagnosis #1 Viral Pharyngitis

                   History Finding(s)                                Physical Exam Finding(s)
                                                         10
   Sore throat
   Subjective fever
   Fatigue
   Anorexia
   Pain with swallowing

   Diagnosis #2 Bacterial Pharyngitis11

                   History Finding(s)                                Physical Exam Finding(s)


   Diagnosis #3 Otitis Media12

                   History Finding(s)                                Physical Exam Finding(s)


                 Diagnostic Studies
        Throat Culture
        Head/neck CT with contrast 13

  Notes:
  1
    incomplete identification of the patient.
  2
    Not using the patient’s own words for the chief complaint.
  3
    Unorganized history (going from throat pain to abdomen, then back to throat).
  4
    Incomplete pertinent review of systems, no PMHx, SHx, etc.
                                                    -204-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        207
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 251 of 356 PageID 294

  5
    Physical exam findings in the history.
  6
    General appearance and full vital signs are missing, and exam of main focus of her complaint (throat) is
  inadequate.
  7
    “Painful” is a descriptor that should be in the history, “tender” is objective and belongs in the physical
  exam.
  8
    “glands” is not a medical term.
  9
    “non-tender” and no “tenderness” is repetitive.
  10
     tender lymph nodes is documented in the physical exam but is not listed in the physical exam findings in
  the data interpretation section.
  11
     Including a diagnosis without supporting evidence even if the diagnosis is possible.
  12
     Including a diagnosis that has no support in either the history or the physical exam.
  13
     Including a study that is not indicated, overly aggressive, and/or costly.




  Patient Note Suggested Content: Surgical History and Physical Exam

  Chief Complaint (CC)
      Hospital day #, Postop day #, Antibiotic day #.

  History of Present Illness (HPI)
       Concise sequence of events.
       New complaints, dizziness, pain, bowel movement, incision pain.

  Special areas of the Physical Exam (PE): should be extensive in the area of the CC
      Surgical wound and related regional areas.
      If relevant, other exams (breast, pelvic, rectal, male genital).




                                                     -205-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                         208
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 252 of 356 PageID 295


      Appendix 5 – Sample Evaluation of Student Clerkship Performance

                                              ST. MATTHEW’S UNIVERSITY
                                                  SCHOOL OF MEDICINE
                                                                              In the U.S.
                                          St. Matthew’s University 12124 High Tech Avenue, Suite 350  Orlando, FL 32817
                                                   Tel. (407) 488-1700  Fax: (815) 377-3726  www.stmatthews.edu
                                             Clinicals: clinical@stmatthews.edu  Finance Office: finance@stmatthews.edu


                          Student Name                                                            Clinical Rotation

       Begin:                       End

                          Dates of Rotation                               Total              Attending/Supervising Physician
                                                                          Weeks


                         Hospital’s Name                                Hospital’s Address, City, State


      Please read rationale and background that follows this student evaluation form. To complete this evaluation check the
      appropriate category that reflects the student’s work within each competency based on the student’s overall performance.

                                                               PATIENT CARE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

1    Medical                     Logical, thorough, and           Elicits most pertinent           Incomplete, illogical,
     Interviewing                efficient histories              patient information              superficial histories
     (1a)

2    Physical                    Complete and accurate            Some omissions but               Incomplete, inaccurate,
     Examination                 physical examinations            usually complete and             cursory, non-directed,
                                                                  accurate                         unreliable physical
     (1a)
                                                                                                   examination

3    Participation in            Exceptionally                    Actively participates in         Lacks initiative in patient
     Patient Care                conscientious in patient         patient care activities          care activities
     (1a, 1c)                    care activities, sound
                                 judgment

4    Data Use and                “Manager” – uses                 “Interpreter” – attempts         “Reporter” – reports data
     Interpretation              information to develop           to interpret or apply            but makes no attempt to
     (1b, 1c, 1d, 1e)            insightful plans for             information appropriate to       interpret or apply
                                 patient management               level of training                information

                                                   MEDICAL KNOWLEDGE
                                                                                                         Below                         Not          Not
                              Exceeding Expectations             Meeting Expectations
                                                                                                      Expectations                  Acceptable    Observed

5    Knowledge Base              Exceptional knowledge of         Solid fund of knowledge          Limited knowledge of
     (2a, 2b, 2c, 1f)            basic and clinical sciences                                       basic and clinical sciences

6    Interest in                 Enthusiastic interest in         Demonstrates interest in         Minimal interest in
     Learning                    learning                         learning                         learning
     (2a, 2b, 2c, 3a)




                                                                      -206-                                                      Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                                   209
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 253 of 356 PageID 296


                     LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION
                                                                                                            Below                           Not          Not
                                     Exceeding Expectations           Meeting Expectations
                                                                                                         Expectations                    Acceptable    Observed

8     Facilitation of                  Unusually proficient in         Facilitates the learning of    Shows little interest in
      Learning                         facilitating the learning of    other students and health      facilitating the learning of
      Amongst Team                     other students and health       care professionals             other students and health
                                       care professionals                                             care professionals
      (3a, 4f)

9     Ability to use                   Effectively uses scientific     Attempts to use scientific     Fails to use information
      Scientific Data to               studies to manage               studies to manage              from scientific studies to
      Manage Care                      information for patient         information for patient        enhance patient care.
                                       care. Participates in           care. Participates in          Does not participate in
      (3a, 3c, 3d, 1g)                 scholarly activities (e.g.,     scholarly activities (e.g.,    scholarly activities (e.g.
                                       journal club, research).        journal club, research).       journal club, research.)

10    Display of                       Self-motivated learner.         Usually demonstrates           Lacks insight and
      Initiative                       Completes all homework          personal initiative and        personal initiative. Does
      (3a)                             assignments and provides        completes all homework         not complete homework
                                       additional pertinent            assignments.                   assignments.
                                       information to the
                                       healthcare team.

                                                             PROFESSIONALISM
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

11    Compassion,                          Always demonstrates            Inconsistently                 Seldom demonstrates
      Integrity, and                       respect, compassion,          demonstrates respect,          respect, compassion,
      Honesty                              integrity and honesty         compassion, integrity and      integrity and honesty
                                                                         honesty
      (4a, 4b, 4c, 4e, 4f, 4h, 5c)

12    Reaction to                          Seeks and rapidly             Responds positively to         Resists or ignores
      Feedback                             responds to feedback          feedback                       feedback
      (4b, 4c, 4d, 4e, 4f)

13    Responsibility                       Teaches/role models           Displays responsible           Does not display
      (4b, 4c, 4d, 4g, 4h)                 responsible behavior;         behavior; attends all          responsible behavior;
                                           attends all required          teaching sessions as           does not attend or is
                                           teaching sessions and is      required and is punctual.      tardy to required
                                           punctual                                                     teaching sessions.

14    Patient and Staff                    Consistently considers        Considers the needs of         Does not consider the
      Consideration                        the needs of patients,        patients, families and         needs of patients,
      (4a, 4b, 4d, 4f, 4h, 5b, 5c)         families and colleagues       colleagues                     families or colleagues
                                           above his/her own

15    Acknowledgement of                   Willingly acknowledges         Acknowledges errors           Fails to acknowledge
      Errors                               errors                                                       errors
      (4b, 4c, 4d, 4e, 4h)

                                 INTERPERSONAL AND COMMUNICATION SKILLS
                                               Exceeding                                                      Below                         Not          Not
                                                                        Meeting Expectations
                                              Expectations                                                 Expectations                  Acceptable    Observed

16    Relationship with                    Establishes highly            Establishes effective,         Does not establish
      Patients and                         effective, humanistic         humanistic and                 adequate, effective,
      Families                             and therapeutic               therapeutic relationships      humanistic and
                                           relationships with            with patients and families     therapeutic
      (5a, 5b, 5c, 5d, 5e, 5f)             patients and families                                        relationships with
                                                                                                        patients and families

17    Listening, Verbal,                     Demonstrates excellent      Shows adequate listening,      Demonstrates
      and Non-Verbal                       listening, written and        written and nonverbal          inadequate listening,
      Skills                               nonverbal                     communication skills           written or nonverbal
                                           communication skills                                         communication skills
      (5a, 5b, 5c, 5d)


                                                                          -207-                                                      Revised 5/3/21




                                           Exhibit F Clincial Medicine Handbood                                                                  210
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 254 of 356 PageID 297


18     Interpersonal Skills                 Always “interpersonally         Relates well to patients          Not “interpersonally
       w/ Patients and                      engaged” with patients          and their families and        engaged” with patients and
       Families                             and their families and          respects patient              their families but respects
                                            respects patient                confidentiality.              patient confidentiality.
       (5a,5b,5c,5d, 5e)                    confidentiality.

19     Documentation &                      Delivers well organized         Delivers organized                Delivers poorly
       Presentation Skills                  presentations, writes           patient presentation,             organized patient
       (5a, 5d, 5f)                         exceptionally organized         writes organized accurate         presentations. Has
                                            notes, appropriately            notes, including most             difficulty
                                            tailored to the situation,      pertinent information with        distinguishing pertinent
                                            with assessments that           little extraneous                 from extraneous
                                            are consistently                information                       information, writes
                                            thoughtful and reflect                                            notes that have
                                            reading.                                                          omissions, shows little
                                                                                                              application of clinical
                                                                                                              thinking or reading.

                             SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE
                                         Exceeding                                                        Below                            Not            Not
                                                                         Meeting Expectations
                                         Expectations                                                     Expectations                     Acceptable     Observed

20     Other healthcare                     Effectively makes use           Attempts to make use of           Unable to access/utilize
       professionals                        of unique contributions         unique contributions by,          outside resources
       (6a, 6b, 6d, 5f)                     by, and works                   and work effectively              needed for effective
                                            effectively with, other         with, other health care           and efficient patient
                                            health care professionals       professionals                     care
21     Use of Systems in                    Effectively uses                Attempts to use                   Does not use
       Care                                 systematic approaches           systematic approaches to          systematic approaches
       (6a, 6b)                             to reduce errors and            reduce errors and                 to reduce error and
                                            improve patient care            improve patient care              improve health care

        **Items in parentheses indicate sub-competencies assessed. See St. Matthew’s Competency Matrix for detailed description.


     Mid-Term Evaluation                                                 Not done                      Done          Date:
     Comments:




     Comments (for MSPE/Dean’s Letter):




     Constructive Comments (not for use in MSPE/Dean’s Letter):



     By signing my name below, I confirm that I have received and reviewed the SMUSOM Clerkship
     Syllabus, which includes the SMUSOM Competencies, Clerkship Learning Objectives, Clerkship required
     encounters and procedures, and SMUSOM policies.

 Clinical Faculty Signature                                                                            Date

 Print Last Name

                                                                            -208-                                                       Revised 5/3/21




                                             Exhibit F Clincial Medicine Handbood                                                                   211
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 255 of 356 PageID 298


  Appendix 6 – Sample Mid‐Clerkship Assessment Form

                                             Mid-Clerkship Assessment
       INSTRUCTIONS: The mid-clerkship assessment is designed to provide you an accurate assessment of your
       performance to date and identify areas for improvement during the second half of your clerkship. You are required
       to review your performance to this point in your clerkship with at least one of your supervising attending physicians.
       Discuss all areas of competency with this (these) supervising attending physician(s). You are required to complete
       this assessment, incorporating feedback from the supervising attending physician(s), and submit it to SUSOM by the
       deadline.

       MEDICAL KNOWLEDGE: (Knowledge of basic and clinical sciences; Interest in learning; Understanding of
       complex clinical situations and mechanisms of disease)




       Specific Areas for Improvement:_________________________________________________________________

       COMMUNICATION SKILLS: (Presentations on Rounds; Presentations of Assigned Patients; Interactions with
       Patients/Families)




       Specific Areas for Improvement:_________________________________________________________________

       PATIENT CARE: (H&Ps, Note Writing, Lab Interpretation, Overall Patient Care Activities, Procedures)




       Specific Areas for Improvement:_________________________________________________________________

       SELF LEARNING: (Facilitation of learning amongst team; Ability to use scientific data to manage care; Initiative)




       Specific Areas for Improvement:_________________________________________________________________

       SOCIAL & COMMUNITY CONTEXT OF HEALTH CARE: (Accesses/utilizes outside resources needed for
       effective and efficient patient care; Uses systematic approaches to reduce errors and improve patient care)




       Specific Areas for Improvement:_________________________________________________________________

       PROFESSIONALISM: (Conscientiousness; Interactions with others; Dress & Grooming; Punctuality; Honesty;
       Motivation; Ability to recognize limitations)




       Specific Areas for Improvement:_________________________________________________________________

       Supervising Attending Physician Name(s): ________________________________________________________

       Supervising Attending Physician Contact: ________________________________________________________

       ˜    I hereby confirm that I have met with, and reviewed my performance with the supervising attending
            physician(s) named above.




                                                              -209-                                               Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                                            212
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 256 of 356 PageID 299


  Appendix 7 – Sample Patient Log

                         ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                         -210-                         Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                          213
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 257 of 356 PageID 300


  Appendix 8 – List of Required Online Learning Cases*


    Case             Title                                      Subject
    CLIPP       18   2 week old boy with poor feeding           congenital heart disease, VSD
    CLIPP       20   7 year old boy with headache               cerebellar astrocytoma
                     48 year old woman with diarrhea-
    Simple      10   dizziness                                  duodenal ulcer
                     55 year old man with lower abdominal
    Simple      12   pain                                       diverticulitis
                     78 year old man with fever, lethargy, &    urosepsis, CVA, mesenteric
    Simple      21   anorexia                                   ischemia
    Simple      27   60 year old man with bone pain             prostate cancer
    fmCASES     10   45 year old man with low back pain         spinal disc herniation
                                                                osteoarthritis, carpal tunnel
    fmCASES     11   74 year old woman with knee pain           syndrome
    fmCASES     22   70 year old man with unilateral weakness   TIA, stroke
                                                                Fe deficiency anemia, colon
    fmCASES     26   55 year old man with fatigue               cancer
    fmCASES     27   17 year old boy with groin pain            testicular torsion, STD counseling
    WiseMD       1   abdominal aortic aneurysms                                    -
    WiseMD       2   adrenal adenoma                                               -
    WiseMD       3   anorectal disease                                             -
    WiseMD       4   appendicitis                                                  -
    WiseMD       5   carotid stenosis                                              -
    WiseMD       6   cholecystitis                                                 -
    WiseMD       7   colon cancer                                                  -
    WiseMD       8   hernia                                                        -
    WiseMD       9   skin cancer                                                   -
    WiseMD      10   thyroid nodule                                                -
    WiseMD      11   trauma resuscitation                                          -



       * Med-U (http://www.med-u.org)




                                                -211-                                 Revised 5/3/21




                        Exhibit F Clincial Medicine Handbood                                      214
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 258 of 356 PageID 301


  Appendix 9 ‐ Step‐By‐Step Instructions for Completing Engaged Learning
  Assignments


       1. Each week you are enrolled in a Core Clerkship, you will receive an email on Mondays with the
           weekly assignment instructions, which can also be accessed at http://lms.stmatthews.edu, log in
           using the new institutional email address: _@stmatthews.com as your username and the
           password you use to access the campus website.
       2. Enter the “Clinical Clerkship Online Course”
       3. Scroll down to the section marked "This Week's Assignment". (If your assignment is not
           available or an assignment for a different core is posted submit a trouble ticket).
       4. The assignment will direct you to either a case, or cases, available on med-u.org (Note: If this is
           your first time accessing the course, you will need to register with med-u.org. Instructions are
           provided on the Course Homepage) or will provide a link to an assignment within the course.
       5. Complete the assignment and then return to the "This Week's Assignment" section and your
           particular assignment to post your Reflections.
       6. Select the link to your assignment under "This week's assignments" in the Clinical Clerkship
           Online Course. At the bottom of assignment page for any given week (scroll down) you will see
           the Forum Discussion.
       7. Open the Forum Discussion.
       8. Click on “Reply” to post a Reflection. You can view other student Reflections as well for
           interactive dialogue.

        **All assignments and Reflections must be completed by Sunday at midnight Eastern Time of the
        assigned week to receive credit.

        Please note: There are currently 2 assignments which include a lesson that you access directly
        through this course. These assignments have videos embedded within the pages, then a short
        question to answer in order to progress.

        Please pay careful attention to these tips, instructions, and illustrations, and view all of the teaching
        videos in order. The videos must be viewed to receive credit for the assignment.

        In the event that technical issues arise in regards to viewing the videos within the assignment, it is
        suggested that you try to use a different web browser (Mozilla Firefox or Google Chrome) to view
        the assignment.




                                                     -212-                                       Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                             215
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 259 of 356 PageID 302


  Appendix 10‐ Step‐By‐Step Instructions for Weekly Patient Log
  Submissions

      1. Students can access the Patient Logs page at:
         https://www.stmatthews.edu/Gateway/PLGateway2.html (A link is also provided from your
         Clinical Clerkships Online Course Home Page and from the stmatthews.edu website).

      2. Enter all the relevant identifying information regarding the patient, including age, sex, and location
         that the patient was seen.

      3. Select your role and identify the supervisor.

      4. Choose the appropriate Patient Encounter(s) and/or Procedure(s) from the drop-down menus.

      5. Document the extent of the physical exam performed (full, targeted, or none).

      6. Document what you charted.

      7. Comments and reflections regarding the experience are optional, and may be entered within the
         final textbox.

      8. Click the submit button at the end, and you will then have the opportunity to enter additional
         patients.

      9. When you have submitted your final patient for your week, select Quit.

      10. You will then receive email confirmation of your log submission.

  Please note: You will not be able to edit previously submitted Patient Logs or go back and 'make-up' logs
  from previous weeks.

  Patient Logs logging a minimum of ten (10) patients per week are required for every week of a core rotation
  regardless of the total number of weeks of said rotation. This applies to all core rotations.

  If you have any questions or technical problems please use the following link to submit and IT trouble
  ticket:
  http://www.stmatthews.edu/osticket/.

  Weekly Patient Logs MUST be submitted before midnight Sunday. Please do not wait until the last minute.

  Students receive a weekly email reminder every Thursday of the Surgery Clerkship to complete the Patient
  Logs assignment.




                                                      -213-                                     Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                          216
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 260 of 356 PageID 303


  Appendix 11‐ Step‐By‐Step Instructions for Weekly Patient Note
  Submissions

      1. Students can access the Patient Note page at:
         https://www.stmatthews.edu/Gateway/PNGateway.html (a link is also provided from your Clinical
         Clerkships Online Course Home Page and from the stmatthews.edu site.)

      2. Patient Note submissions will follow the same directions, restrictions and character limitation for
         each field as specified for USMLE Step 2CS5, including:
            • History - 950 characters or 15 lines
            • Physical Examination - 950 characters or 15 lines
            • Diagnosis - 100 characters for each diagnosis
            • History Findings and Physical Examination Findings - 100 characters for each field
            • Diagnostic Study/studies - 100 characters for each study recommendation
            • Students may add rows to the History Findings, Physical Examination
            • Findings and Diagnostic Study/Studies sections up to a maximum of eight rows each.

      3. Read all instructions on the form and enter your text in the appropriate fields.

      4. You must enter at least one diagnosis. The first diagnosis requires at least four justifications in the
         fields below it. Any other diagnoses require at least two.

      5. You are required to enter at least one Diagnostic Study.

      6. Provided you have entered all required information, click the "Submit" button at the bottom. You
         will be prompted to confirm your submission.

      7. Once submitted you may either submit another Patient Note or exit the application. Once you
         submit the required two Patient Notes for the week, you may no longer submit any Patient Notes
         until the next week.

  Please note: You will not be able to edit previously submitted Patient Notes or go back and 'make-up'
  Patient Notes from previous weeks.

  Patient Notes are required for every week of a core clerkship regardless of the total number of weeks of
  said clerkship. This applies to all core clerkships.

  If you have any questions or technical problems please use the following link to submit and IT trouble
  ticket:
  http://www.stmatthews.edu/osticket/.

  Weekly Patient Notes MUST be submitted before midnight Sunday. Please do not wait until the last
  minute.

  Students receive a weekly email reminder every Thursday of the Surgery Clerkship to complete the Patient
  Note assignment.




                                                      -214-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                           217
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 261 of 356 PageID 304


  Appendix 12‐ Step‐By‐Step Instructions for Submitting the Mid‐Clerkship
  Assessment

     1. Go to the Mid-Clerkship Assessment Page:
        https://www.stmatthews.edu/Gateway/MCSAGateway.html (a link is also provided from your
        Clinical Clerkships Online Course Home Page and from the stmatthews.edu site.)

     2. You will receive an email reminder on Friday of Week 5 of the clerkship instructing you to
        complete an assessment of your performance on the clerkship.

     3. You will be able to submit only AFTER you have received the email reminder to fill the form.

     4. You must meet with the attending and/or resident in order to obtain their feedback on your
        performance on the clerkship to-date. You must discuss all areas of competency that will be
        evaluated at the conclusion of your clerkship.

     5. Read all instructions on the form and enter your text in the appropriate fields.

     6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to confirm
        before submitting.

     7. Once submitted you will be redirected to a page where you can view what you have submitted.
        Click “Exit Application” when you are finished.

     8. Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point
        deduction from the final grade as follows:

           •   Submitted late but by Sunday at midnight of Week 8 = final grade reduced by 1 point
           •   Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 2 points
           •   Not submitted by the end of Week 9 = Grade of “U” in Professionalism & Lifelong Learning
               competencies and INCOMPLETE Final Grade and remediation required.




                                                     -215-                                   Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                        218
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 262 of 356 PageID 305


  Appendix 13‐ SMUSOM Defined Patient Encounters with Alternative
  Clinical Learning (weeks 11‐12)
                                                                                          Type of Encounter

                                         Level of        Clinical    Primary Clinical
                                                                                             Alternative Clinical Learning ***
                                         student         Setting        Learning
         Patient Encounter
                                      responsibility    (H/I, H/O,                                                                Screen
                                      (Pr, Pa, Ob)*    ED, CC, NH,   Direct                                             Partial
                                                                               Team     Full-Scale   Standardized                 -Based
                                                         PPO)**      Patient                                             Task
                                                                               Care     Mannequin       Patient                   Simula
                                                                      Care                                              Trainer
                                                                                                                                   tion
   Abdomen Evaluation: Acute
   Abdomen, Masses, Pain, Bowel
   Obstruction
   Burns
   Cardiothoracic Surgery
   Disease Prevention / Screening
   (Colonoscopy, etc.)
   Fluids, Electrolytes and Acid
   Base Balance
   Hernia
   Informed Consent
   Metabolic Failure / Shock
   Nutrition management
   Orthopedic Surgery
   Perioperative Evaluation
   Post-Operative Care
   Surgical Bleeding and Blood
   Replacement
   Surgical Disease of the Biliary
   Tract
   Surgical Disease of the Breast
   Surgical Disease of the Colon,
   Rectum and Anus
   Surgical Disease of the
   Esophagus
   Surgical Disease of the Genito-
   Urinary Tract
   Surgical Disease of the Head and
   Neck
   Surgical Disease of the Liver
   Surgical Disease of the Pancreas
   Surgical Disease of the Small
   Intestine and Appendix
   Surgical Disease of the Spleen
   Surgical Disease of the Stomach
   and Duodenum
   Surgical Endocrinology
   (Adrenal/Thyroid/Parathyroid)
   Surgical Oncology
   Trauma / Shock
   Vascular Surgery
   Wounds and Wound Healing




                                                            -216-                                      Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                              219
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 263 of 356 PageID 306

  KEY
  *Level of Student Responsibility
   Pr= Primary (student primarily responsible for Patient Encounter, e.g., performed H&P, procedure, etc.)
   Pa = Participant (member of medical team, present on rounds, O.R., etc.)
   Ob= Observer (only involved in discussion of patient, presentation of case, etc.)

  **Clinical Setting
    H/I - Hospital/Inpatient/Infusion Center/Ambulatory Surgery
    H/O - Hospital/Outpatient Clinic
    ED - Emergency Department / Urgent Care / Transport
    CC - Community Clinic
    NH -    Nursing Home / Home Care
    PPO - Private Practice Office

  *** Alternative Clinical Learning (Definitions from 2011 AAMC Medical Simulation in Medical Education Survey)
       Full-Scale Mannequin – Full-body human patient simulator that mimics various function s of the human body (e.g. cardiac,
                                      respiratory, etc.). May range from high- to low-fidelity.
       Standardized Patients – Person trained to portray a clinical condition, or actual patient trained to interact with students
                                      regarding his/her medical condition.
       Partial Task Trainer – Physical model that simulates a subset of physiologic function to include normal and abnormal
                                   anatomy.
       Screen-Based Simulation – Multimedia-based clinical cases, including online patient cases




                                                               -217-                                            Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                                     220
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 264 of 356 PageID 307


  Appendix 14 – Guidelines for the IPE Reflection Exercise
   This activity is designed to improve students’ ability to work effectively with other health care
   professionals and to make use of the unique contributions of other health care professionals. In order to
   satisfy the IPE Reflection Exercise students submissions will be read and graded by the Clinical
   Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or
   “Below Expectations”. Students who do not achieve competency in writing the IPE initially, will be able
   to resubmit. Students who do not achieve competency by the end of the clerkship will receive a “U” in the
   respective competencies and will need to remediate. After successful remediation, students will receive an
   “S*” in place of the “U” according to school policy.

   In general, IPE Reflection Exercises that “Meet Expectations” have the following
   common characteristics:
        They include insights gained by you during your interactions with the health care professional
        They are well-organized, clearly written, and fully answer the question.

   Below is an example of an IPE Reflection Exercise that would meet expectations. The example responses
   are in italics.

   1.      Describe an ethical dilemma specific to Interprofessional patient-centered care and based on
           interviews with co-providers, describe how it was resolved. An example of such a dilemma
           could be an elderly male patient who wants to be discharged to home, but the social worker has
           determined that he would not be able to take care of himself. A pediatric example could be
           parents wanting to take the child home but Nursing is not confident that the parents can provide
           the care needed. (200 words maximum)

                  An elderly female wanted to return to her own home to live independently, but she was
                   not able to see and grip the medication bottle well enough to take her medications as
                   indicated. The Occupational Therapy department recommended medication dispenser
                   that a family member could fill each week that enabled her to take the correct dose.

   2.      Explain the roles and responsibilities of three other healthcare providers that you observed and
           how they work as part of the team to provide care. Based on brief discussions with them,
           describe the limitations of the medical professionals’ skills, knowledge, and attitudes that
           these other providers contribute. (200 words maximum)

                  A teenager admitted with anorexia nervosa needed a precise amount of nutrition to
                   become healthy, but not so much that she would get refeeding syndrome. The
                   nutritionist was able to calculate her intake more precisely than the medical team
                   which allowed the team to adjust her feeding plan.
                  An elderly patient admitted to the psychiatric ward for depression was found to
                   have subtle cognitive impairment by a comprehensive neuropsychological
                   assessment completed by a psychologist. That testing helped the team understand
                   some of his behaviors.
                  A physical therapist evaluated a patient who had suffered several falls at home and she
                   was able to recommend a certain type of walker that would help support the patient and
                   help prevent further falls.


   3.      Describe how your unique attributes (experience level, expertise, culture, power, and hierarchy
           within the health team) have contributed to effective communication, conflict resolution, and
           positive interprofessional working relationships. If you can’t think of an example from your
           work, describe a conversation with a provider in another profession that demonstrates this. An

                                                     -218-                                     Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                          221
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 265 of 356 PageID 308


         example could be that your religious background helped you understand a patients concern that
         you were then able to explain to the team. Another example would be where your knowledge of
         the patient’s culture helps the team ensure the right care is delivered. (200 words maximum).

              •       There was a patient who was admitted for a hysterectomy due to cervical cancer. The
                      team didn’t think she knew was her uterus was, but I was able to talk to her in Spanish,
                      verify that she knew what her uterus was, and help her understand the disease and our
                      recommended treatment.

     4. Describe three instances where another health professional contributed to patient-centered care
           through problem-solving. Describe their viewpoint based on a brief interview discussion
           with them (“How did you come up with that great idea?”). (200 words maximum)

                       A patient was terrified of going into an elevator due to claustrophobia, but the
                        transporter produced keys that would immediately stop the elevator and open the
                        doors if the patient felt too scared.
                       A patient refused to eat the hospital food. She wouldn’t tell anyone why, but a
                        social worker found out that she was observing Ramadan and that the food was
                        delivered during daylight hours. The social worker talked to the dietary service
                        and was able to have food delivered on a schedule that worked for the patient.
                       A patient was very concerned because of news reports that he would get the wrong
                        medication while in the hospital. The nurse gave him a copy of the medications and
                        schedule that the physician ordered, and had the pharmacist added a photo of each
                        tablet. The patient kept the list by his bed so he could check each one as it was given
                        to him.




                                                      -219-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                           222
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 266 of 356 PageID 309



Appendix 15‐ Step‐By‐Step Instructions for Submitting the IPE Reflection
Exercise

      1.You will receive an email reminder on Friday of Week 4 of the clerkship instructing you to
        complete an IPE Reflection Exercise prior to the end of week 8.

      2. You must meet with the health care professional that you write about in the exercise. It does
         not need to be a formal meeting, but must include a conversation about their role.

      3.Go to the IPE Reflection Exercise Page: https://portal.stmatthews.edu/Clinical/clerkships (a link
        is also provided from your Clinical Clerkships Online Course Home Page.)

      4. You will be able to submit only AFTER you have received the email reminder to fill the form.

      5. Read all instructions on the form and enter your text in the appropriate fields.

      6. After filling all fields, press the “Submit” button at the bottom. You will be prompted to
         confirm before submitting.

      7. Once submitted you will be redirected to a page where you can view what you have submitted.
         Click “Exit Application” when you are finished.

      8. Failure to submit the IPE Reflection Exercise in a timely manner will result in a point
         deduction from the final grade as follows:
               • Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 1 point
               • Submitted late but by Sunday at midnight of Week 10 = final grade reduced by 2 points
               • Submitted late but by Sunday at midnight of Week 11 = final grade reduced by 3 points
               • Submitted late but by Sunday at midnight of Week 12 = final grade reduced by 4 points
               • Not submitted by the end of Week 12 = final grade reduced by 5 points , grade of “U” in
                 Social & Community Context of Healthcare and INCOMPLETE Final Grade and
                 remediation required.




                                                   -220-                                    Revised 5/3/21




                             Exhibit F Clincial Medicine Handbood                                            223
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 267 of 356 PageID 310


                              Summary Description of Core Specialty Rotations


  Internal Medicine: Students will learn to function as an integral part of an Internal Medicine ward team,
  including "call," and also gain experience in appropriate outpatient settings. Students are expected to obtain,
  record, and present accurate and concise histories, and perform physical examinations. Students will also
  obtain further education as to the pathophysiology, diagnosis, and treatment of common adult diseases
  through didactic instruction, conferences, and presentations.
  Surgery: The emphasis is on history taking, the physical examination of surgical patients, and making patient
  case presentations emphasizing the surgical approach to diseases and postoperative management. Medical
  students learn a problem solving approach by studying patients, attending staff rounds and lectures, and
  participating in operations. Students also learn the basics of functioning in an operating room - e.g. "the sterile
  field," duties of assistants, appropriate conduct, and protection of the anesthetized patient.
  Pediatrics: Students learn about the health problems of infants and children while working as part of a ward
  team and in appropriate outpatient clinics. Students learn to take histories, perform physical examinations,
  and understand the methods of diagnosis and treatment of common illnesses in infants and children. There is
  also emphasis on "well baby" care, congenital defects, vaccination, nutrition, growth and development,
  childhood injuries, and disease prevention.
  Obstetrics and Gynecology: Students gain experience by caring for women with a wide variety of
  gynecological problems, as well as normal and abnormal pregnancies, in a ward setting and out-patient clinics.
  Students attend lectures and seminars, participate in ward rounds and assist in deliveries and surgical
  procedures where appropriate. History taking, physical examination, and case presentations remain important.
  There is also emphasis on diseases particular to women, treatment, prevention, and pre-natal and post natal
  obstetrical care.

  Psychiatry: The rotation should include both inpatient and outpatient contacts. Through these experiences,
  students will acquire the knowledge and skills to treat emotional and behavioral problems that commonly
  present in a primary care office, paying particular attention to the stress factors that are contributing to
  emotional dysfunction. The curriculum for this rotation will focus on the importance of the family in the relation
  of individual behavior and the ability to identify stressing conflicts and communication problems within the
  family. Students will gain knowledge and experience to deal with common psychiatric disorders and substance
  abuse disorders. Students will have opportunities to generate diagnoses and plans of treatment based on their
  understanding of the dynamics of the behavior under supervision of the attending psychiatric faculty.

TYPES OF PROCEDURES ENCOURAGED FOR A CLINICAL MEDICAL STUDENT

SMUSOM does not place great emphasis on students learning procedures that are best learned during
internship and residency. The goal of clinical student training is to learn basic principles of the core specialties,
covering common conditions, their presentation, evaluation, diagnosis, and basic treatment.

Important Diagnostic skills to be understood:
Be able to systematically review patient test data and recognize normal (or normal variant) from abnormal,
including;
      Standard x-rays of skull, spine, chest, abdomen, pelvis, extremities
      EKG
      Blood Smear
      Urinalysis including common abnormal findings in the urine sediment
      Familiarity with general principles of interpretation of CT scans and MRI

Simple Procedures useful for the clinical student to know:
    Perform an arterial blood gas puncture.
    Insert an intravenous needle/catheter and state the principles of care for an indwelling venous catheter.
    Handle body cavity fluids correctly so that they can be safely and properly examined, cultured and
       processed.
    Use a direct and indirect laryngoscope.
    Use a slit lamp.
                                                       -221-                                      Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                              224
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 268 of 356 PageID 311


     List the indications for and be able to do a circulation time.
     Insert a urinary catheter.
     Remove earwax.
     Examine sputum with Gram’s or Wright’s stain.
     Draw blood for aerobic and anaerobic culture.
     Insert a nasogastric tube.
     Take an electrocardiogram (EKG) as well as be able to recognize frequent technical problems in doing
      an EKG.
     Give an intramuscular injection.
     Do fungal scraping of skin lesions.
     Obtain throat, nasal, and cervical cultures.
     Examine stool for blood and ova/parasites.
     Pelvic exam including appropriate smears (e.g. PAP) and cultures.
     Perform venipuncture.
     Insertion and removal of sutures and basic knot tying including instrument ties.
     Sterile technique in preparing for minor procedures.
     Changing dressings.




                                                 -222-                                   Revised 5/3/21




                            Exhibit F Clincial Medicine Handbood                                          225
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 269 of 356 PageID 312




                     Clinical Medicine Handbook

                                 Part 4:
                         Fourth Year Rotations:
                          Elective Clerkships




                           St. Matthew’s University
                                P.O. Box 30992
                           Grand Cayman KY1-1204
                              CAYMAN ISLANDS
                                 345-945-3199
                               Fax: 345-945-3130

                                   In the US:
                            St. Matthew’s University
                      United States Administrative Offices
                           12124 High Tech Avenue
                                    Suite 350
                             Orlando, Florida 32817

                      1-800-498-9700 Fax: 407-488-1702
                   Email: clinical_coordinators@stmatthews.edu
                         Website: www.stmatthews.edu




                                      -223-                      Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                         226
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 270 of 356 PageID 313


ELECTIVES: Helping you choose the best for you.

PURPOSE: Electives are intended to provide a well-rounded education, and give students exposure to various
specialties that may be of interest for post-graduate residency training. School policy requires that all students,
regardless of desired residency choice, complete a Primary Care Elective.

In addition to the Primary Care Elective and the recommended Internal Medicine subspecialty clerkships (2),
Surgical subspecialty clerkship, Sub-internship (Sub-I) or Acting Internship (AI) and Neurology rotations,
students have the opportunity to select additional rotations to gain knowledge and skills in areas of special
medical interest. Additional electives include any medical or surgical specialty or subspecialty and/or a special
elective of interest to the individual student. Radiology, Anesthesiology, Pathology and Emergency Medicine
provide good foundation material. Students interested in health policy and health delivery issues, should
consider electives in rural care, community health, and international/global health.

All electives must be approved by Clinical Office 3 weeks before the start date of the rotation, meaning that
rotation application forms to hospital/clinical sites for electives should be submitted to the SMUSOM Clinical
Office 8 weeks before the start date of the rotation. http://stmatthews.edu/ > Clinicals > Electives > Elective
Request Form.

Student starting a clerkship, core or elective, without formal written approval from SMUSOM emailed to
the student 3 weeks prior to the start date will not receive any credit for the clerkship and will be
responsible for all charges related to that clerkship.

REQUIREMENTS FOR ELECTIVES

1. Primary Care: All students must complete a four (4) week Primary Care Elective (i.e., Family Medicine unless
an alternative such as Ambulatory Internal Medicine or Ambulatory Pediatrics is approved by the Clinical
Department).
2. Internal Medicine Sub-Specialty: Most commonly completed with two rotations of Internal Medicine Sub-
specialty electives, each of 4 weeks duration in recognized subspecialties.
Surgical Subspecialty: Most commonly completed with one rotation in a Surgical Sub-specialty elective of 4
weeks in a recognized subspecialty that has a reasonable inpatient component (not every surgical subspecialty
meets this requirement):
http://www.stmatthews.edu/Clinicals/SuitableSurgicalSubspecialties.pdf
3. Sub-internship (Sub i) or Acting Internship (AI): Most commonly completed in Internal Medicine, however
this rotation may be done when appropriate in intended specialty (with approval).
4. Length of Electives: Usually four weeks. Two week electives will be approved for certain subspecialties.
http://www.stmatthews.edu>Clinicals>Electives> choose either (Suitable Surgical Subspecialties or Suitable
Internal Medicine Subspecialties). Please request approval early.
Elective Clerkships lasting beyond 4 weeks, and repeat electives require approval by the SMUSOM Clinical
Office.

Research electives are encouraged, are usually 4 weeks, up to a maximum of 8 weeks and must be pre-
approved by the Dean of Clinical Medicine. Application to the SMUSOM Clinical Office should include an outline
of the research project, its goals, and the details of what you, the student, will be doing. Include whether the
project has any clinical activities, and whether there is a probability of your name being included somewhere in
the publication. It is not appropriate to receive payment for educational or research activities for which you will
receive academic credit.

Total weeks
Exceptions to allow students to take more than the required 72 weeks of clerkship rotations may be granted
under special circumstances by the Associate Dean. Any student approved to exceed the 72 required weeks by
doing additional rotations will be charged a one-time $100 administrative fee as well as any hospital clerkship
fees. Approval for this is not automatic; apply as early as possible to the Clinical Program with justifying
documentation.
                                                      -224-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              227
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 271 of 356 PageID 314


Scheduling Electives
When developing your elective clerkship schedule, please remember that a number of sites have a surcharge
and students are responsible for all weekly elective costs over $200.

To give you a flavor of the kinds of electives SMUSOM students have completed, the SMUOnline website has
a list of elective rotations for the past 3 years giving hospital/clinical site name: Clinicals>>electives.

The Elective Request Form (http://stmatthews.edu/ > Clinicals > Electives > Elective Request Form) should be
submitted at least 8 weeks before the start date of the rotation. SMUSOM policy requires that you start early
enough to obtain SMUSOM final approval 3 weeks prior to the start date. Remember that a student who enters
an elective without formal written approval from SMUSOM, will not receive any credit for the clerkship and be
responsible for all charges related to that clerkship.


Electives at core hospitals:
        You must notify the Clinical Department well in advance of any elective rotations that you would like to
        schedule at our core hospitals using the Elective Request Form on the web site. It is always your
        responsibility to keep SMUSOM informed in advance and to follow the policy by submitting the
        Elective Request Form even when the coordinator promises to inform SMUSOM. Failure to do
        so will result in no credit and payment penalties.

Electives at other hospitals:
        You must complete the Elective Request Form and submit it to SMUSOM when you begin to consider
        any elective to ensure all legal and administrative requirements are met. SMUSOM policy requires that
        you submit the Elective Request Form at least 8 weeks prior to the proposed start date, in order to obtain
        SMUSOM final approval 3 weeks prior to that start date. You must notify SMUSOM when the rotation
        request is approved (or denied). The school will not award credit for any rotation that has not been
        reviewed and approved by the SMUSOM Clinical Department.

Any discussion about payment to faculty members or hospitals should immediately be referred to the Clinical
Department. The student is not permitted to negotiate or discuss these matters with faculty members or
hospitals.

Getting started with choosing electives:
The Clinical Deans, as well as the Clinical Department Chairs are available to all students to discuss their elective
clerkship schedules. The Deans and the Department Chairs have been directly involved in resident selection
processes, including the consideration of international medical graduates. SMUSOM strongly encourages
students to take advantage of this resource. Additionally, each student’s clinical elective schedule is reviewed
by the Clinical Deans.

At or near the completion of each student’s second core clerkship, each student is contacted by the Deans to
schedule an advisory meeting regarding electives, scheduling USMLE Step 2 exams, and preliminary Match
planning. Students are expected to prepare for this meeting by reviewing all the resources under Electives area
on SMUonline. Within one week of this advisory meeting, students are required to submit an elective planning
form, which is available on SMUonline, to the office of the Dean of Clinical Sciences. The elective schedule
submitted is reviewed by the Deans for approval.

The university, along with students, considers the following factors when developing elective clerkship
schedules:
     1. Geographic Preference: What is your geographic preference for electives? Residency?6
     2. Interest and Academic Record: What specialty are you interested in for residency? What type of
        residency are you most likely to obtain given your academic record? Also, consider doing rotations that
        you may never have a chance to do again so that you have a broad foundation.



6
  Please note that certain constraints may exist, for example SMUSOM students are not able to complete clinical clerkships in the states of
New Jersey and Pennsylvania. They are however eligible to obtain residencies in both of these two states.
                                                                 -225-                                               Revised 5/3/21




                                       Exhibit F Clincial Medicine Handbood                                                           228
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 272 of 356 PageID 315


    3. Auditioning: The more difficult it is to be accepted into a specialty, e.g. surgery and its subspecialties,
       dermatology, anesthesiology, emergency medicine, the more important it is that you obtain at least one
       clerkship where you can “showcase” yourself. If you cannot obtain a “showcase” clerkship at the place
       you want for residency, obtain one at a place with a residency in the specialty field so that the attending
       faculty member who writes your letter of reference (LoR) has credibility with the program to which you
       will apply. For example, if you want to go into Emergency Medicine, do not do Emergency Medicine
       clerkships at hospitals that do not have Emergency Medicine residencies. For the residencies that are
       relatively easier to obtain such as the primary care residencies of Family Medicine, Internal Medicine
       and Pediatrics, it is not as essential that you do your clerkships at the program where you want to apply,
       though it is always better to do so.
    4. Access: Consider whether a hospital of interest trains medical students. Also, when considering a
       hospital for a rotation you should first email the SMUSOM Clinical Office to see if there is an affiliation
       of the hospital with SMUSOM. We may in fact, already have an agreement with them.
    5. Procedure: Always follow the procedure on SMUOnline. You may need to call the medical education
       department of the hospital/Clinical site for an application, if it is not on-line.
    6. Timing: SMUSOM policy requires that you submit the Elective Request forms to the Orlando’ office at
       least 8 weeks prior to the proposed start date, in order to obtain SMUSOM final approval 3 weeks prior
       to that start date. It is your responsibility to follow up on the application once SMUSOM submits the
       package to the Hospital/Clinical Site. Once the rotation has been confirmed to you by the hospital, be
       sure to notify the SMUSOM Clinical Office immediately and before the start of the rotation. Any student
       who enters a clerkship, core or elective, without formal written approval from SMUSOM prior to the start
       of the rotation, will not receive any credit for the clerkship and be responsible for all charges related to
       that clerkship.
    7. Hospital Policies: Most US and Canadian Medical Schools have explicit polices about international
       medical students, about how to apply, the costs, restrictions, and opportunities. Carefully review their
       websites, using the search function to find these policies. It is becoming common for these schools to
       require that a faculty member of the medical school sponsor the international student.
    8. Approval of Canadian rotations: As part of the formal Canadian healthcare delivery system, almost all
       hospitals are affiliated with a Canadian medical school. Further, the community hospitals are part of a
       regional health authority caring for populations and communities and are becoming an important part of
       the medical education system for each province. Ideally, medical student rotations should be at a
       hospital with an affiliation to a Canadian medical school, and the supervising faculty member should
       have a faculty appointment at one of the Canadian medical schools. Where hospitals do not have clear
       evidence of an affiliation with a Canadian medical school, at a minimum the hospital should have a
       record of taking students for electives, and the supervising faculty member should have a faculty
       appointment from one of the Canadian medical schools. This requires approval by SMUSOM, and the
       university rarely approves a rotation where neither the hospital nor the supervising faculty member has
       an affiliation with a medical school.
    9. Cost: Clerkships conducted at certain hospitals may require a surcharge. The Clinical Office can tell
       you which hospitals require a surcharge.


PRIMARY CARE ELECTIVE
(i.e., Family Medicine)
4- Week Rotation

PURPOSE: All St. Matthew’s University fourth year students are required to complete a four-week Primary Care
rotation. Fundamentals of primary care medicine are introduced in the basic sciences during the Clinical Skills
course series. The emphasis on ambulatory care and community based care and the related experiences lay a
foundation for the clerkship experience. The purpose of the primary care clerkship is to foster a full
understanding and appreciation of an integrative approach to the care of patients and families in a community
based setting. Students will use knowledge and skills gained in the five core clerkships in the third year and
learn to adjust their experiences to the philosophy and demands of a primary care setting. A majority of this
rotation will be in an ambulatory setting although students will also round with the patient’s physicians in inpatient
settings such as hospitals, nursing home and hospice facilities when appropriate.
                                                       -226-                                       Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                               229
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 273 of 356 PageID 316


PRIMARY CARE ELECTIVE OBJECTIVES
   1. To develop an appreciation of the approach to a variety acute and chronic health problems commonly
      presented by patients and families in an ambulatory setting
   2. To familiarize students with the basic principles of primary care medicine; including the provision of
      continuous and comprehensive care to a diverse patient population
   3. To promote an understanding of the effect of the family and community to different states of health and
      disease
   4. To enable the student to understand the physician’s role and responsibility in the prevention of disease
      through patient education and community involvement
   5. To foster sensitivity to the psychosocial, cultural, environmental and economic issues that affect patients
      and their families
   6. To promote an appreciation for the role of the primary care and family physician in the referral and use
      of community resources

OBJECTIVES: Upon completion of this rotation, the student will be able to:

   1. Take a history, perform a complete physical examination using enhanced communication and
       interviewing skills
   2. Provide comprehensive assessments of common acute, chronic and undifferentiated presentations
       seen in primary care medicine
   3. Accurately identify patient problems, develop a differential diagnosis and formulate a realistic
       management plan
   4. Work with nursing staff, home health care providers, and social service to interpret basic diagnostic
       information and formulate a realistic longitudinal treatment plan
   5. Provide focused case presentations and complete concise, clear medical record documentation
   6. Assume the role of the primary care physician in the coordination of care of outpatients and families with
       community resources
   7. Understand the multidisciplinary nature of outpatient care, the medial office and the importance of
       working with members of the community health care system
   8. Understand the impact of psychosocial and community factors on the understanding and acceptance of
       health care by patients and families
   9. Understand the multidisciplinary nature of outpatient care in medical office setting and to experience of
       psychiatric care
   10. Understand the decision-making process that is involved in admitting a patient into a hospital and to
       understand alternatives to acute and chronic care
   11. Become familiar with end-of-life issues, including advanced directives, DNR decisions and the
       withdrawal of care and how to communicate these issues in an appropriate manner to patients
   12. Acquire critical thinking and problem solving abilities to foster better patient care, medical decision
       making and self-directed learning
   13. Foster health promotion and disease prevention through risk identification and counsel patients in such
       areas as well child care, contraception, safe sex, tobacco use, obesity, substance abuse and family
       violence

PRIMARY CARE ELECTIVE TARGET SKILLS AND PROCEDURES:
Exam Skills:
   1. Pelvic Examination
   2. Breast Examination and teaching patient’s self-exam
   3. Testicular examination
   4. Rectal Examination
   5. Injections: subcutaneous, intramuscular and IV
   6. Examination of the well-baby
   7. Examination of the growing child
   8. Examination of the adolescent
   9. Examination of young and middle age adults
   10. Examination of the elderly patient
   11. Measurement of ‘Vital Signs’ in all age groups.
   12. Performance of Basic Airway Management in adults and children.

                                                    -227-                                      Revised 5/3/21




                               Exhibit F Clincial Medicine Handbood                                             230
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 274 of 356 PageID 317




                     Clinical Medicine Handbook

                              Part 5:
                  Measuring Student Performance:




                           St. Matthew’s University
                                P.O. Box 30992
                           Grand Cayman KY1-1204
                              CAYMAN ISLANDS
                                 345-945-3199
                               Fax: 345-945-3130

                                   In the US:
                            St. Matthew’s University
                      United States Administrative Offices
                           12124 High Tech Avenue
                                    Suite 350
                             Orlando, Florida 32817

                      1-800-498-9700 Fax: 407-488-1702
                   Email: clinical_coordinators@stmatthews.edu
                         Website: www.stmatthews.edu




                                      -228-                      Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                         231
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 275 of 356 PageID 318


USMLE POLICIES
Step 1 Policies

1. Students who have successfully completed the Basic Science curriculum are expected to sit for the USMLE
   Step 1 within 150 days of successfully completing Basic Sciences. When you apply for Step 1 you enroll
   with the ECFMG, and select a three-month period, which is referred to as your eligibility period. For example,
   an applicant selects the eligibility period, i.e., May-July, and as long as the application is processed by
   ECFMG by the 17th of May you will be assigned the May-June-July eligibility period that you selected.

2. After you successfully complete the Basic Science curriculum, and such other steps as determined by SMU
   in its sole discretion, you should download the form, the Certificate of Identification (Form 186) for Step 1
   and send it to SMUSOM (Orlando) where it will be signed by the Clinical Coordinator. Sign off requires full
   compliance with financial, academic, and administrative regulations of SMUSOM. Sign off during the 5th
   semester is not permitted. SMUSOM submits the certified form to the ECFMG. Scheduling permits are now
   sent electronically by the ECFMG directly to the student.

3. All students must take and pass the USMLE Step 1 test before being allowed to start clinical rotations.

4. Students who successfully complete the basic science portion of the curriculum have a maximum of three
   (3) attempts to successfully pass USMLE Step 1. It is the student’s responsibility to schedule and pass the
   examination. Any student who has completed National Board (NB) 1, 2, and 3 and has not passed the
   USMLE Step 1 exam will be withdrawn from SMU. If this time limit expires before all attempts have been
   used, the student forfeits the remaining attempts and is dismissed. No extensions on the time limit are
   allowed and LOAs do not ‘stop the clock”.

5. First Time Failures of USMLE Step 1:
   Students who fail the USMLE Step 1 Examination on the first attempt must enroll in a Promotions Committee
   approved review course that has an evaluation examination (e.g., NBME Comprehensive Basic Science
   Shelf Examination) at the end of the course. Student will not be certified by the school to retake the
   examination unless they earn a score on the evaluation examination that predicts a reasonable probability
   of success on the USMLE Step 1 Examination.

6. Second Time Failure of the USMLE Step 1:
   If a student fails a second time, the same procedure must be followed. However, the student’s score on the
   end of review course examination must be higher than the previous score before the student will be allowed
   to take the USMLE examination a 3rd and final time. If the student fails the USMLE examination a 3rd time,
   the student is dismissed.

7. Appeal with Lower Score after the Second Review Course;
   A student may appeal the decision to not be allowed a second retake of the exam to the Promotions
   Committee on the grounds that the special and intervening circumstances exist that explain the poorer
   performance, and that these circumstances can be or have been corrected that will allow the student to
   perform at a passing level in the future.

    The student must submit a written appeal to the Promotions Committee through the campus administration
    within 5 business days of receipt of the lower second end of review course examination score. In the appeal
    the student must address any special circumstances that explain the poorer performance. In addition, the
    letter must include an explanation of how the student’s academic performance has or will be adjusted.

    A student whose appeal is denied by the Promotions Committee has the right to appeal to the Dean of Basic
    Science in writing within one business day of the Committee’s decision. No new information can be included
    in the letter of appeal to the Dean of Basic Sciences. The Dean of Basic Science will review all the relevant
    documents and the student’s letter and make a final determination. A meeting with the student is at the
    discretion of the Dean of Basic Science and is not required. The decision of the Dean of Basic Science is
    final. The Dean of Basic Science will inform the student of the decision in writing (email and/or letter) within
    two business days.

                                                      -229-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              232
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 276 of 356 PageID 319


    The student has the right to appeal to the Chancellor of the University if the University’s policies and
    procedures were not followed. The appeal should be made in writing within 7 business days to the
    Chancellor located in the US Administrative office.


Clinical Knowledge Remediation

All students are required to take a Comprehensive Clinical Science Examination (CCSE) to ascertain whether
or not his/her preparation for the USMLE Step 2CK has been successful. Students are required to take USMLE
Step 2CK within 75 days of achieving satisfactory performance on the CCSE.

At present, the university utilizes the National Board of Medical Examiners® (NBME) Comprehensive Clinical
Sciences Examination as its CCSE. The university will bear the cost of the initial CCSE attempt.

Based upon the results of the CCSE, the student will take the USMLE Step 2CK examination or continue
remediation as defined below.

If further remediation is needed, additional clinical rotations may be postponed (at the sole discretion of
SMUSOM) until the student is scheduled to take the USMLE Step 2CK examination.

Further Remediation Guidelines
If it is determined a student needs additional remediation, the student will enroll in a SMUSOM-approved
remediation program. Students will bear the cost of this program. Once satisfactory progress is demonstrated,
the student will retake the CCSE at his/her expense.

Subsequent Remediation Guidelines
If a student’s performance on the CCSE in subsequent attempts is deemed deficient, the procedure for
remediation described above will be repeated until such time as the student’s level of achievement on the CCSE
is deemed satisfactory to the Clinical Department. Students are required to take USMLE Step 2CK within 75
days of achieving satisfactory performance on the CCSE.

Scheduling the NBME Comprehensive Clinical Science Examination
Students will be permitted to schedule the CCSE after successful completion of 34 weeks of core clinical
clerkships and/or Primary Care rotations through the Clinical Department.

Students will be permitted to take the CCSE upon successful completion of 40 weeks of core clinical clerkships
(including Internal Medicine) and/or Primary Care rotations.

Students required to take or retake the CCSE will receive a notification email from SMUSOM along with one
from the NBME informing them of the need to schedule the CCSE. The email from the NBME will include
instructions on how to schedule the exam.

The CCSE is available at 350 Prometric Test Centers worldwide (https://www.prometric.com/en-
us/Pages/home.aspx).

Clinical Skills (CS) Preparation

Successful completion of the Clinical Skills (CS) preparation requirements, as described in this section, is a
prerequisite to certification for USMLE Step 2 CS.

As part of the Clinical Skills (CS) preparation process, all students are required to complete the Clinical Skills
(CS) practice examination, which is similar in format to the USMLE Step 2 CS examination, consisting of up to
12 standardized patient encounters. At the end of the test, students will receive both verbal and written feedback
on their performance.

Students will be permitted to schedule the Clinical Skills (CS) practice examination after they have a site date
scheduled for USMLE Step 2CK.

                                                     -230-                                      Revised 5/3/21




                                   Exhibit F Clincial Medicine Handbood                                          233
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 277 of 356 PageID 320


Students will be permitted to take the Clinical Skills (CS) practice examination upon successful completion of 34
weeks of core clerkships (including Internal Medicine) and/or Primary Care rotations, and approval from the
Clinical Department.

Students may reschedule or cancel their Clinical Skills (CS) practice examination test date no later than three
weeks prior to their scheduled test date. Students who fail to reschedule or cancel (including non-appearance)
within the permitted time parameters will be required to reschedule and take the Clinical Skills (CS) practice
examination at their own expense.

Based upon the results of the Clinical Skills (CS) practice exam and a review of the student’s academic record,
the Clinical Department may require the student to take such other remedial steps (as determined by SMUSOM
in its sole discretion) as deemed necessary. Students will not be approved for the USMLE Step 2 CS
examination until the successful completion of the mandated remediation referred to in the previous sentence.

Remediation of Clinical Skills (CS) Practice Examination:
If a student’s preparation for the Step 2CS examination is not deemed satisfactory by SMUSOM, the student will
be required to take a SMUSOM-approved remedial program which must include a comparable clinical skills
practice examination to that required by SMUSOM (i.e., the Clinical Skills (CS) practice examination).

Students will be required to submit the written results of the one-day clinical skills practice examination included
in their remedial program to SMUSOM for evaluation and review. The remedial program will be at the student’s
expense.

Upon completion of the remedial program and submission of written results of the clinical skills practice
examination, SMUSOM will review the student’s performance. Based upon this review, additional remedial
actions may be required. Absent additional requirements, the student may request certification for the USMLE
Step 2 CS examination.

The programmatic requirements to take the USMLE Step 2 CS examination, as described below, apply to
students who have successfully completed their remedial program.


Step 2 CS &CK Policies

1. Students become eligible to take the USMLE Step 2 CS &CK examinations upon completion of the 5 core
   clerkships or 40 weeks of rotations and must comprise 4 core clerkships including Internal Medicine and
   Surgery, as well as a 4 week Primary Care rotation. In the case of USMLE Step 2 CS, students must also
   successfully complete the Clinical Skills (CS) practice examination (as described in section d above) prior
   to requesting certification, and have passed USMLE Step 2CK prior to taking USMLE Step 2CS. The
   approval of the Associate Dean of Clinical Medicine, the successful completion of the clerkships and in the
   case of USMLE Step 2 CS the successful completion of the Clinical Skills (CS) practice examination7, and
   a positive determination of the student’s readiness to take the USMLE Step 2 CS examination by the Clinical
   Department (as determined by SMUSOM in its sole discretion)are required before a student can be certified
   to sit for these exams. There are no exceptions to this rule.

2. Students are required to write and pass USMLE Step 2 CS & CK prior to graduation. Students have twelve
   (12) months from the end of their last rotation and a maximum of three (3) attempts with approval of the
   Associate Dean for each exam within the twelve months to meet this requirement. It is the student’s
   responsibility to schedule and pass the examination. If the one year time limit expires before all attempts
   have been used, the student forfeits the remaining attempts and is administratively withdrawn. No
   extensions on the one-year time limit are allowed and LOAs do not ‘stop the clock”.

    Students who fail the USMLE Step 2 CK or Step 2 CS Examination on the first attempt must enroll in a
    Promotions Committee approved review course that has an evaluation examination at the end of the course.
    Student will not be certified by the school to retake the examination unless they earn a score on the

7
  The results of the CS practice examination are valid for 180 days. Students must take USMLE Step 2CS within this 180 day period from
the date of the CS practice examination, or be subject to remediation of the CS practice examination as described above.
                                                               -231-                                             Revised 5/3/21




                                      Exhibit F Clincial Medicine Handbood                                                        234
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 278 of 356 PageID 321


    evaluation examination that predicts a reasonable probability of success on the USMLE Step 2 CK
    Examination. For the USMLE Step 2 CS exam, completion of an approved course will suffice for certification
    by the school.

3. Second Time Failure of the USMLE Step 2 CK or CS:
   If a student fails a second time, the same procedure must be followed. However, for the USMLE Step 2 CK
   exam the student’s score on the end of review course examination must be higher than the previous score
   before the student will be allowed to take the USMLE examination a 3rd and final time. For the USMLE
   Step 2 CS exam, approval to take a course will not be automatic, and will only be given selectively based
   on an individual assessment by the Associate Dean of Clinical Medicine; completion of this approved course
   will suffice for certification by the school.

    If the student fails the USMLE examination a 3rd time, the student is administratively withdrawn.

4. Appeal with Lower Score after the Second Review Course, or other denial of certification to retake.

    A student may appeal the decision to not be allowed a second retake of the exam of the Promotions
    Committee to the Promotions Committee on the grounds that the special and intervening circumstances
    exist that explain the poorer performance, and that these circumstances can be or have been corrected that
    will allow the student to perform at a passing level in the future.

    The student must submit a written appeal to the Promotions Committee through the Administration within 5
    business days of receipt of the lower second end of review course examination score, or denial to retake
    CS. In the appeal the student must address any special circumstances that explain the poorer performance.
    In addition, the letter must include an explanation of how the student’s academic performance has or will be
    adjusted.

    A student whose appeal is denied by the Promotions Committee has the right to appeal to the Associate
    Dean of Clinical Medicine in writing within one business day of the Committee’s decision. No new
    information can be included in the letter of appeal to the Associate Dean who will review all the relevant
    documents and the student’s letter and make a final determination. A meeting with the student is at the
    discretion of the Associate Dean and is not required. The decision of the Associate Dean is final. The
    Associate Dean will inform the student of the decision in writing (email and/or letter) within two business
    days.

5. A student has the right to appeal to the President of the University if the University’s policies and procedures
   were not followed. The appeal should be made in writing within 7 business days to the President located in
   the US Administrative office.

6. It is SMUSOM regulation that ALL score reports (Step 1, Step 2 CK and Step2 CS) must be submitted by
   the student, to the Office of Clinical Medicine immediately upon receipt. SMUSOM will not provide any
   information to any certifying and licensing bodies without the student providing all USMLE and similar
   examination information to SMUSOM as required.




                                                      -232-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              235
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 279 of 356 PageID 322


EVALUATION OF STUDENT PERFORMANCE
SMUSOM is committed to the success of every student and actively monitors student progress throughout each
rotation. Performance on weekly assignments is reviewed by the Clinical Department for content and quality to
identify students in need of assistance.

Students are expected to complete the weekly assignments in a timely manner offering thoughtful comments
and reflections. The final course grade will be reflective of overall performance encompassing the Clinical
Faculty Evaluation, Core Clerkship Exam, Engaged Learning Experience, Patient Logs and Patient Notes, as
well as the timely submission of the Mid-Clerkship Assessment and the IPE Reflection Exercise.

For core clinical clerkships beginning on or after December 15, 2015, the Core Clinical Clerkship Grading Policy
shall be as follows:

CORE CLINICAL CLERKSHIP GRADING POLICY

The final grade for a core clinical clerkship (Internal Medicine, Surgery, Pediatrics, Psychiatry, Obstetrics &
Gynecology) is comprised of the following:

    •   Clinical Faculty Evaluation (30%)
    •   Core Clerkship Exam (40%)
    •   Engaged Learning Experience (10%)
    •   Patient Logs (10%)
    •   Patient Notes (10%)
    •   Mid-Clerkship Feedback (potential point deduction)
    •   IPE Reflection Exercise (potential point deduction)

Regardless of the total weighted score, a student MUST pass (> 70%) each of the five graded components
(Clinical Faculty Evaluation Core Clerkship Exam, Engaged Learning Experience, Patient Logs, and Patient
Notes) as well as complete in a timely fashion the Mid-Clerkship Assessment Form and the IPE Reflection
Exercise in order to pass the core clinical clerkship. If a student does not successfully complete the Core
Clerkship Exam (first or second attempt), Engaged Learning Assignments, Patient Logs, Patient Notes, or Mid-
Clerkship Assessment Form, the student will receive an INCOMPLETE grade.

A failing Clinical Faculty Evaluation will result in a FAILING grade for the entire core clinical clerkship.

Students are expected to complete on a weekly basis Patient Logs, Engaged Learning Assignments, and Patient
Notes, as well as a Mid-Clerkship Assessment Form at the midpoint of each core clinical clerkship and an IPE
Reflection Exercise approximately two thirds of the way through each core clinical clerkship. Details of each are
presented below.

Students are also required to complete a Clerkship Assessment Form in a timely fashion at the end of each core
clinical clerkship in order to receive a passing grade.

Unless otherwise specified, all references to time means Eastern Time.

Clinical Faculty Evaluation (30%)

Each student completing a core clinical clerkship will receive a written evaluation by his/her supervising faculty
member. When more than one faculty member participates, a summary evaluation is provided by the clinical
site. Students should review the Clinical Clerkship Grading Guidelines as well as the sample Student Evaluation
Form in the Clinical Medicine Handbook. Please note, a failing Clinical Faculty Evaluation will result in a FAILING
grade for the entire core clinical clerkship.




                                                        -233-                                      Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                               236
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 280 of 356 PageID 323


Core Clerkship Exam (40%)

St. Matthew’s University requires that a final examination be administered after every core clinical clerkship.
Each student must take and pass the Core Clerkship Exam after each core clinical clerkship at a Prometric Test
Center site according to the rules below:

1. Scheduling the Core Clerkship Exam (NBME Clinical Science Subject Examination) - The student will
   receive notification emails from SMUSOM and from the NBME (usually 3 weeks prior to the completion of a
   core clinical clerkship) informing them that they need to schedule their Core Clerkship Exam. The NBME
   email will provide the student with instructions on how to schedule an exam. The student will be able to
   schedule his/her final exam (Monday-Saturday, NO Sundays) during the two weeks following the completion
   of the core clinical clerkship, a total of 12 days testing days including 2 Saturdays..

2. The Core Clerkship Exam is available at                          350    Prometric     Test     Centers     worldwide.
   https://www.prometric.com/en-us/Pages/home.aspx.

3. The Core Clerkship Exam is mandatory, and the student must take the exam in the prescribed two-week
   window. The School does NOT approve time off from clinical clerkships to study for this exam or take the
   exam.

4. SMUSOM will send the student the results of their Core Clerkship Exam, e.g. the NBME score and a profile
   of their performance and their exam grade.

5. Failure to take and/or subsequently pass, on the first attempt, the Core Clerkship Exam (NBME Clinical
   Science Subject Examination) within the prescribed two-week window will result in a grade of INCOMPLETE
   for the rotation.

    If the student does not take the exam during the prescribed initial two week window, he/she will be assessed
    a score of zero (i.e. a failing score) and will only be permitted two additional attempts within the prescribed
    time period detailed below.

6. If the student fails the Core Clerkship Exam (NBME Clinical Science Subject Examination) on the initial
   attempt for any reason, he/she will receive the grade of INCOMPLETE and be required to retake the exam.

    If the student is already in another clinical clerkship (or is to start a clinical clerkship shortly) at the time that
    the school receives the failing score report, the student may complete that clinical clerkship. If the student
    is in a core rotation and does not attempt the remediate the failed exam by the end of the current rotation’s
    eligibility period, the student will forfeit that attempt. If the student fails the second attempt at the exam, or
    at any time has two current failed exams, then the student will not be assigned additional clinical rotations
    until the failed exams are remediated.

    In the case of a failed initial attempt (by omission or otherwise), students shall be allowed TWO additional
    attempts to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within six months
    of the last day of the core clinical clerkship. Upon passing, the final grade for the core clinical clerkship will
    reflect the weighted value of all attempts of the Core Clerkship Exam (including a score of zero for failure to
    take make the initial attempt during the prescribed window detailed above).

    The Core Clerkship Exam grade component shall be the average of all attempts. It is possible for the Core
    Clerkship Exam average to be below 70% (for example, a first attempt 50% + a second of 60% and a third
    attempt of 70% = 60%) and still meet the requirements for passing the core clinical clerkship (details to
    follow).

    Failure to pass the Core Clerkship Exam (NBME Clinical Science Subject Examination) within the prescribed
    six months in three attempts or less shall result in a FAILING grade for the core clinical clerkship.

7. Please note: If the core clinical clerkship hospital has its own exam, and chooses to require the student
   take this exam, the student will still need to take and pass the SMUSOM’s Core Clerkship Exam (NBME
   Clinical Science Subject Examination) within the parameters described above.
                                                         -234-                                        Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                 237
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 281 of 356 PageID 324



Engaged Learning Experience (10%)

Each student in a core clinical clerkship is expected to complete the weekly Engaged Learning Assignments on
SMUSOM’s Learning Management System (LMS), http://lms.stmatthews.edu.

It is the student’s responsibility to complete the weekly assignments on time. There will be no make-ups, and
any reminders are a courtesy. Students are required to complete the assignments on time in the week they are
assigned.

To access assignments, at the beginning of the core clinical clerkship students should go to
http://lms.Stmatthews.edu and log in (using the same username and password used to access the Campus
Website, Stmatthews.edu) and navigate to the Clinical Clerkships Online Course. If the student does not have
access to the appropriate core clinical clerkship materials and assignments, it is their responsibility to contact
onlinecoursehelp@Stmatthews.edu and request access to ensure their ability to comply with the weekly
assignment completion rule.

Each week students must review the two cases/modules assigned and write a reflection. Students must
complete the entire assignment and a reflection by midnight on Sunday of each week in order to receive credit.
There is no partial credit.

Students are expected to complete the reflection based on their interaction with the assigned cases. A
thoughtful reflection is required from each student. As a result, a student who does not complete a reflection
by midnight on Sunday of each week shall receive a zero for that week’s Engaged Learning Assignment.

The responses to the cases/modules and student reflections are reviewed by the Clinical Department each week
for completeness and quality of response prior to awarding credit.

Weekly assignments will be averaged to gain the final score, equating to 10% of the final core clinical clerkship
grade. If a student does not successfully complete the LMS, the student will receive an INCOMPLETE grade
and be required to remediate the deficiency.

Any    questions  regarding   the        assignment      or   assignment      expectations     should       contact:
onlinecoursehelp@Stmatthews.edu.

Patient Logs (10%)

Students are expected to record (via the Patient Log system) Patient Encounters and Procedures for ten or more
patients each week for each core clinical clerkship. Logs must be submitted on a timely basis in order to be
considered for credit (i.e. before midnight on Sunday of each week). Patient Logs with a deficient number of
patients may not be acceptable for credit.

Patient Logs are expected to be complete. Patient Logs that are submitted late will receive zero credit. The
weekly Patient Log submissions will be averaged to gain the final score, equating to 10% of the final Clerkship
grade. If a student does not successfully complete a sufficient number of acceptable Patient Logs, the student
will receive an INCOMPLETE grade and be required to remediate the deficiency.

Students can document their required Patient Encounters and Procedures in the revised Patient Log found at
https://www.stmatthews.edu/Gateway/PLGateway2.html.       Links to this URL can also be found at
http://www.stmatthews.edu/MySMU/resources-and-forms and at http://lms.stmatthews.edu. A sample Patient
Log is available in the Clinical Medicine Handbook.

The Patient Logs require students to document Patient Encounters and Procedures, as more fully described
below:




                                                      -235-                                     Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                             238
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 282 of 356 PageID 325


   Patient Encounters. For each core clinical clerkship, the University has specified the required types of
    Patient Encounters that each student must experience and record in the revised Patient Log system.

    While a single patient could present with one or more condition(s), the University requires the logging of a
    minimum of ten (10) patients per week. For example, for one patient with HIV, cough and dyspnea, a
    student could document three Patient Encounters (HIV, cough, and dyspnea) but only one Patient Log.

    If, by a certain point in time in the core clerkship, a student has not experienced any of the Patient Encounters
    specified in the syllabus, then alternative methods will be offered toward the end of the clerkship.

    Failure to document all Patient Encounters specified in the syllabus by the end of the core clinical clerkship,
    will result in a final grade of INCOMPLETE until the deficiency is remediated in a manner satisfactory to the
    University. Failure to remediate satisfactorily will result in a FAILING grade for the Patient Logs.

   Procedures. For each core clinical clerkship, the University has specified the required types of Procedures
    that each student must experience and record in the revised Patient Log system. Students must document
    their participation in these Procedures in the revised Patient Log system. While patient contact is the
    preferred type of exposure, simulation is an acceptable alternative.

    Failure to document all Procedures specified in the syllabus by the end of the core clinical clerkship, will
    result in a final grade of INCOMPLETE until the deficiency is remediated in a manner satisfactory to the
    University. Failure to remediate satisfactorily will result in a FAILING grade for the Patient Logs.

Patient Notes (10%)

Students are expected to submit two (2) completed Patient Notes per week based on the patients they have
seen during the week in each core clinical clerkship. Two Patient Notes must be submitted on a timely basis in
order to be considered for credit (i.e. before midnight on Sunday of each week).

The Patient Note is to be written by the student in the role of the “doctor”, focusing on accurately reporting the
patient history and physical findings and in compliance with HIPAA. Examples of appropriately completed
Patient Notes can be found in Clinical Medicine Handbook.

Students who submit their Patient Notes late or with less than the requirement of two Patient Notes per week
will receive zero credit for the week. In order to receive full credit for the Patient Note element of the core clinical
clerkship, students must submit two Patient Notes per week for each week of the rotation. The amount of credit
received by a student for their completed weekly Patient Note submissions will be divided by full credit in order
to determine a student’s final score for this element, equating to 10% of the final Clerkship grade.

During the first three weeks of each core clinical clerkship, the Clinical Deans will also evaluate each student’s
Patient Notes for quality. If a student’s Patient Notes do not merit an evaluation of “MEETS EXPECTATIONS”
by the end of the first three weeks of the clerkship, the Clinical Deans will continue to review the student’s Patient
Notes until it has been determined that the student’s work “MEETS EXPECTATIONS”. If a student’s Patient
Notes remain “BELOW EXPECTATIONS” throughout the core clinical clerkship, the student will receive zero
credit for this element of the clerkship.

If a student does not successfully complete a sufficient number of weekly Patient Note submissions or is unable
write a Patient Note that “MEETS EXPECTATIONS” before the end of the core clinical clerkship, the student will
receive an INCOMPLETE grade in the core clinical clerkship and be required to remediate the deficiency.

Patient Notes can be found https://www.stmatthews.edu/Gateway/PNGateway.html. Links to this URL can also
be found at http://www.stmatthews.edu/MySMU/resources-and-forms and at http://lms.stmatthews.edu.




                                                        -236-                                        Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                                239
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 283 of 356 PageID 326


Mid-Clerkship Feedback (potential point deduction)

The mid-clerkship assessment is designed to provide students an accurate assessment of their performance to
date and identify areas for improvement during the second half of the clerkship. Students receive notification
from the Clinical Department at the clerkship midpoint that they are required to review their performance to this
point in the clerkship with at least one supervising attending physician. Students must discuss all areas of
competency, as well as review their patient log, with this (these) supervising attending physician(s).

Submission of a Mid-Clerkship Assessment Form to the Clinical Department must occur no later than one week
past the midpoint of the clerkship (e.g., in a 12-week clerkship, by Sunday at midnight of the 7th week). Failure
to submit the Mid-Clerkship Assessment Form in a timely manner will result in point deduction which will affect
a student’s final grade (see below).

The          Mid-Clerkship      Assessment        Form            can         be      found  at
https://www.stmatthews.edu/Gateway/MCSAGateway.html.     Links to this URL can also be found at
http://www.stmatthews.edu/MySMU/resources-and-forms and at http://lms.stmatthews.edu.

IPE Reflection Exercise (potential point deduction)
The IPE Reflection Exercise is designed to improve students’ ability to work effectively with other health care
professionals and to make use of the unique contributions of other health care professionals. In order to satisfy
the IPE Reflection Exercise requirement, students’ submissions will be read and graded by the Clinical
Department for each core clerkship. Each will be initially graded as either “Meets Expectations” or “Below
Expectations”. Students who do not achieve competency in writing the IPE initially, will be able to resubmit.
Students who do not achieve competency by the end of the clerkship will receive a “U” in the respective
competencies and will need to remediate. After successful remediation, students will receive an “S*” in place
of the “U” according to school policy.

Submission of a IPE Reflection Exercise Form to the Clinical Department must occur no later than Sunday at
midnight of the 8th week of a 12-week clerkship Sunday at midnight of the week 4th week of a 6-week clerkship.
Failure to submit the Mid-Clerkship Assessment Form in a timely manner will result in point deduction which
will affect a student’s final grade (see below).

The IPE Reflection Exercise Form at can be found at https://portal.stmatthews.edu/Clinical/clerkships.


Computation of Final Core Clinical Clerkship Grade

As stated above, the final grade for each core clinical clerkships consists of six components, weighted as follows:

    •   Clinical Faculty Evaluation (30%)
    •   Core Clerkship Exam (40%)
    •   Engaged Learning Experience (10%)
    •   Patient Logs (10%)
    •   Patient Notes (10%)
    •   Mid-Clerkship Feedback (potential point deduction)
    •   IPE Reflection Exercise (potential point deduction)

It is possible that the weighted average for the final grade may be below 70% (e.g., due to not passing the Core
Clerkship Exam on the first attempt). However, if the collective weighted averages falls below 70% and all
components have been passed, the final grade will be “C”.

Examples of failed initial attempt of Core Clerkship Exam but passed the second attempt (Mid-Clerkship
Assessment Form submitted on time)*:

Prec (70%*0.3) + Exam (twice: once 50% and once 70%)(60%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) +
NOTES (67%*0.1) = 68.3% = Pass
Prec (80%*0.3) + Exam (twice: once 50% and once 70%)(60%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) +
NOTES (67%*0.1) = 71.3% = Pass
                                                      -237-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              240
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 284 of 356 PageID 327


Prec (90%*0.3) + Exam (twice: once 50% and once 70%)(60%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) +
NOTES (67%*0.1) = 74.3% = Pass
Prec (90%*0.3) + Exam (twice: once 50% and once 70%)(60%*0.4) + ELE (100%*0.1) + LOGS (100%*0.1) +
NOTES (100%*0.1) = 81.0% = High Pass

Examples of passes all components on first attempt (Mid-Clerkship Assessment Form submitted on time)*:

Prec (70%*0.3) + Exam (70%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) + NOTES (83%*0.1) = 73.9% = Pass
Prec (80%*0.3) + Exam (70%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) + NOTES (83%*0.1) = 76.9% = Pass
Prec (90%*0.3) + Exam (70%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) + NOTES (83%*0.1) = 79.9% = Pass
Prec (100%*0.3) + Exam (70%*0.4) + ELE (83%*0.1) + LOGS (83%*0.1) + NOTES (83%*0.1) = 82.9% = High
Pass
Prec (90%*0.3) + Exam (70%*0.4) + ELE (100%*0.1) + LOGS (100%*0.1) + NOTES (100%*0.1) = 85.0% = High
PassPrec (90%*0.3) + Exam (80%*0.4) + ELE (100%*0.1) + LOGS (100%*0.1) + NOTES (100%*0.1) = 89.0%
= High Pass
Prec (95%*0.3) + Exam (80%*0.4) + ELE (100%*0.1) + LOGS (100%*0.1) + NOTES (100%*0.1) = 90.5% =
Honors
Prec (80%*0.3) + Exam (80%*0.4) + ELE (100%*0.1) + LOGS (100%*0.1) + NOTES (100%*0.1) = 86.0% = High
Pass


Examples of Late Submission of Mid-Clerkship Assessment Form

Failure to submit the Mid-Clerkship Assessment form in a timely manner will result in a point deduction from the
final grade.

For a 12-week Core Clinical Clerkship (i.e. Internal Medicine or Surgery) a final grade will be impacted as follows:

   Submitted late but by Sunday at midnight of Week 8 = final grade reduced by 1 point
   Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 2 points
   Not submitted by the end of Week 9 = Grade of “U” in Professionalism & Lifelong Learning competencies
    and INCOMPLETE Final Grade and remediation required.

Two examples of student final grades that would change due to late submission of Mid-Clerkship Assessment
form:

Student A: Preliminary Grade = 91 = A, but Mid-Clerkship Assessment Form submitted*:

   During Week 6 or Week 7: Final Grade (unchanged) = 91 = Honors
   By Sunday at midnight of Week 8: Final Grade = 90 = Honors
   By Sunday at midnight of Week 9: Final Grade = 89 = High Pass
   After Sunday at midnight of Week 9 or not: Final Grade = I (remediable to 89), Competency Grade = U
    (remediable S*)

Student B: Preliminary Grade = 81 = High Pass, but Mid-Clerkship Assessment Form submitted*:

   During Week 6 or Week 7: Final Grade (unchanged) = 81 = High Pass
   By Sunday at midnight of Week 8: Final Grade = 80 = High Pass
   By Sunday at midnight of Week 9: Final Grade = 79 = Pass
   After Sunday at midnight of Week 9 or not: Final Grade = I (remediable to 79), Competency Grade = U
    (remediable S*)

For 6-week Core Clinical Clerkship (i.e. Obstetrics & Gynecology, Pediatrics and Psychiatry) a final grade will
be impacted as follows:

   Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 2 points


                                                      -238-                                      Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                             241
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 285 of 356 PageID 328


   Not submitted by the end of Week 5 = Grade of “U” in Professionalism & Lifelong Learning competencies
    and INCOMPLETE Final Grade and remediation required.

Two examples of student final grades that would change due to late submission of Mid-Clerkship Assessment
form:

Student A: Preliminary Grade = 91 = Honors, but Mid-Clerkship Assessment Form submitted*:

   During Week 3 or Week 4: Final Grade (unchanged) = 91 = Honors
   By Sunday at midnight of Week 5: Final Grade = 89 = High Pass
   After Sunday at midnight of Week 5 or not: Final Grade = I (remediable to 89), Competency Grade = U
    (remediable S*)

Student B: Preliminary Grade = 81 = High Pass, but Mid-Clerkship Assessment Form submitted*:

   During Week 3 or Week 4: Final Grade (unchanged) = 81 = High Pass
   By Sunday at midnight of Week 5: Final Grade = 79 = Pass
   After Sunday at midnight of Week 5 or not: Final Grade = I (remediable to 79), Competency Grade = U
    (remediable S*)

* for illustration purposes only.

Examples of Late Submission of IPE Reflection Exercise Form

Failure to submit the IPE Reflection Exercise form in a timely manner will result in a point deduction from
the final grade.

For a 12-week Core Clinical Clerkship (i.e. Internal Medicine or Surgery) a final grade will be impacted as
follows:

Submitted late but by Sunday at midnight of Week 9 = final grade reduced by 1 points
Submitted late but by Sunday at midnight of Week 10 = final grade reduced by 2 points
Submitted late but by Sunday at midnight of Week 11 = final grade reduced by 3 points
Submitted late but by Sunday at midnight of Week 12 = final grade reduced by 4 points
Not submitted by the end of Week 12 = final grade reduced by 5 points, grade of “U” in Social &
Community Context of Healthcare and INCOMPLETE Final Grade and remediation required.

Two examples of student final grades that would change due to late submission of IPE Reflection
Exercise form:

Student A: Preliminary Grade = 92 = A, but IPE Reflection Exercise Form submitted*:

During Week 6 - 8: Final Grade (unchanged) = 92 = Honors
By Sunday at midnight of Week 9: Final Grade = 91 = Honors
By Sunday at midnight of Week 10: Final Grade = 90 = Honors
By Sunday at midnight of Week 11: Final Grade = 89 = High Pass
By Sunday at midnight of Week 12: Final Grade = 88 = High Pass
After Sunday at midnight of Week 12: Final Grade = I (remediable to 87), Competency Grade = U
(remediable S*)

Student B: Preliminary Grade = 82 = B, but IPE Reflection Exercise Form submitted*:

During Week 6 - 8: Final Grade (unchanged) = 82 = High Pass
By Sunday at midnight of Week 9: Final Grade = 81 = High Pass
By Sunday at midnight of Week 10: Final Grade = 80 = High Pass
By Sunday at midnight of Week 11: Final Grade = 79 = Pass

                                                     -239-                                     Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                        242
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 286 of 356 PageID 329


By Sunday at midnight of Week 12: Final Grade = 78 = Pass
After Sunday at midnight of Week 12: Final Grade = I (remediable to 77), Competency Grade = U
(remediable S*)

For 6-week Core Clinical Clerkship (i.e. Obstetrics & Gynecology, Pediatrics and Psychiatry) a final grade
will be impacted as follows:

Submitted late but by Sunday at midnight of Week 5 = final grade reduced by 1 point
 Submitted late but by Sunday at midnight of Week 6 = final grade reduced by 2 points
 Not submitted by the end of Week 6 = Grade of “U” in Social & Community Context of Healthcare
competency and INCOMPLETE Final Grade and remediation required.

Two examples of student final grades that would change due to late submission of IPE Reflection
Exercise form:

Student A: Preliminary Grade = 91 = A, but IPE Reflection Exercise Form submitted*:

During Week 3 or Week 4: Final Grade (unchanged) = 91 = Honors
By Sunday at midnight of Week 5: Final Grade = 90 = Honors
By Sunday at midnight of Week 6: Final Grade = 89 = High Pass
After Sunday at midnight of Week 6: Final Grade = I (remediable to 89), Competency Grade =
U (remediable S*)

Student B: Preliminary Grade = 81 = B, but IPE Reflection Exercise Form submitted*:

During Week 3 or Week 4: Final Grade (unchanged) = 81 = High Pass
By Sunday at midnight of Week 5: Final Grade = 80 = Pass
By Sunday at midnight of Week 6: Final Grade = 79 = Pass
After Sunday at midnight of Week 6: Final Grade = I (remediable to 79), Competency Grade =
U (remediable S*)

* for illustration purposes only.

Advancement Policies

1. Any student in a core clinical clerkship who receives a FAILING grade or F will be immediately placed on
   academic probation and his/her overall academic performance will be reviewed by the Student Promotion
   Committee (SPC). The decision of the SPC could result in dismissal or repeating the entire core clinical
   clerkship and continued academic probation.

    If a second FAILING grade or F is earned by the student while on academic probation, the student will be
    dismissed.

2. The Dean of Clinical Medicine will determine whether an INCOMPLETE grade or I or grade of C should be
   reviewed by the SPC for consideration of placement on academic probation. The Dean, along with the SPC,
   will determine whether any remedial program will be required of the student, e.g. additional weeks of rotation
   in the discipline.

3. Students who disagree with a grade received from a faculty member or their final grade are NOT permitted
    to approach the faculty member without first obtaining permission from SMUSOM. When appropriate,
    SMUSOM will guide the student in how to approach the faculty member.”




                                                     -240-                                     Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                        243
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 287 of 356 PageID 330


ELECTIVE CLERKSHIP GRADING POLICY
Your Clinical Faculty Evaluation comprises 90% of your Elective final grade. Elective patient logs comprise the
remaining 10% of the grade. Students must also complete a Clerkship Assessment Form in order to receive a
final grade for a Clinical Clerkship.
Clinical Faculty Evaluation (90%)
Please review the Clinical Clerkship Grading Guidelines as well as the sample Student Evaluation Form. Please
note: receiving a failing Clinical Faculty Evaluation will result in an immediate review by the Associate Dean for
Clinical Medicine.
Patient Logs (10%)

Students are expected to record (via the Patient Log system) Patient Encounters and Procedures for ten or more
patients each week for each elective clinical clerkship. Logs must be submitted on a timely basis in order to be
considered for credit (i.e. before midnight on Sunday of each week). Patient Logs with a deficient number of
patients may not be acceptable for credit.

Patient Logs are expected to be complete. Patient Logs that are submitted late will receive zero credit. The
weekly Patient Log submissions will be averaged to gain the final score, equating to 10% of the final Clerkship
grade. If a student does not successfully complete a sufficient number of acceptable Patient Logs, the student
will receive an INCOMPLETE grade and be required to remediate the deficiency.

Clerkship Assessment Form (Required for a final grade)
Clerkship Assessment forms are the student’s assessment of their clerkship clinical site experience, and
completion of the form is required before a student’s final clerkship grade will be posted. To complete a Clerkship
Assessment, students should go to www.Stmatthews.edu > Forms > Clinical Students > Student Clerkship
Assessment Form.

Note: Students who are dissatisfied with a grade received from a faculty member or their final grade are not
permitted to approach the faculty member about the grade without first obtaining permission to do so from
SMUSOM. When appropriate SMUSOM will guide the student in how to approach the faculty member.

GRADING GUIDELINES TO BE USED BY CLINICAL FACULTY
Core Clerkship Grading Policy

Students’ final grades for core rotations are comprised of the following:

    •   Clinical Faculty Evaluation (30%)
    •   Core Clerkship Exam (40%)
    •   Engaged Learning Experience (10%)
    •   Patient Logs (10%)
    •   Patient Notes (10%)
    •   Mid-Clerkship Feedback (potential point deduction)
    •   IPE Reflection Exercise (potential point deduction)

Regardless of the total weighted score, a student MUST pass (> 70%) each of the five graded components
(Clinical Faculty Evaluation Core Clerkship Exam, Engaged Learning Experience, Patient Logs, and Patient
Notes) as well as complete in a timely fashion the Mid-Clerkship Assessment Form in order to pass the core
clinical clerkship. If a student does not successfully complete the Core Clerkship Exam (first or second attempt),
Engaged Learning Assignments, Patient Logs, Patient Notes, or Mid-Clerkship Assessment Form, the student
will receive an INCOMPLETE grade.

A failing Clinical Faculty Evaluation will result in a FAILING grade for the entire core clinical clerkship.


                                                        -241-                                      Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                               244
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 288 of 356 PageID 331


St. Matthew’s Competencies

   1      PATIENT CARE: Students must be able to provide patient care that is compassionate, appropriate,
          and effective for the treatment of illness and the promotion of health.
          a. Perform a history, physical examination and basic procedures with competence and sensitivity
             in order to identify clinical problems and assess their urgency
          b. Select and interpret appropriate laboratory and diagnostic studies
          c. Analyze and synthesize data from history, physical exam and diagnostic studies
          d. Develop hypotheses, diagnostic strategies and management plans
          e. Document data, assessment, and plans in the patient’s record
          f. Make use of the scientific foundation for clinical decision making
          g. Use information technology to support care decisions and patient education

   2      SCIENTIFIC & MEDICAL KNOWLEDGE: Students must demonstrate knowledge about
          established and evolving biomedical, clinical, and associated sciences and application of this
          knowledge to the practice of medicine throughout the life cycle
          a. Demonstrate knowledge of the scientific and humanistic foundations of medicine
          b. Demonstrate knowledge of etiology, pathophysiology, clinical expression and natural history of
               illnesses
          c. Demonstrate knowledge of health maintenance and disease prevention

   3      LIFELONG LEARNING, SCHOLARSHIP, & COLLABORATION: Students must be able to
          examine and evaluate their patient care practices, appraise and assimilate scientific evidence, and
          use this information to improve their abilities.
          a. Display intellectual curiosity, willingness to examine assumptions and commitment to lifelong
               learning
          b. Examine the prevalence of specific disease patterns in the larger population from which their
               patients are drawn
          c. Use information technology to access medical information and support his or her own
               education
          d. Apply knowledge of scientific methods to locate, appraise, and assimilate evidence from
               scientific studies
          a. Use scientific inquiry and methods to initiate and evaluate research

   4      PROFESSIONALISM: Students must demonstrate a commitment to the highest standards of
          professional responsibility, adherence to ethical principles, and sensitivity in all interactions with
          patients, families, colleagues, and others with whom physicians must interact in their professional
          lives.
          a. Show compassion in the treatment of patients and respect for their privacy, dignity and beliefs
          b. Demonstrate personal integrity, ethical behavior and altruism
          c. Exhibit dependability and responsibility
          d. Acknowledge and accept the limitations in his or her knowledge and clinical skills
          e. Demonstrate the ability to deal with uncertainty
          f.    Demonstrate skills in effectively reconciling conflicts
          g.     Demonstrate the ability to identify and utilize effective personal coping strategies
          h. Develop sensitivity to discuss the ethical issues involved in clinical practice and the use of
                human subjects in clinical research

   5      COMMUNICATION & INTERPERSONAL SKILLS: Students must display interpersonal and
          communication skills that foster effective information exchange and build rapport with patients, their
          families, and professional associates.
          a. Communicate effectively in order to create and maintain a therapeutic and ethically sound
              relationship
          b. Exhibit empathic, respectful and non judgmental behaviors
          c. Address sensitive issues with compassion

                                                   -242-                                      Revised 5/3/21




                              Exhibit F Clincial Medicine Handbood                                             245
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 289 of 356 PageID 332


            d. Demonstrate sensitivity to human differences and understanding of the impact of gender, ethnic,
               cultural background, socioeconomic and other social factors
            e. Counsel and educate patients and their families
            f. Promote wellness and preventive strategies

    6       SOCIAL & COMMUNITY CONTEXT OF HEALTHCARE: Students must demonstrate knowledge
            of and responsiveness to the larger context of health care and the ability to effectively call on system
            resources to provide care that is of optimal value to the health of the individual and of the community.


            a. Make use of the unique contributions of other health care professionals
            b. Demonstrate the ability to work effectively with other health care professionals, to provide
               patient-focused care in compliance with institutional and community policies
            c. Discuss potential conflicts that arise between the physician’s responsibility to the patient and to
               society and express ideas for resolving these conflicts
            d. Demonstrate knowledge of critical global health issues and the potential role of the physician
               as an effective participant
            e. Demonstrate an ability to respond appropriately to medical errors if they arise

STUDENT PROMOTIONS
Any student in clinical rotations who receives a grade of F (failure) will be placed on academic probation for one
year. If a second grade of F (failure) is earned by the student while on academic probation, the student will be
dismissed.

The Dean of Clinical Medicine will determine whether a grade of ‘I’ (Incomplete) or ‘Pass’ should be reviewed
by the Promotions Committee for consideration of placement on academic probation. The Dean will determine
whether any remedial program will be required of the student, e.g. additional weeks of rotation in the discipline.

ACADEMIC INTEGRITY

It is the philosophy of St. Matthew’s University School of Medicine that academic dishonesty is a completely
unacceptable mode of conduct and will not be tolerated in any form. All persons involved in academic dishonesty
will be disciplined in accordance with University regulations and procedures. Discipline may include suspension
or expulsion from the University.

Academic dishonesty includes but is not limited to cheating, plagiarism, complicity, the submission for credit of
any work or materials that are attributable in whole or in part to another person, any act designed to give unfair
advantage to a student or the attempt to commit such acts.

To avoid plagiarism, the student must give credit whenever using:
     another person’s idea, opinion, or theory;
     any facts, statistics, graphs, drawings—any pieces of information—that are not common knowledge;
     quotations of another person’s actual spoken or written words; or
     paraphrase another person’s spoken or written words;
     cutting and pasting in the electronic medical record

For example, it is plagiarism to copy history and physical exam findings from a medical record without performing
the work and without attribution.

Students     who     are     unsure     about    what      constitutes  plagiarism          should      refer      to:
http://www.plagiarism.org/plag_article_preventing_plagiarism_when_writing.html.




                                                      -243-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              246
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 290 of 356 PageID 333



                     Clinical Medicine Handbook

                              Part 6:
      Disciplinary Policy/Infection Control/Forms/Glossary:




                           St. Matthew’s University
                                P.O. Box 30992
                           Grand Cayman KY1-1204
                              CAYMAN ISLANDS
                                 345-945-3199
                               Fax: 345-945-3130

                                   In the US:
                            St. Matthew’s University
                      United States Administrative Offices
                           12124 High Tech Avenue
                                    Suite 350
                             Orlando, Florida 32817

                      1-800-498-9700 Fax: 407-488-1702
                   Email: clinical_coordinators@stmatthews.edu
                         Website: www.stmatthews.edu




                                      -244-                      Revised 5/3/21




                     Exhibit F Clincial Medicine Handbood                         247
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 291 of 356 PageID 334



                         St. Matthew’s University School of Medicine
                                      Supplement to the Student Handbook
In the interests of clarifying and simplifying the University’s student disciplinary procedures, for the benefit of both the
University and students, the University has adopted the procedures set forth below. These procedures, which are effective
beginning August 15, 2011, supersede and replace the student disciplinary procedures set forth in the Student Handbook
or in any other statement of University procedures or otherwise existing at the University prior to the effective date of these
new procedures.
Disciplinary Procedures:
Whenever there is a reasonable basis to believe that a student may have violated one or more provisions of this Handbook
or any other rule, policy or standard of the University, the matter should be reported to the Dean of Basic Sciences or
Clinical Medicine as the case may be. The Dean (or his or her designee) will conduct an investigation, the nature and extent
of which will be determined in the discretion of the Dean (or designee). The Dean (or designee) may, but need not, convene
a disciplinary committee comprising any number of faculty, administrators and/or students to assist the Dean (or designee)
in resolving the matter. The composition of any such committee, and the role it plays in the process, will be determined in
the discretion of the Dean (or designee).

Before any disciplinary action is taken, the student will be given notice of the alleged violation and an opportunity to
respond, including an opportunity to identify any witness, document or other evidence that the student believes is
relevant. The Dean (or designee) will determine in his or her discretion what evidence is relevant to consider and what
weight, if any, it should be given.

The Dean (or designee) will determine whether a violation has occurred based upon a preponderance of the evidence, i.e.,
whether it is more likely than not that a violation has occurred. If the Dean (or designee) determines that a violation has
occurred, the Dean (or designee) will determine one or more appropriate sanctions, which may include disciplinary
counseling, fines, probation, suspension, dismissal and/or any other sanction(s) that the Dean (or designee) determines is
appropriate in light of all the circumstances including but not limited to the nature of the offense and any history of
misconduct by the student. The Dean (or designee) will inform the student of the Dean’s (or designee’s) determination
with respect to whether a violation has occurred and, if so, the sanction(s) that will be imposed as a result.

A student who is found to have committed a violation may appeal that finding and/or the sanction(s) imposed to the
Chancellor if and to the extent that the student believes the finding and/or sanction(s) was the result of bias or some other
fundamental unfairness in the disciplinary process. Any appeal must be submitted in writing to the Chancellor within seven
days of the date upon which the student received notice of the decision that is being appealed. The Chancellor (or his or
her designee) will determine in his or her discretion what steps, if any, are necessary to resolve the appeal. The Chancellor
(or designee) may dismiss the appeal as being untimely or as not stating a proper basis for appeal; uphold the decision
below on the merits; vacate some or all of the decision below and remand the case to the Dean for further action; vacate
some or all of the decision below and make new findings as to whether the student committed the alleged violation(s) and/or
the sanction(s) to be imposed as a result; or take such other action as the Chancellor (or designee) deems appropriate under
the circumstances. Decisions of the Chancellor (or designee) are final.




                                                            -245-                                          Revised 5/3/21




                                    Exhibit F Clincial Medicine Handbood                                                    248
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 292 of 356 PageID 335


INFECTION CONTROL GUIDANCE

All SMUSOM students must complete training in infection control, barrier precautions and OSHA Bloodborne
Pathogens Standard by the end of the 5th semester of the program. Students are not scheduled for clerkships
until this training is successfully completed.

All students are responsible for their own health and safety throughout their education at SMUSOM; however,
the School is dedicated to providing students with the necessary information about the appropriate policies and
procedures to follow to prevent students from being exposed to potential blood-borne pathogens or other
communicable diseases.

All SMUSOM students must complete training in infection control, barrier precautions and OSHA Bloodborne
Pathogens Standard by the end of the 5th semester of the program, before they are in contact with patients.
During the orientation to each clerkship, students receive detailed instructions and information pertaining to the
prevention of communicable infectious diseases that students may face in that clinical care setting by the hospital
staff.

NEEDLESTICK INJURIES

If a student experiences a needlestick or sharps injury or was exposed to the blood or other body fluid of a
patient during the course of his or her work, immediately follow these steps:

        Wash needlesticks and cuts with soap and water
        Flush splashes to the nose, mouth, or skin with water
        Irrigate eyes with clean water, saline, or sterile irrigants
        Report the incident to your supervisor
        Immediately seek medical treatment.

Every hospital has a Needle-Stick Policy. It is the student’s responsibility to follow the hospital’s policy
immediately and completely. If the student makes a decision to not follow the Hospital/clinical site procedures
completely, they must sign a waiver at the clinical site, AND tell SMUSOM immediately (within 48 hours) so it
can be recorded and be referred to the Office of the Dean of Clinical Medicine. Failure to notify SMUSOM
immediately is grounds for dismissal from the school. The student is responsible for all charges not absorbed
by the hospital or the student’s health insurance.

HEPATITIS POLICY

For those medical students with previous HBV infection, the following applies:

    1. If the student documents a positive Hepatitis B surface antibody test (HBSAb), nothing further needs be
       done.
    2. If a student is a chronic carrier of HBV, each case will be reviewed on an individual basis.
    3. A student who tests positive for Hepatitis B surface antigen must have further testing, performed by their
       treating physician, to determine the level of infection.
    4. If the student is found to be infectious, the student must self-report this fact within a week to the Office
       of the Dean of Clinical Medicine.
    5. Medical students who learn that another medical student is infected with HBV shall advise the infected
       medical student of the duty to report the fact to Office of the Dean of Clinical Medicine.
    6. Students who are chronic carriers may be referred to experts in the community for further evaluation
       and treatment of this condition.

HIV Policy

    1.   For protection of patients, to assist infected medical students with obtaining appropriate medical
         guidance and career counseling, and to minimize serious complications for the infected student, the
         School encourages all medical students to know their HIV status.
    2.   All HIV-related testing is conducted in accordance with applicable law, and health care consent policies
         for HIV testing.
                                                         -246-                                   Revised 5/3/21




                                  Exhibit F Clincial Medicine Handbood                                            249
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 293 of 356 PageID 336


    3.   Medical students who believe or have reason to believe that they are infected with HIV must self-report
         that fact within twenty-four (24) hours to the Office of the Dean of Clinical Medicine.
    4.   Medical students who learn that another medical student is infected with HIV shall advise the infected
         medical student of the duty to report the fact to the Office of the Dean of Clinical Medicine.
    5.   Medical students who believe or have reason to believe that they are infected with HIV should seek
         immediate medical care.

Review Procedures
   1. Each medical student infected with HBV or HIV must participate in a confidential review and monitoring
       process conducted by the Office of the Dean of Clinical Medicine which will handle each infected
       medical student’s situation on an individual basis. This process will tailor the infected student’s clinical
       clerkship program so as to attempt to minimize the risk to patients for whom the student will be caring
       and minimize the risk of serious complications for the infected student.
   2. The Office of the Dean for Clinical Medicine, where appropriate, may consult a physician with expertise
       in infectious disease and/or infection control, and, where appropriate, a representative of a clinical site.
       The student’s treating physician may be consulted.
   3. The Office of the Dean of Clinical Medicine will conduct a confidential review of the student’s condition,
       the student’s clinical schedule, and the possible impact the condition may have on the student’s patients
       and clinical work.
   4. In order for the Office of the Dean of Clinical Medicine to make appropriate recommendations as to the
       infected student’s medical school program, the infected medical student will be asked to identify in
       writing his or her treating physician, and to notify the Office of the Dean of Clinical Medicine as to any
       change in treating physician. The infected student will be asked to authorize release of medical
       information to the Office of the Dean of Clinical Medicine and, where appropriate, to the hospital(s) or
       clinical site(s) where the student will be performing clerkships or clinical work. The Office of the Dean
       of Clinical Medicine will consult with the student’s treating physician as part of its review process.
   5. The Office of the Dean of Clinical Medicine will make recommendations on any restrictions that should
       be placed on the student’s clerkships and/or precautions that must be taken during clerkships or other
       clinical work. Such limitations may include that all third-year rotations be done at a single hospital, that
       the student perform non-invasive clerkships first before performing invasive clerkships (e.g., surgery
       and obstetrics and gynecology), or that the student not be permitted to engage in invasive procedures
       during clerkships such as surgery and obstetrics and gynecology.
   6. The Office of the Dean of Clinical Medicine will, when appropriate, advise the student and make
       recommendations on appropriate infection control techniques and universal precautions.
   7. As part of this process, the Office of the Dean of Clinical Medicine may disclose, to the extent necessary,
       information concerning the student’s status and recommendations to the Chancellor, so that the
       Chancellor will have adequate information to review the situation.
   8. Following the Chancellor’s approval and/or modifications, the Office of the Dean of Clinical Medicine
       will document the restrictions or precautions to be placed on the student and notify the student as to the
       restrictions or precautions in writing. The Office of the Dean of Clinical Medicine will then take steps to
       assure that these restrictions or precautions are implemented in arranging the student’s clerkships or
       other clinical work.
   9. The Office of the Dean of Clinical Medicine shall report to the hospital(s) or clinic(s) to which the student
       is assigned the student’s HBV or HIV status and of the recommendations for precautions or restrictions,
       if applicable. The Review Panel will make this report and submit other documentation as appropriate
       to the Hospital Epidemiologist or Infection Control Review Panel for the hospital(s) or clinic(s). The
       hospital’s epidemiologist or infection control review panel can then determine precautions or restrictions,
       if any, that should be implemented during the clerkships. The Review Panel will advise the hospital(s)
       or clinic(s) on the confidentiality of the information disclosed.
   10. The infected student shall not perform or participate in any invasive or exposure-prone invasive
       procedures without the approval of the Review Panel through the review process set out above. Medical
       students with HBV or HIV must adhere to universal precautions when performing any invasive
       procedure in a clerkship or clinical work.
   11. The Office of the Dean of Clinical Medicine will communicate with the infected student periodically to
       assure that the student is complying with the restrictions placed on his or her clerkships and program
       of study, and to discuss any problems the student may be experiencing. The Office of the Dean of
       Clinical Medicine also may consult with the student’s treating physician to obtain updated information
       on the student’s condition.
                                                      -247-                                      Revised 5/3/21




                                Exhibit F Clincial Medicine Handbood                                              250
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 294 of 356 PageID 337



Confidentiality and Career Counseling

    1.   The Office of the Dean of Clinical Medicine will, to the extent possible, hold in strict confidence all
         information in its possession relating to the HBV or HIV status of a medical student. The Office of the
         Dean of Clinical Medicine may disclose information relating to a student’s HBV or HIV status, to the
         extent necessary, to the hospital or clinical setting at which the student is performing clerkships in order
         for the hospital’s epidemiologist or infection control review panel to tailor the medical student’s
         clerkships or clinical work. The Office of the Dean of Clinical Medicine also may disclose, to the extent
         necessary, such information to the Chancellor making a final decision under this policy or hearing an
         appeal filed by a student. The Review Panel also may disclose, to the extent necessary, such
         information to other administrators or faculty within the school in connection with a disciplinary action
         involving the student’s violation of this policy. Medical students should be aware that evidence of
         infection with HBV or HIV is by law reportable to the Department of Health.
    2.   When possible, the Office of the Dean of Clinical Medicine will not discuss the name of the infected
         student during their review, but instead will discuss the situation anonymously.
    3.   Students may obtain career counseling regarding their HBV or HIV status from the Office of the Dean
         of Clinical Medicine, or from the school, if the student wishes to divulge this information to those offices.

Sanctions for Violation of the Policy

    1.   If the school learns that a medical student is aware of their infection with HBV or HIV but has failed to
         report this status to the Office of the Dean of Clinical Medicine as required above, the medical student
         may be subject to disciplinary action, up to and including expulsion from the School.
    2.   The Office of the Dean of Clinical Medicine has the right to require the student to enter into the
         confidential review and monitoring process as set according to the established policy.
    3.   If an infected medical student fails to a) follow the restrictions or recommendations of the Office of the
         Dean of Clinical Medicine ,b) use universal precautions, c) conform to minimal standards of care, or d)
         otherwise take steps to ensure patient safety, the Office of the Dean of Clinical Medicine may take
         appropriate disciplinary action, including but not limited to oral or written warning, suspension from
         clinical exposure.

All students must be vaccinated against the HBV and demonstrate immunity as described above. Students are
not required to be tested for HIV, but are strongly encouraged too and are each medical student who believes
or has reason to believe that they are infected with HIV must self-report that fact within twenty-four (24) hours
to the school. Medical students who learn that another medical student is infected with HBV or HIV shall advise
the infected medical student of the duty to report the fact to the Office of the Dean of Clinical Medicine. Each
hospital has their own policies regarding exposure to infectious and environmental hazards. During the
orientation to each clerkship, students receive detailed description of how to follow the hospital’s policy if they
are exposed to blood-borne or air-borne pathogens. SMUSOM does not have any visiting students.




                                                       -248-                                       Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                               251
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 295 of 356 PageID 338



                      CORE ROTATION PATIENT LOG
The Core Rotation Patient Logs are a mandatory assignment and must be completed
weekly. You must submit logs for most of the patients you encounter during each 24
hours of your rotation. The Dean’s expectation is that you will log 15-20 or more
patients per week. The minimum for a very low volume clinical rotation is at least ten
(10) patients every week before midnight Sunday. The Dean receives a weekly report
on each student’s log volumes.




                          ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE




                                           -249-                         Revised 5/3/21




                        Exhibit F Clincial Medicine Handbood                              252
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 296 of 356 PageID 339



     ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE
                                    Clinical Immunization Form
                                       Please return this form to:
                 Clinical Department 12124 High Tech Avenue, Suite 350, Orlando, FL 32817
                                  Tel. 1-800-498-9700 Fax: (407) 488-1702




                                             -250-                                          Revised 5/3/21




                       Exhibit F Clincial Medicine Handbood                                                  253
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 297 of 356 PageID 340


   Basic Clinical Definitions
   The following is a series of basic definition of terms and types of people that you are likely to encounter
   over the upcoming weeks.
   Inpatient: Refers to care of patients who are hospitalized
   Outpatient/Ambulatory: Refers to care of patients who are not in the hospital. Ambulatory, meaning “able
   to walk,” is applied to describe the care of patients in clinics/offices.
   Resident: Residents have completed their medical school training, have their doctoral (MD or DO) degree,
   but are not yet eligible for autonomous practice. All trainees must complete a “residency” in the area of
   their choice; residency in internal medicine is traditionally three years in duration. Residents are typically
   described by the year of their training; for example, a junior resident is a resident in their second post-
   graduate year (PGY-2). A senior resident is typically PGY-3. Residents in their first year are often called
   PGY 1
   Interns: Residents in their first year of residency training (PGY-1). Internship is typically the most intense
   year of residency during which many basic skills are acquired. Do not confuse with internist, a physician
   who has completed a residency in Internal Medicine, and practices internal medicine.
   Subintern (Sub I) or acting intern (A-I): A fourth year medical student doing a rotation functioning as an
   intern, working as independently as possible but with much closer resident supervision to provide direct
   patient care. The student does not have the legal sign-off authority of an intern, and needs the resident to
   countersign all orders.
   Chief Resident
   Physician, usually after completing residency training, or in last year of training, spends 6 months to a year
   coordinating operations of the residency with the program director. Activities usually include patient care,
   education, and administrative oversight of residents, and students.
   Fellows: Trainees who have completed residency in their specialty (e.g., internal medicine or surgery or
   pediatrics) but who has elected to perform additional subspecialty training (e.g., cardiology). Fellows work
   closely with subspecialty attending staff and frequently coordinate and are first contacts for subspecialty
   consultations.
   Attending physician: A physician who has completed residency training, and is in practice, assumes
   ultimate responsibility for a patient’s care. The physician who is ultimately responsible for all actions of
   patient care for any given patient is the “attending of record.” Usually the billing for professional services
   (doctor care) is done under the name of the Attending Physician.
   Consultant: A specialist physician (completed residency, and often fellowship) who is invited by the
   attending physician to provide recommendations for the care of the patient.
   Subspecialists: Specialists who practice a subspecialty. For example, a number of subspecialties exist
   within internal medicine, including allergy and immunology, cardiology, endocrinology, infectious diseases,
   hematology, gastroenterology, geriatric medicine, nephrology, oncology, pulmonology, and critical care
   medicine, and rheumatology. Many of these sub specialties have additional paths of specialization, for
   example, invasive cardiology or hepatology. The other core specialties have a similar structure.
   Hospitalists: A physician, most commonly trained in internal medicine, whose primary professional focus
   is the care of hospitalized patients. This is relatively new and rapidly growing area within medicine.
   “Rounds:” There are several different types of rounds. “Rounds” most typically refers to morning walk rounds,
   or work rounds, during which the team will see all the patients on the service. Rounds typically include reviewing
   the patient’s brief history, the status of the active problems, the medications that the patient is taking, and the
   vital signs/intake and output for the previous 24 hours; these reviews are followed by talking to the patient and
   performing an examination. Ideally, the plan for the day will be determined. “Pre-rounds” is typically an individual
   activity where the student will see all of his/her patients and gather information prior to the entire team visit. This
   is a means for the student to be even more prepared for work rounds. “Attending rounds” is a teaching session
   in which the team will discuss cases and learn from their patients with the team’s attending physician.




                                                           -251-                                         Revised 5/3/21




                                 Exhibit F Clincial Medicine Handbood                                                254
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 298 of 356 PageID 341




   Chris Bassil, MD PhD Candidate
   christopher.bassil@elitemedicalprep.com
   www.elitemedicalprep.com




   Session 08/05/21
   Today (08/05/21) we had a 2-for-1 trial session from 3:00 - 5:00 PM EST (9:00 - 11:00 PM
   CEST) for CCSE/USMLE Step 2 CK. You're tentatively planning to take your CCSE on August
   21st, your in-house exam in September, and USMLE Step 2 CK in October. You have 0 paid
   hours remaining.

   We covered:
   - Brief introductions
   - Study schedule/resources
   - Overview of tutoring
   - Challenge Case on PSGN

   Comments:
   It was great meeting you today! I think that, based on what I've observed, your approach to
   studying and timeline are completely reasonable. As I mentioned, we'll be constitutively
   evaluating both of them, so we can make changes on the fly as needed. I'll definitely be
   interested to see you in action on some UWorld questions next time we meet. If you have any
   questions between now and then, don't hesitate to reach out!

   Next session:
   Sunday (8/8), 2:00 - 4:00 PM EST (6:00 - 8:00 PM CEST) to do UWorld questions and discuss
   approach to questions




                                  Exhibit G: Elite Medical Prep                             001
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 299 of 356 PageID 342




   Session 08/14/21
   Today (08/14/21) we had a 1-hr session from 1:00 - 2:00 PM EST (7:00 - 8:00 PM CEST) for
   CCSE/USMLE Step 2 CK. You're tentatively planning to take your CCSE on August 24th(ish), your
   in-house exam in September, and USMLE Step 2 CK in October. You have 4 paid hours remaining.

   We covered:
   - UWorld questions

   Comments:
   Great work today! It seems like you really turned it on for that question set, so we didn't have as
   much of an opportunity to identify areas for improvement (a good problem to have, to be sure!). You
   showed a good fund of knowledge on many of the questions and timing was generally appropriate.
   We'll keep an eye on these and other elements when we meet again tomorrow!

   Next session:
   Sunday (8/15), 1:00 - 2:00 PM EST (7:00 - 8:00 PM CEST)




   Session 08/15/21
   Today (08/15/21) we had a 1-hr session from 1:00 - 2:00 PM EST (7:00 - 8:00 PM CEST) for
   CCSE/USMLE Step 2 CK. You're tentatively planning to take your CCSE on August 24th(ish), your
   in-house exam in September, and USMLE Step 2 CK in October. You have 3 paid hours remaining.

   We covered:
   - Simple vs complex cysts
   - UWorld questions

   Comments:
   Great work today! I love how you're focusing your studying on the differences between disorders
   with similar presentations. That's a really great way to start streamlining your review and focusing on
   the lowest hanging/highest yield fruit. Of course, it's also possible to overcorrect and go too far into
   the weeds on any given topic, so just watch out for that as you move forward :)

   Next session:
   Wednesday (8/18), 4:00 - 5:00 PM EST (10:00 - 11:00 PM CEST)




                                   Exhibit G: Elite Medical Prep                                      002
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 300 of 356 PageID 343




   Session 08/18/21
   Today (08/18/21) we had a 1-hr session from 4:00 - 5:00 PM EST (10:00 - 11:00 PM CEST) for
   CCSE/USMLE Step 2 CK. You're tentatively planning to take your CCSE on September 2nd, your
   in-house exam in September, and USMLE Step 2 CK in October. You have 2 paid hours remaining.

   We covered:
   - Study schedule
   - Atrial fibrillation

   Comments:
   Good work today! Continue to lay eyes on some of those EKG waveforms that we discussed (A fib,
   A flutter, V fib, 1/2/3rd degree heart blocks). Be on the look out for an email from me next Thursday
   to schedule our next session!

   Next session:
   TBD




   Session 08/29/21
   Today (08/29/21) we had a 1-hr session from 12:00 - 1:00 PM EST (6:00 - 7:00 PM CEST) for
   CCSE/USMLE Step 2 CK. Your CCSE exam is scheduled for September 2nd, your in-house exam
   for later September, and USMLE Step 2 CK for October. You have 1 paid hour remaining.

   We covered:
   - NBME 9 questions

   Comments:
   Good work today! We are in the home stretch here before your CCSE. Keep reminding yourself of
   those broad principles we discussed today. On Tuesday, we'll plan to meet when you get off around
   5:00 PM. I'll be online whenever you are ready. If you get hung up at the clinic, no worries--just shoot
   me a message and we'll reschedule for Wednesday.

   Next session:
   Tuesday (8/31), ~5:00 - 6:00 PM EST




                                   Exhibit G: Elite Medical Prep                                     003
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 301 of 356 PageID 344




   Session 08/31/21
   Today (08/31/21) we had a 1-hr session from 5:00 - 6:00 PM EST (11:00 PM - 12:00 AM CEST) for
   CCSE/USMLE Step 2 CK. Your CCSE exam is scheduled for September 2nd, your in-house exam
   for later September, and USMLE Step 2 CK for October. You have 0paid hours remaining.

   We covered:
   - UWorld questions

   Comments:
   Good work today! Use tomorrow to tie up any loose ends, and on Thursday, definitely "warm up" by
   glancing over things to get yourself in the game. And most of all, GOOD LUCK!!! I'll be looking
   forward to hearing how it goes :)

   Next session:
   None!




                                 Exhibit G: Elite Medical Prep                                 004
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 302 of 356 PageID 345




                                                                                                           July 5, 2022




   To Members of the Academic Review Committee:


   I am writing this letter on behalf of Danielle Gegas, a fourth-year student at the St. Matthews School of Medicine.
   She has successfully completed our STATMed Boards Workshop for students, a one-on-one platform where we
   help self-identified “bad test-takers” at the medical boards level learn how to consistently show what they know
   on board exams.

   Ms. Gegas was a model client for the Boards Workshop due to her ADHD diagnosis and issues with reading. We
   believe impairments of executive functioning and working memory (weaknesses we expect to see in those with
   ADHD) are at the center or much bad boards test-taking issues, and one of the ways the workshop helps these
   students is by re-engineering the way they read and process questions to limit the burden on these aspects of
   cognition. The workshop also provides feedback to help students like Ms. Gegas get control over her entrenched
   negative test-taking behaviors

   Ms. Gegas was a model student and got a great deal from the workshop. I was very impressed with her overall and
   expect her to do great things with the tools taught to her once she has had time to train with them and implement
   them. She is now poised to train independently moving forward as she prepares for her USMLE Step 2.

   If you have any questions, please feel free to contact me at ryan@STATMedlearning.com.



   Sincerely,




   Ryan Orwig, MS
   Founder, STATMed Learning




                                                 Exhibit H STATMed
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 303 of 356 PageID 346




SCHOOL OF MEDICINE

OFFICIAL
CATALOG
2022-2024
                                                                                    1
                       Exhibit I Defendant Official Catalog               001
                Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 304 of 356 PageID 347



                                                                                                    Contents
                                                                                                    Welcome                               5
                                                                                                    Our Mission                           7
                                                                                                    The St. Matthew’s University
                                                                                                    Difference                            9
                                                                                                    Credentials                           13
                                                                                                    What’s Around Campus                  14
                                                                                                    Island & Student Life                 17
                                                                                                    Admissions                            20
                                                                                                    Financial Information                 24
                                                                                                    Curriculum                            28




    IMPROVING
                                                                                                    Clinical Sciences Program
                                                                                                    & Clerkship Rotations                 34
                                                                                                    Faculty & Administration              38




    LIFE BY
                                                                                                    Standards of performance              46
                                                                                                    Center for Learning Enhancement       50
                                                                                                    Student Government & Organizations    54




    DEGREES




2                                                                                                                                              3
                                       Exhibit I Defendant Official Catalog                                                              002
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 305 of 356 PageID 348




                                                                         Welcome

                                                                         We would like to extend to you a warm welcome to St. Matthew’s University School
                                                                         of Medicine. We are happy that youchose St. Matthew’s to pursue your medical education.
                                                                         You can rest assured that you have made the right choice. We have a student-centered
                                                                         mission. We do everything we can to help you reach your goal to become a
                                                                         successful physician.

                                                                         Here at St. Matthew’s, you will find the friendly faculty and staff ever willing to assist
                                                                         you to meet your educational needs. This is complemented by our Center for Learning
                                                                         Enhancement, where we offer personalized care in dealing with your educational and
                                                                         personal issues. At St. Matthew’s, you will find the curriculum is carefully crafted to
                                                                         maximize your success. With residency placements in outstanding programs like the Mayo
                                                                         Clinic, Duke University, Johns Hopkins, and McGill University, our graduates offer the best
                                                                         evidence of our students’ success. This success can be in part attributed to the high quality
                                                                         of our faculty, who have been chosen from all parts of the world and are experts in their
                                                                         field of teaching.

                                                                         An outstanding pre-clinical curriculum and the clinical shadowing programs at Cayman
                                                                         hospitals and clinics help our students understand the powerful link between Basic
                                                                         Sciences and clinical practice. This is a great way to bridge the gap between the theory and
                                                                         practice of medicine. The state of the art IT infrastructure and learning platforms at St.
                                                                         Matthew’s University are among the most advanced in medical education today.

                                                                         Apart from academic activities in the University, Grand Cayman also offers you limitless
                                                                         entertainment, which will help you relax after an intense study schedule. Grand Cayman
                                                                         boasts some of the world’s best beaches and finest restaurants. All this comes to you with
                                                                         an exceptional safety profile of the island.

                                                                         Upon your completion of Basic Sciences, it will be time to apply what you have learned
                                                                         in the classroom. St. Matthew’sx offers clinical rotations at top teaching hospitals. At St.
                                                                         Matthew’s University, we strive to help you meet your career goals by working closely with
                                                                         you to ensure that you have the experience and credentials necessary to achieve residency
                                                                         in the setting and field of your choice. Our committed clinical staff works with a
                                                                         student-centered dedication and passion; we are constantly striving to help you succeed.

                                                                         The emphasis of our curriculum is on a strong work ethic, being a team player, having
                                                                         compassion for the patients, and a continuing curiosity for the developing science of
                                                                         medicine. We look forward to assisting you as you pursue your dream of becoming a
                                                                         successful physician.

                                                                         Sincerely yours,




                                                                         Maurice Clifton, M.D., M.S. Ed, M.B.A.
                                                                         Chief Academic Officer

4                                                                                                                                                                        5
                           Exhibit I Defendant Official Catalog                                                                                            003
    1997
                               Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 306 of 356 PageID 349


                                                                                                                                            practices, appraise and assimilatescientific
                                                                                                                                            evidence, and use this
                                                                                                                                            information to improve their abilities.

    St. Matthew’s University                                                                                                           4.   Professionalism: Students must
    School of Medicine was
    established in 1997.
                                                                                                                                            demonstrate a commitment to the highest
                                                                                                                                            standards of professional responsibility,
                                                                                                                                            adherence to ethical principles, and

                                                                                Our                                                         sensitivity in all interactions with patients,
                                                                                                                                            families, colleagues, and others with

                                                                                Mission                                                     whom physicians must interact in their
                                                                                                                                            professional lives.

                                                                                                                                       5.   Communication & Interpersonal Skills:
                                                                                To provide students of diverse backgrounds                  Students must display interpersonal
                                                                                with the opportunity to acquire the medical and             and communication skills that foster
                                                                                clinical expertise needed for a successful career           effective information exchange and build
                                                                                as a practicing clinician, along with the skills and        rapport with patients, their families, and
                                                                                confidence needed to critically evaluate and                professional associates.
                                                                                apply new information.
                                                                                                                                       6.   Social & Community Context of Healthcare:
                                                                                In orderto fulfill its mission, the university’s            Students must demonstrate knowledge of
                                                                                program is structured around certain ideals                 and responsiveness to the larger context
                                                                                which embody its view of the essential qualities            of health care and the ability to effectively
                                                                                of today’s practicing physician.                            call on system resources to provide care
                                                                                                                                            that is of optimal value to the health of the
                                                                                These ideals are defined in the six                         individual and of the community.
                                                                                competencies adopted by the university
                                                                                and summarized below:

                                                                                  1.   Patient Care: Students must be able to
                                                                                       provide patient care that is compassionate,
                                                                                       appropriate, and effective for the treatment
                                                                                       of illness and the promotion of health.

                                                                                  2.   Scientific & Medical Knowledge: Students
                                                                                       must demonstrate knowledge about
                                                                                       established and evolving biomedical,
                                                                                       clinical, and associated sciences and
                                                                                       application of this knowledge to the
                                                                                       practice
                                                                                       of medicine throughout the life cycle.

                                                                                  3.   Lifelong Learning, Scholarship, &
                                                                                       Collaboration: Students must be able to
                                                                                       examine and evaluate their patient care




6                                                                                                                                                                                            7
                                                      Exhibit I Defendant Official Catalog                                                                                        004
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 307 of 356 PageID 350




                                                                                                                      Commitment to
                                                                                                                      Student Success
                                                     The St. Matthew’s                                                At SMUSOM, we are as committed to your dreams as
                                                                                                                      you are. Throughout your ten semesters with us, we will do


                                                     University
                                                                                                                      everything we can to ensure your success by supporting all
                                                                                                                      aspects of your education and life.



                                                     Difference                                                         • Focus on Teaching: Dedicated, talented faculty
                                                                                                                          whose time commitments are focused on teaching
                                                                                                                          and mentoring.
                                                                                                                        • Skills Training: Unique first semester Student

                                                     Proven Quality of
                                                                                                                          Development Course, offering study skills, exam
                                                                                                                          strategies, peer support, and stress management.
                                                                                                                        • Center for Learning Enhancement: Offers special

                                                     Education
                                                                                                                          faculty reviews and tutoring and student academic
                                                                                                                          coaches.
                                                                                                                        • Center for Excellence in Medical Education:
                                                                                                                          Educational workshops, clinical pathological
                                                                                                                          conferences, and research in medical education.
                                                     St. Matthew’s University School of Medicine (SMUSOM)
                                                                                                                        • Student Mentors: Student mentors understand about
                                                     offers students a medical education that is completely
                                                                                                                          adjusting to life in medical school and are eager to see
                                                     focused on the success of our students. The result is a
                                                                                                                          you succeed.
                                                     proven quality education.
                                                                                                                        • Limited class sizes: 7:1 student-to-faculty ratio
                                                                                                                          encourages close student-faculty interaction.
                                                       • Graduates: More than 2,000 successful graduates
                                                         who have earned residencies and/or permanent
                                                         licensure in the U.S., Canada, and numerous
                                                         other countries.
                                                       • Residency Placement: Recent residency placements
                                                         in outstanding programs such as the Mayo Clinic,
                                                         Johns Hopkins, Northwestern University, the
                                                         University of Florida, McGill University, and                Locations and
                                                                                                                      Facilities
                                                         Duke University.
                                                       • Accreditation: The United States Department
                                                         of Education determined that the standards and
                                                         processes used to accredit St.Matthew’s University
                                                         School of Medicine are comparable to those used to
                                                         accredit medical schools in the United States.               Grand Cayman is not only a beautiful location for our Basic
                                                       • Licensing: One of only a small number of non-U.S.            Science campus; it is also one of the safest and most
                                                         schools to be approved in both New York and Florida.         advancedislands in the Caribbean. There is no better place
                                                       • Faculty: Highly credentialed, experienced faculty, with      to study medicine.
                                                         each holding an M.D. and/or Ph.D.
                                                       • Clinical Rotations: Premier clinical training sites at top     • Pre-clinical Training: Beginning in their very first
                                                         teaching hospitals.                                              semester, SMUSOM students are exposed to clinical
                                                       • Curriculum: Groundbreaking U.S. Medical                          opportunities with Cayman physicians in multiple
                                                         Licensing Examination review course, coupled with                hospitals and clinics.
                                                         comprehensive USMLE preparation integrated                     • “North American” Infrastructure: As the fifth largest
                                                         throughout the curriculum.                                       financial center in the world and with a thriving tourist
                                                                                                                          industry, Grand Cayman has a highly developed
                                                                                                                          infrastructurewhich is very comparable to the U.S.



8                                                                                                                                                                                     9
                           Exhibit I Defendant Official Catalog                                                                                                         005
                                                                          Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 308 of 356 PageID 351
     • Lifestyle: The Cayman Islands enjoy one of the highest      • Convenience: Grand Cayman is less than an hour’s
       per capita incomes in the world. Grand Cayman has             flight from Miami, and also has direct flights from
       hundreds of restaurants, scores of banks, world-class         Atlanta, Chicago, Charlotte, Houston, New York, Tampa,
       hotels, and many opportunities for diving, boating, and       Toronto, Dallas and other international locations.
       other recreation.                                           • Campus: Modern, state-of-the-art Cayman campus
     • Safety: Grand Cayman has one of the lowest crime rates        facilities include wireless technology available
       in the Caribbean.                                             throughout the bright, air-conditioned classrooms, labs,
     • Healthcare: The Cayman Islands has a world class health       library and student lounges.
       care system including three state-of-the-art hospitals      • Housing: Students live in inviting residence suites with
       and boasts one of the highest ratios of physicians to its     internet access, swimming pools, and easy access to
       population in the Caribbean.                                  Seven Mile Beach.
     • Culture: As part of the British West Indies, the
       Cayman Islands is an English-speaking country which
       combines British civility, American efficiency,
       and Caribbean charm.




         St. Matthew’s
             University




10                                                                                                                                                                  11
                                                                                                             Exhibit I Defendant Official Catalog             006
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 309 of 356 PageID 352




                                                                                                                    Grand Cayman

                                                      Credentials                                                   Within the vibrant blue waters of the Caribbean is Grand
                                                                                                                    Cayman, largest of the three Cayman Islands. Not only does
                                                                                                                    Grand Cayman offer some of the most pristine beaches
                                                                                                                    and world-class diving, it boasts numerous attractions,
                                                                                                                    shopping opportunities and points of interest, including the
                                                                                                                    capital city of George Town.

                                                      • The World Health Organization lists St. Matthew’s           As the largest of the three islands, Grand Cayman offers
                                                        in the World Directory of Medical Schools,                  many familiar amenities and modern conveniences from
                                                        http://www.who.int/hrh/wdms/en.                             dining to transportation, entertainment and healthcare; you
                                                      • The Educational Commission for Foreign Medical              are sure to feel at home. Only 480 miles from Miami, Florida,
                                                        Graduates officially recognizes St. Matthew’s University    50 miles south of Cuba and 180 miles northwest of Jamaica,
                                                        School of Medicine, www.ecfmg.org.                          the island is easily accessible. There are at least 55 flights
                                                                                                                    per week entering Grand Cayman and 28 from Miami,
                                                      • The Government of the Cayman Islands, B.W.I., has fully     Florida alone.
                                                        chartered St. Matthew’s University.
                                                                                                                    Major carriers such as Cayman Airways, American Airlines,
                                                      • The accrediting body for the Cayman Islands,
                                                                                                                    Jet Blue Airlines and Delta offer direct flights from major
                                                        and consequently St. Matthew’s University is the
                                                                                                                    cities including Atlanta, Chicago, Charlotte, Houston,
                                                        Accreditation Commission on Colleges of Medicine
                                                                                                                    Miami, New York, Tampa, Toronto, and other
                                                        (ACCM) (http://www.accredmed.org).
                                                                                                                    international locations.
                                                        The United States Department of Education, via the
                                                        National Committee on Foreign Medical Education and
                                                        Accreditation (NCFMEA), reviews the standards that
                                                        countries use to accredit medical schools. The NCFMEA
                                                        has determined that the accreditation standards used
                                                        by the ACCM to accredit St. Matthew’s University School
                                                        of Medicine’s medical program are comparable to those
                                                        used by the Liaison Committee on Medical Education
                                                        (LCME), the accrediting body that accredits M.D.
                                                        - granting medical programs in the United States.

                                                      • The FAIMER International Medical Education Directory
                                                        (IMED) of the Educational Commission for Foreign
                                                        Medical Graduates (ECFMG) lists St Matthew’s University
                                                        in its listing of approved medical schools.

                                                      • St. Matthew’s is licensed by the Commission for
                                                        Independent Education, Florida Department of
                                                        Education (Florida license number 2634). Additional
                                                        information regarding this institution may be obtained
                                                        by contacting the Commission at 325 West Gaines
                                                        Street, Suite 1414, Tallahassee, FL 32399. The toll-free
                                                        telephone number is 888-224-6684.

                                                      • St. Matthew’s is approved by the State of New York for
                                                        all clinical rotations, residencies and licensing. Please
                                                        visit the New York State Education Department Office
                                                        of the Professions’ Website at http://www.op.nysed.gov/
                                                        medforms.html to view the listing of approved schools.
12                                                                                                                                                                                   13
                            Exhibit I Defendant Official Catalog                                                                                                       007
                           Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 310 of 356 PageID 353




     What’s Around
     Campus
     •   Shopping
     •   Dining
     •   Banking
     •   Health & Beauty
     •   Leisure




14                                                                                                                   15
                                                  Exhibit I Defendant Official Catalog                         008
                               Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 311 of 356 PageID 354

                                                                                                                                                  like Burger King, Wendy’s, Kentucky Fried Chicken and
                                                                                                                                                  Domino’s Pizza. Choices range from 5-star sushi to pasta
                                                                                                                                                  alfresco served by serenading Italian waiters. How about
                                                                                                                                                  Tea at the Ritz? The Ritz Carlton, Cayman serves an
                                                                                                                                                  elegant tea with all the trimmings in the Silver Palm
                                                                                                                                                  Lounge every afternoon (pre-booking highly
     I am excited to be                                                                                                                           recommended). Craving for local food, such as turtle stew,
     finishing my basic                                                                                                                           fish rundown and stewed conch, can be satisfied at
                                                                                                                                                  Caymanian hot-spots like Welly’s Cool Spot, Champion
     science curriculum in
                                                                                Island &
                                                                                                                                                  House and Corita’s Copper Kettle.
     Grand Cayman and am
                                                                                                                                                  Diving

                                                                                Student Life
     very grateful to have
     received the Jha Family                                                                                                                      Some of the most vibrant coral reef systems in the
     Scholarship.                                                                                                                                 world exist in Cayman waters, which offer wonderful
                                                                                                                                                  opportunities to scuba dive, snorkel and swim in tropical
                                                                                                                                                  seas that are warm year round.
                                                                                The Cayman Islands’ remarkable success as a financial
                                                                                center and tourist destination has transformed the nation
                                                                                                                                                  Since the main campus and residence halls are
                                                                                into a dynamic society that has every modern convenience
                                                                                                                                                  just steps away from the famous Seven Mile Beach,
                                                                                but still retains the charm and vibrancy of the Caribbean.
                                                                                                                                                  students can literally walk out of their class and across the
                                                                                People from more than 100 countries live and work in this
                                                                                                                                                  street for a quick swim, snorkel, sunset volleyball game, or
                                                                                British Overseas Territory, creating a lively and unique blend
                                                                                                                                                  even to study on the beach.
                                                                                of cultures.

                                                                                                                                                  The calm waters and 200-foot visibility under water make
                                                                                While the diverse accents and idioms of Caymanians,
                                                                                                                                                  the Cayman Islands an ideal place to build experience and
                                                                                Jamaicans, Europeans, Hondurans, and Filipinos may take
                                                                                                                                                  confidence in scuba diving and snorkeling. Divers and
                                                                                some getting use to, there is no denying the hospitality of
                                                                                                                                                  snorkelers can swim with the friendly rays at Stingray City,
                                                                                the local people, the superb weather, stunning beaches and
                                                                                                                                                  or experience the magic of swimming among a school of
                                                                                great restaurants and nightlife that make the transition
                                                                                                                                                  Yellowtail fish, or see up close various species of turtles,
                                                                                to this new country easy, as well as exciting. As an integral
                                                                                                                                                  parrotfish, lobster, eels, sea urchins and squid that populate
                                                                                part of this exceptional community, St Matthew’s offers
                                                                                                                                                  the famous coral reefs.
                                                                                students a quality of life that few universities in any part of
                                                                                the world can match.
                                                                                                                                                  As a premier dive destination, Cayman has a wide choice of
                                                                                                                                                  local dive operators that offer beginner and advanced scuba
                                                                                The Cayman Islands:
                                                                                                                                                  courses, as well as affordable dive trips for certified divers.
                                                                                                                                                  For those with hectic schedules or divers who want to avoid
                                                                                  • Provides a world class health care system with one
                                                                                                                                                  a crowded dive boat, there are plenty of gorgeous dive sites
                                                                                    of thehighest ratios of physicians to its population
                                                                                                                                                  that are an easy swim from shore.
                                                                                    in the Caribbean
                                                                                  • Enjoy one of the highest per capita incomes
                                                                                                                                                  Leisure & Recreation
                                                                                    in the world
                                                                                  • Offer stability, a strong tourism trade, a safe
                                                                                                                                                  Aside from the world class diving, Cayman has a plethora of
                                                                                    community, and highly developed technology
                                                                                                                                                  activities and points of interest - from Stingray City where
                                                                                    and health care resources
                                                                                                                                                  you can swim with the rays, to the Cayman Islands National
                                                                                  • Has one of the lowest crime rates in the Caribbean
                                                                                                                                                  Museum which overlooks George Town harbor and houses
                                                                                    and a lower crime rate than the U.S.
                                                                                                                                                  natural and cultural histories. Cayman offers a unique mix
                                                                                                                                                  of island entertainment. Just like at home, Hollywood
                                                                                Dining
                                                                                                                                                  Theaters at Camana Bay offers a state of the art, six screen,
                                                                                                                                                  stadium seating cinema. With over 33 sporting associations,
                                                                                Cayman is a culinary playground for chefs and a
                                                                                                                                                  you are bound to find a league - whether it’s baseball,
                                                                                paradise for people who appreciate excellent food.
                                                                                                                                                  basketball, flag football, cricket, cycling or soccer.
                                                                                From haute cuisine, to casual waterfront bars and
                                                                                restaurants, to Jamaican-style “Jerk” chicken and pork at
                                                                                                                                                  There are also multiple gyms on the island as well as endless
                                                                                roadside stands across the island, there is something for
                                                                                                                                                  water sports including diving, sailing clubs, and kayaking.
                                                                                everyone. Diners can choose from traditional
                                                                                                                                                  Nightclubs along Seven Mile Beach provide a wide choice of
                                                                                Caymanian, Mediterranean, American, Indian, Chinese,
                                                                                                                                                  dancing, including hip-hop, reggae, disco, rave, country
                                                                                Thai and Tex Mex restaurants, or even familiar franchises
                                                                                                                                                  western, and Latin.

16                                                                                                                                                                                                                  17
                                                      Exhibit I Defendant Official Catalog                                                                                                            009
                                                                                  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 312 of 356 PageID 355

     Hotels and restaurants, such as the Wharf, Marriott and the      Currency                                                                  Schools                                                         British schools require children be the
     Ritz Carlton, are sparking off new trends with themed nights                                                                                                                                               age of four by September and American schools require the
     on a monthly or weekly basis, such as disco or smooth Latin      Although the U.S. dollar is not the official currency of                  The Caymanian school system is based upon the English           age of five by September.
     beat by the pool. For a more casual experience, numerous         The Cayman Islands, it is widely accepted on the island,                  learning system. Cayman offers primary schools in each
     bars and pubs dotting the island offer a cold beer while         as are money orders and credit cards. Many merchants                      district for children 4-11 years of age as well as government   For further information and a detailed listing of schools,
     watching the sun set over the ocean or their favorite sport      quote their prices in both Cayman Island dollars and U.S.                 high schools, a community college, a university college and     please visit The Chamber of Commerce at: http://www.
     on TV, or joining in a noisy game of Dominoes - a popular        dollars, and you can pay in either currency. If you pay in U.S.           a law school. Private schools are also abundant on the island   caymanchamber.ky/relocation/school.htm or New Resident
     Caribbean pastime.                                               dollars, you will likely receive your change in Cayman dollars.           including but not limited to, Cayman Prep & High School,        at: http://www.caymannewresident.com/page_id_13.html
                                                                                                                                                Cayman International School, First Baptist Christian School,
     Climate                                                          Banking                                                                   Montessori By The Sea and St. Ignatius Catholic School.

     The weather in Grand Cayman is pleasant year round with          As the fifth largest financial district in the world, banking             The classes are taught in English, as it is the main language
     temperatures ranging from 70° to the mid 80°’s. The rainy        options in Cayman are endless. Butterfield Bank, Cayman                   of the island. Children starting pre-school can begin at
     season usually lasts from May to November; however the           National Bank, Fidelity Bank, FirstCaribbean International                the age of two and for primary school the starting age
     rains are usually brief and the sun soon returns. Cayman         Bank, Scotiabank and Royal Bank of Canada offer electronic                depends on whether they will be attending a British school
     does have a winter, from December to April, which is             and online banking.                                                       such at St. Ignatius or American school such as Cayman
     when there is infrequent rain and the cool breezes return.                                                                                 International School.
     Hurricane season runs from June 1st to November 30th,            Moving with Pets
     and Cayman is well prepared. Hurricane information
     packs are available from the Government Information              Pets are allowed to be brought to Cayman. An import
     Services in Cricket Square.                                      permit or valid animal passport issued by the Department of
                                                                      Agriculture and an official health certificate issued by a
     Telecommunications                                               government employed or accredited veterinary inspector in
                                                                      the country of origin is required for the importation of
     State-of-the-art telecommunications services are offered         dogs and cats.
     on the island. These services include local and long distance
     calling, mobile phones, faxing, cable and internet. Service is   For further information, please visit the Chamber of
     comparable to that found in the U.S. The main providers are      Commerce at http://www.caymanchamber.ky/relocation/
     Flow, Digicel, Logic, and C3 Communicatons.                      pets.html

     All Cayman mobile phone service providers use GSM                Transportation
     technology. It would be best to consult with your existing
     provider to ensure that your mobile phone is compatible.         There are many options for navigating the island. People
     As a guideline, CDMA is the technology used by Verizon and       from all the major European countries, most major English
     Sprint in the USA, and Telus and Bell in Canada. GSM is the      speaking countries (including the United States, New
     technology used by Vodaphone, O2 and Orange in Europe,           Zealand, Australia, Canada and South Africa), and the
     T-Mobile in the USA, and Rogers Wireless and Microcell           following Caribbean countries – Jamaica, Barbados,
     in Canada.                                                       Dominican Republic, Cuba, and Trinidad and Tobago,
                                                                      are entitled to obtain a Cayman driving license without
     For more telecommunication information please visit              having to take any further tests.
     http://www.caymannewresident.com/page_id_30.html
     Health Care Offering both state and private health care          If in doubt call the Licensing Department on 345-945-
     facilities, Cayman has an excellent health care system. A        8344 or visit http://www.dvdl.gov.ky/. You must apply for
     wide range of specialists, including visiting doctors from       a Cayman license within three months of arriving. Please
     the U.S. and elsewhere operate from private clinics. Grand       remember driving is on the left side of the road like in the
     Cayman is well served by private dentists and optometrists.      U.K. Cayman also offers rentals, leasing, and has numerous
     There are also two hospitals on the island, The Cayman           dealerships for purchasing a vehicle. The island also has a
     Islands Hospital and The Chrissie Tomlinson Memorial             wonderful bus system with seven bus routes, and the buses
     Hospital, as well as numerous pharmacies. Many pharmacies        each have a distinctive colored circle on the front and rear
     have multiple branches, and both Foster’s Food Fair and Kirk     with a route number in the middle. Residents also have the
     Supermarket have in-store pharmacies open 12 hours a day.        option of having their vehicles imported onto the island.
     For a list of local health care contacts please visit            Please visit New Resident for further details http://www.
     http://www.caymanchamber.ky/relocation/healthcare.htm            caymannewresident.com/page_id_9.html
     or http://www.caymannewresident.com/page_id_11.html.




18                                                                                                                                                                                                                                                                           19
                                                                                                                      Exhibit I Defendant Official Catalog                                                                                                       010
                                                                     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 313 of 356 PageID 356



                                                                                                                                                         Pre- requisite Coursework

                                                                                                                                                          General             1 academic year
                                                                                                                                                          biology*             (6 credit hour)
                                                                                                                                                          Inorganic           1 academic year
                                                                                                                                                          Chemistry*           (6 credit hour)
                                                                                                                                                          Organic             1 academic year
                                                                                                                                                          Chemistry*           (6 credit hour)


     Admissions                                                                                                                                           Language Arts
                                                                                                                                                          (English)**
                                                                                                                                                          College Math
                                                                                                                                                                             1/2 academic year
                                                                                                                                                                               (3 credit hour)

                                                                                                                                                                             1/2 academic year
                                                                                                                                                          or Computer
                                                                                                                                                                               (3 credit hour)
                                                                                                                                                          Science


                                                                                                                                                         *Those Those course must include an
                                                                                                                                                         attached laboratory.
                                                                                                                                                         ** A student may substitute any course


     Admissions
                                                                                                                                                         that has a writing component, such as
                                                                                                                                                         a term paper, for the Language Arts
                                                                                                                                                         requirement. A student may substitute


     Criteria                                                                                                                                            1/2 year of Biochimectry for 1/2 year of
                                                                                                                                                         Organic chemistry.



     Each candidate is evaluated on the basis of these factors:

       • Academic background
       • Overall grade point average
       • Science grade point average
       • Strength of major/minor
       • Letters of reference
       • Personal statement
       • College activities that demonstrate
         service to the community
       • Personal interview
       • MCAT scores

     Most candidates have earned an undergraduate degree
     from an approved college or university in the United States,
     Canada or a recognized international institution. However,
     a student who has earned 90+ semester credit hours
     of college credits will be considered for admission.
     We recognize that since medicine deals with people,
     an understanding of literature, art, history, ethics and
     philosophy is an asset to a physician. Science and
     humanities are not mutually exclusive and both are viewed
     as necessary for the practice of medicine.

     It is necessary that students be computer literate. The
     following list of courses indicates the minimal prerequisites
     that all applicants must complete prior to admission to the
     medical school. Applicants with lower grade point averages
     are encouraged to apply if other accomplishments, MCAT
     scores or work experience demonstrate their aptitudes.




20                                                                                                                                                                                                  21
                                                                                            Exhibit I Defendant Official Catalog                                                              011
                                                                                 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 314 of 356 PageID 357

                                                                     with unsatisfactory records are not considered for                        Personal Statement                                               12124 High Tech Avenue, Suite 290
                                                                     advanced standing. Acceptance is contingent upon the                                                                                       Orlando, Florida 32817


     Admissions
                                                                     recommendation of the Admissions Committee and on                         Applicants must submit a personal statement with the             Or via the Website at www.stmatthews.edu
                                                                     the basis of space available within the class.                            application form. This offers an opportunity for the
                                                                                                                                               applicant to describe personal attributes, characteristics     Reapplication


     Committee
                                                                     The University does not accept transfer students directly                 and interests that support a decision to study medicine.
                                                                     into the Clinical Medicine program. Students requesting                   The Admissions Committee is interested in participation        Unsuccessful applicants may reapply by repeating the
                                                                     to transfer into the Clinical Medicine program will only                  in research projects, hobbies and health-related               admission process. A new application form, a new personal
                                                                     be considered for acceptance into the fourth or fifth                     employment or experience. Use specific examples to             statement and new letters of recommendation must be
                                                                     semester of the Basic Science program, but to be eligible to              demonstrate motivation, commitment to pursue a medical         submitted with a check or money order for U.S. $75 payable
     The Admissions Committee selects students who exhibit           do so, they must have passed the United States Medical                    career and the ability to work with people. Compassion,        to St. Matthew’s University School of Medicine.
     the strongest potential to flourish in a medical school         Licensing Exam (USMLE) Step 1.                                            empathy, and the ability to deal with everyday problems are    Procedures and Paperwork We are here to help you
     environment and execute the duties of a medical doctor                                                                                    considered important qualities. We focus as much on the        through this process. We are open to both traditional and
     ethically and professionally. If the student’s credentials      We encourage applications from people with work                           determination and life experience of our candidates as on      non-traditional applicants, so we truly encourage your
     meet the admissions criteria, the candidate will be             experience in healthcare. However, chiropractors,                         their academic background.                                     application. Due to our rolling admissions, there is no
     interviewed in person or by video conference before a final     podiatrists, dentists and physician’s assistants will not be                                                                             deadline to apply. However, seats in each class
     decision is made.                                               granted advanced standing based on work experience.                       Interview                                                      are competitive and early applicants will have the advantage
                                                                                                                                                                                                              of securing a place in the semester of their choice.
     It is the applicant’s responsibility to make sure the           The University will submit transcripts to any university                  When a candidate is favorably considered, the Admissions       Semesters begin in September, January and May.
     application is complete. Applicants should submit materials     or college for a student requesting a transfer. However,                  Committee schedules an interview. For all new students,
     early to ensure a timely decision. The admissions               acceptance of credits.                                                    the interview may be in person or by video conference.         All immigration and other documentation must be received
     committee will not review incomplete documentation.                                                                                       The interview serves both the applicants and the               at the U.S. Admissions Office no later than 30 days before
                                                                     Medical College Admissions Test (MCAT)                                    committee by providing an opportunity for the applicant        the start of term. See calendar for the schedule.
                                                                                                                                               to ask pertinent questions and introduce any special
                                                                     The Medical College Admission Test (MCAT) is required for                 circumstances that should be considered. The committee

     Non-U.S. Transcripts
                                                                     all applicants who are U.S. citizens, nationals, or permanent             gains the opportunity to determine if the candidate
                                                                     residents. It is recommended for all other applicants.                    demonstrates the personal qualities that are required in a
                                                                     The MCAT is offered online multiple times per year.                       good physician.
                                                                     Information on the MCAT testing dates is available at
                                                                     www.aamc.org.                                                             These qualities include motivation, commitment to a
                                                                                                                                               medical career, empathy, compassion, maturity and
     Students with academic transcripts from outside                 Information regarding your application, dates and locations               flexibility in dealing with problems. Notification of
     the United States and Canada must have them                     should be directed to:                                                    Acceptance Letters of acceptance or non-acceptance are
     evaluated on a course-by-course basis by an evaluation                                                                                    sent within one week after the Admissions Committee
     service such as World Evaluation Services (www.wes.org),          Association of American Medical Colleges                                has reached a decision. Students who are accepted are
     Josef Silny & Associates, Inc. (https://www.jsilny.org/pdf/       Medical College Admissions Test                                         expected to return a letter of intent promptly. The letter
     StMatthewsUniversity.pdf), www.gceus.com, or a service            2450 N. St., NW Washington, DC 20037                                    of intent must be accompanied with a fee of U.S. $500 to
     that is a National Association of Credential Evaluation           Phone: (202) 828.0690                                                   reserve a place in the upcoming class. This seat deposit fee
     Services (NACES) member (www.naces.org).                                                                                                  is part of the first semester tuition.


     Advance Standing
                                                                     Application for the test must be made approximately one
                                                                     month prior to the designated testing date. St. Matthew’s                 Application Checklist
                                                                     MCAT code is 919. If using the MCAT (THx) system, please


     and Transfer
                                                                     use the school name. MCAT scores must be submitted to                     A completed application file for both new and transfer
                                                                     the Admissions Office in Orlando, Florida.                                students will include:



     Students
                                                                     Letters of Recommendation                                                   1.   Completed application form
                                                                                                                                                 2.   Official academic transcripts
                                                                     Confidential appraisals by college advisors, instructors,                   3.   Two letters of recommendation
     Transfer students undergo the same admissions process           or others are an important part of the application.                         4.   Personal statement
     as first time applicants, in that they must submit a complete   These recommendations may include a letter from a                           5.   Nonrefundable application fee of U.S. $75
     application packet to ensure a timely review. Acceptance        peer. Ask for recommendations from individuals who                          6.   Current resume
     of transfer credits is at the discretion of the University.     can give a concise and thorough assessment of your
     St. Matthew’s University School of Medicine only provides       personality, industry, reliability and motivation.                        Submit a completed application form along with other
     advance standing to qualified transfer students from            Applicants are given the option of signing a waiver                       supporting documents to:
     medical schools, recognized by the World Directory of           regarding the confidentiality of these letters. At least
     Medical Schools. SMUSOM will not consider coursework            two letters of recommendation are requested from                            St. Matthew’s University School of Medicine
     completed through a distance learning program. Students         each applicant.                                                             Office of Admissions



22                                                                                                                                                                                                                                                                           23
                                                                                                                     Exhibit I Defendant Official Catalog                                                                                                      012
                                                                                    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 315 of 356 PageID 358

                                                                       Effective for matriculants on or after
                                                                                                                        $ Per Semester                                                                                   upon receipt of these invoices. Non-payment of accounts
                                                                       the September 2021 Semester
                                                                                                                                                                                                                         will result in the loss of credit privileges on campus.
                                                                       Tuition per semester – Basic Sciences              $19,950.00
                                                                                                                                                    Clinical Sciences                                                    Financial Aid
                                                                       Tuition per semester – Clinical Sciences           $24,350.00

                                                                                                                                                    Tuition and fees for students in Clinical Sciences are due           We realize that attendance at medical school represents a
                                                                                                                                                    prior to registration and at least one month prior to the            significant investment for our students and their families.
                                                                                                           Fees                                     commencement of the semester and/or clinical rotation.               At St. Matthew’s University, we are committed to doing
                                                                                                                                                    Tuition and fees are charged for all clinical rotations.             everything we can to make your medical education more


     Financial
                                                                       Tuition less than 17 credit hours
                                                                       ($865 per credit)
                                                                                                                           $865.00                                                                                       affordable.
                                                                       Malpractice Insurance - Clinical Science only                                Students in Clinical Sciences will be billed for an entire
                                                                       (per semester)
                                                                                                                           $260.00
                                                                                                                                                    semester regardless of the starting date as long as the              This includes maintaining a cost-effective tuition that is


     Information                                                       Health Insurance (per semester,                                              student is in rotations. Additional charges may be due if            substantially less than the average persemester tuition
                                                                                                                           $653.00                                                                                       among U.S. public medical schools, as surveyed by the
                                                                       unless proof of coverage)                                                    students choose elective rotation with costs exceeding the
                                                                                                                                                    standard St. Matthew’s University subsidy rate. Each                 American Association of Medical Colleges.
                                                                       Transcript Request                                   $10.00
                                                                                                                                                    student will pay a maximum of five clinical sciences
     Tuition and Fees                                                                                                                                                                                                    U. S. Federal Direct Loan Program
                                                                       Letter of Reference – First 3 free, thereafter       $10.00                  semesters (given that no rotations were failed).
     Tuition and fees are billed on a semester basis for students      Document copies up to 15 pgs (Over 15 pgs., $1
                                                                                                                            $15.00                  Basic Science Refund Policy                                          St. Matthew’s University School of Medicine has been
                                                                       per page)
     in Basic Sciences and in Clinical Sciences. Tuition and fees                                                                                                                                                        approved by the United States Department of Education
     for students in Basic Sciences are due upon registration but      Recreation Fee (Cayman Only)                         $35.00                                                                                       for participation in the William D. Ford Federal Direct
                                                                                                                                                    All refunds will be made within thirty (30) days of the
     no later than fifteen days prior to the first day of classes.                                                                                                                                                       Loan Program. Qualified citizens and permanent
                                                                       National Board Fee                                  $500.00                  withdrawal date. Before any refund can be initiated, a
     Non-payment by the first day of classes may result in                                                                                                                                                               residents of the United States may be eligible to receive
                                                                                                                                                    withdrawal form must be completed and submitted to the
     registration being cancelled. Students must pay tuition and       Leave of Absence Fee                                $500.00                                                                                       funding from the Direct Loan programs to help pay for
                                                                                                                                                    Dean of Basic Sciences.
     fees prior to attending classes or being recorded on the                                                                                                                                                            the cost of their education.
     official roll.                                                    Graduation Fee                                      $500.00

                                                                       Background Check Fee
                                                                                                                                                     Basic Sciences Tuition will be refunded according                   The Free Application for Federal Student Aid (“FAFSA”)
     Tuition and fees are subject to change. Students with an                                                              $50-$250                  to the following schedule*:
                                                                       (Depending on the required extent of search)                                                                                                      must be completed to determine eligibility. St. Matthew’s
     outstanding balance due are not eligible to register for the                                                                                                                                                        University school code is 037643.
     next semester without clearing up that outstanding balance
                                                                       Late Registration Fee                               $250.00                   Prior to the first day of the semester                       100%
     to the satisfaction of the Financial Office. For students in      Lab Fees                                           $150-$250                  During the first week of the semester                        93%    Canadian student loans
     both Basic Sciences and Clinical Sciences, a U.S. $100 late
     fee will be assessed if tuition and fees are not paid on time.    White Coat Ceremony Fee                              $60.00                   During the second week of the semester                       87%    Canadian students are eligible for federal loans through
                                                                                                                                                                                                                         the Ministry of Education Student Support Branch in the
                                                                       Late Payment Fee                                      $100                    During the third week of the semester                        80%
                                                                                                                                                                                                                         province of residence. Students may apply for up to 52
                                                                       Returned Check Fee                                   $35.00                   During the fourth week of the semester                  No Refund   weeks of financial assistance annually.

                                                                       Information Technology Fee** (per semester)         $100.00                                                                                       Work directly with your individual province for information
                                                                                                                                                    Any new applicant to St. Matthew’s University requesting             regarding requirements. St. Matthew’s University’s school
                                                                       Administrative Fee (Per semester)                   $175.00                  withdrawal within three days of payment of the seat deposit          code for applying is NUBQ.
                                                                                                                                                    to St. Matthew’s shall receive a full refund* of all tuition and
                                                                       Non-Refundable Application Fee                       $75.00
                                                                                                                                                    fees paid as well as the seat deposit.                               For information regarding financial aid, email
                                                                       Cayman Entry Fee***                                 $113.00                                                                                       finaid@stmatthews.edu or call (800)498-9700.
                                                                                                                                                    *All fees, including the first semester seat deposit fee of
                                                                       Seat Deposit                                        $500.00                  $500.00 and the $75.00 application fee, are excluded from
                                                                                                                                                    this refund policy and are not refundable (after the first
                                                                       Review Materials (Fifth Semester)                   $935.00
                                                                                                                                                    three days’ exemption as previously described).

                                                                      **Laptops are required for all students
                                                                      ***Cayman Island Government Fee
                                                                                                                                                    Clinical Science Refund Policy

                                                                                                                                                    Any student withdrawing from a clinical rotation,
                                                                                                                                                    subsequent to assignment and acceptance, will not be
                                                                                                                                                    subject to a refund on tuition for that semester of rotation.
                                                                                                                                                    Other Charges

                                                                                                                                                    Students attending Basic Sciences in Grand Cayman will be
                                                                                                                                                    billed monthly for miscellaneous charges. Payment is due


24                                                                                                                                                                                                                                                                                     25
                                                                                                                          Exhibit I Defendant Official Catalog                                                                                                              013
                                                                                 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 316 of 356 PageID 359

                                                                      Applicants must:

                                                                        • Have an overall GPA of 3.0 or above
                                                                        • Submit documented proof of participating in a

     Scholarships                                                         leadership capacity
                                                                        • Submit one letter of recommendation from a person
                                                                          who can attest to your leadership ability
                                                                        • Submit a letter requesting the consideration of the
                                                                          Scholarship Committee. The letter must include (but
                                                                          not be limited to) leadership abilities, community
     Academic Scholarships                                                achievement and any leadership awards received.

     Each semester excellent incoming students at St.                 The Scholarship Review Board
     Matthew’s University Medical School may earn
     partial-tuition academicscholarships from the school.            The Scholarship Review Board meets on or around
                                                                      March 15, July 15 and November 15 of each year to review
     St. Matthew’s is proud to offer the academic scholarships to     all completed applications for all scholarship awards.
     students who display exceptional promise in the pursuit of a     All scholarship applications must be complete and ready for
     medical degree. It is our way of rewarding excellence and        review prior to these dates because the staff must prepare
     encouraging individuals to pursue a medical degree.              the applications for review by the board. Therefore, it is
     At the time of application, candidates must:                     necessary to set a deadline for receipt of applications prior
                                                                      to the meeting of the Review Board.
       • Have a strong undergratuade GPA and/or MCAT score.
       • Submit an application requesting the consideration           Deadlines for receipt of completed scholarship applications
         of the Scholarship Committee.                                are as follows:

     The Cayman Islands Scholarship                                     • November 10 for January semester
                                                                        • March 10 for May semester
     As part of St. Matthew’s University’s commitment to the            • July 10 for September semester
     country and citizens of the Cayman Islands, one Basic
     Science tuition and fees scholarship is offered to qualified     The Scholarship Review Board will notify recipients within
     Caymanian citizen each calendar year, beginning in the           two weeks of their decision.
     January term. This scholarship is awarded to a qualified
     applicant who meets all the admission requirements, shows        Applications
     exceptional promise for medical studies, is a current
     resident of the Cayman Islands and is dedicated to               Applications for all scholarships are available online at
     delivering health care to the country of the Cayman Islands.     www.stmatthews.edu or from the Florida office.
                                                                      Completed applications may be faxed to: 1-800-565-7177
     Applicants must submit a Letter of Request to the                or mailed to:
     Scholarship Review Board explaining the desire for
     consideration. This letter should include (but not be limited      St. Matthew’s University School of Medicine
     to) examples of tenacity, compassion and commitment to             Office of Admissions
     helping others, and must be received by the Review board           12124 High Tech Avenue, Suite 290
     prior to November 10.                                              Orlando, FL 32817
                                                                        Or submit applications via the Website at
     Jha Family Scholarship                                             www.stmatthews.edu

     The Jha Family Scholarship is given on behalf of the
     Jha Family. The Jha Family believes in the concept
     of leadership and its benefit to the medical profession.
     The $3,000 per calendar year ($1,000 a semester)
     scholarship is open to new and current students who meet
     the criteria below. St. Matthew’s University is proud to offer
     this scholarship to students who display exceptional
     leadership skills in the medical field. It is our way of
     rewarding leadership while encouraging individuals to
     pursue a medical degree.



26                                                                                                                                                                         27
                                                                                                                     Exhibit I Defendant Official Catalog            014
                                                                      Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 317 of 356 PageID 360



                                                                                                                                                          Pre-requisite Coursework
                                                                                                                                                          Experience extends beyond the classroom
                                                                                                                                                          into hospitals and clinics. Students gain
                                                                                                                                                          invaluable experience through participating
                                                                                                                                                          in community outreach.




     Curriculum
                                                                                                                                                          The Clinical Shadowing Program gives our
                                                                                                                                                          students the opportunity to make meaning
                                                                                                                                                          of the knowledge and lessons learned from
                                                                                                                                                          lectures and textbooks in a real-life
                                                                                                                                                          clinical setting.

                                                                                                                                                          Students learn and experience first-hand
     Our Curriculum Includes Caring                                                                                                                       how practicing physicians interact with
                                                                                                                                                          patients,
     Our curriculum integrates basic and clinical science to                                                                                              take histories,
     give students an understanding of the human body in health
     and disease. This approach enables students to use their
     knowledge not just to treat patients but also to prevent
     disease and promote good health.
     Throughout the first five semesters, students participate
     in a series of clinical medicine courses that focus on the art
     of patient care and preventive medicine. Patient care in the
     broadest respect is at the center of every course. Students
     examine the role of medicine in the community and the
     effect disease has on the family, as well as the individual.
     Special segments deal with the ethics of the physician-
     patient relationship and with the ethical dilemmas posed by
     modern medicine.




     Basic Sciences
     Program
     Basic Science Overview

     The gross and microscopic structure and function of each
     organ system is presented in lecture format with clinical
     correlations. Laboratories provide visual reinforcement and
     give students the opportunity to develop the ability to make
     observations and hone analytical skills. Professors focus on
     how disease interrupts the normal function of organ
     systems and the therapy needed to treat these abnormal
     processes. Lectures, labs and small group formats reinforce
     analytical skills. Students are required to complete 159
     credits in Basic Sciences. The first semester courses are
     numbered MD 1--, second semester courses are numbered
     MD 2--, and so on. If a course is canceled, an appropriate
     course will be substituted. Any canceled course will be
     offered no later than the next academic semester.


28                                                                                                                                                                                                         29   29
                                                                                             Exhibit I Defendant Official Catalog                                                                    015
                                                                             Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 318 of 356 PageID 361

                                                                                                                                           They will understand how the vast majority of patient            abdomen, pelvis and perineum. The embryological aspects
                                                                  MD 236 Genetics                                     6                    presentations can be diagnosed with the information              including Fertilization and placentation, development


     Basic Sciences
                                                                                                                                           available in a complete history. Students will gain              of each organ and system, from gametogenesis to birth,
                                                                  MD 243 Biostatistics and                                                 experience in history taking and will gain expertise in          is discussed along with the gross anatomy. Clinical
                                                                                                                      4
                                                                  Epidemiology                                                                                                                              correlative sessions illustrate medically relevant
                                                                                                                                           musculoskeletal examinations.


     Calendar
                                                                  MD 270 Biochemistry &                                                                                                                     normal and abnormal findings, and common congenital
                                                                                                                      10
                                                                  Molecular Biology                                                        MD 122 Principles of Research and Evidence-Based                 malformations are used to demonstrate mechanisms of
                                                                                                                                           Medicine – 2 credits                                             teratogenesis. Computer-based tutorial programs and
                                                                  MD 282 Physiology                                   12                                                                                    structured reviews are used to supplement the lectures
                                                                                                                                           The student will have an opportunity to develop research         and labs. (Lecture/Lab)
      Semester                  Term Dates       Diploma Date     Semester III                                     Credits                 skills related to Evidence-Based Medicine (EBM).
                                                                  MD 300 Medical Spanish                                                   Students will be introduced to concepts of research
      Fall 2021             Aug 30 - Dec 10         Dec 25                                                            1
                                                                  (Elective)                                                               analysis and critical thinking. At the end of this course, the


                                                                                                                                                                                                            Semester II
      Spring 2022             Jan 3 - April 15     April 30       MD 311 Patient-Doctor                                                    student will be able to identify and frame a clinical
                                                                                                                      2                    question based on therapy, diagnosis, prognosis or
                                                                  Relations Part-II
      Summer 2022             May 2 - Aug 13        Aug 27                                                                                 etiology; develop a focused search strategy to identify
                                                                  MD 332 Microbiology &                                                    articles that best answer the clinical question; identify and
                                                                                                                      12
      Fall 2022               Aug 29 - Dec 9        Dec 24        Immunology
                                                                                                                                           use the appropriate medical database; and critically
      Spring 2021             Jan 9 - April 18     April 29       MD 383 Behavioral Sciences                                               appraise articles for validity.
                                                                                                                      13
                                                                  & Ethics                                                                                                                                  MD 236 Genetics – 6 credits
      Summer 2023             Sept 4 -Dec 15        Aug 26                                                                                 MD 140 Histology & Cell Biology – 10 credits
                                                                  MD 369 Neuroscience                                 9
                                                                                                                                                                                                            This course provides the student with an understanding
      Fall 2023               Sept 4 - Dec 15       Dec 23
                                                                                                                                           This course examines the microanatomy of cells, tissues          of the principles and concepts upon which current
                                                                  Semester IV                                      Credits
      Spring 2024             May 3 - Aug 13       April 27                                                                                and organs. Lectures illustrate the microstructure of major      clinical genetic practice (diagnosis, treatment and
                                                                  MD 411 Patient-Doctor                                                    tissues and organs in relation to their function. Laboratory     counseling) is based. This course covers the genetics of
                                                                                                                      6
      Summer 2024             May 6 - Aug 16      August 24       Relations Part-III                                                       exercises use the light microscope to study these                human populations and introduces recent and ongoing
                                                                                                                                           components and make use of slides and electron                   discoveries so that their future applications may be
                                                                  MD 468 Pharmacology                                 6                    micrographs for review and discussion. This lab-oriented         understood. It builds upon the foundation of basic
                                                                                                                                           course presents the molecular biology and histology              material introduced in histology. (Lecture)
                                                                  MD 482 Pathology I                                  12                   of normal cells, tissues and organ systems at various            Prerequisite: Histology & Cell Biology
                                                                                                                                           developmental functional stages. Students will learn
     Please note that as SMUSOM is an international medical       Semester V                                       Credits                 the unique characteristics of the four basic tissues of the      MD 243 Biostatistics and Epidemiology – 4 credits
     school, and operates on a three semester per year basis,                                                                              body: epithelial tissue, connective tissue (including
     public holidays from your home country may not be            MD 552 Pathology II                                 10                   bone, cartilage and blood), muscle tissue and nervous            Students master basic descriptive and inferential tools
     observed.                                                                                                                             tissue. Student will learn how individual cell functions         to understand statistical evaluation of research. This
                                                                  MD 562 Clinical Therapeutics                        2                    interact with one another and how such interactions are          course will help students learn how to conduct
     Perform medical examinations and procedures, and work                                                                                 accomplished from the tissue levels to the organ levels.         epidemiologic investigation, how to critically review
     with other members of the health care team.                                                                                           The course introduces molecular and control systems, and         medical literature and how to use such information in a
                                                                  MD 582 Introduction to Clinical Medicine            8
     St. Matthew’s University’s preceptors represent a diverse                                                                             the course prepares the student for future understanding         clinical environment. Students acquire a basic level of
     set of specialties, such as internal medicine, surgery,                                                                               of normal (homeostasis) system and pathological                  proficiency in epidemiologic principals and understand
     pediatrics and orthopedics to name a few.                    MD 582 Indations of Clinical Medicine               11
                                                                                                                                           conditions. In addition, the student learns how molecular        how to apply epidemiology in clinical practice. (Lecture)
                                                                                                                                           building blocks are utilized for growth and differentiation,
     The Clinical Shadowing Program is crucial to a student’s                                                                              wound healing and tissue repair, defense mechanisms and

                                                                 Semester I-II
                                                                                                                                                                                                            MD 270 Biochemistry & Molecular Biology – 10 credits
     continued success and preparation for the USMLE Step 1                                                                                transfer of hereditary characters. (Lecture/Lab)
     examination and their clinical rotations that follow.                                                                                                                                                  The biochemical pathways of living organisms are studied
                                                                                                                                           MD 166 Developmental and Gross Anatomy –                         to include the structure of biomolecular chemistry and
      Semester I                                    Credits                                                                                16 credits                                                       an understanding of energy yielding processes and the
      MD 111 Patient-Doctor                                                                                                                                                                                 transfer of genetic material. This course includes the study
                                                       2                                                                                   This course integrates gross human anatomy and                   of the chemistry and reactions of constituents of living
      Relations Part-I                                           MD 111 Patient-Doctor Relations Part-I – 2 credits
                                                                                                                                           medical embryology, allowing students to understand              matter, including the carbohydrates, lipids, proteins,
      MD 122 Principles of Research & Evidence                                                                                             the relationship of embryological development to
                                                       2         MD 111 Patient-Doctor Relations Part-I – 2 credits                                                                                         nucleic acids, vitamins, coenzymes and minerals; the
      Based Medicine
                                                                 This course is the first in a series of required two-credit               gross structure and the mechanisms of congenital                 chemistry and regulation of the reactions and processes of
      MD 140 Histology & Cell                                    courses providing medical students with a progressive                     abnormalities. Through lectures, use of human plastinated        whole organisms; endocrinology; enzymology; nutrition;
                                                       10
      Biology                                                                                                                              cadavers, evaluation of radiographs (including CT and            intermediary metabolism and biochemical mechanisms in
                                                                 introduction to the skills and attitudes that are requisite
      MD 166 Developmental and                                   in becoming competent, compassionate physicians.                          MRI) and clinical correlations, students acquire a basic         selected disease states. Theory and application of classical
                                                       16                                                                                  knowledge of the normal gross structure, functional and          and emerging technologies in biochemical lab analysis will
      Gross Anatomy                                              In this first course, students will come to appreciate
                                                                 the essential nature of a complete history.                               clinical anatomy of organs and systems of the adult human        be covered. (Lecture/Lab)
      Semester II                                   Credits                                                                                body, including the brain, spinal cord, back, thorax,            Prerequisite: Histology & Cell Biology

30                                                                                                                                                                                                                                                                         31
                                                                                                                 Exhibit I Defendant Official Catalog                                                                                                         016
                                                                               Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 319 of 356 PageID 362

     MD 282 Physiology – 12 credits                                 MD 369 Neuroscience – 9 credits                                            will have the opportunity to practice their communication      clinical laboratory data and X-rays. (Lecture/Lab)
                                                                                                                                               skills with patients, colleagues and attending physicians.     Prerequisites: All third and fourth semester courses
     The principles of human physiology are first studied then      This course will include an interdisciplinary investigation                As with previous courses, objective structures clinical
     followed by an intensive overview of human organ system        of the physiology and the gross and microscopic structure                  examination (OSCE) standards will be used to evaluate          MD 562 Clinical Therapeutics – 2 credits
     physiology to include neural, muscular, cardiovascular,        of the brain, spinal cord and nervous system of humans.                    students. (Lecture/Lab)
     respiratory, endocrine, gastrointestinal and kidney            Aspects of brain energy metabolism, neurotransmitter                       Prerequisites: Behavioral Sciences & Ethics and                This course builds upon the students’ understanding
     physiological processes. The goals of this course are to       synthesis and degradation, and psychopharmacology                          Neuroscience                                                   of pharmacology, providing practical experience of
     enhance the student’s ability to critically analyze the cell   are presented. This course integrates anatomical                                                                                          medical therapeutics in a case-based format. The
     biology mechanisms governing the functions of each             and physiological material to assist the student in                        MD 468 Pharmacology – 12 credits                               students, working individually and in teams, have the
     system and to utilize physiological concepts in problem        understanding common neurological disease processes.                                                                                      opportunity to participate in therapeutic decision-making
     solving. Small group and the hands on lab component of         Laboratory exercises will provide slides and dissection of                 This course builds upon the students’ understanding of         in clinical cases, receive feedback regarding their decisions
     the course reinforce lecture material. (Lecture/Lab)           the human brain, spinal cord, and relevant structures.                     pharmacology, providing practical experience of medical        and benefit from discussions led by clinicians involved in the
     Prerequisite: Developmental and Gross Anatomy                  The student will be introduced to modern methods of                        therapeutics in a case-based format. The fundamentals          practical application of medical interventions in common
                                                                    neuroimaging, including CT scans and MRI. (Lecture/Lab)                    of pharmacokinetics and pharmaceutical preparations            disease states. This course is integrated with the other
                                                                    Prerequisites: All first and second semester courses                       including drug actions and interactions are presented          co-requisite courses to allow students to attain conceptual
                                                                                                                                               as well as adverse effects and pharmacological actions.        understanding of common medical conditions and provide


     Semester III
                                                                    MD 383 Behavioral Sciences & Ethics – 13 credits                           The studentmust be able to understand the mechanism            them with the necessary skills and perspective for their
                                                                    Abnormalities in human functioning are examined                            of action of common classes of medications and be able         transition to the clinical wards.
                                                                    and students are introduced to psychiatric evaluation,                     to evaluate basic pharmacological data. This course also       Prerequisites: All third and fourth semester courses
                                                                    nomenclature and clinical writing, and how to conduct a                    includes all major classes of therapeutic medications used
                                                                    mental status evaluation. The course provides an in-depth                  in clinical practice in the treatment of disease processes.    MD 582 Introduction to Clinical Medicine – 8 credits
                                                                    study of the DSM-IV-R psychiatric diagnostic categories.                   The clinical component will provide students with the          This team-taught course helps the student to prepare for
     MD 311 – Patient-Doctor Relations Part-II – 2 credits          These range from childhood disorders through geriatric                     necessary background to practice rational drug therapy as      hospital clerkships. Students will gain practical knowledge
                                                                    dementia. Epidemiology and pathogenesis, differential                      it applies to clinical practice. (Lecture)                     and experience in the diagnosis and treatment of patients.
     Students will be introduced to physical examination skills     diagnosis, course and prognosis, along with current                                                                                       Following an integrated case-based curriculum, students
     in a systems-based format. Formal teaching of skills will      treatment strategies are presented. Additionally, students                 MD 482 Pathology I – 12 credits                                will take histories and perform physical examinations on
     be followed by the opportunity to practice and improve         participate in case-based discussions of ethical dilemmas                                                                                 trained standardized patients.
     these skills in the Clinical Skills Center. Students will      facing today’s health care provider. Ethical analysis of                   This first section of a two-semester comprehensive
     be evaluated using the objective structures clinical           moral reasoning is emphasized. Students are challenged to                  curriculum is an introduction to the responses of cells,       They will work individually and in teams to discuss
     examination (OSCE) format.                                     reflect on their personal values and moral obligations as                  tissues and organs to major disease processes. Lectures        differential diagnoses and investigation strategies and
     Prerequisites: All first and second semester courses           physicians. (Lecture/Lab)                                                  and laboratory demonstrations will introduce students to       will use the information gained to formulate management
                                                                    Prerequisites: All first and second semester courses                       definitions, etiology, gross and microscopic lesions, and      and disposition plans. Throughout this course there is
     MD 332 Microbiology & Immunology – 12 credits                                                                                             pathogenesis. Emphasis is placed on basic concepts and         an emphasis on the need to listen and communicate
                                                                    MD 300 Medical Spanish – 1 credit (Elective)                               principles of disease processes. (Lecture/Lab)                 effectively with colleagues, team members and, most
     This course considers the characteristics and properties                                                                                  Prerequisites: Microbiology & Immunology                       importantly, the patients. The students will have an
     of microorganisms, their role in the disease processes         This course will provide the basic communication skills for                                                                               opportunity to spend time with the practicing physicians
     and selected aspects of diagnosis and treatment of             the medical practice. Its focus will be the usual verbal                                                                                  in a hospital/clinical setting. Students will be evaluated
     infectious disease. Other topics include the basic             exchanges that happen in the patient-doctor relation.                                                                                     both formatively and by objective structured clinical


                                                                                                                                               Semester V
     principles of bacteriology, mycology, parasitology,            Emphasis will be placed in the most common mistakes that                                                                                  examination (OSCE) standards. Practical knowledge, skills
     virology, immunology and microbial genetics, including         have the potential to impair the compliance with treatment                                                                                and abilities will be tested in an objective manner.
     cultural characteristics and pathogenic properties of          and the overall trust in the relation, while keeping the                                                                                  Prerequisites: All third and fourth semester courses
     medically important species of bacteria, fungi and viruses.    broad aim of the course in improving the understanding
     This course covers the basic immunologic concepts of the       of basic Spanish in the medical setting. (Lecture)                                                                                        MD 592 Foundations of Clinical Medicine – 11 credits
     cells and humoral products of the immune system.
     Lectures include the molecular biology and genetics of                                                                                                                                                   This course utilizes daily live lectures and other materials to
     antigen recognition and immunoglobulin production plus                                                                                    MD 552 Pathology II – 10 credits                               provides a structured, integrated review of the basic


                                                                    Semester IV
     the characteristics and detection of antigen-antibody                                                                                                                                                    sciences. An emphasis is placed on the understanding of
     reactions. The approach is to correlate these basic                                                                                       This second part of the Pathology curriculum focuses           disease processes and clinical problem solving. Students
     concepts with clinical manifestations of disease, the                                                                                     primarily on systemic pathology and disease processes.         attend daily live lectures. Early in the course students are
     immunopathologic mechanisms of hypersensitivity,                                                                                          In this course, emphasis is placed on relating                 given a diagnostic pre-test to help identify problem areas
     autoimmunity, transplantation, tumor immunology,                                                                                          pathophysiological and biochemical abnormalities               and individualize learning goals. At the end of the course
     hematology, reproduction, infectious diseases and                                                                                         of disease processes to clinical signs and symptoms            students are administered a full-length, simulated
     immunodefiency. (Lecture/Lab)                                  MD 411 Patient-Doctor Relations Part-III – 6 credits                       of disease. Pulmonary, cardiac, gastrointestinal,              comprehensive exam.
     Prerequisites: All first and second semester courses                                                                                      endocrine, rheumatic, orthopedic, renal, neurological          Prerequisites: All third and fourth semester courses
                                                                    Students will begin to integrate the clinical skills that were             and hematology organ systems are covered. Knowledge
                                                                    introduced in the earlier courses in this series. Students                 and the understanding of the etiology and pathogenesis
                                                                    will revisit history-taking and physical examination and                   of diseases is gained through the intense examination of
                                                                                                                                               clinical cases, gross material, selected microscopic slides,

32                                                                                                                                                                                                                                                                              33
                                                                                                                     Exhibit I Defendant Official Catalog                                                                                                        017
                                                                               Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 320 of 356 PageID 363

                                                                     clinical clerkships. Although St. Matthew’s arranges and
                                                                     schedules the Core rotations, the selection and scheduling
                                                                     of the Electives is done by the student via an application
                                                                     that must be approved in advance by St. Matthew’s
                                                                     University. Most students benefit by choosing electives
                                                                     in a variety of hospitals, particularly in hospitals or
                                                                     geographic locations where they hope to take residence
                                                                     training. Students receive a clinical clerkship packet
                                                                     before completing Basic Sciences. This information helps


     Clinical Sciences
                                                                     them prepare for clinicals and design their senior year by
                                                                     identifying Elective sites.



     Program and                                                     Core Clerkship Exams



     Clerkship
                                                                     Each student is required to take The National Board of
                                                                     Medical Examiners (NBME) Core Clerkship Examinations.
                                                                     Testing in each of the Cores is conducted multiple times


     Rotations
                                                                     per year. There is an NBME examination for all Core
                                                                     Clinical Clerkships. Students are eligible to sit for any
                                                                     Core Examination following the completion of that Core.
                                                                     The Core Clerkship Examination should be taken at the first
     At the end of the fifth semester of Basic Sciences, students    opportunity it is offered following the completion of the
     leave Grand Cayman to start clinical clerkship rotations.       rotation. Students are not permitted to take an exam until
     During the fifth semester, students participate in a Clinical   they are within one week of completing a rotation
     Orientation where they receive information on available         or have completed the rotation. The Clinical Department
     clerkships. Every effort is made to assign students to the      arranges testing.
     hospital that best suits their qualifications, requirements,
     and desires.                                                    A student will not receive official transcript credit for a
                                                                     Core Rotation until the student receives a passing grade of
     Core rotations will be taken and completed in a teaching        70% with the combined scores of the preceptor evaluation,
     hospital.                                                       daily log, NBME exam, and required weekly assignments.
                                                                     The grades from these components are combined for a
                                                                     final transcript grade.
          Third Year Core Rotations cover five specialties:
      Internal Medicine                             12 weeks         Clinical Rotation Objectives

      Surgery                                       12 weeks         The clinical program requires 72 weeks. The objectives
      Pediatrics                                    6 weeks          of the Clinical Rotations are to:

      Obstetrics & Gynecology                       6 weeks            • Expose students to a range of experiences that
                                                                         integrateinformation from various specialties
      Psychiatry                                    6 weeks

                                                                       • Ground students in thorough basic and advanced
     Clinical Rotations                                                  clinical training to prepare them for residency training

     The Clinical Clerkship is an exciting and enriching aspect        • Encourage students to value learning as a
     of medical training. It requires both determination and             life-long process
     sacrifice. The Clinical Dean and staff will work closely with
     students to ensure they fully benefit from clinical rotations
     and prepare for successful residencies.

     Assignment policy

     The Clinical Coordinator, with permission of the Dean
     and Associate Dean of Clinical Sciences, assigns
     clinical rotations. Students must receive a passing score on
     the USMLE Step One prior to commencing their third year


34                                                                                                                                                                       35   35
                                                                                                                   Exhibit I Defendant Official Catalog            018
                                                                              Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 321 of 356 PageID 364

                                                                    as well as making differential diagnoses. Students are                  the Dean, students may complete Electives in conjunction        Students who participate in clinical rotations must
                                                                    introduced to a variety of therapies for treatment of                   with the Core. A student can take additional hours in any       purchase medical liability insurance. Additional charges


     Third-Year Core
                                                                    psychiatric disorders. During the fourth year, the student              Core as Electives. For example, 16 weeks of surgery might       may be due if students choose elective rotations with costs
                                                                    chooses Electives. These clerkship rotations include most               represent 12 weeks of Core credit and four weeks of             exceeding the standard St. Matthew’s University subsidy
                                                                    specialties, including specialties from the Core rotations.             Electives credit. Any student who secures a rotation in a       rate. Each student will pay a maximum of five clinical


     Clerkship Curriculum
                                                                    Students take Electives in blocks, typically of four or six             hospital that is not affiliated with St. Matthew’s University   sciences semesters (given that no rotations were failed).
                                                                    weeks for a total of 30 weeks of Electives. All students are            must have permission from the Dean of Clinical Sciences.
                                                                    required to complete four weeks of a primary care elective.             If approval is not granted in advance, the unapproved
                                                                                                                                            rotation will not earn credit from St. Matthew’s University.


                                                                    Fourth-Year Elective
     Surgery

     Students follow patients from surgical assessment,
                                                                                                                                            Expenses Related to
                                                                    Clerkships
     through preparation for surgery, the surgical process in

                                                                                                                                            Rotations
     the operating room, the intensive or immediate care of
     the patient in the recovery period, and follow-up care.
     Students engage in intensive pre-surgical preparation
     on each case, including the study of case histories, prior
                                                                    There are 23 recommended elective Clerkships:
     physical examinations and prior treatment, and diagnoses.
                                                                                                                                            Students who attend Core rotations in the U.S. may be
     Follow-up on post-surgical cases extends to learning about
                                                                      •   Allergy and Immunology                                            required to make at least two moves to complete the five
     the support of family and friends, community resources,
                                                                      •   Anesthesiology                                                    Cores. Students need to plan on transportation and
     and the discharge process.
                                                                      •   Cardiology                                                        housing expenses at each location.
                                                                      •   Community Health Care
     Internal Medicine
                                                                      •   Critical Care
                                                                      •   Dermatology
     Students learn to conduct a thorough diagnostic work-up,
                                                                      •   Emergency Medicine
     including the history and physical examination with
                                                                      •   Endocrinology
     emphasis on detailed neurological evaluation of the patient
                                                                      •   Family Medicine
     and the design of treatment plans. Students gain
                                                                      •   Gastroenterology
     sensitivity to dual diagnosing and differential diagnosing.
                                                                      •   Gerontology
     Students participate in grand rounds, work individually with
                                                                      •   Hematology
     patients, and participate in the treatment plan.
                                                                      •   Infectious Disease
     Additionally, seminars on selected topics by residents or
                                                                      •   Nephrology
     preceptors are incorporated.
                                                                      •   Neurology
                                                                      •   Oncology
     Obstetrics/Gynecology
                                                                      •   Ophthalmology
                                                                      •   Pathology
     Students are presented with all phases of patient care
                                                                      •   Preventive Medicine
     related to fertility concerns, pregnancy, labor, delivery
                                                                      •   Pulmonary Disease
     and postpartum care. Students participate in family
                                                                      •   Radiology
     planning counseling, and learn to detect, diagnose and
                                                                      •   Rheumatology
     devise a treatment plan for gynecologic diseases. Normal
                                                                      •   Urology
     and pathologic cases are observed, including normal and
     cesarean deliveries.
                                                                    All students are required to complete four
                                                                    weeks of a primary care elective.
     Pediatrics

     Students learn to develop rapport with young patients and
     diagnose, develop and carry out a treatment plan for

                                                                    Approved Rotations
     infants,children and adolescents. Students gain a greater
     sensitivity to the interdependence between the patient and
     the parent and learn how to interact with each to promote
     treatment and recovery.

     Psychiatry

     Students learn to diagnose mental disorders. Emphasis is       Students do not receive credit unless the University
     placed on taking a psychiatric history and mental status,      approves and certifies all Electives. With permission from


36                                                                                                                                                                                                                                                                        37
                                                                                                                  Exhibit I Defendant Official Catalog                                                                                                      019
                                                                     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 322 of 356 PageID 365




     Faculty &
     Administration

     Board of
     Trustees
     Chairman

     John P. Docherty, M.D.; Spencer Amory, M.D.;
     W. Christopher Croley, M.D.; John Crocker;
     Sahana Vyas, M.D.

     The distinguished members of this Board of Trustees are
     assigned the responsibility to ensure that the rules and
     regulations of the University meet the highest level of
     propriety, that they achieve their purpose, and that they
     protect the institution from influences which hinder its
     academic goals. They also ensure that members of the
     faculty are qualified for appointment and they are able
     competently to perform their function without distraction.
     The Board also shall exercise supervision of the needs of the
     student body and recommend steps to make provisions for
     the welfare of students and the successful pursuit of their
     studies.

     The University takes this measure to provide supervisory
     machinery independent of management. The contribution
     of the Board reinforces our commitment to ensure that the
     doctors we graduate are completely prepared and sensitive
     to the needs of the vulnerable. The University therefore
     publicly records its sincerest gratitude to the members of
     the Board of Trustees who so willingly agreed to join in
     this endeavor.

     St. Matthews’s University (Cayman) LTD., Corp. is
     registered with the Florida Department of State as a
     foreign profit corporation doing business as St. Matthew’s
     University School of Medicine.


38                                                                                                                                                             39   39
                                                                                            Exhibit I Defendant Official Catalog                         020
                                                                              Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 323 of 356 PageID 366

                                                                                        Rawal, Avinash K., Ph.D.
                                              Rao, Seetharama, Ph.D.                    Professor of Biochemistry                                                                          Johnson, Suzanne, M.D.

                                                                                                                                                                                                                                       Clinical
                                              Professor of Anatomy                      Ph.D., Nagpur University                                                                           Associate Professor
                                              Ph.D., Mangalore University               Date of appointment: September                                                                     M.D., Dalhouise University

     Administration                           Date of appointment: November 2008        2011/ 2012
                                                                                                                                             Pharmacology                                                                              Faculty
                                                                                                                                                                                           Clinical
                                              Histology and Microbiology                                                                                                                   Department                                  Alabi, Fortune, M.D.

                                              Cell Biology  & Immunology
     Basu, Amitabha, M.B.B.S., M.D.                                                                                                          D’Silva, Caron S.M., M.B.B.S, M.D.                                                        Assistant Professor

                                                                                                                                                                                           Chiefs
     Dean of Basic Sciences                                                                                                                  Assistant Professor of Pharmacology,                                                      University of Ilorin Medical School
                                                                                                                                             and Biostatistics and Epidemiology                                                        American Board – Internal Medicine
     Clifton, Maurice, M.D.,M.S. Ed, M.B.A.                                                                                                  M.D.(Pharmacology)- Kasturba
     Chief Academic Officer                                                                                                                  Medical College                               Adler, David, M.D.
                                              Ochoa-Vargas, Gerardo , M.D.              Maroun, Leonard E., Ph.D.                                                                                                                      Ali, Syed, M.D.
                                                                                                                                             M.B.B.S., Fr. Muller Medical College          Professor & Chief,
                                              Associate Professor of Histology          Professor of Microbiology                                                                                                                      Assistant Professor
     Doherty, Mark, Ph.D.                                                                                                                    Date of appointment: January 2017             Department of Psychiatry
                                              M.D., National Autonomous                 and Immunology                                                                                                                                 Dow Medical College
     Associate Dean of Clinical Sciences                                                                                                                                                   Universitat Basel
                                              University of Mexico                      Ph.D., Catholic University of America                                                                                                          American Board – Cardiology Faculty,
                                                                                                                                             Pritam, Biswas, M.B.B.S, M.D.                 American Board – Psychiatry & Neurology
                                              Date of appointment: February 2008        Date of appointment: January 2009
     Marin-Negron, Adriana                                                                                                                   Assistant Professor of Pharmacology                                                       Allen, Luis
     Director of Admissions                                                                                                                  M.D., M. S. Ramaiah Medical College           Aziz, Ihab, M.D., ABFM, FAAFP
                                              Rao, K Anup, M.B.B.S., M.D.               Nayak, Narendra P., M.B.B.S., M.D.                                                                                                             Assistant Professor
                                                                                                                                             M.B.B.S., Dr.B.R.Ambedkar                     Professor and Chief
                                              Assistant Professor of Histology          Associate Professor of Microbiology                                                                                                            Universidad De Montemorelos, Escuela
                                                                                                                                             Medical College                               Department of Family Medicine
                                              M.B.B.S, Father Muller College            and Immunology                                                                                                                                 De Medicina American Board – Psychiatry
     Miller, Ripley                                                                                                                          Date of appointment: January 2019             Board Certified – American Board
                                              M.D., Kasturba Medical College            M.B.B.S, Vijayanagar Institute                                                                                                                 & Neurology
     Director of Information Technology                                                                                                                                                    of Family Medicine, Clinical Faculty
                                              Date of Appointment: October 2014         of Medical Sciences                                                                                and Preceptors
                                                                                        M.D., Lokamanya Tilak Municipal                                                                                                                Al-Malt, Ahmed, M.D.
     Miranda-Avila, Gloria                                                                                                                                                                                                             Assistant Professor
                                                                                        Medical College                                                                                    Blankstein, Josef, M.D.

                                                                                                                                             Physiology
     Registrar                                                                                                                                                                                                                         Alexandria University
                                                                                        Date of appointment: September 2017                                                                Professor and Chief
                                                                                                                                                                                                                                       American Board – Obstetrics

                                              Neuroscience
     Moya, Terry                                                                                                                                                                           Department of Obstetrics
                                                                                                                                                                                                                                       & Gynecology
     Chief Financial Officer                                                                                                                                                               and Gynecology
                                                                                                                                                                                           Board Certified – American Board
                                                                                                                                                                                                                                       Agard, Tanya, M.D.

                                                                                        Pathology
     Reid, Terrence, Ed.D.                                                                                                                                                                 of Obstetrics and Gynecology
                                                                                                                                             Andrade, Gabriel, Ph.D.                                                                   Associate Professor
     Associate Dean of Clinical Students                                                                                                     Assistant Professor of Behavioral Science                                                 Pennsylvania State University College
                                                                                                                                                                                           Hsu, Tah-Hsiung, M.D., F.A.C.P.
                                                                                                                                             and Ethics                                                                                of Medicine American Board –
     Salter, David R., M.D.                   Mavrych, Volodymyr, M.D., Ph.D.                                                                                                              Professor and Chief
                                                                                                                                             Ph.D., University of Zulia (Venezuela)                                                    Family Medicine
     Dean of Clinical Science                 Professor of Anatomy and Neuroscience                                                                                                        Department of Internal Medicine
                                                                                                                                             Date of appointment: December 2018
                                              M.D., Lugansk State Medical                                                                                                                  Board Certified – American Board
                                                                                                                                                                                                                                       Ahmad, Beena, M.D.
     Sotiriou, Xenia, Ph.D.                   University, Ukraine                       Basu, Amitabha, M.B.B.S., M.D.                                                                     of Internal Medicine
                                                                                                                                             Aurelio, Maribel, M.D.                                                                    Associate Professor
     Associate Dean of Student Affairs,       Ph.D., Crimea State Medical               Professor of Pathology                                                                             Subspecialty Certificates – Endocrinology
                                                                                                                                             Assistant Professor of Preclinical Sciences                                               Sind Medical College American Board –
     Basic Sciences                           University, Ukraine                       M.B.B.S., Burdwan Medical College                                                                  and Metabolism, University of Alabama
                                                                                                                                             M.D., College of Medicine, University of                                                  Internal Medicine
                                              Date of appointment: October 2007         M.D., Kasturba Medical College                                                                     Medical College
                                                                                                                                             the Philippines (Manila)
                                                                                        Date of appointment: July 2006
                                                                                                                                             Date of appointment: July 2008                                                            Atallah, Osama, M.D.
                                                                                                                                                                                           Mir, Mohammad A., M.D., F.A.A.P.

     Basic Science Biochemistry
                                                                                                                                                                                                                                       Associate Professor
                                                                                        Biswas, Survakusam, M.B.B.S., M.D.                                                                 Professor and Chief,
                                                                                                                                             Barke, Prajna, M.B.B.S., M.D.                                                             The University of Teas-
                                                                                        Associate Professor of Pathology                                                                   Department of Pediatrics
                                                                                                                                             Professor of Physiology                                                                   Southwestern Medical
                                                                                        M.B.B.S., Calcutta University                                                                      Board Certified – American

     Faculty       and Genetics
                                                                                                                                             M.B.B.S., Kasturba MedicalCollege                                                         School American Board – Colon
                                                                                        M.D., Delhi University                                                                             Board of Pediatrics
                                                                                                                                             M.D., Kasturba Medical College                                                            & Rectal Surgery
                                                                                        Date of appointment: April 2012                                                                    Universidad CETEC Santo Domingo
                                                                                                                                             Date of appointment: May 2006

     Anatomy                                  Peela, Jadannadharoo, M.B.B.S., M.D.
                                                                                                                                             Jha, G., M.B.B.S., M.S. (Surgery)
                                                                                                                                             Associate Professor
                                                                                                                                                                                           Salter, David, M.D.
                                                                                                                                                                                           Professor and Chief
                                                                                                                                                                                                                                       Atluri, Sridhar, M.D.
                                                                                                                                                                                                                                       Assistant Professor
                                                                                                                                                                                                                                       Andhra Medical College, Ntr University
     Bolgova, Olena, M.D., Ph.D.              Associate Professor in Medical Genetics                                                                                                      Department of Surgery
                                                                                                                                             of Preclinical Sciences                                                                   of Health Sciences
     Professor of Anatomy                     M.D.(Biochemistry), Andhra                                                                                                                   Board Certified – Surgery
                                                                                                                                             Master of Surgery (M.S.),                                                                 American Board – Internal Medicine
     M.D., Lugansk StateMedical               Medical College                                                                                                                              Subspecialty Certified – Cardiovascular
                                                                                                                                             Rajasthan University
     University Ukraine                       M.B.B.S, Andhra Medical College                                                                                                              and Thoracic
                                                                                                                                             M.B.B.S., Rajasthan University,
     Ph.D., Kharkov StateMedical              Date of appointment: January                                                                                                                 Surgery University of Toronto
                                                                                                                                             Jaipur, India
     University Ukraine                                                                                                                      Date of appointment: June 2003
     Date of appointment: October 2007
40                                                                                                                                                                                                                                                                               41
                                                                                                                   Exhibit I Defendant Official Catalog                                                                                                              021
                                                                                    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 324 of 356 PageID 367

     Bancroft, Laura, M.D.                    Davis, Kenley, M.D.                         Flores, Dionisio C., M.D.                           Lama, Mazimo, M.D.                           Nash, Alfred, M.D.                           Ravi, Bala K., M.D.
     Professor                                Assistant Professor                         Assistant Professor                                 Assistant Professor                          Assistant Professor                          Associate Professor
     University of Missouri                   Howard University                           University of Santo Tomas                           Institute Technologic de Santo Domingo       University of Colorado School of Medicine    Andhra Medical College,
     American Board – Radiology               American Board - Surgery                    American Board – Internal Medicine                  American Board – Internal Medicine           American Board – Family Medicine             University of Health Sciences
                                                                                                                                                                                                                                        American Board – Obstetrics
     Berger, Paul, M.D.                       Desai, Vivek, M.B., B.S.                    Flurry, Robert, M.D.                                Lawrence, George, M.D.                       Neil Jr., Terry, M.D.                        & Gynecology
     Assistant Professor                      Associate Professor                         Assistant Professor                                 Professor                                    Assistant Professor
     Ross University School of Medicine       Government Medical College                  University of Alabama School of Medicine            Tufts University School of Medicine          University Of Birmingham                     Reddy, Sanjay, M.D.
     American Board – Pediatrics              American Board - Pediatrics                 American Board – Family Practice                    American Board – Internal Medicine           American Board – Neurology                   Assistant Professor
                                                                                                                                                                                                                                        University of Miami School of Medicine
     Bernstein, Raymond, M.D.                 Desamour, Junias, M.D.                      Gadalean, Florin, M.D.                              Layish, Daniel, M.D.                         Neumann, Christopher, M.D.                   American Board – Internal Medicine/
     Assistant Professor                      Assistant Professor                         Assistant Professor                                 Assistant Professor                          Assistant Professor                          Gastroenterology
     Finch University of Health Sciences/     University Of Miami School Of Medicine      Institue of Medicine and Pharmacy                   Boston University School of Medicine         University of Illinois College
     Chicago Medical School                   American Board – Internal Medicine          of Romania                                          American Board – Internal Medicine           of Medicine Chicago                          Rehman, Arshad, M.D.
     American Board – Obstetrics                                                          American Board – Internal                                                                        American Board – Neurological Surgery        Assistant Professor
     & Gynecology                             Diaz, Juan, D.O.                            Medicine Faculty                                    Lewis, Gideon, M.D.                                                                       Nishtar Medical College
                                              Assistant Professor                                                                             Associate Professor                          Oppenheim, Ronald, M.D.                      American Board – Internal Medicine
     Brateanu, Andrei, M.D.                   Des Moines Univserity                       Gonzalez, Jorge, M.D.                               Loma Linda University School of Medicine     Assistant Professor
     Assistant Professor                      American Board – Internal Medicine          Assistant Professor                                 American Board – Family Medicine             University of Cincinnati,                    Ripps, Barry, M.D.
     Universitatea De Medicina Si Farmacie                                                Ponce School of Medicine                                                                         College of Medicine                          Assistant Professor
     Grigore T Popa                           Dobradin, Andrew, M.D., Ph.D.               American Board – Plastic Surgery                    Mahan, Thomas, M.D.                          American Board – Psychiatry & Neurology      University of Alabama School of Medicine
     American Board – Internal Medicine       Assistant Professor                                                                             Assistant Professor                                                                       American Board - Obstetrics
                                              Jagiellonian University Medical College     Gray, Kris D., M.D.                                 University of Maryland School of Medicine    Padmanabhan, “Dan”                           & Gynecology
     Britton, Mark, M.D.                      American Board – Surgery                    Assistant Professor                                 American Board – Surgery                     Mukundan, M.D.
     Assistant Professor                                                                  Loma Linda University School of Medicine                                                         Assistant Professor                          Robinson, David, M.D.
     Wayne State University                   Dohn, Henry, M.D.                           American Board – Family Practice                    Mamsa, Abdul, M.D.                           University of Madras, Kilpauk Medical        Assistant Professor
     American Board – Internal Medicine       Associate Professor                                                                             Professor                                    College, Board Certified – Family Practice   University Of Kansas
                                              Medical College of Georgia School           Griggs, Adam, D.O.                                  Dow Medical College                          and Pediatrics                               American Board -- Internal Medicine/
     Cabrera, Alicia, M.D.                    of Medicine                                 Assistant Professor                                 American Board – Psychiatry & Neurology                                                   Oncology
     Assistant Professor                      American Board - Psychiatry                 New York College of                                                                              Patterson, James, M.D.
     Instituto Superior De Ciencias Medicas                                               Osteopathic Medicine                                Manco, Miguel, M.D.                          Associate Professor                          Rodriguez, Jose, M.D.
      De La Habana                            Dorfman, Stanley, M.D.                      American Board – Internal Medicine                  Assistant Professor                          Georgetown University                        Assistant Professor
     American Board – Neurology               Assistant Professor                                                                             Cebu Institute of Medicine                   School of Medicine                           University of Puerto Rico
                                              Wayne State University School of            Halili, Francisco R., M.D.                          American Board – Anesthesiology              American Board – Obstetrics                  American Board – Obstetrics
     Cardenas-Ayala, Jose, M.D.               Medicine                                    Associate Professor                                                                              & Gynecology                                 & Gynecology
     Assistant Professor                      American Board – Obstetrics &               University of Miami School of Medicine              Mech, Karl, M.D.
     Universidad Central De                   Gynecology                                  American Board – Surgery                            Associate Professor                          Phillips, Preston, M.D.                      Shah, Ashit, M.B., B.S.
     Venezuela-Luis Razetti                                                                                                                   University of Maryland School of Medicine    Assistant Professor                          Assistant Professor
     American Board – Obstetrics              Dumbacher, Perri, M.D.                      Johnson, Kimberly, M.D.                             American Board – Surgery                     Harvard Medical School                       Columbia U/newark Beth
     & Gynecology                             Assistant Professor                         Assistant Professor                                                                              American Board – Orthopedic Surgery          Israel Med Center
                                              University of California, San Diego         The Ohio State University                           Mohiuddin, Muhamman, M.D.                                                                 American Board – Radiology
     Chen, Alicia, M.D.                       American Board – Family Medicine            College of Medicine                                 Associate Professor                          Ramirez, Antonio, M.D.
     Assistant Professor                                                                  American Board – Psychiatry & Neurology             Dow Medical College                          Assistant Professor                          Shahin, Fuad, M.D.
     Tufts University School of Medicine      Dy, Norman, M.D.                                                                                American Board – Internal Medicine           Southeast University Medical College         Assistant Professor
     American Board – Internal Medicine       Assistant Professor                         Keating, Michael, M.D.                                                                           American Board – Surgery                     University Of Aleppo
                                              Stanford University School of Medicine      Associate Professor                                 Montgomery, Shirley, M.D.                                                                 American Board – Surgery
     Cohen, Daniel, M.D.                      American Board – Internal Medicine          The Medical College of Ohio at Toledo               Assistant Professor                          Rashid, Navid, M.D.
     Associate Professor                                                                  American Board – Urology                            University of Illinois College of Medicine   Assistant Professor                          Shao, Xiaoping, M.D.
     McGill University                        East, Miriam, M.D.                                                                              Chicago American Board – Pediatrics          George Washington University School          Assistant Professor
     American Board - Urology                 Assistant Professor                         Krumins, Kenneth, M.D.                                                                           of Medicine American Board –                 Second Shanghai Med College Shanghai
                                              University of Zimbabwe Huggins              Assistant Professor                                 Murthy, Bangolare, M.D.                      Psychiatry Faculty                           American Board – Psychiatry
     Cristomo, Ricardo, M.D.                  School of Medicine                          The Medical College of Pennsylvania                 Assistant Professor
     Assistant Professor                      American Board – Obstetrics                 American Board – Orthopaedic Surgery                Medical College Mysore,                      Ravakhah, Keyvan, M.D.                       Shazad, Khurram M.D.
     Universidade Federal Da Bahia            & Gynecology                                                                                    American Board – Internal Medicine           Assistant Professor                          Assistant Professor
     American Board – Internal Medicine/                                                  Kuehl, Sapna, M.D.                                                                               Ankara Universitesi, Tip Fakultesi           University of Peshawar
     Medical Oncology                                                                     Assistant Professor                                                                              American Board – Internal Medicine           American Board – Cardiology
                                                                                          University of Maryland School of Medicine
                                                                                          American Board – Internal Medicine

42                                                                                                                                                                                                                                                                                 43
                                                                                                                    Exhibit I Defendant Official Catalog                                                                                                                022
                                                                                   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 325 of 356 PageID 368

     Smith, Douglas, M.D.                        Warikoo, Jyoti, M.D.
     Associate Professor                         Assistant Professor
     University of Maryland School of Medicine   Sri Devaraj Urs Medical College
     American Board – Psychiatry                 American Board – Psychiatry

     Snow, Karen, M.D.                           Williams III, Richard Bland, M.D.
     Assistant Professor                         Professor
     University of Alabama School of Medicine    University of Virginia
     American Board – Family Practice            American Board – Internal Medicine

     Soremi, Oludapo, M.D.                       Wolff, Corey, M.D.
     Assistant Professor                         Professor
     Universidad Central Del Este                University of Tennessee College
     American Board - Pediatrics                 of Medicine
                                                 American Board - Pediatrics
     Spitzer, Margo F., M.D.
     Assistant Professor                         Zarraga, Marc, M.D.
     Albert Einstein College of Medicine         Assistant Professor
     American Board – Psychiatry                 University of Santo Tomas
                                                 American Board – Internal Medicine
     Tabrez, Shams, M.D.
     Assistant Professor                         Zigel, Carlos, M.D.
     Rawalpindi General Hospital                 Assistant Professor
     American Board – Gastroenterology           Universidad Central Del Este
                                                 American Board – Internal Medicine
     Tasse, James, M.D.
     Assistant Professor                         Zun, Leslie, M.D.
     Saint Louis University School of Medicine   Assistant Professor
     American Board – Surgery                    Rush Medical College of Rush University
                                                 American Board – Emergency Medicine
     Torres, Joseph, M.D.
     Associate Professor
     Universidad Catol Madre Y Maestra
     American Board – Family Medicine

     Turner, Philip, M.D.
     Assistant Professor
     The University of Tennessee College
     of Medicine at Memphis
     American Board - Orthopaedic Surgery

     Umeh, Fred, M.D.
     Assistant Professor
     Osmania Medical College
     American Board – Internal Medicine

     Vangala, Vidyasagar, M.D.
     Assistant Professor
     Osmania Medical College
     American Board – Psychiatry & Neurology

     Vargish, Thomas, M.D.
     Professor
     New York University School
     of Medicine American
     Board – Surgery




44                                                                                                                                                                           45
                                                                                                          Exhibit I Defendant Official Catalog                         023
                                                                                  Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 326 of 356 PageID 369

                                                                      All students must be registered by the end of each
                                                                      semester’s registration period. Registration for Clinical
                                                                      Science students is a two-part
                                                                      process:

                                                                        1. The student electronically accepts the e-RAF issued
                                                                           by the Clinical Coordinator or returns a signed National
                                                                           Board RAF or Leave of Absence form to the
                                                                           Clinical Coordinator.


     Standards of                                                       2. The student must complete online registration for
                                                                           each Clinical semester, National Board semester or

     performance                                                           Leave of Absence.

                                                                      Any student who fails to comply with these registration
                                                                      procedures will not be admitted into classes for the new
                                                                      semester (Basic Sciences) and/or (for Clinical students)
                                                                      will not receive credit for a core or elective rotation. Any
                                                                      student who is in a rotation and has not followed required
     Registration                                                     registration procedures will be removed from that rotation.
                                                                      No credit will be given.
     Students must be registered and enrolled at all times unless
     they have received written approval for a “Leave of              Student Performance
     Absence. ”Students may take only up to a total of two leaves
     of absence during their entire career at SMUSOM, and only        Student performance is determined on the basis of
     after receiving written approval from the Dean of Basic          achievement of each prescribed course or clinical clerkship
     Science (for Basic Sciences students) or the Dean of Clinical    objective. Students must achieve a passing level established
     Science (for Clinical students). Granting a leave of absence     by the faculty of each course or clinical clerkship rotation
     is the Dean’s prerogative, but no more than a total of two       to earn promotion from semester to semester.
     will be allowed for any student. No leaves of absence will be    Performance is recorded as Honors, High Pass, Pass, or Fail.
     granted after a student has completed all Basic Sciences         The faculty evaluates each student’s cognitive knowledge,
     and Clinical coursework.                                         problemsolving, clinical competence, personal and
                                                                      professional maturity, interpersonal and communication
     If a student fails to enroll, his/her status will become         skills, and technical skills.
     “Withdrawn” and he/she must apply for readmission.
     Students will not automatically be considered enrolled.          Graduates who intend to practice medicine in the U.S. must
     Possible student status includes only: Basic Sciences            earn ECFMG Certification. ECFMG Certification requires
     (semester noted), Clinical Science (semester noted),             successful completion of the USMLE parts 1 and 2CK and
     Approved Leave of Absence (up to two semesters                   2CS. Students who intend to practice medicine outside
     total), Pending Graduation, Withdrawn, Dismissed, Alumni,        of the U.S. must meet the licensing requirements of the
     or Deceased.                                                     country in which they want to practice.

     The Registration process is as follows:                          Probation

     Registration will begin online (www.smuonline.com)               A student who receives an unsatisfactory grade in a
     approximately 6 weeks prior to the beginning of the              single course or clerkship maybe placed on academic or
     upcoming semester. All new and returning Basic Sciences          clinical probation. Probation usually does not affect
     students register at this time. Transfer students and            attendance in subsequent courses or clerkships, though
     students who have failed courses must correspond with the        graduation could be delayed.
     Dean prior to registering.
                                                                      Failing a Course
     The Registrar will coordinate with the Deans for course
     approval and the Associate Deans of Student Affairs to           Failed courses are listed on the transcript. When the
     ensure that all rosters are correct. The Registrar will verify   course is repeated, it is listed a second time along with the
     class attendance to Student Accounts so that Financial Aid       grade received. Any Basic Science student who receives
     monies can be released to students.                              unsatisfactory grades for a combined total of 21
                                                                      semester credit will be dismissed. Any student who does



46                                                                                                                                                                          47   47
                                                                                                                      Exhibit I Defendant Official Catalog            024
                                                                                Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 327 of 356 PageID 370

     not pass a course by the second attempt will be eligible        There are due process protections in place when there is                 These requirements include providing ECFMG with copies            tasteful length appropriate to a professional environment.
     for academic dismissal. Any student who receives a              the possibility of the university’s taking an adverse action             of your medical diploma and your final medical school             Violations of the dress code are handled through the Office
     failing grade while on academic probation will be eligible      against a medical student for academic or professionalism                transcript (from a WHO listed school), which ECFMG will           of the Associate Dean of Student Affairs.
     for dismissal.                                                  reasons. Students should refer to the Student Handbook                   verify directly with the medical school. Please visit this site
                                                                     for more detailed information and instructions regarding                 for updates and additional information:                           Student Conduct, Academic Honesty,
     Attendance                                                      grievance and appeal processes.                                          http://www.ecfmg.org.                                             and Disciplinary Procedures

     Basic Sciences classes at SMUSOM are small and interaction
     between students and teachers is encouraged. Students           Graduation ,ECFMG                                                        SMUSOM graduates participate in the National Resident
                                                                                                                                                                                                                Each student is expected to behave in a manner consistent
                                                                                                                                                                                                                with the University’s mission as an educational institution.


                                                                     Certification, and
     are expected to attend all class sessions. The mandatory                                                                                 Matching Program (NRMP) along with U.S. Medical                   Behaviors judged unprofessional, unethical, dishonest,
     80% attendance policy is strictly enforced.                                                                                              graduates through the Electronic Residency Application            illegal, threatening or dangerous may be considered
                                                                                                                                              Service (ERAS). Please visit this site for more                   examples of misconduct. Specific examples of violations


                                                                     Licensure
     If a student misses more than 20% of the scheduled class                                                                                 information: http://www.ecfmg.org.                                that fall under the purview of the University’s disciplinary
     time, the student will fail that course regardless of                                                                                                                                                      policies can be found in the Student Handbook.
     academicperformance.                                                                                                                     Licensure                                                         Also included in the Student Handbook are Guidelines
                                                                     Graduation Requirements                                                                                                                    for Academic Honesty. The University expects all students
     Incomplete and Withdrawal Policies                                                                                                       St. Matthew’s University School of Medicine prepares              to engage in academic pursuits in a manner that is above
                                                                     Students must successfully complete:                                     its students for the practice of medicine. Students should        reproach. Students are expected to maintain complete
     To receive an “Incomplete” for a course requires the                                                                                     familiarize themselves with the licensure and certification       honesty and integrity in the academic experiences both in
     approval of both the professor of that course and the             • All Basic Sciences courses, with passing grades                      requirements of the jurisdiction(s) in which they may wish        and outside the classroom. Any student found guilty of
     written approval of the Dean of Basic or Clinical Sciences.         for each course                                                      to practice. All students are required to sit for and pass Step   dishonesty in any phase of academic work will be subject
     Withdrawal from a course is permitted under some                  • 42 weeks of third year core clinical rotations,                      1, Step 2 Clinical Knowledge and Step 2 Clinical Skills United    to disciplinary action. Specific definitions and policies
     circumstances, which are described in the Student                   with passing grades for each rotation                                States Medical Licensing Exams (USMLE), regardless of             regarding cheating, plagiarism, unauthorized collusion, and
     Handbook.                                                         • National Board of Medical Examiners (NBME) Core                      whether they intend to practice in the United States.             abuse of resource materials can be found in the Student
                                                                         Clerkship examinations                                                                                                                 Handbook.
     Official Leaves of Absence                                        • All clinical rotation patient log books                              In accordance with the School’s regulatory and accrediting
                                                                       • 30 weeks of fourth year elective rotations, with                     requirements, all students are futher required to report          Disciplinary referrals are handled by the Associate Dean
     The Dean of Basic or Clinical Sciences will consider all            passing grades for each rotation                                     their USMLE scores to the School, provide a consent               of Student Affairs. The Dean will conduct an initial
     requests for an Official Leave of Absence by students who:        • SMUSOM must receive a satisfactory evaluation from                   allowing ECFMG to report their scores to the School, and          investigation and may then administer the necessary
                                                                         each preceptor for credit of a rotation to be awarded                provide a consent allowing the School to report their scores      remedies or refer the case to the University’s Disciplinary
       • Experience financial hardship and need to take time           • Passing scores on the United States Medical Licensing                to the School’s regulatory and accrediting bodies.                Committee for more extensive investigation and a judicial
         off to raise funds for their education                                                                                                                                                                 hearing. When it is determined that a disciplinary violation

                                                                                                                                              Standards of
                                                                         Exam (USMLE) Step 1, Step 2 Clinical Knowledge and
       • Suffer an illness or injury, or have a family member            Step 2 Clinical Skills                                                                                                                 has occurred, the committee can recommend remedies
         who suffers an illness or injury that requires the            • Intent to Graduate Form                                                                                                                ranging from a verbal or written warning to suspension


                                                                                                                                              Professional Behavior
         student’s presence                                            • Graduation Fee of U.S. $500                                                                                                            or dismissal from the University. Procedures and policies
       • Need limited time off to take advantage of an                 • Clear balance with Student Accounts                                                                                                    regarding the administration of disciplinary hearings and
         educational opportunity to travel, conduct research,          • Pre-Graduation Questionnaire                                                                                                           associated remedies can be found in the Student Handbook.


                                                                                                                                              & Academic Honesty
         or attend classes elsewhere
                                                                     ECFMG Certification                                                                                                                        Anti-Hazing Policy
     Only two leaves of absence may be granted. Each request
     is subject to the approval of the Dean of Basic or Clinical     Graduates who wish to enter a residency or fellowship                    Basic Science Dress Code                                          St. Matthew’s University students shall not engage in
     Sciences. The Dean decides whether a semester away              program accredited by the Accreditation Council for                                                                                        hazing in any form. Information on any violations of
     is likely to allow the student to resolve a situation, and      Graduate Medical Education (ACGME) must be certified                     As part of the student’s training as a future physician,          SMUSOM’s anti-hazing policy should be reported
     whether the student’s performance and behavior suggest a        by the Educational Commission for Foreign Medical                        St. Matthew’s University has established a culture and            immediately to the Associate Dean of Student Affairs.
     reasonable chance of success upon his/her return.               Graduates (ECFMG) before they can enter the program.                     environment based on professional presentation and                Confirmed instances will be subject to disciplinary action
                                                                     They must also be certified by ECFMG if they wish to take                conduct. Consistent with its training objectives, the             which could be as severe as dismissal from the University.
     Students who are not granted official leaves may apply          Step 3 of the three-step United States Medical Licensing                 University has established a standard dress code for all
     for readmission when ready to resume their education.           Examination (USMLE). ECFMG Certification is also one of                  Basic Science students. This policy is designed to create
     Students may be required to begin paying any outstanding        the requirements to obtain a license to practice medicine in             a sense of professional decorum and respect between
     debt to SMUSOM if they fail to enroll for the next semester     the United States.                                                       members of the University community, as well as to
     or take an unapproved leave.                                                                                                             actively maintain a professional appearance within the
                                                                     The purpose of ECFMG Certification is to assess the                      community at large. Throughout the class day and during
     Grievance and Appeals Process                                   readiness of graduates from international medical schools                specific University events, students are required to wear
                                                                     to enter U.S. residency and fellowship programs that are                 white shirts with standard white collars and tan or khaki
     Students seeking to resolve problems or complaints should       accredited by the ACGME. To be certified by ECFMG, you                   colored pants hemmed to the appropriate length. Knee-
     first contact the appropriate instructor or clinical            must pass a series of exams; you must also fulfill                       length or longer pants are acceptable. Female students
     administrator. Students have the right to file a grievance or   ECFMG medical education credential requirements.                         have the option of wearing tan or khaki colored skirts of a
     appeal a decision of the university.

48                                                                                                                                                                                                                                                                             49
                                                                                                                    Exhibit I Defendant Official Catalog                                                                                                          025
                                                                                 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 328 of 356 PageID 371

                                                                      Teaching Assistants                                                     Academic Development Workshops                                    a smooth user experience, students are required to own
                                                                                                                                                                                                                laptop or notebook computers during their entire time
                                                                      At SMUSOM we recognize the value of peer-assisted                       All students interested in improving their academic               with SMUSOM.
                                                                      learning. Teaching Assistants are upper-semester Basic                  performance may participate in Academic Development
                                                                      Science students who have demonstrated an excellent                     Workshops. These workshops focus on key skills required to        Campus Housing
                                                                      knowledge of course material. They are provided by the                  be academically and professionally successful, including:
                                                                      University at no cost to the student. They schedule group                                                                                 Even though Grand Cayman is a wonderful place to live,
                                                                      sessions in which they review practice questions which                    • Developing Study Skill Competency                             moving to a new country can be stressful.
                                                                      are provided by professors, as well as other materials to                   in MedicalEducation


     Center for
                                                                      support the student’s understanding of course material.                   • Peer Support & Study Groups                                   “Where am I going to live?” is one of the most frequently
                                                                      They also suggest learning strategies that have worked well               • Examination Strategies & Preparation                          asked questions from prospective students. For a smooth
                                                                      for them in a given course.                                               • Creating an Effective Study Schedule                          transition to the island, St. Matthew’s provides living space

     Learning                                                         Individual Peer Tutors
                                                                                                                                                • Note-Taking and Concept Mapping
                                                                                                                                                • Stress Management & Healthy Living
                                                                                                                                                                                                                in the Residence Hall and for all incoming students. Only
                                                                                                                                                                                                                two miles from the campus on the Seven Mile Beach area,


     Enhancement
                                                                                                                                                                                                                the Residence Hall offers single and double rooms.
                                                                      Students who have excelled in given courses are invited
                                                                      by the University to serve as individual peer tutors. These                                                                               Prices include all utilities, high-speed internet connection,


                                                                                                                                              Student Services
                                                                      students are available for individual help in each course.                                                                                cable, and weekly maid service. A refrigerator and
                                                                      The Office of Student Affairs arranges for tutors on request                                                                              microwave are provided in each room and a fully-stocked
     At St. Matthew’s University, we are as committed to              from students, but fees and meeting schedules are                                                                                         kitchen and laundry room are available onsite.
     your dream as you are. Our faculty and staff do                  arranged between the tutor and the student.
     everything possible to maximize your opportunity                 Academic Advisors in the Office of Student Affairs                                                                                        The Residence Hall server, linked to the campus, gives you
     to succeed academically.                                         Academic advisors are also available to offer general                                                                                     immediate and convenient access to campus resources
                                                                      assistance to students with the following:                              New Student Orientation                                           such as faculty lectures and the virtual library. The
     To that end, we have developed SMUSOM’s Center for                                                                                                                                                         dedicated Residence Hall staff is available to you for
     Learning Enhancement (CLE). This center is a set of services       • Organization of course materials                                    Each new class and all transfer students are scheduled for        information twelve hours every day. Located adjacent to
     that is integrated with and integral to the overall program        • Time management                                                     orientation, course registration, and advising activities just    a shopping center and a large, U.S. style supermarket, the
     for learning at SMUSOM. The CLE’s mission is to assist and         • How to study for and take multiple choice exams                     prior to the first day of classes. The Offices of the Associate   Hall offers ease of living.
     encourage medical students to develop their academic               • Reading for retention                                               Dean of Student Affairs and Dean of Basic Sciences
     and personal skills to foster greater academic success.            • Stress management strategies                                        collaborate with faculty, staff, and returning students to        During your first four months on Grand Cayman, you will
     These goals are accomplished through services of the               • Listening for Learning: How to maintain good                        facilitate the introduction of new students to St. Matthew’s      have time to explore the island, find out where you want to
     CLE which include Faculty Reviews and Tutoring, Teaching             attention in lectures                                               administrators, faculty, teaching and learning philosophies,      live and prepare to move into your own apartment or remain
     Assistants, Peer Tutoring, Academic Development                    • Assessment of academic strengths and weaknesses                     programs, policies, and procedures. Members of the                in the Residence Hall. This will allow you to secure living
     Workshops, and our Student Development Course.                       with specific recommendations for remediation                       student government introduce new students to life on              arrangements with a realistic knowledge of the island.
     Qualified counselors also serve as Academic Advisors to              as indicated                                                        campus and are available to answer questions about the St.        Living in SMUSOM-approved housing is mandatory for
     offer individual help on request.                                                                                                        Matthew’s experience.                                             the initial semester for all new students for these reasons.
                                                                      Students can make an appointment for help in any of these                                                                                 Please do not hesitate to contact the Residence Hall
     Faculty Reviews and Tutoring                                     areas, or for personal counseling.                                      Academic Assistance, Guidance, and Counseling                     Coordinator with any questions or concerns. A Residence
                                                                                                                                                                                                                Hall Agreement will be sent to all accepted students.
     For the Basic Science courses, the faculty offer general         Student Development Course                                              The Associate Dean of Student Affairs works closely with
     review sessions outside of normal class times. These                                                                                     the Dean of Basic Sciences as well as with faculty to provide     This document includes rules, policies, room options, and
     sessions, available to any and all SMUSOM students, review       St. Matthew’s University School of Medicine offers a 5-week             support to students experiencing academic and/or personal         a Frequently Asked Questions (FAQ) section. Students are
     the key points covered in the course.                            course that guides all 1st semester students through                    difficulties. Short-term counseling, crisis counseling and        required to submit a U.S. $1,500 room deposit at the same
                                                                      skill-building and competency-enhancement practical                     general counseling relating to academic difficulties is           time as their acceptance seat deposit and letter of intent.
     Basic Science faculty also offer small group tutoring            sessions. This Student Development Course gives each                    available with the Associate Dean of Student Affairs.             This room deposit will also serve as a security deposit,
     sessions, which provide practice exam questions and              student the basic elements required to be academically and                                                                                which will be returned to the student upon leaving the Hall
     other practical techniques including improving students’         professionally successful. For example, the SDC covers the              If longer-term counseling and support is required, referrals      (assuming there are no damages to the room).
     test-taking skills. Finally, after each exam, faculty schedule   following important areas:                                              can be made to professionals in the community. Academic           Fees are subject to change.
     one-on-one time to review test questions with students.                                                                                  counseling, including test-taking skills, time management
     Students with poor exam results are expected to schedule           • Interpersonal communication skills for                              skills and study skills can also be initiated. The Associate
     additional time with faculty to review the areas where the            medical professionals                                              Dean of Student Affairs also serves as a liaison between
     individual student struggled with the material.                    • Developing Study Skill Competency in                                the Student Government Association (SGA) and the
                                                                           Medical Education                                                  St. Matthew’s University administration.
     The faculty member who teaches the course is the first             • Creating an Effective Study Schedule
     person to whom a student should turn for help, but other           • Peer Support & Study Groups                                         Information Technology
     resources are available through the Office of Student              • Note Taking and Concept Mapping
     Affairs’ Center for Learning Enhancement.                          • Examination Strategies & Preparation                                St. Matthew’s utilizes high-speed networking to aid in the
                                                                      • Stress Management & Healthy Living                                    delivery of classroom and study materials. To ensure

50                                                                                                                                                                                                                                                                              51
                                                                                                                    Exhibit I Defendant Official Catalog                                                                                                            026
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 329 of 356 PageID 372

                                                      Residence Hall fees per semester are as follows
                                                      (effective Fall 2019):
                                                                                                                       Health and
                                                                                                                       Immunization
                                                       Single Standard Room (220sqft)      U.S. $4,950 per semester

                                                                                           U.S. $5,690 per person,
                                                       Standard Suite – Single Occupancy
                                                                                                per semester
                                                       Standard Suite – Double
                                                       Occupancy
                                                                                           U.S. $3,430 per person,
                                                                                                per semester           Information
                                                       Deluxe Suite – Single Occupancy     U.S. $6,095 per semester
                                                                                                                       Health Certification Requirements
                                                                                           U.S. $3,750 per person,
                                                       Deluxe Suite – Double Occupancy
                                                                                                per semester           Students are required to provide medical certificate(s)
                                                                                                                       stating their test results for TB and HIV and to provide proof
                                                      Off Campus Housing                                               of immunization for MMR and Hepatitis B. Students need to
                                                                                                                       start the Hepatitis B series of vaccines prior to arriving.
                                                      The housing market on Grand Cayman is strong and                 They can finish the series at the local clinic on the island.
                                                      presents many opportunities for student tenants to find
                                                      homes. Most rental units come furnished (i.e., stocked           Health Services
                                                      with standard hard and soft furnishings, such as beds,
                                                      tables, appliances, couches, window dressings, etc.) or fully    There are three modern hospitals in Grand Cayman
                                                      furnished (i.e., everything but your own clothes and             that provide affordable basic health care services.
                                                      personal belongings is included). Utility costs (e.g., for       All students are required to maintain a health
                                                      electricity, water, etc.) are expensive compared to U.S.         insurance policy.
                                                      standards. Rental rates are generally highest in the Seven
                                                      Mile Beach, George Town and South Sound areas. Security          Insurance
                                                      deposits are common and usually equal one month’s rent,
                                                      so be sure to figure thisinto your budget.                       All students are enrolled in the St. Matthew’s University
                                                                                                                       group health insurance policy. If a student is covered by
                                                      Housing can become somewhat more difficult to find if you        a health insurance policy that covers them outside their
                                                      have young children or pets living with you or if you prefer     country of citizenship, and provides reparation and medical
                                                      to smoke inside. Landlords and property managers have the        evacuation, they may opt out of the group plan.
                                                      right to refuse to rent to you for these reasons. Fortunately,
                                                      off-campus housing advice and support is available to all        To opt out, they must contact Student Insurance two
                                                      St. Matthew’s University students.                               calendar weeks before the first day of class. For an info
                                                                                                                       packet or to opt out of the group plan, contact:
                                                      Recreation
                                                      Numerous recreational and sporting opportunities are             Student Insurance
                                                      available for St. Matthew’s students. SMUSOM has                 800-498-9700/Fax 800-565-7177
                                                      corporate memberships at local gyms that students may            studenthealth@stmatthews.edu
                                                      access. Seven Mile Beach is only steps away from the
                                                      campus and several golf courses, cycling and running areas
                                                      are nearby. Many local sports leagues are open to students.
                                                      Significant discounts are often available for SMUSOM
                                                      students on recreational activities, dining, and shopping.




52                                                                                                                                                                                      53
                            Exhibit I Defendant Official Catalog                                                                                                          027
                                                                                 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 330 of 356 PageID 373

                                                                      With a membership of more than 68,000 medical and                        medical education and practice in Canada. Canada Key                                www.stmatthews.edu
                                                                      pre-medical students, interns, residents, and practicing                 differentiates itself by taking a 4
                                                                      physicians from across the country, AMSA continues its                   quadrant holistic approach to self and-professional             Diversity & Opportunity
                                                                      commitment to improving medical training and the                         development.
                                                                      nation’s health.                                                         Canada Key’s value-add is to help each member identify          It is the policy of St. Matthew’s University School of
                                                                                                                                               and develop a customized ‘Key’ -- a set of milestones to        Medicine that there shall be no discrimination against
                                                                      Indian Student Association                                               be achieved in each sphere of life: Personal, Professional,     persons because of race, religion, age, creed, color, gender,
                                                                                                                                               Academic and Community Service.                                 disability, sexual orientation, national origin, marital status,
                                                                      The Indian Student Association is an organization dedicated                                                                              veteran status, or political belief or affiliation, and that


     STUDENT
                                                                      to preserving and promoting the diversity and uniqueness                 Emergency Medicine Interest Group (EMIG)                        equal opportunity shall be available for all. St. Matthew’s
                                                                      of the Indian culture through various activities, community                                                                              University is pleased and proud to have a remarkably diverse
                                                                      services, and educational programs to Indian and                         The mission of the student run Emergency Medicine               student body.

     GOVERNMENT &                                                     Non-Indian students in the SMUSOM community and
                                                                      neighboring areas. Not only will ISA strive to preserve and
                                                                                                                                               Interest Group (EMIG) is to bring awareness to the specialty
                                                                                                                                               of Emergency Medicine. Membership will provide students         Disclaimer


     ORGANIZATIONS
                                                                      promote the Indian culture but will also help new students               an opportunity to acquire the judgment and confidence
                                                                      enrolling at SMUSOM adjust and adapt to SMUSOM and                       necessary to become competent physicians through the            The information in this catalog is subject to change.
                                                                      their new home.                                                          development and advancement of relevant clinical skills.        Such changes may be without notice. Potential students
                                                                                                                                                                                                               should not consider this catalog to represent a contract
                                                                      Muslim Student Association                                               Through EMIG organized events and actives, students             between St. Matthew’s University and an entering student.
     Student Government Association (SGA)                                                                                                      gain knowledge of the specialty. They will be provided an       Tuition, fees and other expenses are listed in US dollars,
                                                                      The Muslim Student Association (MSA) works to promote                    opportunity to participate in “hands on” clinical skills labs   unless otherwise noted. The university disclaims any
     Once every semester, each class of medical students              a unified group of Muslim and non-Muslim students by                     and workshops led by practicing US Emergency Medicine           misrepresentation that may have occurred as a result of
     elects Student Government representatives. The Student           educating the surrounding community about Islam, faith                   faculty physicians and SMUSOM faculty.                          errors in preparation or typesetting of the catalog.
     Government communicates student body concerns and                and medical practice. The MSA strives to offer support and
     consults with the Office of Student Affairs on matters           aid to all new students at SMUSOM through sharing learning               Club meetings allow students to learn about the
     related to student life at SMUSOM. The SGA also nominates        strategies and specific course tactics. In conjunction                   multifaceted aspects of emergency medicine, with
     students to represent the student body on select university      with Cayman service groups, the MSA volunteers in the                    topics ranging from current health care issues and
     committees. Students are encouraged to address any               community to provide service to those in needs through                   trends to suturing workshops, IV placement, EKG, airway
     concerns they might have to their elected representatives        hosting events and educational programs.                                 management and more. Our goal is to introduce Emergency
     or to the SGA executive members.                                                                                                          Medicine as a potential career path and build a greater, more
                                                                      Research Organization                                                    confident future physician.
     Circle K International (CKI)
                                                                      The Research Organization of St. Matthew’s University                                           P.O. Box 30992
     Circle K International (CKI) is an international collegiate      School of Medicine encourages students to participate in                                   Grand Cayman KY1-1204
     service organization that is a sponsored leadership program      research by working independently and with colleagues and                                     CAYMAN ISLANDS
     of Kiwanis International. It promotes service, leadership        faculty. Our annual Research Day showcases student                                              345-945-3199
     and fellowship. With over 13,250 members worldwide, it is        research posters, displaying and discussing their studies                                     Fax: 345-945-3130
     the largest collegiate service organization of its kind in the   to the entire campus community. We are also interested                                    ADMINISTRATIVE OFFICES
     world. Here at St. Matthew’s University, our service projects    in helping physicians on the island and around the world                               12124 High Tech Avenue, Suite 290
     range from assisting the elderly and disabled to working         conduct their research by volunteering in community                                           Orlando, FL 32817
     with children in the local hospitals and pediatric wards.        events. The Research Organization emphasizes and fosters                                        407-488-1700
                                                                      leadership, the importance of research and evidence based                                     Fax: 407-488-1702
     American Medical Student Association (AMSA)                      medicine, and the foundation of life long learning for
                                                                      future physicians.
     The American Medical Student Association (AMSA) is the
     oldest and largest independent association of physicians-        Canada Key
     intraining in the United States. For more than 58 years,
     AMSA has provided students with experience in areas of           Canada Key at St. Matthew’s University is a non
     medicine not covered under the traditional curriculum.           denominational, voluntary organization founded on the
     This includes technical, hands-on training in pertinent skills   core values of Integrity, Excellence, Life-long Learning and
     that will be necessary for students when they enter clinical     Support & Community Service. Canada Key aims to provide
     rotations. We also work with the community to promote            a forum to facilitate dialogue, networking, exploring and
     public awareness and improve public health.                      sharing topical information about common medical career
                                                                      and related goals. Canada Key members are individuals
     AMSA is a student-governed, national organization                interested in learning about options to further their medical
     committed to representing the concerns of                        training in Canada or in the USA (as Canadian nationals)
     physicians-intraining.                                           or whose interests are aligned to matters pertaining to



54                                                                                                                                                                                                                                                                                55
                                                                                                                     Exhibit I Defendant Official Catalog                                                                                                          028
     Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 331 of 356 PageID 374




                                                             For more information

                                                             Campus
                                                             P.O. Box 30992
                                                             Grand Cayman KY1-1204
                                                             CAYMAN ISLANDS
                                                             345-945-3199
                                                             Fax: 345-945-3130

                                                             Administrative Offices
                                                             12124 High Tech Avenue
                                                             Suite 290, Orlando, FL 32817
                                                             800-498-9700
                                                             Fax 407-488-1702/800-565-7177

56
                            Exhibit I Defendant Official Catalog                      029
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 332 of 356 PageID 375




             Frequently asked questions
    Learn about life at St Matthew's University
               School of Medicine




                      Exhibit J Defendant Published FAQs                  001
          Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 333 of 356 PageID 376


      Home       FAQ



        What makes St. Matthew's University unique among Caribbean
        medicine schools?

        St. Matthew’s School of Medicine offers quality education with unmatched student support
        services on a beautiful, safe, modern island. We maintain small class sizes that have a maximum
        of 50 students and have the lowest tuition of any similarly recognized Caribbean medical school.

        Our Basic Science campus is on Grand Cayman which is only an hour ﬂight from Miami. Students
        spend ﬁve semesters on the island completing Basic Science classes with highly credentialed
                           ABOUT
        and experienced faculty.        MD
                                 Our small   PROGRAM
                                           class           STUDENTfaculty
                                                 sizes and dedicated EXPERIENCE        ADMISSIONS
                                                                          ensure that our students
        receive an unprecedented level of support.
                                                      NEWS     EVENTS      COVID-19       CONTACT US        
dent
 sumer                                                     Inquire today           Apply Now
rmation
       Our graduates are placed in outstanding residency programs, including recent placements at
       the Mayo Clinic, Brown University, theCourse
                                              UniversityAdmissions
                                                         of Florida, Johns Hopkins, and Duke University.

        Our state-of-the-art campus is located on Grand Cayman, which boasts one of the highest per
        capita incomes in the world. The island is modern and has an economy similar of that of the U.S.
        which allows students to easily assimilate into the lifestyle of the island. Grand Cayman has one
        of the lowest crime rates of any country in the Caribbean, and the local residents are hospitable
        and inviting.

        St. Matthew's University is just steps away from the famous Seven Mile Beach. Students can
        literally walk out of their class for a quick swim, snorkel, sunset volleyball game, or even to study
        on the beach.




                                     Exhibit J Defendant Published FAQs                             002
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 334 of 356 PageID 377
Are St. Matthew's University graduates easily able to obtain residency
positions and practice medicine in the United States?

Yes. St. Matthew's University graduates are eligible to practice medicine in the United States once
they pass the requisite licensing examinations. More than a thousand of our graduates are licensed
and practicing or in residency in the United States.


How is St Matthew's University accredited?

The accrediting body for St Matthew's University is the Accreditation Commission on Colleges of
Medicine (ACCM). The United States Department of Education recognizes the ACCM as using
accrediting standards similar to the accrediting body for medical schools in the United States.

St. Matthew's University is one of only a small number of non-U.S. medical schools to be approved in
both New York and Florida. The Government of the Cayman Islands, British West Indies has fully
chartered St. Matthew's University.




            FAQs about Academics and Curriculum


  Can you explain your semester/program breakdown?



  What is the USMLE pass rate?



  Does St. Matthew's University have shelf exams?



  As a Canadian St. Matthew's University graduate, will I be allowed to practice or
  conduct residency in Canada?



  Where are the clinical clerkship sites?



                             Exhibit J Defendant Published FAQs                          003
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 335 of 356 PageID 378
Class size



What is the student to teacher ratio at St. Matthew's University School of
Medicine?



Is there a specialty focus at St. Matthew's?



Is there research conducted on the St. Matthew's University campus?



What tests will I need to take to get licensed in the U.S.?


In order to be licensed and practice medicine in the United States, the
Educational Commission for Foreign Medical Graduates (ECFMG) requires
students to take and pass the United States Medical Licensing
Examination (USMLE).

St. Matthew's University students and graduates are eligible to sit for these exams. The USMLE
has three steps, two of which are taken by students while in medical school. Students must
take and pass USMLE Step 1 prior to beginning the Clinical Sciences curriculum. USMLE Step 2
Clinical Skills (Step 2 CS) and Step 2 Clinical Knowledge (Step 2 CK) are taken prior to
graduation. Step 3 of the USMLE, the ﬁnal step for licensing, is taken after graduation, during,
or at the conclusion of residency training.




                        FAQs About Admissions


Can I transfer to St. Matthew's University from another medical program?




                           Exhibit J Defendant Published FAQs                          004
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 336 of 356 PageID 379
What is your MCAT Policy?



How many times may students take the MCAT exam?



Is there an application deadline?



How long does it take to process an application?



How can I ﬁnd out my application status?



May I still apply if I am missing coursework?



Does it matter where I take my undergraduate courses?



Do you have a supplemental application process, such as through AMCAS?



Do I need a Bachelor's degree to apply?



What is the Admission Committee looking for in letters of recommendation?



Does an advisor have to write a letter of recommendation?



Do you accept applicants over 30 years of age?




                        Exhibit J Defendant Published FAQs                 005
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 337 of 356 PageID 380
Who is interviewed?



Are scholarships available?




    FAQs About Life at St. Matthew's University


What Student support services exist on the Grand Cayman campus?



What is the make up of your student body?



What about schooling for my child(ren)?



What about taking my family or a companion to The Cayman Islands?



What must I do to bring a pet with me to The Cayman Islands?



How is housing arranged for incoming students?



How is apartment living in The Cayman Islands?



Is it easy to travel to and from The Cayman Islands?




                        Exhibit J Defendant Published FAQs                 006
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 338 of 356 PageID 381
What language is spoken on The Cayman Islands?



What is the weather like on The Cayman Islands?



What is the accepted currency in The Cayman Islands?



What banking services are available?



Are there ATMs?



What kind of transportation is available on The Cayman Islands?



Can I bring any meat (including seafood) to the Cayman Islands?



What do our students say about us?




                       Exhibit J Defendant Published FAQs                  007
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 339 of 356 PageID 382



       Follow us                               Contact us                       St. Matthew's University

                                      U.S. Admissions Oﬃce Address                           COVID-19
                                      12124 High Tech Ave. Ste. 290,                           News
                                             Orlando, FL 32817
                                                                                         Employment
                                                 EMAIL:
                                                                                             Downloads
                                             admissions@stmatthews.edu
                                                 SMS: +1 (857) 341-                          Contact us
                                             1470                                             Sitemap
                                                 PHONE: +1 800 498              Student consumer information
                                             9700
                                                                                         Privacy Policy

                                      Grand Cayman Campus Address
                                       Lime Tree Bay Ave, West Bay,
                                              Cayman Islands




                                                                                                                
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                             Exhibit J Defendant Published FAQs                                           008
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 340 of 356 PageID 383




                              Financials
Fees, scholarships, loans, refund policy and more




                     Exhibit K Defendant US Federal Loans                 001
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 341 of 356 PageID 384


Home      Financials




                                   Tuition and Fees


 Tuition and fees are billed on a semester basis for students in Basic
 Sciences and in Clinical Sciences.

 Tuition and fees for students in Basic Sciences are due upon registration but no later than ﬁfteen
 days prior to the ﬁrst day of classes. Non-payment by the ﬁrst day of classes may result in
 registration being canceled.

 Tuition and fees are subject to change. Students with an outstanding balance are not eligible to
 register for the next semester without clearing up that outstanding balance to the satisfaction
 of the Financial Oﬃce. For students in both Basic Sciences and Clinical Sciences, a U.S. $100 late
 fee will be assessed if tuition and fees are not paid for on time.




 Clinical Sciences

 Tuition and fees for students in Clinical Sciences are due prior to registration and at least one
 month prior to the commencement of the semester and/or clinical rotation. Tuition and fees are
 charged for all clinical rotations. Students in Clinical Sciences will be billed for an entire semester
 regardless of the starting date as long as the student is anticipated to be in rotations.

 Additional charges may be due during fourth year if students choose elective rotations with
 costs exceeding the standard St. Matthew's University subsidy rate. Each student will pay a
 maximum of ﬁve clinical sciences semesters (given that no rotations were failed).




                             Exhibit K Defendant US Federal Loans                             002
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 342 of 356 PageID 385
Effective for matriculants on or after the September 2021 Semester
MD Program Basic Science Tuition per Semester (Semesters 1-5):            $16,302
Administrative Fee (Semesters 1-5):                                       $5,220
MD Program Clinical Medicine Tuition per Semester (Semesters 6-10):       $21,856
Administrative Fee (Semesters 6-10):                                      $3,594
Malpractice Insurance (Semesters 6-10):                                   $260
Student Health Insurance per Semester                                     $653
Part-Time Tuition per Credit Hour                                         $742
Part-Time Administrative Fee per Credit Hour                              $238
Transcript Request                                                        $10
Letter of Reference - ﬁrst 3 free, thereafter                             $10
Document copies up to 15 pgs (Over 15 pgs., $1 per page)                  $15
Leave of Absence Fee                                                      $500
Graduation Fee                                                            $500
Background Check Fee (Depending on the required extent of search)         $50-$250
Late Registration Fee                                                     $250
Late Payment Fee                                                          $100
Returned Check Fee                                                        $35
Non-Refundable Application Fee                                            $75
Cayman Entry Fee**                                                        $113
Seat Deposit                                                              $500




Effective for matriculants on or before the May 2021 Semester
Tuition per semester - Basic Sciences                                 $18,325
Tuition per semester - Clinical Sciences                              $23,250
Part-Time Tuition per Credit Hour                                     $915
Malpractice Insurance (Semesters 6-10):                               $260



                            Exhibit K Defendant US Federal Loans                     003
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 343 of 356 PageID 386
Health Insurance per Semester                                           $653
Transcript Request                                                      $10
Letter of Reference - ﬁrst 3 free, thereafter                           $10
Document copies up to 15 pgs (Over 15 pgs., $1 per page)                $15
Recreation Fee (Cayman Only)                                            $35
National Board Fee                                                      $500
Leave of Absence Fee                                                    $500
Graduation Fee                                                          $500
Background Check Fee (Depending on the required extent of search)       $50-$250
Late Registration Fee                                                   $250
Lab Fees                                                                $150-$250
White Coat Ceremony Fee                                                 $60
Late Payment Fee                                                        $100
Returned Check Fee                                                      $35
Information Technology Fee* (per semester)                              $100
Administrative Fee (Per semester)                                       $175
Non-Refundable Application Fee                                          $75
Cayman Entry Fee**                                                      $113
Seat Deposit                                                            $500
Review Materials (Fifth Semester)                                       $935

* Laptops are required for all students
** Cayman Island Government Fee

The tuition and fees listed above apply, on the one hand, to matriculants on or before the May 2021
semester and, on the other hand, to matriculants on or after the September 2021 semester as the
case may be. St. Matthew’s University School of Medicine Board of Trustees reserves the right to
change tuition and fees or to establish additional fees or charges whenever in their opinion such
action is deemed necessary.




                            Exhibit K Defendant US Federal Loans                         004
         Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 344 of 356 PageID 387

                                         Scholarships


       U.S. Academic Scholarship



       Canadian Scholarship Programs
                          ABOUT       MD PROGRAM        STUDENT EXPERIENCE           ADMISSIONS

                                                 NEWS     EVENTS        COVID-19   CONTACT US      
dent
 sumer Cayman Islands Scholarship                       Inquire today           Apply Now
rmation
                                       Program    Admissions    FAQ
       Jha Family Scholarship



       Forms and deadlines



       Scholarship recipients




                                  Financial Aid - Loans

                     U.S. Loans                                         Canadian Loans


     Types of Aid

     St. Matthew University School of Medicine’s M.D. program has been approved to participate in the
     William D. Ford Federal Direct Unsubsidized Stafford and Grad PLUS Loan programs which are both
     administered by the U.S. Department of Education.



                                Exhibit K Defendant US Federal Loans                        005
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 345 of 356 PageID 388
Additional information regarding these loan programs is available through the U.S. Department of
Education website at www.studentaid.gov.1


  How to Apply - School of Medicine



  Determining Your Eligibility



  Federal Direct Unsubsidized Stafford Loan


  This is a non-need based loan in which the student is responsible for the
  interest during all periods including times of enrollment and grace and
  deferment periods.

  You may decline all or a portion of the loan that is offered on the award letter. A student must
  notify the Oﬃce of Financial Aid in writing of any requests to decline this loan.


     1. Maximum annual loan amount: $20,500

     2. Fees: An origination fee of 1.057% will be deducted at the time of each disbursement.

     3. Interest rate: All loans ﬁrst disbursed after July 1, 2022 have a ﬁxed interest rate of
        6.54%. You may choose to pay the interest while you are in school. If you choose not to
        pay the interest while you are enrolled, it will be added to the unpaid principal amount of
        your loan (called capitalization).

     4. Grace period: There is a six month grace period following graduation, withdrawal, or
        drop below a half-time enrollment status. Principal payments may be deferred during the
        grace period.

     5. Repayment: Repayment of both the principal and interest will begin six months after
        graduation, withdrawal, or an enrollment status of less than half-time. There are several
        repayment plans available such as Standard, Graduated, Extended and Income-Based
        Repayment. Additional information on each plan, as well as loan consolidation and
        sample repayment charts, may be found on the U.S. Department of Education’s website
        at www.studentaid.gov.

     6. Aggregate Loan Limit: $138,500, of which no more than $65,500 may be in Federal
        Subsidized Stafford Loan funds. This aggregate limit includes all federal loans received
        for undergraduate study.


                            Exhibit K Defendant US Federal Loans                           006
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 346 of 356 PageID 389

 7. Requirements:

         Entrance Counseling and Master Promissory Note (MPN): All ﬁrst time
         borrowers must complete the Federal Direct Stafford Loan Entrance Counseling
         and MPN before any funds may be disbursed to your student account. These
         requirements may be completed online at www.studentaid.gov. You will need your
         four digit Federal PIN to log on.
         Exit Counseling: Students who graduate, withdraw or drop below a half-time
         enrollment status are required to complete an exit interview. This counseling
         reviews your rights and responsibilities as a Federal Direct Stafford Loan borrower,
         as well as, the repayment, deferment, forbearance, and consolidation options
         available. You may complete this requirement via the U.S. Department of
         Education’s website at www.studentaid.gov.




                       Exhibit K Defendant US Federal Loans                         007
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 347 of 356 PageID 390
Federal Direct Grad PLUS Loan


This is a loan available to students enrolled in a graduate program of study
to assist in paying for educational expenses.

  1. Eligibility: In addition to the general eligibility requirements above Grad PLUS Loan
     eligibility requirements include:

           Meet the general Federal ﬁnancial aid eligibility requirements
           Complete the FAFSA
           Not have adverse credit history (more information may be found on this at
           www.studentaid.gov)

  2. How to apply: Complete the online application at www.studentaid.gov.

  3. Maximum annual loan amount: Cost of attendance minus other ﬁnancial aid.

  4. Fees: An origination fee of 4.228% will be deducted at the time of each disbursement.

  5. Interest rate: All loans ﬁrst disbursed after July 1, 2022 have a ﬁxed interest rate of
     7.54% which will begin accruing from the ﬁrst date of disbursement.

  6. Repayment: Loan is placed in a deferment status while enrolled at least half-time and
     for an additional six months after you cease to be enrolled at least half-time. You are
     responsible for the interest during your periods of enrollment, grace and deferment.
     Several repayment plans are available and you may learn more about these, as well as
     repayment charts, online at www.studentaid.gov.

  7. Requirements:

           Entrance Counseling and Master Promissory Note (MPN): All ﬁrst time
           borrowers must complete the Federal Direct Grad PLUS Loan Entrance Counseling
           and MPN before any funds may be disbursed to your student account. These
           requirements may be completed online at www.studentaid.gov. You will need your
           four-digit Federal PIN to log on.
           Exit Counseling: Students who graduate, withdraw or drop below a half-time
           enrollment status are required to complete an exit interview. This counseling
           reviews your rights and responsibilities as a Federal Direct Grad PLUS Loan
           borrower, as well as, the repayment, deferment, forbearance and consolidation
           options available. You may complete this requirement via the U.S. Department of
           Education’s website at www.studentaid.gov.




                         Exhibit K Defendant US Federal Loans                          008
 Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 348 of 356 PageID 391
Disbursements


Most awards are disbursed in equal amounts each semester and are applied directly to the
student’s account. Disbursements are made once all required paperwork for the loan(s) has
been completed and semester enrollment conﬁrmed.

Any loan funds St. Matthew’s University receives in excess of the allowable semester charges
will be refunded to the student via a check.




                                 Refund policy




                         Exhibit K Defendant US Federal Loans                        009
    Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 349 of 356 PageID 392
All refunds will be made within thirty (30) days of the withdrawal date.
Before any refund can be initiated, a withdrawal form must be
completed and submitted to the Dean of Basic Science.

Basic Science tuition will be refunded according to the following schedule*:


Prior to the ﬁrst day of the semester                                              100%
During the ﬁrst week of the semester                                               93%
During the second week of the semester                                             87%
During the third week of the semester                                              80%
During the fourth week of the semester                                             No refund

Any student withdrawing from a clinical rotation, subsequent to assignment and acceptance, will not
be subject to a refund on tuition for that semester of rotation.

Any new applicant to St. Matthew's University requesting withdrawal within three days of payment of
the seat deposit to St. Matthew's shall receive a full refund of all tuition and fees paid.


* All fees, including the ﬁrst semester seat deposit fee of $500.00 and the $75.00 application fee, are
excluded from this refund policy and are not refundable after the ﬁrst three days' exemption as
previously described.


Other Charges

Students attending Basic Sciences in Grand Cayman will be billed monthly for miscellaneous charges.
Payment is due upon receipt of these invoices. Non-payment of accounts will result in the loss of
credit privileges on campus.




                             Exhibit K Defendant US Federal Loans                          010
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 350 of 356 PageID 393



       Follow us                               Contact us                       St. Matthew's University

                                      U.S. Admissions Oﬃce Address                           COVID-19
                                      12124 High Tech Ave. Ste. 290,                           News
                                             Orlando, FL 32817
                                                                                         Employment
                                                 EMAIL:
                                                                                             Downloads
                                             admissions@stmatthews.edu
                                                 SMS: +1 (857) 341-                          Contact us
                                             1470                                             Sitemap
                                                 PHONE: +1 800 498              Student consumer information
                                             9700
                                                                                         Privacy Policy

                                      Grand Cayman Campus Address
                                       Lime Tree Bay Ave, West Bay,
                                              Cayman Islands




                                                                                                                
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                           Exhibit K Defendant US Federal Loans                                           011
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 351 of 356 PageID 394




                   Exhibit L: Defendant CCSE Requirements                 001
Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 352 of 356 PageID 395




                   Exhibit L: Defendant CCSE Requirements                 002
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 353 of 356 PageID 396

                                                                             Statement
                                                                             Page 1 of 4
                                                                             Date                       5/2/2022

St. Matthew’s University                                                     Amount Due                 $0.00
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Bill To
c/o Becky Gegas
Danielle Gegas
941 Clan Ct.
Worthington OH 43085
United States




Date         Description                 Memo                                PO/Check      Charge       Payment    Balance
5/1/2009     Balance Forward                                                                                             0.00
11/18/2017   Payment #28409985734        Seat Deposit                        4591                           500.00   (500.00)
11/24/2017   Payment #28409985856        Room Deposit                        4591                         1,000.00 (1,500.00)
11/27/2017   Invoice #SMC57292IN         Transfer Payment to Housing                         1,000.00                (500.00)
1/1/2018     Invoice #SMC57433IN         BS1-Basic Science Tuition and                      14,178.00               13,678.00
                                         Fees-Spring 2018
1/11/2018    Payment #28409987087        EdMed Disb Jan 2018 (EdMed          EdMed 0...                  20,000.00      (6,322.00)
                                         011118)
1/11/2018    Student Refund #8715        EdMed Disb Jan 2018 (EdMed                          6,322.00                        0.00
                                         011118)
1/30/2018    Payment #28409987821        Residence Payment                   4591                         4,800.00      (4,800.00)
1/31/2018    Invoice #SMC57766IN         Transfer Payment to Housing                         4,800.00                         0.00
3/26/2018    Invoice #SMC58207IN         BS2-Basic Science Tuition and                      13,928.00                   13,928.00
                                         Fees-Spring 2018
3/26/2018    Credit Memo #SMC13352C...   BS1-Basic Science Tuition and                                   14,178.00       (250.00)
                                         Fees-Spring 2018
5/1/2018     Invoice #SMC57928IN         BS3- Basic Science Tuition and                     13,805.00                   13,555.00
                                         Fees-Summer 2018
5/10/2018    Payment #28409990823        EdMed Disb May 2018 (EdMed          EdMed 0...                  20,000.00      (6,445.00)
                                         051018)
5/10/2018    Student Refund #8737        EdMed Disb May 2018 (EdMed                          6,445.00                        0.00
                                         051018)
6/30/2018    Credit Memo #SMC13534C...   TA Hours - 2 Hours - Genetics -                                        20.00      (20.00)
                                         June 2018
6/30/2018    Credit Memo #SMC13532C...   TA Hours - 1 Hours - Physiology -                                      10.00      (30.00)
                                         June 2018
6/30/2018    Credit Memo #SMC13535C...   TA Hours - 1 Hours - EBM - June                                        10.00      (40.00)
                                         2018
6/30/2018    Credit Memo #SMC13533C...   TA Hours - 1 Hours - Genetics -                                        10.00      (50.00)
                                         May 2018
6/30/2018    Credit Memo #SMC13531C...   TA Hours - 1 Hours - Physiology -                                      10.00      (60.00)
                                         May 2018
9/1/2018     Invoice #SMC58962IN         BS4-Basic Science Tuition and                      14,888.00                   14,828.00
                                         Fees-Fall 2018
9/25/2018    Credit Memo #SMC13705C...   TA Hours - 1 Hours - EBM - July                                        10.00   14,818.00
                                         2018
9/25/2018    Credit Memo #SMC13706C...   TA Hours - 1 Hours - Genetics -                                        10.00   14,808.00
                                         July 2018
9/25/2018    Credit Memo #SMC13704C...   TA Hours - 1 Hours - Physio -                                          10.00   14,798.00
                                         July 2018
9/25/2018    Credit Memo #SMC13707C...   TA Hours - 1 Hours - Physio -                                          10.00   14,788.00
                                         Aug 2018
9/28/2018    Payment #284099925931       Federal Direct UNSUB                US092818                    10,141.00    4,647.00
10/10/2018   Payment #284099926192       Federal Direct GPLUS                GP101018                    14,733.00 (10,086.0...
10/16/2018   Student Refund #1019        Federal Direct GPLUS                               10,086.00                      0.00
11/29/2018   Payment #284099927964       Federal Direct GPLUS                GP112918                        32.00      (32.00)
12/10/2018   Student Refund #1097        Federal Direct GPLUS                                   32.00                      0.00
1/1/2019     Invoice #SMC59905IN         BS5-Basic Science Tuition and                      15,823.00                15,823.00
                                         Fees-Spring 2019
2/6/2019     Payment #284099929833       Federal Direct UNSUB                US020619                    10,141.00       5,682.00



                                     Exhibit M: Comprehensive Invoice                                               001
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 354 of 356 PageID 397

                                                                        Statement
                                                                        Page 2 of 4
                                                                        Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date        Description              Memo                               PO/Check      Charge     Payment    Balance
2/6/2019    Payment #284099929834    Federal Direct GPLUS               GP020619                  14,765.00 (9,083.00)
2/12/2019   Student Refund #1134     Federal Direct GPLUS                               9,083.00                  0.00
5/1/2019    Invoice #SMC60862IN      National Board Fees-Summer                           500.00                500.00
                                     2019
5/1/2019   Invoice #SMC60955IN       Student Health Insurance                            653.00                  1,153.00
                                     Summer 2019
7/26/2019  Payment #284099935455     Tuition                            4591                         1,153.00         0.00
9/1/2019   Invoice #SMC62300IN       Student Health Insurance Fall                       653.00                     653.00
                                     2019
9/1/2019   Invoice #SMC62221IN       CS1 (6th Sem)-Clinical Science                    19,835.00                20,488.00
                                     Tuition and Fees-Fall 2019
10/23/2019 Payment #284099938260     Federal Direct UNSUB               US102319                     5,071.00   15,417.00
10/23/2019 Payment #284099938259     Federal Direct GPLUS               GP102319                    10,196.00    5,221.00
11/1/2019  Payment #284099938753     Federal Direct UNSUB               US110119                     5,071.00      150.00
11/1/2019  Payment #284099938752     Federal Direct GPLUS               GP110119                    10,196.00 (10,046.0...
11/7/2019  Student Refund #1455      Federal Direct GPLUS                              10,046.00                     0.00
1/1/2020   Invoice #SMC63377IN       CS2 (7th sem)-Clinical Science                    19,835.00                19,835.00
                                     Tuition and Fees-Spring 2020
1/1/2020   Invoice #SMC63461IN       Student Health Insurance Spring                     653.00                 20,488.00
                                     2020
1/20/2020  Invoice #SMC64098IN       Spring 2020-Family Practice                        1,842.00                22,330.00
                                     Elective from 2020-03-30 to
                                     2020-05-08-Mt. Sinai Hospital
                                     Medical Center-IL
2/12/2020  Payment #284099941856     Federal Direct GPLUS               GP021220                    10,196.00   12,134.00
2/12/2020  Payment #284099941857     Federal Direct UNSUB               US021220                     5,071.00     7,063.00
2/27/2020  Payment #284099942558     Federal Direct GPLUS               GP022720                    10,196.00   (3,133.00)
2/27/2020  Payment #284099942559     Federal Direct UNSUB               US022720                     5,071.00   (8,204.00)
3/3/2020   Student Refund #1594      Federal Direct GPLUS                               8,204.00                      0.00
4/10/2020  Credit Memo #SMC14688C... DROPPED-Spring 2020-Family                                      1,842.00   (1,842.00)
                                     Practice Elective from
                                     2020-03-30 to 2020-05-08-Mt.
                                     Sinai Hospital Medical Center-IL
4/14/2020  Invoice #SMC65014IN       Spring 2020-ICMI Elective from                      200.00                 (1,642.00)
                                     2020-04-06 to
                                     2020-05-01-COVID19
4/28/2020  Payment #284099943891     Tuition                            4591                           200.00   (1,842.00)
5/1/2020   Invoice #SMC64513IN       CS2R (7th sem)-Clinical Science                     435.00                 (1,407.00)
                                     Fees-Summer 2020
5/1/2020   Invoice #SMC64600IN       Student Health Insurance                            653.00                   (754.00)
                                     Summer 2020
5/11/2020  Credit Memo #SMC14850C... DROPPED-Spring 2020-ICMI                                          200.00     (954.00)
                                     Elective from 2020-04-06 to
                                     2020-05-01-COVID19
6/30/2020  Invoice #SMC66131IN       Summer 2020-Preparing for                           100.00                   (854.00)
                                     Modern Clinical Practice from
                                     2020-06-15 to
                                     2020-06-26-COVID19-Salter,
                                     David
6/30/2020  Invoice #SMC66099IN       CS3 (8th sem)-Clinical Science                    19,835.00                18,981.00
                                     Tuition and Fees-Summer 2020
6/30/2020  Credit Memo #SMC14983C... CS2R (7th sem)-Clinical Science                                   435.00   18,546.00
                                     Fees-Summer 2020
7/16/2020  Payment #284099946270     Federal Direct UNSUB               US071620                     5,071.00   13,475.00
7/16/2020  Payment #284099946271     Federal Direct UNSUB               US071620                     5,071.00    8,404.00
7/31/2020  Invoice #SMC66251IN       Summer 2020-Anesthesia                              300.00                  8,704.00
                                     Elective from 2020-08-03 to
                                     2020-08-28-Jackson Park
                                     Hospital, Chicago, IL
8/5/2020   Payment #284099947034     Federal Direct GPLUS               GP080520                    11,403.00 (2,699.00)
8/5/2020   Payment #284099947035     Federal Direct GPLUS               GP080520                    11,403.00 (14,102.0...
8/11/2020  Student Refund #1918      Federal Direct GPLUS                               1,310.00              (12,792.0...
8/11/2020  Student Refund #1919      Federal Direct GPLUS                              11,403.00               (1,389.00)



                                    Exhibit M: Comprehensive Invoice                                          002
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 355 of 356 PageID 398

                                                                           Statement
                                                                           Page 3 of 4
                                                                           Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date         Description               Memo                                PO/Check      Charge    Payment         Balance
9/1/2020     Invoice #SMC66101IN       Student Health Insurance Fall                        653.00                   (736.00)
                                       2020
9/1/2020     Invoice #SMC66100IN       CS4 (9th sem)-Clinical Science                     21,085.00                 20,349.00
                                       Tuition and Fees-Fall 2020
10/22/2020   Payment #284099949583     Federal Direct GPLUS                GP102220                    11,109.00    9,240.00
10/22/2020   Payment #284099949584     Federal Direct GPLUS                GP102220                    11,108.00  (1,868.00)
10/29/2020   Student Refund #1988      Federal Direct GPLUS                                 479.00                (1,389.00)
11/5/2020    Payment #284099950133     Federal Direct UNSUB                US110520                     5,071.00 (6,460.00)
11/5/2020    Payment #284099950132     Federal Direct UNSUB                US110520                     5,071.00 (11,531.0...
11/10/2020   Student Refund #2100      Federal Direct UNSUB                                5,071.00               (6,460.00)
11/10/2020   Student Refund #2101      Federal Direct UNSUB                                5,071.00               (1,389.00)
11/10/2020   Student Refund #9100      Student Refund                                      1,389.00                     0.00
1/1/2021     Invoice #SMC67135IN       CS5 (10th sem)-Clinical Science                    21,085.00                21,085.00
                                       Tuition and Fees-Spring 2021
1/1/2021     Invoice #SMC67225IN       Student Health Insurance Spring                      653.00                  21,738.00
                                       2021
1/22/2021    Invoice #SMC67857IN       CCE (SHELF EXAM) 2/20/21 -                           100.00                  21,838.00
                                       3/5/21.
1/26/2021    Invoice #SMC67903IN       Spring 2021-Family Practice                          600.00                  22,438.00
                                       Elective from 2021-01-04 to
                                       2021-02-12-AdventHealth
                                       Orlando Florida Hospital-Torres
2/25/2021    Payment #284099953253     Federal Direct UNSUB                US02252...                   5,071.00   17,367.00
2/25/2021    Payment #284099953254     Federal Direct UNSUB                US02252...                   5,071.00   12,296.00
3/5/2021     Payment #284099953669     Federal Direct GPLUS                GP03052...                  11,349.00      947.00
3/5/2021     Payment #284099953670     Federal Direct GPLUS                GP03052...                  11,348.00 (10,401.0...
3/9/2021     Student Refund #2257      Federal Direct GPLUS                               10,401.00                     0.00
5/1/2021     Invoice #SMC68350IN       CS6 (11th sem)-Clinical Science                       435.00                   435.00
                                       Fees-Summer 2021
5/1/2021     Invoice #SMC68478IN       Student Health Insurance                             653.00                   1,088.00
                                       Summer 2021
5/18/2021    Payment #284099955784     Tuition                             0938                         1,088.00         0.00
5/26/2021    Invoice #SMC69120IN       Summer 2021-Neurology                                200.00                     200.00
                                       Elective from 2021-08-02 to
                                       2021-08-27-AdventHealth
                                       Orlando Florida Hospital-Isa
6/10/2021    Payment #284099956439     Tuition                             0938                           200.00         0.00
7/16/2021    Credit Memo #SMC15936C... DROPPED Summer                                                     200.00     (200.00)
                                       2021-Neurology Elective from
                                       2021-08-02 to
                                       2021-08-27-AdventHealth
                                       Orlando Florida Hospital-Isa
7/20/2021    Invoice #SMC69897IN       CCS Exam fee 8/21/21 - 9/3/21                        147.00                    (53.00)
7/23/2021    Payment #284099958026     Tuition                             0938                           147.00     (200.00)
7/29/2021    Invoice #SMC69956IN       Summer 2021-Neurology                                200.00                       0.00
                                       Electives from 2021-08-23 to
                                       2021-09-17-AdventHealth
                                       Orlando Florida Hospital-Esat
8/15/2021    Invoice #SMC70034IN       MSPE Fee                                              25.00                      25.00
8/15/2021    Payment #284099958685     MSPE Fee                            8444                            25.00         0.00
9/1/2021     Credit Memo #SMC15996C... Health Insurance Waiver, Fall ‘21                                  653.00     (653.00)
9/1/2021     Invoice #SMC69829IN       CS6+ (11th sem)-Clinical                             435.00                   (218.00)
                                       Science Fees-Fall 2021
9/1/2021     Invoice #SMC69830IN       Student Health Insurance Fall                        653.00                     435.00
                                       2021
9/10/2021    Payment #284099959264     Tuition                             0938                           435.00          0.00
9/15/2021    Payment #284099959310     Transcript fee                      8444                            10.00       (10.00)
9/15/2021    Invoice #SMC69388IN       Transcript Fee (Upload ERAS                           10.00                        0.00
                                       12954992)
9/22/2021    Invoice #SMC70303IN       Fall 2021-Neurology Elective                         100.00                     100.00
                                       from 2021-09-20 to
                                       2021-10-01-AdventHealth
                                       Orlando Florida Hospital-Isa



                                     Exhibit M: Comprehensive Invoice                                            003
   Case 6:22-cv-02300-WWB-LHP Document 1-1 Filed 12/09/22 Page 356 of 356 PageID 399

                                                                                     Statement
                                                                                     Page 4 of 4
                                                                                     Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date       Description                     Memo                                      PO/Check      Charge    Payment   Balance
9/30/2021  Payment #284099959677           Tuition                                   0938                       100.00       0.00
11/10/2021 Invoice #SMC71090IN             Fall 2021-Family Medicine Acting                             0.00      0.00       0.00
                                           Internship Electives from
                                           2021-11-29 to
                                           2021-12-24-Ascension St.
                                           Vincent‰Ûªs Hospital, IN
11/15/2021 Invoice #SMC71102IN             CCS Exam fee 12/18/21 -                                    147.00                         147.00
                                           12/31/21
11/23/2021 Payment #284099961625           Tuition                                   9358                             147.00         0.00
4/20/2022  Payment #284099965442           Tuition                                   9358                             147.00     (147.00)
5/1/2022   Invoice #SMC71842IN             CCS Exam 05/07/22-05/20/22                                 147.00                         0.00
 5/26/2022   Invoice #SMC71882IN           CCS Exam 06/25/22-07/08/22                                 147 00          147 00           0.00
 8/05/2022   Invoice #SMC73588IN           CCS Exam 08/13/22-08/26/22                                 148 00          148 00           0.00
Current                 1-30 Days          31-60 Days                   61-90 Days            Over 90 Days            Amount Due

                0.00                0.00                       0.00                    0.00                    0.00                   $0.00




                                     Exhibit M: Comprehensive Invoice                                                          004
